                               I N T H E U NI T E D S T A T E S DI S T RI C T C O U R T
                                F O R T H E N O R T H E R N DI S T RI C T O F I O W A


J O H N D O E,

                      Pl ai ntiff,                                         C A S E N O. 1 9 -c v -4 0 8 2

v.

D O R D T U NI V E R SI T Y f/ k/ a D O R D T
C O L L E G E; D O R D T U NI V E R SI T Y B O A R D
O F T R U S T E E S; H O W A R D WI L S O N,
i n di vi d u all y a n d as a g e nt f or D or dt U ni v ersit y;
R O B E R T T A Y L O R, i n di vi d u all y a n d as a g e nt
f or D or dt U ni v ersit y; D E R E K B U T E Y N,
i n di vi d u all y a n d as a g e nt f or D or dt U ni v ersit y;
a n d E RI N O L S O N, i n di vi d u all y a n d as a g e nt
f or D or dt U ni v ersit y,

                     D ef e n d a nts.




P L AI N TI F F’ S S U P P L E M E N T A L A P P E N DI X O F E X HI BI T S I N
             R E SI S T A N C E T O S U M M A R Y J U D G M E N T

                                          U N S E A L E D E X HI BI T S




      Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 1 of 89
                                Ar c hi v e d I nf or m ati o n                                                                                                                          E X HI BI T
                                                                                                                                                                                             A
                                         U NI T E D S T A T E S D E P A R T M E N T O F E D U C A TI O N
                                                                                  O F FI C E F O R CI VI L RI G H T S
                                                                                                                                                    T H E A S SI S T A N T S E C R E T A R Y


                                                                                             A pril 4, 2 0 1 1


D e ar C oll e a g u e:

E d u c ati o n h as l o n g b e e n r e c o g niz e d as t h e gr e at e q u aliz er i n A m eri c a. T h e U. S. D e p art m e nt of
E d u c ati o n a n d its Offi c e f or Ci vil Ri g hts ( O C R) b eli e v e t h at pr o vi di n g all st u d e nts wit h a n
e d u c ati o n al e n vir o n m e nt fr e e fr o m dis cri mi n ati o n is e xtr e m el y i m p ort a nt. T h e s e x u al
h ar ass m e nt of st u d e nts, i n cl u di n g s e x u al vi ol e n c e, i nt erf er es wit h st u d e nts’ ri g ht t o r e c ei v e a n
e d u c ati o n fr e e fr o m dis cri mi n ati o n a n d, i n t h e c as e of s e x u al vi ol e n c e, is a cri m e.

Titl e I X of t h e E d u c ati o n A m e n d m e nts of 1 9 7 2 ( Titl e I X), 2 0 U. S. C. § § 1 6 8 1 et s e q. , a n d its
i m pl e m e nti n g r e g ul ati o ns, 3 4 C. F. R. P art 1 0 6, pr o hi bit dis cri mi n ati o n o n t h e b asis of s e x i n
e d u c ati o n pr o gr a ms or a cti viti e s o p er at e d b y r e ci pi e nts of F e d er al fi n a n ci al assist a n c e. S e x u al
h ar ass m e nt of st u d e nts, w hi c h i n cl u d e s a cts of s e x u al vi ol e n c e, is a f or m of s e x dis cri mi n ati o n
pr o hi bit e d b y Titl e I X. I n or d er t o assist r e ci pi e nt s, w hi c h i n cl u d e s c h o ol distri cts, c oll e g e s, a n d
u ni v ersiti es ( h er ei n aft er “ s c h o ols ” or “r e ci pi e nts ”) i n m e eti n g t h e s e o bli g ati o ns, t his l ett er 1
e x pl ai ns t h at t h e r e q uir e m e nt s of Titl e I X p ert ai ni n g t o s e x u al h ar ass m e nt als o c o v er s e x u al
vi ol e n c e, a n d l a ys o ut t h e s p e cifi c Titl e I X r e q uir e m e nts a p pli c a bl e t o s e x u al vi ol e n c e. 2 S e x u al
vi ol e n c e, as t h at t er m is us e d i n t his l ett er, r ef ers t o p h ysi c al s e x u al a cts p er p etr at e d a g ai nst a
p ers o n’s will or w h er e a p ers o n is i n c a p a bl e of gi vi n g c o ns e nt d u e t o t h e vi cti m’s u s e of dr u gs or
al c o h ol. A n i n di vi d u al als o m a y b e u n a bl e t o gi v e c o n s e nt d u e t o a n i nt ell e ct u al or ot h er
dis a bilit y. A n u m b er of diff er e nt a cts f all i nt o t h e c at e g or y of s e x u al vi ol e n c e, i n cl u di n g r a p e,

1
  T h e D e p art m e nt h as d et er mi n e d t h at t his D e ar C oll e a g u e L ett er is a “si g nifi c a nt g ui d a n c e d o c u m e nt ” u n d er t h e
Offi c e of M a n a g e m e nt a n d B u d g et’s Fi n al B ull eti n f or A g e n c y G o o d G ui d a n c e Pr a cti c es, 7 2 F e d. R e g. 3 4 3 2
(J a n. 2 5, 2 0 0 7), a v ail a bl e at:
htt p:// w w w. w hit e h o us e. g o v/ sit e s/ d ef a ult/fil es/ o m b/ ass ets/r e g ul at or y _ m att ers _ p df/ 0 1 2 5 0 7 _ g o o d _ g ui d a n c e. p df .
O C R iss u e s t his a n d ot h er p oli c y g ui d a n c e t o pr o vi d e r e ci pi e nts wit h i nf or m ati o n t o assist t h e m i n m e eti n g t h eir
o bli g ati o ns, a n d t o pr o vi d e m e m b ers of t h e p u bli c wit h i nf or m ati o n a b o ut t h eir ri g hts, u n d er t h e ci vil ri g hts l a ws
a n d i m pl e m e nti n g r e g ul ati o ns t h at w e e nf or c e. O C R’s l e g al a ut h orit y is b as e d o n t h os e l a ws a n d r e g ul ati o ns. T his
l ett er d o e s n ot a d d r e q uir e m e nts t o a p pli c a bl e l a w, b ut pr o vi d e s i nf or m ati o n a n d e x a m pl es t o i nf or m r e ci pi e nts
a b o ut h o w O C R e v al u at e s w h et h er c o v er e d e ntiti es ar e c o m pl yi n g wit h t h eir l e g al o bli g ati o ns. If y o u ar e i nt er e st e d
i n c o m m e nti n g o n t his g ui d a n c e, pl e as e s e n d a n e- m ail wit h y o ur c o m m e nts t o O C R @ e d. g o v , or writ e t o us at t h e
f oll o wi n g a d dr e ss: Offi c e f or Ci vil Ri g ht s, U. S. D e p art m e nt of E d u c ati o n, 4 0 0 M ar yl a n d A v e n u e, S W, W as hi n gt o n,
D C 2 0 2 0 2.
2
    Us e of t h e t er m “ s e x u al h ar ass m e nt ” t hr o u g h o ut t his d o c u m e nt i n cl u d es s e x u al vi ol e n c e u nl ess ot h er wis e n ot e d.
S e x u al h ar ass m e nt als o m a y vi ol at e Titl e I V of t h e Ci vil Ri g hts A ct of 1 9 6 4 ( 4 2 U. S. C. § 2 0 0 0 c), w hi c h pr o hi bits
p u bli c s c h o ol distri cts a n d c oll e g e s fr o m dis cri mi n ati n g a g ai nst st u d e nt s o n t h e b asis of s e x, a m o n g ot h er b as e s.
T h e U. S. D e p art m e nt of J u sti c e e nf or c es Titl e I V.


                                                         4 0 0 M A R Y L A N D A V E., S. W., W A S HI N G T O N, D C 2 0 2 0 2- 1 1 0 0
                                                                                         w w w. e d. g o v

               T h e D e p art m e nt of E d u c ati o n’s missi o n is t o pr o m ot e st u d e nt a c hi e v e m e nt a n d pr e p ar ati o n f or gl o b al c o m p etiti v e n ess
                                                       b y f ost eri n g e d u c ati o n al e x c ell e n c e a n d e ns uri n g e q u al a c c ess.
         Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 2P of
                                                                       L T 89
                                                                           F000244
                                                                                           P S A 0001
P a g e 2 – D e ar C oll e a g u e L ett er: S e x u al Vi ol e n c e


s e x u al ass a ult, s e x u al b att er y, a n d s e x u al c o er ci o n. All s u c h a cts of s e x u al vi ol e n c e ar e f or ms of
s e x u al h ar ass m e nt c o v er e d u n d er Titl e I X.

T h e st atisti cs o n s e x u al vi ol e n c e ar e b ot h d e e pl y tr o u bli n g a n d a c all t o a cti o n f or t h e n ati o n. A
r e p ort pr e p ar e d f or t h e N ati o n al I nstit ut e of J usti c e f o u n d t h at a b o ut 1 i n 5 w o m e n ar e vi cti ms
of c o m pl et e d or att e m pt e d s e x u al ass a ult w hil e i n c oll e g e. 3 T h e r e p ort als o f o u n d t h at
a p pr o xi m at el y 6. 1 p er c e nt of m al es w er e vi cti ms of c o m pl et e d or att e m pt e d s e x u al ass a ult
d uri n g c oll e g e. 4 A c c or di n g t o d at a c oll e ct e d u n d er t h e J e a n n e Cl er y Dis cl os ur e of C a m p u s
S e c urit y a n d C a m p u s Cri m e St atisti cs A ct ( Cl er y A ct), 2 0 U. S. C. § 1 0 9 2(f), i n 2 0 0 9, c oll e g e
c a m p us es r e p ort e d n e arl y 3, 3 0 0 f or ci bl e s e x off e ns es as d efi n e d b y t h e Cl er y A ct. 5 T his pr o bl e m
is n ot li mit e d t o c oll e g e. D uri n g t h e 2 0 0 7- 2 0 0 8 s c h o ol y e ar, t h er e w er e 8 0 0 r e p ort e d i n ci d e nts
of r a p e a n d att e m pt e d r a p e a n d 3, 8 0 0 r e p ort e d i n ci d e nts of ot h er s e x u al b att eri es at p u bli c
hi g h s c h o ols. 6 A d diti o n all y, t h e li k eli h o o d t h at a w o m a n wit h i nt ell e ct u al dis a biliti es will b e
s e x u all y ass a ult e d is e sti m at e d t o b e si g nifi c a ntl y hi g h er t h a n t h e g e n er al p o p ul ati o n. 7 T h e
D e p art m e nt is d e e pl y c o n c er n e d a b o ut t his pr o bl e m a n d is c o m mitt e d t o e ns uri n g t h at all
st u d e nts f e el s af e i n t h eir s c h o ol, s o t h at t h e y h a v e t h e o p p ort u nit y t o b e n efit f ull y fr o m t h e
s c h o ol’s pr o gr a ms a n d a cti viti es.

T his l ett er b e gi ns wit h a dis c ussi o n of Titl e I X’s r e q uir e m e nts r el at e d t o st u d e nt- o n-st u d e nt
s e x u al h ar ass m e nt, i n cl u di n g s e x u al vi ol e n c e, a n d e x pl ai ns s c h o ols’ r es p o nsi bilit y t o t a k e
i m m e di at e a n d eff e cti v e st e ps t o e n d s e x u al h ar ass m e nt a n d s e x u al vi ol e n c e. T h e s e
r e q uir e m e nts ar e dis c uss e d i n d et ail i n O C R’s R e vis e d S e x u al H ar ass m e nt G ui d a n c e iss u e d i n
2 0 0 1 ( 2 0 0 1 G ui d a n c e ). 8 T his l ett er s u p pl e m e nts t h e 2 0 0 1 G ui d a n c e b y pr o vi di n g a d diti o n al
g ui d a n c e a n d pr a cti c al e x a m pl es r e g ar di n g t h e Titl e I X r e q uir e m e nt s as t h e y r el at e t o s e x u al
vi ol e n c e. T his l ett er c o n cl u d es b y dis c ussi n g t h e pr o a cti v e eff orts s c h o ols c a n t a k e t o pr e v e nt
s e x u al h ar ass m e nt a n d vi ol e n c e, a n d b y pr o vi di n g e x a m pl es of r e m e di e s t h at s c h o ols a n d O C R
m a y us e t o e n d s u c h c o n d u ct, pr e v e nt its r e c urr e n c e, a n d a d dr ess its eff e cts. Alt h o u g h s o m e
e x a m pl es c o nt ai n e d i n t his l ett er ar e a p pli c a bl e o nl y i n t h e p osts e c o n d ar y c o nt e xt, s e x u al

3
  C H RI S T O P H E R P. K R E B S E T A L ., TH E C A M P U S S E X U A L A S S A U L T S T U D Y : FI N A L R E P O R T xiii ( N at’l Cri mi n al J usti c e R ef er e n c e S er v.,
O ct. 2 0 0 7), a v ail a bl e at htt p:// w w w. n cjrs. g o v/ p dffil es 1/ nij/ gr a nts/ 2 2 1 1 5 3. p df . T his st u d y als o f o u n d t h at t h e
m aj orit y of c a m p us s e x u al ass a ults o c c ur w h e n w o m e n ar e i n c a p a cit at e d, pri m aril y b y al c o h ol. I d. at x viii.
4
  I d. at 5- 5.
5
    U. S. D e p art m e nt of E d u c ati o n, Offi c e of P osts e c o n d ar y E d u c ati o n, S u m m ar y Cri m e St ati sti cs ( d at a c o m pil e d fr o m
r e p orts s u b mitt e d i n c o m pli a n c e wit h t h e Cl er y A ct), a v ail a bl e at
htt p:// w w w 2. e d. g o v/ a d mi n s/l e a d/s af et y / cri mi n al 2 0 0 7- 0 9. p df . U n d er t h e Cl er y A ct, f or ci bl e s e x off e n s es ar e
d efi n e d as a n y s e x u al a ct dir e ct e d a g ai nst a n ot h er p ers o n, f or ci bl y a n d/ or a g ai n st t h at p ers o n’s will, or n ot f or ci bl y
or a g ai nst t h e p ers o n’s will w h er e t h e vi cti m is i n c a p a bl e of gi vi n g c o ns e nt. F or ci bl e s e x off e n s es i n cl u d e f or ci bl e
r a p e, f or ci bl e s o d o m y, s e x u al ass a ult wit h a n o bj e ct, a n d f or ci bl e f o n dli n g. 3 4 C. F. R. P art 6 6 8, S u b pt. D, A p p. A.
6
   SI M O N E R O B E R S E T A L ., IN DI C A T O R S O F S C H O O L C RI M E A N D S A F E T Y : 2 0 1 0 at 1 0 4 ( U. S. D e p’t of E d u c. & U. S. D e p’t of J u sti c e,
N o v. 2 0 1 0), a v ail a bl e at htt p:// n c es. e d. g o v/ p u bs 2 0 1 1/ 2 0 1 1 0 0 2. p df .
7
   ERI K A H A R R E L L & M I C H A E L R. R A N D , CRI M E A G AI N S T P E O P L E W I T H D I S A BI LI TI E S, 2 0 0 8 ( B ur e a u of J usti c e St atisti c s, U. S. D e p’t
of J usti c e, D e c. 2 0 1 0), a v ail a bl e at htt p:// bjs. oj p. us d oj. g o v/ c o nt e nt/ p u b/ p df/ c a p d 0 8. p df .
8
   T h e 2 0 0 1 G ui d a n c e is a v ail a bl e o n t h e D e p art m e nt’s W e b sit e at
htt p:// w w w 2. e d. g o v/ a b o ut/ offi c es/list/ o cr/ d o cs/s h g ui d e. p df . T his l ett er f o c u s e s o n p e er s e x u al h ar ass m e nt a n d
vi ol e n c e. S c h o ols’ o bli g ati o n s a n d t h e a p pr o pri at e r es p o ns e t o s e x u al h ar ass m e nt a n d vi ol e n c e c o m mitt e d b y
e m pl o y e es m a y b e diff er e nt fr o m t h o s e d e s cri b e d i n t his l ett er. R e ci pi e nt s s h o ul d r ef er t o t h e 2 0 0 1 G ui d a n c e f or
f urt h er i nf or m ati o n a b o ut e m pl o y e e h ar ass m e nt of st u d e nts.

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 3P of
                                                                        L T 89
                                                                            F000245
                                                                                     P S A 0002
P a g e 3 – D e ar C oll e a g u e L ett er: S e x u al Vi ol e n c e


h ar ass m e nt a n d vi ol e n c e als o ar e c o n c er ns f or s c h o ol distri cts. T h e Titl e I X o bli g ati o n s dis c uss e d
i n t his l ett er a p pl y e q u all y t o s c h o ol distri cts u nl ess ot h er wis e n ot e d.

Titl e I X R e q uir e m e nts R el at e d t o S e x u al H ar ass m e nt a n d S e x u al Vi ol e nc e

S c h o ols’ O bli g ati o ns t o R es p o n d t o S e x u al H ar as s m e nt a n d S e x u al Vi ol e n c e

S e x u al h ar ass m e nt is u n w el c o m e c o n d u ct of a s e x u al n at ur e. It i n cl u d e s u n w el c o m e s e x u al
a d v a n c es, r e q u e sts f or s e x u al f a v ors, a n d ot h er v er b al, n o n v er b al, or p h ysi c al c o n d u ct of a
s e x u al n at ur e. S e x u al vi ol e n c e is a f or m of s e x u al h ar ass m e nt pr o hi bit e d b y Titl e I X. 9

As e x pl ai n e d i n O C R’s 2 0 0 1 G ui d a n c e , w h e n a st u d e nt s e x u all y h ar ass es a n ot h er st u d e nt, t h e
h ar assi n g c o n d u ct cr e at es a h o stil e e n vir o n m e nt if t h e c o n d u ct is s uffi ci e ntl y s eri o us t h at it
i nt erf er es wit h or li mits a st u d e nt’s a bilit y t o p arti ci p at e i n or b e n efit fr o m t h e s c h o ol’s
pr o gr a m. T h e m or e s e v er e t h e c o n d u ct, t h e l ess n e e d t h er e is t o s h o w a r e p etiti v e s eri es of
i n ci d e nt s t o pr o v e a h o stil e e n vir o n m e nt, p arti c ul arl y if t h e h ar ass m e nt is p h ysi c al. I n d e e d, a
si n gl e or is ol at e d i n ci d e nt of s e x u al h ar ass m e nt m a y cr e at e a h ostil e e n vir o n m e nt if t h e
i n ci d e nt is s uffi ci e ntl y s e v er e. F or i n st a n c e, a si n gl e i nst a n c e of r a p e is s uffi ci e ntl y s e v er e t o
cr e at e a h ostil e e n vir o n m e nt. 1 0

Titl e I X pr ot e cts st u d e nt s fr o m s e x u al h ar ass m e nt i n a s c h o ol’s e d u c ati o n pr o gr a ms a n d
a cti viti es. T his m e a ns t h at Titl e I X pr ot e cts st u d e nts i n c o n n e cti o n wit h all t h e a c a d e mi c,
e d u c ati o n al, e xtr a c urri c ul ar, at hl eti c, a n d ot h er pr o gr a ms of t h e s c h o ol, w h et h er t h o s e
pr o gr a ms t a k e pl a c e i n a s c h o ol’s f a ciliti e s, o n a s c h o ol b u s, at a cl ass or tr ai ni n g pr o gr a m



9
   Titl e I X als o pr o hi bits g e n d er- b as e d h ar ass m e nt, w hi c h m a y i n cl u d e a cts of v er b al, n o n v er b al, or p h ysi c al
a g gr essi o n, i nti mi d ati o n, or h ostilit y b as e d o n s e x or s e x-st er e ot y pi n g, e v e n if t h os e a ct s d o n ot i n v ol v e c o n d u ct of
a s e x u al n at ur e. T h e Titl e I X o bli g ati o n s dis c u ss e d i n t his l ett er als o a p pl y t o g e n d er- b as e d h ar ass m e nt. G e n d er-
b as e d h ar ass m e nt is dis c u ss e d i n m or e d et ail i n t h e 2 0 0 1 G ui d a n c e, a n d i n t h e 2 0 1 0 D e ar C oll e a g u e l ett er o n
H ar ass m e nt a n d B ull yi n g, w hi c h is a v ail a bl e at htt p:// w w w 2. e d. g o v/ a b o ut/ offi c es/list/ o cr/l ett er s/ c oll e a g u e-
2 0 1 0 1 0. p df .
10
    S e e , e. g. , J e n ni n g s v. U ni v. of N. C., 4 4 4 F. 3 d 2 5 5, 2 6 8, 2 7 4 n. 1 2 ( 4t h Cir. 2 0 0 6) ( a c k n o wl e d gi n g t h at w hil e n ot a n
iss u e i n t his c as e, a si n gl e i n ci d e nt of s e x u al ass a ult or r a p e c o ul d b e s uffi ci e nt t o r ais e a j ur y q u esti o n a b o ut
w h et h er a h o stil e e n vir o n m e nt e xist s, a n d n oti n g t h at c o urts l o o k t o Titl e VII c as es f or g ui d a n c e i n a n al yzi n g Titl e I X
s e x u al h ar ass m e nt cl ai ms); V a n c e v. S p e n c er C nt y. P u b. S c h. Dist., 2 3 1 F. 3 d 2 5 3, 2 5 9 n. 4 ( 6t h Cir. 2 0 0 0) ( “‘[ w]it hi n
t h e c o nt e xt of Titl e I X, a st u d e nt’s cl ai m of h ostil e e n vir o n m e nt c a n aris e fr o m a si n gl e i n ci d e nt’ ” ( q u oti n g D o e v.
S c h. A d mi n. Dist. N o. 1 9 , 6 6 F. S u p p. 2 d 5 7, 6 2 ( D. M e. 1 9 9 9))); S o p er v. H o b e n , 1 9 5 F. 3 d 8 4 5, 8 5 5 ( 6t h Cir. 1 9 9 9)
( e x pl ai ni n g t h at r a p e a n d s e x u al a b u s e “ o b vi o usl y q u alif[ y] as …s e v er e, p er v asi v e, a n d o bj e cti v el y off e n si v e s e x u al
h ar ass m e nt ”); s e e als o B err y v. C hi. Tr a n sit A ut h. , 6 1 8 F. 3 d 6 8 8, 6 9 2 ( 7t h Cir. 2 0 1 0) (i n t h e Titl e VII c o nt e xt, “ a
si n gl e a ct c a n cr e at e a h ostil e e n vir o n m e nt if it is s e v er e e n o u g h, a n d i nst a n c es of u ni n vit e d p h ysi c al c o nt a ct wit h
i nti m at e p arts of t h e b o d y ar e a m o n g t h e m ost s e v er e t y p es of s e x u al h ar ass m e nt ”); T ur n er v. S al o o n, Lt d. , 5 9 5
F. 3 d 6 7 9, 6 8 6 ( 7t h Cir. 2 0 1 0) ( n oti n g t h at “‘[ o] n e i nst a n c e of c o n d u ct t h at is s uffi ci e ntl y s e v er e m a y b e e n o u g h,’ ”
w hi c h is “ e s p e ci all y tr u e w h e n t h e t o u c hi n g is of a n i nti m at e b o d y p art ” ( q u oti n g J a c ks o n v. C nt y. of R a ci n e, 4 7 4
F. 3 d 4 9 3, 4 9 9 ( 7t h Cir. 2 0 0 7))); M c Ki n nis v. Cr es c e nt G u ar di a n, I n c. , 1 8 9 F. A p p’ x 3 0 7, 3 1 0 ( 5t h Cir. 2 0 0 6) ( h ol di n g
t h at “‘t h e d eli b er at e a n d u n w a nt e d t o u c hi n g of [ a pl ai ntiff’s] i nti m at e b o d y p arts c a n c o nstit ut e s e v er e s e x u al
h ar ass m e nt’ ” i n Titl e VII c as es ( q u oti n g H ar vill v. W est w ar d C o m m c’ ns, L. L. C. , 4 3 3 F. 3 d 4 2 8, 4 3 6 ( 5t h Cir. 2 0 0 5))).

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 4P of
                                                                        L T 89
                                                                            F000246
                                                                                P S A 0003
P a g e 4 – D e ar C oll e a g u e L ett er: S e x u al Vi ol e n c e


s p o n s or e d b y t h e s c h o ol at a n ot h er l o c ati o n, or els e w h er e. F or e x a m pl e, Titl e I X pr ot e cts a
st u d e nt w h o is s e x u all y ass a ult e d b y a f ell o w st u d e nt d uri n g a s c h o ol-s p o ns or e d fi el d tri p. 1 1

If a s c h o ol k n o ws or r e as o n a bl y s h o ul d k n o w a b o ut st u d e nt- o n-st u d e nt h ar ass m e nt t h at
cr e at e s a h ostil e e n vir o n m e nt, Titl e I X r e q uir es t h e s c h o ol t o t a k e i m m e di at e a cti o n t o eli mi n at e
t h e h ar ass m e nt, pr e v e nt its r e c urr e n c e, a n d a d dr ess its eff e cts. 1 2 S c h o ols als o ar e r e q uir e d t o
p u blis h a n oti c e of n o n dis cri mi n ati o n a n d t o a d o pt a n d p u blis h gri e v a n c e pr o c e d ur es. B e c a us e
of t h es e r e q uir e m e nt s, w hi c h ar e dis c uss e d i n gr e at er d et ail i n t h e f oll o wi n g s e cti o n, s c h o ols
n e e d t o e ns ur e t h at t h eir e m pl o y e es ar e tr ai n e d s o t h at t h e y k n o w t o r e p ort h ar ass m e nt t o
a p pr o pri at e s c h o ol offi ci als, a n d s o t h at e m pl o y e es wit h t h e a ut h orit y t o a d dr ess h ar ass m e nt
k n o w h o w t o r es p o n d pr o p erl y. Tr ai ni n g f or e m pl o y e e s s h o ul d i n cl u d e pr a cti c al i nf or m ati o n
a b o ut h o w t o i d e ntif y a n d r e p ort s e x u al h ar ass m e nt a n d vi ol e n c e. O C R r e c o m m e n d s t h at t his
tr ai ni n g b e pr o vi d e d t o a n y e m pl o y e es li k el y t o wit n e ss or r e c ei v e r e p orts of s e x u al h ar ass m e nt
a n d vi ol e n c e, i n cl u di n g t e a c h ers, s c h o ol l a w e nf or c e m e nt u nit e m pl o y e es, s c h o ol
a d mi nistr at ors, s c h o ol c o u n s el ors, g e n er al c o u n s els, h e alt h p ers o n n el, a n d r esi d e nt a d vis ors.

S c h o ols m a y h a v e a n o bli g ati o n t o r es p o n d t o st u d e nt- o n- st u d e nt s e x u al h ar ass m e nt t h at
i niti all y o c c urr e d off s c h o ol gr o u n ds, o ut si d e a s c h o ol’s e d u c ati o n pr o gr a m or a cti vit y. If a
st u d e nt fil es a c o m pl ai nt wit h t h e s c h o ol, r e g ar dl ess of w h er e t h e c o n d u ct o c c urr e d, t h e s c h o ol
m ust pr o c ess t h e c o m pl ai nt i n a c c or d a n c e wit h its est a blis h e d pr o c e d ur es. B e c a us e st u d e nts
oft e n e x p eri e n c e t h e c o nti n ui n g eff e cts of off- c a m p us s e x u al h ar ass m e nt i n t h e e d u c ati o n al
s etti n g, s c h o ols s h o ul d c o n si d er t h e eff e cts of t h e off- c a m p us c o n d u ct w h e n e v al u ati n g
w h et h er t h er e is a h o stil e e n vir o n m e nt o n c a m p us. F or e x a m pl e, if a st u d e nt all e g es t h at h e or
s h e w as s e x u all y ass a ult e d b y a n ot h er st u d e nt off s c h o ol gr o u n ds, a n d t h at u p o n r et ur ni n g t o
s c h o ol h e or s h e w as t a u nt e d a n d h ar ass e d b y ot h er st u d e nts w h o ar e t h e all e g e d p er p etr at or’s
fri e n ds, t h e s c h o ol s h o ul d t a k e t h e e arli er s e x u al ass a ult i nt o a c c o u nt i n d et er mi ni n g w h et h er
t h er e is a s e x u all y h o stil e e n vir o n m e nt. T h e s c h o ol als o s h o ul d t a k e st e ps t o pr ot e ct a st u d e nt
w h o w as ass a ult e d off c a m p u s fr o m f urt h er s e x u al h ar ass m e nt or r et ali ati o n fr o m t h e
p er p etr at or a n d his or h er ass o ci at e s.

R e g ar dl ess of w h et h er a h ar ass e d st u d e nt, his or h er p ar e nt, or a t hir d p art y fil es a c o m pl ai nt
u n d er t h e s c h o ol’s gri e v a n c e pr o c e d ur es or ot h er wis e r e q u ests a cti o n o n t h e st u d e nt’s b e h alf, a
s c h o ol t h at k n o ws, or r e as o n a bl y s h o ul d k n o w, a b o ut p o ssi bl e h ar ass m e nt m ust pr o m ptl y
i n v esti g at e t o d et er mi n e w h at o c c urr e d a n d t h e n t a k e a p pr o pri at e st e ps t o r es ol v e t h e
sit u ati o n. As dis c u ss e d l at er i n t his l ett er, t h e s c h o ol’s Titl e I X i n v esti g ati o n is diff er e nt fr o m a n y
l a w e nf or c e m e nt i n v esti g ati o n, a n d a l a w e nf or c e m e nt i n v esti g ati o n d o es n ot r eli e v e t h e s c h o ol
of its i n d e p e n d e nt Titl e I X o bli g ati o n t o i n v esti g at e t h e c o n d u ct. T h e s p e cifi c st e ps i n a s c h o ol’s

11
    Titl e I X als o pr ot e cts t hir d p arti es fr o m s e x u al h ar ass m e nt or vi ol e n c e i n a s c h o ol’s e d u c ati o n pr o gr a ms a n d
a cti viti e s. F or e x a m pl e, Titl e I X pr ot e cts a hi g h s c h o ol st u d e nt p arti ci p ati n g i n a c oll e g e’s r e cr uit m e nt pr o gr a m, a
visiti n g st u d e nt at hl et e, a n d a visit or i n a s c h o ol’ s o n- c a m p u s r esi d e n c e h all. Titl e I X als o pr ot e cts e m pl o y e es of a
r e ci pi e nt fr o m s e x u al h ar ass m e nt. F or f urt h er i nf or m ati o n a b o ut h ar ass m e nt of e m pl o y e e s, s e e 2 0 0 1 G ui d a n c e at
n. 1.
12
    T his i s t h e st a n d ar d f or a d mi nistr ati v e e nf or c e m e nt of Titl e I X a n d i n c o urt c as es w h er e pl ai ntiffs ar e s e e ki n g
i nj u n cti v e r eli ef. S e e 2 0 0 1 G ui d a n c e at ii- v, 1 2- 1 3. T h e st a n d ar d i n pri v at e l a ws uit s f or m o n et ar y d a m a g es is a ct u al
k n o wl e d g e a n d d eli b er at e i n diff er e n c e. S e e D a vis v. M o nr o e C nt y. B d. of E d. , 5 2 6 U. S. 6 2 9, 6 4 3, 6 4 8 ( 1 9 9 9).

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 5P of
                                                                        L T 89
                                                                            F000247
                                                                               P S A 0004
P a g e 5 – D e ar C oll e a g u e L ett er: S e x u al Vi ol e n c e


i n v esti g ati o n will v ar y d e p e n di n g u p o n t h e n at ur e of t h e all e g ati o ns, t h e a g e of t h e st u d e nt or
st u d e nts i n v ol v e d ( p arti c ul arl y i n el e m e nt ar y a n d s e c o n d ar y s c h o ols), t h e siz e a n d
a d mi nistr ati v e str u ct ur e of t h e s c h o ol, a n d ot h er f a ct ors. Y et as dis c uss e d i n m or e d et ail b el o w,
t h e s c h o ol’s i n q uir y m ust i n all c as es b e pr o m pt, t h or o u g h, a n d i m p arti al. I n c as es i n v ol vi n g
p ot e nti al cri mi n al c o n d u ct, s c h o ol p ers o n n el m ust d et er mi n e, c o nsist e nt wit h St at e a n d l o c al
l a w, w h et h er a p pr o pri at e l a w e nf or c e m e nt or ot h er a ut h oriti es s h o ul d b e n otifi e d. 1 3

S c h o ols als o s h o ul d i nf or m a n d o bt ai n c o ns e nt fr o m t h e c o m pl ai n a nt ( or t h e c o m pl ai n a nt’s
p ar e nts if t h e c o m pl ai n a nt is u n d er 1 8 a n d d o es n ot att e n d a p o sts e c o n d ar y i nstit uti o n) b ef or e
b e gi n ni n g a n i n v esti g ati o n. If t h e c o m pl ai n a nt r e q u ests c o nfi d e nti alit y or as ks t h at t h e
c o m pl ai nt n ot b e p ur s u e d, t h e s c h o ol s h o ul d t a k e all r e as o n a bl e st e p s t o i n v esti g at e a n d
r es p o n d t o t h e c o m pl ai nt c o nsist e nt wit h t h e r e q u est f or c o nfi d e nti alit y or r e q u e st n ot t o
p urs u e a n i n v esti g ati o n. If a c o m pl ai n a nt i nsist s t h at his or h er n a m e or ot h er i d e ntifi a bl e
i nf or m ati o n n ot b e dis cl os e d t o t h e all e g e d p er p etr at or, t h e s c h o ol s h o ul d i nf or m t h e
c o m pl ai n a nt t h at its a bilit y t o r e s p o n d m a y b e li mit e d. 1 4 T h e s c h o ol als o s h o ul d t ell t h e
c o m pl ai n a nt t h at Titl e I X pr o hi bits r et ali ati o n, a n d t h at s c h o ol offi ci als will n ot o nl y t a k e st e ps
t o pr e v e nt r et ali ati o n b ut als o t a k e str o n g r es p o nsi v e a cti o n if it o c c urs.

As dis c uss e d i n t h e 2 0 0 1 G ui d a n c e , if t h e c o m pl ai n a nt c o nti n u e s t o as k t h at his or h er n a m e or
ot h er i d e ntifi a bl e i nf or m ati o n n ot b e r e v e al e d, t h e s c h o ol s h o ul d e v al u at e t h at r e q u e st i n t h e
c o nt e xt of its r es p o nsi bilit y t o pr o vi d e a s af e a n d n o n dis cri mi n at or y e n vir o n m e nt f or all
st u d e nts. T h us, t h e s c h o ol m a y w ei g h t h e r e q u est f or c o nfi d e nti alit y a g ai nst t h e f oll o wi n g
f a ct ors: t h e s eri o u s n ess of t h e all e g e d h ar ass m e nt; t h e c o m pl ai n a nt’s a g e; w h et h er t h er e h a v e
b e e n ot h er h ar ass m e nt c o m pl ai nts a b o ut t h e s a m e i n di vi d u al; a n d t h e all e g e d h ar ass er’s ri g hts
t o r e c ei v e i nf or m ati o n a b o ut t h e all e g ati o ns if t h e i nf or m ati o n is m ai nt ai n e d b y t h e s c h o ol as a n
“ e d u c ati o n r e c or d ” u n d er t h e F a mil y E d u c ati o n al Ri g ht s a n d Pri v a c y A ct ( F E R P A), 2 0 U. S. C.
§ 1 2 3 2 g; 3 4 C. F. R. P art 9 9. 1 5 T h e s c h o ol s h o ul d i nf or m t h e c o m pl ai n a nt if it c a n n ot e ns ur e
c o nfi d e nti alit y. E v e n if t h e s c h o ol c a n n ot t a k e dis ci pli n ar y a cti o n a g ai nst t h e all e g e d h ar ass er
b e c a us e t h e c o m pl ai n a nt i nsists o n c o nfi d e nti alit y, it s h o ul d p urs u e ot h er st e ps t o li mit t h e
eff e cts of t h e all e g e d h ar ass m e nt a n d pr e v e nt its r e c urr e n c e. E x a m pl es of s u c h st e ps ar e
dis c u ss e d l at er i n t his l ett er.

C o m pli a n c e wit h Titl e I X, s u c h as p u blis hi n g a n oti c e of n o n dis cri mi n ati o n, d esi g n ati n g a n
e m pl o y e e t o c o or di n at e Titl e I X c o m pli a n c e, a n d a d o pti n g a n d p u blis hi n g gri e v a n c e pr o c e d ur es,
c a n s er v e as pr e v e nti v e m e as ur es a g ai nst h ar ass m e nt. C o m bi n e d wit h e d u c ati o n a n d tr ai ni n g
pr o gr a ms, t h es e m e as ur es c a n h el p e n s ur e t h at all st u d e nts a n d e m pl o y e es r e c o g niz e t h e

13
   I n st at es wit h m a n d at or y r e p orti n g l a ws, s c h o ols m a y b e r e q uir e d t o r e p ort c ert ai n i n ci d e nts t o l o c al l a w
e nf or c e m e nt or c hil d pr ot e cti o n a g e n ci es.
14
   S c h o ols s h o ul d r ef er t o t h e 2 0 0 1 G ui d a n c e f or a d diti o n al i nf or m ati o n o n c o nfi d e nti alit y a n d t h e all e g e d
p er p etr at or’s d u e pr o c e ss ri g hts.
15
   F or e x a m pl e, t h e all e g e d h ar ass er m a y h a v e a ri g ht u n d er F E R P A t o i ns p e ct a n d r e vi e w p orti o ns of t h e c o m pl ai nt
t h at dir e ctl y r el at e t o hi m or h er. I n t h at c as e, t h e s c h o ol m u st r e d a ct t h e c o m pl ai n a nt’s n a m e a n d ot h er
i d e ntif yi n g i nf or m ati o n b ef or e all o wi n g t h e all e g e d h ar ass er t o i ns p e ct a n d r e vi e w t h e s e cti o n s of t h e c o m pl ai nt
t h at r el at e t o hi m or h er. I n s o m e c as e s, s u c h as t h os e w h er e t h e s c h o ol is r e q uir e d t o r e p ort t h e i n ci d e nt t o l o c al
l a w e nf or c e m e nt or ot h er offi ci als, t h e s c h o ol m a y n ot b e a bl e t o m ai nt ai n t h e c o m pl ai n a nt’s c o nfi d e nti alit y.

         Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 6P of
                                                                       L T 89
                                                                           F000248
                                                                             P S A 0005
P a g e 6 – D e ar C oll e a g u e L ett er: S e x u al Vi ol e n c e


n at ur e of s e x u al h ar ass m e nt a n d vi ol e n c e, a n d u n d erst a n d t h at t h e s c h o ol will n ot t ol er at e s u c h
c o n d u ct. I n d e e d, t h e s e m e as ur es m a y bri n g p ot e nti all y pr o bl e m ati c c o n d u ct t o t h e s c h o ol’s
att e nti o n b ef or e it b e c o m es s eri o us e n o u g h t o cr e at e a h o stil e e n vir o n m e nt. Tr ai ni n g f or
a d mi nistr at ors, t e a c h ers, st aff, a n d st u d e nt s als o c a n h el p e ns ur e t h at t h e y u n d erst a n d w h at
t y p es of c o n d u ct c o nstit ut e s e x u al h ar ass m e nt or vi ol e n c e, c a n i d e ntif y w ar ni n g si g n als t h at
m a y n e e d att e nti o n, a n d k n o w h o w t o r es p o n d. M or e d et ail e d i nf or m ati o n a n d e x a m pl es of
e d u c ati o n a n d ot h er pr e v e nti v e m e as ur es ar e pr o vi d e d l at er i n t his l ett er.

Pr o c e d ur al R e q uir e m e nts P ert ai ni n g t o S e x u al H ar ass m e nt a n d S e x u al Vi ol e n c e

R e ci pi e nts of F e d er al fi n a n ci al assist a n c e m ust c o m pl y wit h t h e pr o c e d ur al r e q uir e m e nt s
o utli n e d i n t h e Titl e I X i m pl e m e nti n g r e g ul ati o ns. S p e cifi c all y, a r e ci pi e nt m ust:
                                                                                16
        ( A) Diss e mi n at e a n oti c e of n o n dis cri mi n ati o n;

        ( B) D esi g n at e at l e ast o n e e m pl o y e e t o c o or di n at e its eff orts t o c o m pl y wit h a n d c arr y o ut
             its r es p o nsi biliti es u n d er Titl e I X; 1 7 a n d

        ( C) A d o pt a n d p u blis h gri e v a n c e pr o c e d ur es pr o vi di n g f or pr o m pt a n d e q uit a bl e r es ol uti o n
             of st u d e nt a n d e m pl o y e e s e x dis cri mi n ati o n c o m pl ai nt s. 1 8

T h e s e r e q uir e m e nts a p pl y t o all f or ms of s e x u al h ar ass m e nt, i n cl u di n g s e x u al vi ol e n c e, a n d ar e
i m p ort a nt f or pr e v e nti n g a n d eff e cti v el y r es p o n di n g t o s e x dis cri mi n ati o n. T h e y ar e dis c uss e d i n
gr e at er d et ail b el o w. O C R a d vis es r e ci pi e nts t o e x a mi n e t h eir c urr e nt p oli ci es a n d pr o c e d ur e s
o n s e x u al h ar ass m e nt a n d s e x u al vi ol e n c e t o d et er mi n e w h et h er t h o s e p oli ci es c o m pl y wit h t h e
r e q uir e m e nts arti c ul at e d i n t his l ett er a n d t h e 2 0 0 1 G ui d a n c e. R e ci pi e nts s h o ul d t h e n
i m pl e m e nt c h a n g es as n e e d e d.

              ( A) N oti c e of N o n dis cri mi n ati o n

T h e Titl e I X r e g ul ati o ns r e q uir e t h at e a c h r e ci pi e nt p u blis h a n oti c e of n o n dis cri mi n ati o n st ati n g
t h at t h e r e ci pi e nt d o es n ot dis cri mi n at e o n t h e b asis of s e x i n its e d u c ati o n pr o gr a ms a n d
a cti viti es, a n d t h at Titl e I X r e q uir es it n ot t o dis cri mi n at e i n s u c h a m a n n er. 1 9 T h e n oti c e m ust
st at e t h at i n q uiri es c o n c er ni n g t h e a p pli c ati o n of Titl e I X m a y b e r ef err e d t o t h e r e ci pi e nt’s Titl e
I X c o or di n at or or t o O C R. It s h o ul d i n cl u d e t h e n a m e or titl e, offi c e a d dr ess, t el e p h o n e n u m b er,
a n d e- m ail a d dr ess f or t h e r e ci pi e nt’s d e si g n at e d Titl e I X c o or di n at or.

T h e n oti c e m u st b e wi d el y distri b ut e d t o all st u d e nts, p ar e nts of el e m e nt ar y a n d s e c o n d ar y
st u d e nts, e m pl o y e es, a p pli c a nts f or a d missi o n a n d e m pl o y m e nt, a n d ot h er r el e v a nt p ers o ns.
O C R r e c o m m e n ds t h at t h e n oti c e b e pr o mi n e ntl y p o st e d o n s c h o ol W e b sit e s a n d at v ari o us

16
     3 4 C. F. R. § 1 0 6. 9.
17
     I d. § 1 0 6. 8( a).
18
     I d. § 1 0 6. 8( b).
19
     I d. § 1 0 6. 9( a).

           Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 7P of
                                                                         L T 89
                                                                             F000249
                                                                        P S A 0006
P a g e 7 – D e ar C oll e a g u e L ett er: S e x u al Vi ol e n c e


l o c ati o ns t hr o u g h o ut t h e s c h o ol or c a m p us a n d p u blis h e d i n el e ctr o ni c a n d pri nt e d p u bli c ati o ns
of g e n er al distri b uti o n t h at pr o vi d e i nf or m ati o n t o st u d e nts a n d e m pl o y e es a b o ut t h e s c h o ol’s
s er vi c es a n d p oli ci es. T h e n oti c e s h o ul d b e a v ail a bl e a n d e asil y a c c e ssi bl e o n a n o n g oi n g b asis.

Titl e I X d o es n ot r e q uir e a r e ci pi e nt t o a d o pt a p oli c y s p e cifi c all y pr o hi biti n g s e x u al h ar ass m e nt
or s e x u al vi ol e n c e. A s n ot e d i n t h e 2 0 0 1 G ui d a n c e , h o w e v er, a r e ci pi e nt’s g e n er al p oli c y
pr o hi biti n g s e x dis cri mi n ati o n will n ot b e c o nsi d er e d eff e cti v e a n d w o ul d vi ol at e Titl e I X if,
b e c a us e of t h e l a c k of a s p e cifi c p oli c y, st u d e nt s ar e u n a w ar e of w h at ki n d of c o n d u ct
c o nstit ut es s e x u al h ar ass m e nt, i n cl u di n g s e x u al vi ol e n c e, or t h at s u c h c o n d u ct is pr o hi bit e d s e x
dis cri mi n ati o n. O C R t h er ef or e r e c o m m e n ds t h at a r e ci pi e nt’s n o n dis cri mi n ati o n p oli c y st at e
t h at pr o hi bit e d s e x dis cri mi n ati o n c o v ers s e x u al h ar ass m e nt, i n cl u di n g s e x u al vi ol e n c e, a n d t h at
t h e p oli c y i n cl u d e e x a m pl es of t h e t y p e s of c o n d u ct t h at it c o v ers.

               ( B) Titl e I X C o or di n at or

T h e Titl e I X r e g ul ati o ns r e q uir e a r e ci pi e nt t o n otif y all st u d e nts a n d e m pl o y e es of t h e n a m e or
titl e a n d c o nt a ct i nf or m ati o n of t h e p ers o n d e si g n at e d t o c o or di n at e t h e r e ci pi e nt’s c o m pli a n c e
wit h Titl e I X. 2 0 T h e c o or di n at or’s r es p o nsi biliti es i n cl u d e o v ers e ei n g all Titl e I X c o m pl ai nts a n d
i d e ntif yi n g a n d a d dr essi n g a n y p att er ns or s yst e mi c pr o bl e ms t h at aris e d uri n g t h e r e vi e w of
s u c h c o m pl ai nts. T h e Titl e I X c o or di n at or or d esi g n e e s h o ul d b e a v ail a bl e t o m e et wit h st u d e nts
as n e e d e d. If a r e ci pi e nt d esi g n at e s m or e t h a n o n e Titl e I X c o or di n at or, t h e n oti c e s h o ul d
d e s cri b e e a c h c o or di n at or’s r es p o nsi biliti es ( e. g. , w h o will h a n dl e c o m pl ai nts b y st u d e nts,
f a c ult y, a n d ot h er e m pl o y e es). T h e r e ci pi e nt s h o ul d d esi g n at e o n e c o or di n at or as h a vi n g
ulti m at e o v ersi g ht r es p o nsi bilit y, a n d t h e ot h er c o or di n at ors s h o ul d h a v e titl es cl e arl y s h o wi n g
t h at t h e y ar e i n a d e p ut y or s u p p orti n g r ol e t o t h e s e ni or c o or di n at or. T h e Titl e I X c o or di n at ors
s h o ul d n ot h a v e ot h er j o b r es p o nsi biliti es t h at m a y cr e at e a c o nfli ct of i nt er est. F or e x a m pl e,
s er vi n g as t h e Titl e I X c o or di n at or a n d a dis ci pli n ar y h e ari n g b o ar d m e m b er or g e n er al c o u n s el
m a y cr e at e a c o nfli ct of i nt er est.

R e ci pi e nts m ust e ns ur e t h at e m pl o y e es d e si g n at e d t o s er v e as Titl e I X c o or di n at ors h a v e
a d e q u at e tr ai ni n g o n w h at c o nstit ut e s s e x u al h ar ass m e nt, i n cl u di n g s e x u al vi ol e n c e, a n d t h at
t h e y u n d erst a n d h o w t h e r e ci pi e nt’s gri e v a n c e pr o c e d ur es o p er at e. B e c a us e s e x u al vi ol e n c e
c o m pl ai nts oft e n ar e fil e d wit h t h e s c h o ol’s l a w e nf or c e m e nt u nit, all s c h o ol l a w e nf or c e m e nt
u nit e m pl o y e es s h o ul d r e c ei v e tr ai ni n g o n t h e s c h o ol’s Titl e I X gri e v a n c e pr o c e d ur e s a n d a n y
ot h er pr o c e d ur es us e d f or i n v esti g ati n g r e p orts of s e x u al vi ol e n c e. I n a d diti o n, t h e s e e m pl o y e es
s h o ul d r e c ei v e c o pi es of t h e s c h o ol’s Titl e I X p oli ci es. S c h o ols s h o ul d i nstr u ct l a w e nf or c e m e nt
u nit e m pl o y e es b ot h t o n otif y c o m pl ai n a nt s of t h eir ri g ht t o fil e a Titl e I X s e x dis cri mi n ati o n
c o m pl ai nt wit h t h e s c h o ol i n a d diti o n t o fili n g a cri mi n al c o m pl ai nt, a n d t o r e p ort i n ci d e nt s of
s e x u al vi ol e n c e t o t h e Titl e I X c o or di n at or if t h e c o m pl ai n a nt c o ns e nt s. T h e s c h o ol’s Titl e I X
c o or di n at or or d e si g n e e s h o ul d b e a v ail a bl e t o pr o vi d e assist a n c e t o s c h o ol l a w e nf or c e m e nt
u nit e m pl o y e es r e g ar di n g h o w t o r es p o n d a p pr o pri at el y t o r e p orts of s e x u al vi ol e n c e. T h e Titl e
I X c o or di n at or als o s h o ul d b e gi v e n a c c ess t o s c h o ol l a w e nf or c e m e nt u nit i n v esti g ati o n n ot e s

20
     I d. § 1 0 6. 8( a).


           Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 8P of
                                                                         L T 89
                                                                             F000250
                                                                        P S A 0007
P a g e 8 – D e ar C oll e a g u e L ett er: S e x u al Vi ol e n c e


a n d fi n di n gs as n e c ess ar y f or t h e Titl e I X i n v esti g ati o n, s o l o n g as it d o es n ot c o m pr o mis e t h e
cri mi n al i n v esti g ati o n.

            ( C) Gri e v a n c e Pr o c e d ur es

T h e Titl e I X r e g ul ati o ns r e q uir e all r e ci pi e nt s t o a d o pt a n d p u blis h gri e v a n c e pr o c e d ur es
pr o vi di n g f or t h e pr o m pt a n d e q uit a bl e r es ol uti o n of s e x dis cri mi n ati o n c o m pl ai nts. 2 1 T h e
gri e v a n c e pr o c e d ur es m ust a p pl y t o s e x dis cri mi n ati o n c o m pl ai nts fil e d b y st u d e nts a g ai n st
s c h o ol e m pl o y e es, ot h er st u d e nt s, or t hir d p arti e s.

Titl e I X d o es n ot r e q uir e a r e ci pi e nt t o pr o vi d e s e p ar at e gri e v a n c e pr o c e d ur e s f or s e x u al
h ar ass m e nt a n d s e x u al vi ol e n c e c o m pl ai nts. T h er ef or e, a r e ci pi e nt m a y u s e st u d e nt dis ci pli n ar y
pr o c e d ur e s or ot h er s e p ar at e pr o c e d ur es t o r es ol v e s u c h c o m pl ai nts. A n y pr o c e d ur es us e d t o
a dj u di c at e c o m pl ai nts of s e x u al h ar ass m e nt or s e x u al vi ol e n c e, i n cl u di n g dis ci pli n ar y
pr o c e d ur e s, h o w e v er, m ust m e et t h e Titl e I X r e q uir e m e nt of aff or di n g a c o m pl ai n a nt a pr o m pt
a n d e q uit a bl e r es ol uti o n. 2 2 T h es e r e q uir e m e nts ar e dis c uss e d i n gr e at er d et ail b el o w. If t h e
r e ci pi e nt r eli es o n dis ci pli n ar y pr o c e d ur es f or Titl e I X c o m pli a n c e, t h e Titl e I X c o or di n at or
s h o ul d r e vi e w t h e r e ci pi e nt’s dis ci pli n ar y pr o c e d ur e s t o e ns ur e t h at t h e pr o c e d ur es c o m pl y
wit h t h e pr o m pt a n d e q uit a bl e r e q uir e m e nts of Titl e I X. 2 3

Gri e v a n c e pr o c e d ur e s g e n er all y m a y i n cl u d e v ol u nt ar y i nf or m al m e c h a nis ms ( e. g. , m e di ati o n)
f or r es ol vi n g s o m e t y p es of s e x u al h ar ass m e nt c o m pl ai nts. O C R h as fr e q u e ntl y a d vis e d
r e ci pi e nts, h o w e v er, t h at it is i m pr o p er f or a st u d e nt w h o c o m pl ai ns of h ar ass m e nt t o b e
r e q uir e d t o w or k o ut t h e pr o bl e m dir e ctl y wit h t h e all e g e d p er p etr at or, a n d c ert ai nl y n ot
wit h o ut a p pr o pri at e i n v ol v e m e nt b y t h e s c h o ol ( e. g. , p arti ci p ati o n b y a tr ai n e d c o u n s el or, a
tr ai n e d m e di at or, or, if a p pr o pri at e, a t e a c h er or a d mi nistr at or). I n a d diti o n, as st at e d i n t h e
2 0 0 1 G ui d a n c e , t h e c o m pl ai n a nt m ust b e n otifi e d of t h e ri g ht t o e n d t h e i nf or m al pr o c ess at
a n y ti m e a n d b e gi n t h e f or m al st a g e of t h e c o m pl ai nt pr o c ess. M or e o v er, i n c as es i n v ol vi n g
all e g ati o ns of s e x u al ass a ult, m e di ati o n is n ot a p pr o pri at e e v e n o n a v ol u nt ar y b asis. O C R
r e c o m m e n ds t h at r e ci pi e nt s cl arif y i n t h eir gri e v a n c e pr o c e d ur e s t h at m e di ati o n will n ot b e
us e d t o r es ol v e s e x u al ass a ult c o m pl ai nts.



21
   I d. § 1 0 6. 8( b). Titl e I X als o r e q uir es r e ci pi e nts t o a d o pt a n d p u blis h gri e v a n c e pr o c e d ur es f or e m pl o y e e
c o m pl ai nts of s e x dis cri mi n ati o n.
22
   T h es e pr o c e d ur e s m u st a p pl y t o all st u d e nts, i n cl u di n g at hl et es. If a c o m pl ai nt of s e x u al vi ol e n c e i n v ol v es a
st u d e nt at hl et e, t h e s c h o ol m ust f oll o w it s st a n d ar d pr o c e d ur es f or r es ol vi n g s e x u al vi ol e n c e c o m pl ai nts. S u c h
c o m pl ai nts m u st n ot b e a d dr ess e d s ol el y b y at hl eti cs d e p art m e nt pr o c e d ur e s. A d diti o n all y, if a n all e g e d
p er p etr at or is a n el e m e nt ar y or s e c o n d ar y st u d e nt wit h a dis a bilit y, s c h o ols m ust f oll o w t h e pr o c e d ur al s af e g u ar ds
i n t h e I n di vi d u als wit h Dis a biliti es E d u c ati o n A ct ( at 2 0 U. S. C. § 1 4 1 5 a n d 3 4 C. F. R. § § 3 0 0. 5 0 0- 3 0 0. 5 1 9, 3 0 0. 5 3 0-
3 0 0. 5 3 7) as w ell a s t h e r e q uir e m e nts of S e cti o n 5 0 4 of t h e R e h a bilit ati o n A ct of 1 9 7 3 ( at 3 4 C. F. R. § § 1 0 4. 3 5-
1 0 4. 3 6) w h e n c o n d u cti n g t h e i n v e sti g ati o n a n d h e ari n g.
23
     A s c h o ol m a y n ot a bs ol v e it s elf of its Titl e I X o bli g ati o n s t o i n v esti g at e a n d r es ol v e c o m pl ai nts of s e x u al
h ar ass m e nt or vi ol e n c e b y d el e g ati n g, w h et h er t hr o u g h e x pr ess c o ntr a ct u al a gr e e m e nt or ot h er l ess f or m al
arr a n g e m e nt, t h e r es p o n si bilit y t o a d mi nist er s c h o ol dis ci pli n e t o s c h o ol r e s o ur c e offi c ers or “ c o ntr a ct ” l a w
e nf or c e m e nt offi c ers. S e e 3 4 C. F. R. § 1 0 6. 4.

         Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 9P of
                                                                       L T 89
                                                                           F000251
                                                                            P S A 0008
P a g e 9 – D e ar C oll e a g u e L ett er: S e x u al Vi ol e n c e


            Pr o m pt a n d E q uit a bl e R e q uir e m e nts

As st at e d i n t h e 2 0 0 1 G ui d a n c e , O C R h as i d e ntifi e d a n u m b er of el e m e nts i n e v al u ati n g w h et h er
a s c h o ol’s gri e v a n c e pr o c e d ur es pr o vi d e f or pr o m pt a n d e q uit a bl e r es ol uti o n of s e x u al
h ar ass m e nt c o m pl ai nts. T h es e el e m e nts als o a p pl y t o s e x u al vi ol e n c e c o m pl ai nts b e c a us e, as
e x pl ai n e d a b o v e, s e x u al vi ol e n c e is a f or m of s e x u al h ar ass m e nt. O C R will r e vi e w all as p e cts of a
s c h o ol’s gri e v a n c e pr o c e d ur es, i n cl u di n g t h e f oll o wi n g el e m e nt s t h at ar e criti c al t o a c hi e v e
c o m pli a n c e wit h Titl e I X:
      • N oti c e t o st u d e nts, p ar e nts of el e m e nt ar y a n d s e c o n d ar y st u d e nts, a n d e m pl o y e es of
            t h e gri e v a n c e pr o c e d ur es, i n cl u di n g w h er e c o m pl ai nts m a y b e fil e d;
      • p pli c ati o n of t h e pr o c e d ur es t o c o m pl ai nts all e gi n g h ar ass m e nt c arri e d o ut b y
            A
            e m pl o y e es, ot h er st u d e nts, or t hir d p arti es;
      • A d e q u at e, r eli a bl e, a n d i m p arti al i n v esti g ati o n of c o m pl ai nts, i n cl u di n g t h e o p p ort u nit y
            f or b ot h p arti es t o pr es e nt wit n e ss es a n d ot h er e vi d e n c e;
      • D e si g n at e d a n d r e as o n a bl y pr o m pt ti m e fr a m es f or t h e m aj or st a g es of t h e c o m pl ai nt
            pr o c ess;
      • N oti c e t o p arti es of t h e o ut c o m e of t h e c o m pl ai nt; 2 4 a n d
      • A n ass ur a n c e t h at t h e s c h o ol will t a k e st e ps t o pr e v e nt r e c urr e n c e of a n y h ar ass m e nt
            a n d t o c orr e ct its dis cri mi n at or y eff e cts o n t h e c o m pl ai n a nt a n d ot h ers, if a p pr o pri at e.

As n ot e d i n t h e 2 0 0 1 G ui d a n c e , pr o c e d ur e s a d o pt e d b y s c h o ols will v ar y i n d et ail, s p e cifi cit y,
a n d c o m p o n e nts, r efl e cti n g diff er e n c es i n t h e a g e of st u d e nts, s c h o ol siz es a n d a d mi nistr ati v e
str u ct ur es, St at e or l o c al l e g al r e q uir e m e nts, a n d p ast e x p eri e n c es. Alt h o u g h O C R e x a mi n es
w h et h er all a p pli c a bl e el e m e nts ar e a d dr e ss e d w h e n i n v esti g ati n g s e x u al h ar ass m e nt
c o m pl ai nts, t his l ett er f o c us es o n t h o s e el e m e nts w h er e o ur w or k i n di c at es t h at m or e
cl arifi c ati o n a n d e x pl a n ati o n ar e n e e d e d, i n cl u di n g:

            ( A) N oti c e of t h e gri e v a n c e pr o c e d ur es

T h e pr o c e d ur es f or r es ol vi n g c o m pl ai nts of s e x dis cri mi n ati o n, i n cl u di n g s e x u al h ar ass m e nt,
s h o ul d b e writt e n i n l a n g u a g e a p pr o pri at e t o t h e a g e of t h e s c h o ol’s st u d e nts, e asil y
u n d erst o o d, e asil y l o c at e d, a n d wi d el y distri b ut e d. O C R r e c o m m e n ds t h at t h e gri e v a n c e
pr o c e d ur e s b e pr o mi n e ntl y p o st e d o n s c h o ol W e b sit es; s e nt el e ctr o ni c all y t o all m e m b ers of
t h e s c h o ol c o m m u nit y; a v ail a bl e at v ari o u s l o c ati o n s t hr o u g h o ut t h e s c h o ol or c a m p u s; a n d
s u m m ariz e d i n or att a c h e d t o m aj or p u bli c ati o ns iss u e d b y t h e s c h o ol, s u c h as h a n d b o o ks,
c o d e s of c o n d u ct, a n d c at al o gs f or st u d e nts, p ar e nt s of el e m e nt ar y a n d s e c o n d ar y st u d e nt s,
f a c ult y, a n d st aff.

            ( B) A d e q u at e, R eli a bl e, a n d I m p arti al I n v esti g ati o n of C o m pl ai nts

O C R’s w or k i n di c at es t h at a n u m b er of iss u es r el at e d t o a n a d e q u at e, r eli a bl e, a n d i m p arti al
i n v esti g ati o n aris e i n s e x u al h ar ass m e nt a n d vi ol e n c e c o m pl ai nts. I n s o m e c as es, t h e c o n d u ct
24
   “ O ut c o m e ” d o es n ot r ef er t o i nf or m ati o n a b o ut dis ci pli n ar y s a n cti o n s u nl ess ot h er wis e n ot e d. N oti c e of t h e
o ut c o m e is di s c uss e d i n gr e at er d et ail i n S e cti o n D b el o w.

        Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 10P LofT F89
                                                                             000252
                                                                            P S A 0009
P a g e 1 0 – D e ar C oll e a g u e L ett er: S e x u al Vi ol e n c e


m a y c o nstit ut e b ot h s e x u al h ar ass m e nt u n d er Titl e I X a n d cri mi n al a cti vit y. P oli c e i n v esti g ati o n s
m a y b e us ef ul f or f a ct- g at h eri n g; b ut b e c a us e t h e st a n d ar ds f or cri mi n al i n v esti g ati o ns ar e
diff er e nt, p oli c e i n v esti g ati o ns or r e p orts ar e n ot d et er mi n ati v e of w h et h er s e x u al h ar ass m e nt
or vi ol e n c e vi ol at e s Titl e I X. C o n d u ct m a y c o nstit ut e u nl a wf ul s e x u al h ar ass m e nt u n d er Titl e I X
e v e n if t h e p oli c e d o n ot h a v e s uffi ci e nt e vi d e n c e of a cri mi n al vi ol ati o n. I n a d diti o n, a cri mi n al
i n v esti g ati o n i nt o all e g ati o n s of s e x u al vi ol e n c e d o e s n ot r eli e v e t h e s c h o ol of its d ut y u n d er
Titl e I X t o r es ol v e c o m pl ai nts pr o m ptl y a n d e q uit a bl y.

A s c h o ol s h o ul d n otif y a c o m pl ai n a nt of t h e ri g ht t o fil e a cri mi n al c o m pl ai nt, a n d s h o ul d n ot
diss u a d e a vi cti m fr o m d oi n g s o eit h er d uri n g or aft er t h e s c h o ol’s i nt er n al Titl e I X i n v esti g ati o n.
F or i nst a n c e, if a c o m pl ai n a nt w a nt s t o fil e a p oli c e r e p ort, t h e s c h o ol s h o ul d n ot t ell t h e
c o m pl ai n a nt t h at it is w or ki n g t o w ar d a s ol uti o n a n d i nstr u ct, or as k, t h e c o m pl ai n a nt t o w ait t o
fil e t h e r e p ort.

S c h o ols s h o ul d n ot w ait f or t h e c o n cl usi o n of a cri mi n al i n v esti g ati o n or cri mi n al pr o c e e di n g t o
b e gi n t h eir o w n Titl e I X i n v esti g ati o n a n d, if n e e d e d, m ust t a k e i m m e di at e st e ps t o pr ot e ct t h e
st u d e nt i n t h e e d u c ati o n al s etti n g. F or e x a m pl e, a s c h o ol s h o ul d n ot d el a y c o n d u cti n g its o w n
i n v esti g ati o n or t a ki n g st e p s t o pr ot e ct t h e c o m pl ai n a nt b e c a us e it w a nt s t o s e e w h et h er t h e
all e g e d p er p etr at or will b e f o u n d g uilt y of a cri m e. A n y a gr e e m e nt or M e m or a n d u m of
U n d erst a n di n g ( M O U) wit h a l o c al p oli c e d e p art m e nt m ust all o w t h e s c h o ol t o m e et its Titl e I X
o bli g ati o n t o r es ol v e c o m pl ai nts pr o m ptl y a n d e q uit a bl y. Alt h o u g h a s c h o ol m a y n e e d t o d el a y
t e m p or aril y t h e f a ct-fi n di n g p orti o n of a Titl e I X i n v esti g ati o n w hil e t h e p oli c e ar e g at h eri n g
e vi d e n c e, o n c e n otifi e d t h at t h e p oli c e d e p art m e nt h as c o m pl et e d its g at h eri n g of e vi d e n c e
( n ot t h e ulti m at e o ut c o m e of t h e i n v esti g ati o n or t h e fili n g of a n y c h ar g es), t h e s c h o ol m ust
pr o m ptl y r e s u m e a n d c o m pl et e its f a ct-fi n di n g f or t h e Titl e I X i n v esti g ati o n. 2 5 M or e o v er,
n ot hi n g i n a n M O U or t h e cri mi n al i n v esti g ati o n its elf s h o ul d pr e v e nt a s c h o ol fr o m n otif yi n g
c o m pl ai n a nt s of t h eir Titl e I X ri g hts a n d t h e s c h o ol’s gri e v a n c e pr o c e d ur es, or fr o m t a ki n g
i nt eri m st e ps t o e ns ur e t h e s af et y a n d w ell- b ei n g of t h e c o m pl ai n a nt a n d t h e s c h o ol c o m m u nit y
w hil e t h e l a w e nf or c e m e nt a g e n c y’s f a ct- g at h eri n g is i n pr o gr ess. O C R als o r e c o m m e n d s t h at a
s c h o ol’s M O U i n cl u d e cl e ar p oli ci e s o n w h e n a s c h o ol will r ef er a m att er t o l o c al l a w
e nf or c e m e nt.

As n ot e d a b o v e, t h e Titl e I X r e g ul ati o n r e q uir es s c h o ols t o pr o vi d e e q uit a bl e gri e v a n c e
pr o c e d ur e s. As p art of t h es e pr o c e d ur es, s c h o ols g e n er all y c o n d u ct i n v esti g ati o n s a n d h e ari n gs
t o d et er mi n e w h et h er s e x u al h ar ass m e nt or vi ol e n c e o c c urr e d. I n a d dr e ssi n g c o m pl ai nts fil e d
wit h O C R u n d er Titl e I X, O C R r e vi e ws a s c h o ol’s pr o c e d ur es t o d et er mi n e w h et h er t h e s c h o ol is
usi n g a pr e p o n d er a n c e of t h e e vi d e n c e st a n d ar d t o e v al u at e c o m pl ai nts. T h e S u pr e m e C o urt
h as a p pli e d a pr e p o n d er a n c e of t h e e vi d e n c e st a n d ar d i n ci vil liti g ati o n i n v ol vi n g dis cri mi n ati o n
u n d er Titl e VII of t h e Ci vil Ri g ht s A ct of 1 9 6 4 ( Titl e VII), 4 2 U. S. C. § § 2 0 0 0 e et s e q. Li k e Titl e I X,



25
    I n o n e r e c e nt O C R s e x u al vi ol e n c e c as e, t h e pr os e c ut or’s offi c e i nf or m e d O C R t h at t h e p oli c e d e p art m e nt’s
e vi d e n c e g at h eri n g st a g e t y pi c all y t a k es t hr e e t o t e n c al e n d ar d a ys, alt h o u g h t h e d el a y i n t h e s c h o ol’s i n v esti g ati o n
m a y b e l o n g er i n c ert ai n i n st a n c es.

         Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 11P LofT F89
                                                                              000253
                                                                                  P S A 0010
P a g e 1 1 – D e ar C oll e a g u e L ett er: S e x u al Vi ol e n c e


Titl e VII pr o hi bits dis cri mi n ati o n o n t h e b asis of s e x. 2 6 O C R als o us es a pr e p o n d er a n c e of t h e
e vi d e n c e st a n d ar d w h e n it r es ol v es c o m pl ai nts a g ai nst r e ci pi e nt s. F or i nst a n c e, O C R’s C as e
Pr o c essi n g M a n u al r e q uir es t h at a n o n c o m pli a n c e d et er mi n ati o n b e s u p p ort e d b y t h e
pr e p o n d er a n c e of t h e e vi d e n c e w h e n r e s ol vi n g all e g ati o ns of dis cri mi n ati o n u n d er all t h e
st at ut es e nf or c e d b y O C R, i n cl u di n g Titl e I X. 2 7 O C R als o us es a pr e p o n d er a n c e of t h e e vi d e n c e
st a n d ar d i n its f u n d t er mi n ati o n a d mi nistr ati v e h e ari n gs. 2 8 T h us, i n or d er f or a s c h o ol’s
gri e v a n c e pr o c e d ur es t o b e c o nsist e nt wit h Titl e I X st a n d ar ds, t h e s c h o ol m ust us e a
pr e p o n d er a n c e of t h e e vi d e n c e st a n d ar d ( i. e., it is m or e li k el y t h a n n ot t h at s e x u al h ar ass m e nt
or vi ol e n c e o c c urr e d). T h e “ cl e ar a n d c o n vi n ci n g ” st a n d ar d ( i. e., it is hi g hl y pr o b a bl e or
r e as o n a bl y c ert ai n t h at t h e s e x u al h ar ass m e nt or vi ol e n c e o c c urr e d), c urr e ntl y us e d b y s o m e
s c h o ols, is a hi g h er st a n d ar d of pr o of. Gri e v a n c e pr o c e d ur es t h at us e t his hi g h er st a n d ar d ar e
i n c o nsist e nt wit h t h e st a n d ar d of pr o of e st a blis h e d f or vi ol ati o ns of t h e ci vil ri g hts l a ws, a n d ar e
t h us n ot e q uit a bl e u n d er Titl e I X. T h er ef or e, pr e p o n d er a n c e of t h e e vi d e n c e is t h e a p pr o pri at e
st a n d ar d f or i n v esti g ati n g all e g ati o ns of s e x u al h ar ass m e nt or vi ol e n c e.

T hr o u g h o ut a s c h o ol’s Titl e I X i n v esti g ati o n, i n cl u di n g at a n y h e ari n g, t h e p arti es m ust h a v e a n
e q u al o p p ort u nit y t o pr es e nt r el e v a nt wit n e ss es a n d ot h er e vi d e n c e. T h e c o m pl ai n a nt a n d t h e
all e g e d p er p etr at or m ust b e aff or d e d si mil ar a n d ti m el y a c c ess t o a n y i nf or m ati o n t h at will b e
us e d at t h e h e ari n g. 2 9 F or e x a m pl e, a s c h o ol s h o ul d n ot c o n d u ct a pr e- h e ari n g m e eti n g d uri n g
w hi c h o nl y t h e all e g e d p er p etr at or is pr es e nt a n d gi v e n a n o p p ort u nit y t o pr e s e nt his or h er
si d e of t h e st or y, u nl ess a si mil ar m e eti n g t a k es pl a c e wit h t h e c o m pl ai n a nt; a h e ari n g offi c er or
dis ci pli n ar y b o ar d s h o ul d n ot all o w o nl y t h e all e g e d p er p etr at or t o pr es e nt c h ar a ct er wit n ess es
at a h e ari n g; a n d a s c h o ol s h o ul d n ot all o w t h e all e g e d p er p etr at or t o r e vi e w t h e c o m pl ai n a nt’s


26
    S e e , e. g. , D es ert P al a c e, I n c. v. C ost a , 5 3 9 U. S. 9 0, 9 9 ( 2 0 0 3) ( n oti n g t h at u n d er t h e “ c o n v e nti o n al r ul e of ci vil
liti g ati o n, ” t h e pr e p o n d er a n c e of t h e e vi d e n c e st a n d ar d g e n er all y a p pli es i n c as es u n d er Titl e VII); Pri c e
W at er h o us e v. H o p ki ns , 4 9 0 U. S. 2 2 8, 2 5 2- 5 5 ( 1 9 8 9) ( a p pr o vi n g pr e p o n d er a n c e st a n d ar d i n Titl e VII s e x
dis cri mi n ati o n c as e) ( pl ur alit y o pi ni o n); i d. at 2 6 0 ( W hit e, J., c o n c urri n g i n t h e j u d g m e nt); i d. at 2 6 1 ( O’ C o n n or, J.,
c o n c urri n g i n t h e j u d g m e nt). T h e 2 0 0 1 G ui d a n c e n ot e d ( o n p a g e vi) t h at “[ w] hil e G e bs er a n d D a vis m a d e cl e ar t h at
Titl e VII a g e n c y pri n ci pl es d o n ot a p pl y i n d et er mi ni n g li a bilit y f or m o n e y d a m a g es u n d er Titl e I X, t h e D a vis C o urt
als o i n di c at e d, t hr o u g h its s p e cifi c r ef er e n c e s t o Titl e VII c as el a w, t h at Titl e VII r e m ai n s r el e v a nt i n d et er mi ni n g
w h at c o nstit ut es h ostil e e n vir o n m e nt s e x u al h ar ass m e nt u n d er Titl e I X. ” S e e als o J e n ni n g s v. U ni v. of N. C., 4 8 2 F. 3 d
6 8 6, 6 9 5 ( 4t h Cir. 2 0 0 7) ( “ W e l o o k t o c as e l a w i nt er pr eti n g Titl e VII of t h e Ci vil Ri g ht s A ct of 1 9 6 4 f or g ui d a n c e i n
e v al u ati n g a cl ai m br o u g ht u n d er Titl e I X. ”).
27
    O C R’s C as e Pr o c e ssi n g M a n u al is a v ail a bl e o n t h e D e p art m e nt’s W e b sit e, at
htt p:// w w w 2. e d. g o v/ a b o ut/ offi c es/list/ o cr/ d o cs/ o cr c p m. ht ml .
28
    T h e Titl e I X r e g ul ati o n s a d o pt t h e pr o c e d ur al pr o visi o ns a p pli c a bl e t o Titl e VI of t h e Ci vil Ri g hts A ct of 1 9 6 4. S e e
3 4 C. F. R. § 1 0 6. 7 1 ( “ T h e pr o c e d ur al pr o visi o ns a p pli c a bl e t o Titl e VI of t h e Ci vil Ri g ht s A ct of 1 9 6 4 ar e h er e b y
a d o pt e d a n d i n c or p or at e d h er ei n b y r ef er e n c e. ”). T h e Titl e VI r e g ul ati o ns a p pl y t h e A d mi nistr ati v e Pr o c e d ur e A ct
t o a d mi nistr ati v e h e ari n gs r e q uir e d pri or t o t er mi n ati o n of F e d er al fi n a n ci al as sist a n c e a n d r e q uir e t h at
t er mi n ati o n d e cisi o ns b e “ s u p p ort e d b y a n d i n a c c or d a n c e wit h t h e r eli a bl e, pr o b ati v e a n d s u b st a nti al e vi d e n c e. ”
5 U. S. C. § 5 5 6( d). T h e S u pr e m e C o urt h as i nt er pr et e d “r eli a bl e, pr o b ati v e a n d s u b st a nti al e vi d e n c e ” as a dir e cti o n
t o u s e t h e pr e p o n d er a n c e st a n d ar d. S e e St e a d m a n v. S E C , 4 5 0 U. S. 9 1, 9 8- 1 0 2 ( 1 9 8 1).
29
    A c c ess t o t his i nf or m ati o n m ust b e pr o vi d e d c o nsist e nt wit h F E R P A. F or e x a m pl e, if a s c h o ol i ntr o d u c es a n
all e g e d p er p etr at or’s pri or dis ci pli n ar y r e c or ds t o s u p p ort a t o u g h er dis ci pli n ar y p e n alt y, t h e c o m pl ai n a nt w o ul d
n ot b e all o w e d a c c ess t o t h o s e r e c or ds. A d diti o n all y, a c c ess s h o ul d n ot b e gi v e n t o pri vil e g e d or c o nfi d e nti al
i nf or m ati o n. F or e x a m pl e, t h e all e g e d p er p etr at or s h o ul d n ot b e gi v e n a c c ess t o c o m m u ni c ati o ns b et w e e n t h e
c o m pl ai n a nt a n d a c o u ns el or or i nf or m ati o n r e g ar di n g t h e c o m pl ai n a nt’s s e x u al hist or y.

        Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 12P LofT F89
                                                                             000254
                                                                              P S A 0011
P a g e 1 2 – D e ar C oll e a g u e L ett er: S e x u al Vi ol e n c e


st at e m e nt wit h o ut als o all o wi n g t h e c o m pl ai n a nt t o r e vi e w t h e all e g e d p er p etr at or’s
st at e m e nt.

W hil e O C R d o es n ot r e q uir e s c h o ols t o p er mit p arti e s t o h a v e l a w y ers at a n y st a g e of t h e
pr o c e e di n gs, if a s c h o ol c h o o s es t o all o w t h e p arti es t o h a v e t h eir l a w y ers p arti ci p at e i n t h e
pr o c e e di n gs, it m ust d o s o e q u all y f or b ot h p arti es. A d diti o n all y, a n y s c h o ol-i m p os e d
r estri cti o ns o n t h e a bilit y of l a w y ers t o s p e a k or ot h er wis e p arti ci p at e i n t h e pr o c e e di n gs s h o ul d
a p pl y e q u all y. O C R str o n gl y dis c o ur a g es s c h o ols fr o m all o wi n g t h e p arti e s p ers o n all y t o
q u esti o n or cr oss- e x a mi n e e a c h ot h er d uri n g t h e h e ari n g. All o wi n g a n all e g e d p er p etr at or t o
q u esti o n a n all e g e d vi cti m dir e ctl y m a y b e tr a u m ati c or i nti mi d ati n g, t h er e b y p ossi bl y es c al ati n g
or p er p et u ati n g a h o stil e e n vir o n m e nt. O C R als o r e c o m m e n d s t h at s c h o ols pr o vi d e a n a p p e als
pr o c ess. If a s c h o ol pr o vi d es f or a p p e al of t h e fi n di n gs or r e m e d y, it m ust d o s o f or b ot h p arti es.
S c h o ols m ust m ai nt ai n d o c u m e nt ati o n of all pr o c e e di n gs, w hi c h m a y i n cl u d e writt e n fi n di n gs of
f a cts, tr a ns cri pt s, or a u di o r e c or di n gs.

All p ers o n s i n v ol v e d i n i m pl e m e nti n g a r e ci pi e nt’s gri e v a n c e pr o c e d ur es ( e. g. , Titl e I X
c o or di n at ors, i n v esti g at ors, a n d a dj u di c at ors) m ust h a v e tr ai ni n g or e x p eri e n c e i n h a n dli n g
c o m pl ai nts of s e x u al h ar ass m e nt a n d s e x u al vi ol e n c e, a n d i n t h e r e ci pi e nt’s gri e v a n c e
pr o c e d ur e s. T h e tr ai ni n g als o s h o ul d i n cl u d e a p pli c a bl e c o nfi d e nti alit y r e q uir e m e nt s. I n s e x u al
vi ol e n c e c as es, t h e f a ct-fi n d er a n d d e cisi o n- m a k er als o s h o ul d h a v e a d e q u at e tr ai ni n g or
k n o wl e d g e r e g ar di n g s e x u al vi ol e n c e. 3 0 A d diti o n all y, a s c h o ol’s i n v esti g ati o n a n d h e ari n g
pr o c ess es c a n n ot b e e q uit a bl e u nl ess t h e y ar e i m p arti al. T h er ef or e, a n y r e al or p er c ei v e d
c o nfli cts of i nt er est b et w e e n t h e f a ct-fi n d er or d e cisi o n- m a k er a n d t h e p arti es s h o ul d b e
dis cl os e d.

P u bli c a n d st at e-s u p p ort e d s c h o ols m ust pr o vi d e d u e pr o c ess t o t h e all e g e d p er p etr at or.
H o w e v er, s c h o ols s h o ul d e ns ur e t h at st e p s t a k e n t o a c c or d d u e pr o c ess ri g hts t o t h e all e g e d
p er p etr at or d o n ot r estri ct or u n n e c ess aril y d el a y t h e Titl e I X pr ot e cti o ns f or t h e c o m pl ai n a nt.

             ( C) D esi g n at e d a n d R e as o n a bl y Pr o m pt Ti m e Fr a m es

O C R will e v al u at e w h et h er a s c h o ol’s gri e v a n c e pr o c e d ur es s p e cif y t h e ti m e fr a m es f or all m aj or
st a g es of t h e pr o c e d ur es, as w ell as t h e pr o c ess f or e xt e n di n g ti m eli n e s. Gri e v a n c e pr o c e d ur e s
s h o ul d s p e cif y t h e ti m e fr a m e wit hi n w hi c h: ( 1) t h e s c h o ol will c o n d u ct a f ull i n v esti g ati o n of
t h e c o m pl ai nt; ( 2) b ot h p arti es r e c ei v e a r e s p o ns e r e g ar di n g t h e o ut c o m e of t h e c o m pl ai nt; a n d
( 3) t h e p arti es m a y fil e a n a p p e al, if a p pli c a bl e. B ot h p arti es s h o ul d b e gi v e n p eri o di c st at us
u p d at e s. B as e d o n O C R e x p eri e n c e, a t y pi c al i n v esti g ati o n t a k es a p pr o xi m at el y 6 0 c al e n d ar d a ys
f oll o wi n g r e c ei pt of t h e c o m pl ai nt. W h et h er O C R c o nsi d ers c o m pl ai nt r es ol uti o ns t o b e ti m el y,
h o w e v er, will v ar y d e p e n di n g o n t h e c o m pl e xit y of t h e i n v esti g ati o n a n d t h e s e v erit y a n d e xt e nt
of t h e h ar ass m e nt. F or e x a m pl e, t h e r e s ol uti o n of a c o m pl ai nt i n v ol vi n g m ulti pl e i n ci d e nt s wit h
m ulti pl e c o m pl ai n a nts li k el y w o ul d t a k e l o n g er t h a n o n e i n v ol vi n g a si n gl e i n ci d e nt t h at


30
   F or i n st a n c e, if a n i n v esti g ati o n or h e ari n g i n v ol v es f or e nsi c e vi d e n c e, t h at e vi d e n c e s h o ul d b e r e vi e w e d b y a
tr ai n e d f or e nsi c e x a mi n er.

         Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 13P LofT F89
                                                                              000255
                                                                                 P S A 0012
P a g e 1 3 – D e ar C oll e a g u e L ett er: S e x u al Vi ol e n c e


o c c urr e d i n a cl assr o o m d uri n g s c h o ol h o urs wit h a si n gl e c o m pl ai n a nt.

            ( D) N oti c e of O ut c o m e

B ot h p arti e s m ust b e n otifi e d, i n writi n g, a b o ut t h e o ut c o m e of b ot h t h e c o m pl ai nt a n d a n y
a p p e al, 3 1 i. e., w h et h er h ar ass m e nt w as f o u n d t o h a v e o c c urr e d. O C R r e c o m m e n d s t h at s c h o ols
pr o vi d e t h e writt e n d et er mi n ati o n of t h e fi n al o ut c o m e t o t h e c o m pl ai n a nt a n d t h e all e g e d
p er p etr at or c o n c urr e ntl y. Titl e I X d o es n ot r e q uir e t h e s c h o ol t o n otif y t h e all e g e d p er p etr at or
of t h e o ut c o m e b ef or e it n otifi es t h e c o m pl ai n a nt.

D u e t o t h e i nt er s e cti o n of Titl e I X a n d F E R P A r e q uir e m e nts, O C R r e c o g niz e s t h at t h er e m a y b e
c o nf usi o n r e g ar di n g w h at i nf or m ati o n a s c h o ol m a y dis cl os e t o t h e c o m pl ai n a nt. 3 2 F E R P A
g e n er all y pr o hi bits t h e n o n c o ns e ns u al dis cl os ur e of p ers o n all y i d e ntifi a bl e i nf or m ati o n fr o m a
st u d e nt’s “ e d u c ati o n r e c or d. ” H o w e v er, as st at e d i n t h e 2 0 0 1 G ui d a n c e , F E R P A p er mits a s c h o ol
t o dis cl os e t o t h e h ar ass e d st u d e nt i nf or m ati o n a b o ut t h e s a n cti o n i m p o s e d u p o n a st u d e nt
w h o w as f o u n d t o h a v e e n g a g e d i n h ar ass m e nt w h e n t h e s a n cti o n dir e ctl y r el at es t o t h e
h ar ass e d st u d e nt. T his i n cl u d e s a n or d er t h at t h e h ar ass er st a y a w a y fr o m t h e h ar ass e d
st u d e nt, or t h at t h e h ar ass er is pr o hi bit e d fr o m att e n di n g s c h o ol f or a p eri o d of ti m e, or
tr a nsf err e d t o ot h er cl ass es or a n ot h er r e si d e n c e h all. 3 3 Dis cl os ur e of ot h er i nf or m ati o n i n t h e
st u d e nt’s “ e d u c ati o n r e c or d, ” i n cl u di n g i nf or m ati o n a b o ut s a n cti o ns t h at d o n ot r el at e t o t h e
h ar ass e d st u d e nt, m a y r es ult i n a vi ol ati o n of F E R P A.

F urt h er, w h e n t h e c o n d u ct i n v ol v es a cri m e of vi ol e n c e or a n o n-f or ci bl e s e x off e ns e, 3 4 F E R P A
p er mits a p o sts e c o n d ar y i nstit uti o n t o dis cl os e t o t h e all e g e d vi cti m t h e fi n al r es ults of a
31
    As n ot e d pr e vi o u sl y, “ o ut c o m e ” d o es n ot r ef er t o i nf or m ati o n a b o ut dis ci pli n ar y s a n cti o ns u nl es s ot h er wis e
n ot e d.
32
    I n 1 9 9 4, C o n gr ess a m e n d e d t h e G e n er al E d u c ati o n Pr o visi o ns A ct ( G E P A), of w hi c h F E R P A is a p art, t o st at e t h at
n ot hi n g i n G E P A “s h all b e c o nstr u e d t o aff e ct t h e a p pli c a bilit y of titl e VI of t h e Ci vil Ri g ht s A ct of 1 9 6 4, titl e I X of
E d u c ati o n A m e n d m e nts of 1 9 7 2, titl e V of t h e R e h a bilit ati o n A ct of 1 9 7 3, t h e A g e Dis cri mi n ati o n A ct, or ot h er
st at ut es pr o hi biti n g dis cri mi n ati o n, t o a n y a p pli c a bl e pr o gr a m. ” 2 0 U. S. C. § 1 2 2 1( d). T h e D e p art m e nt i nt er pr ets
t his pr o visi o n t o m e a n t h at F E R P A c o nti n u es t o a p pl y i n t h e c o nt e xt of Titl e I X e nf or c e m e nt, b ut if t h er e is a dir e ct
c o nfli ct b et w e e n t h e r e q uir e m e nts of F E R P A a n d t h e r e q uir e m e nts of Titl e I X, s u c h t h at e nf or c e m e nt of F E R P A
w o ul d i nt erf er e wit h t h e pri m ar y p ur p os e of Titl e I X t o eli mi n at e s e x- b as e d dis cri mi n ati o n i n s c h o ols, t h e
r e q uir e m e nts of Titl e I X o v erri d e a n y c o nfli cti n g F E R P A pr o visi o ns. S e e 2 0 0 1 G ui d a n c e at vii.
33
    T his i nf or m ati o n dir e ctl y r el at es t o t h e c o m pl ai n a nt a n d is p arti c ul arl y i m p ort a nt i n s e x u al h ar ass m e nt c as es
b e c a us e it aff e ct s w h et h er a h o stil e e n vir o n m e nt h as b e e n eli mi n at e d. B e c a u s e s e ei n g t h e p er p etr at or m a y b e
tr a u m ati c, a c o m pl ai n a nt i n a s e x u al h ar ass m e nt c as e m a y c o nti n u e t o b e s u bj e ct t o a h ostil e e n vir o n m e nt if h e or
s h e d o es n ot k n o w w h e n t h e p er p etr at or will r et ur n t o s c h o ol or w h et h er h e or s h e will c o nti n u e t o s h ar e cl ass e s
or a r esi d e n c e h all wit h t h e p er p etr at or. T hi s i nf or m ati o n als o dir e ctl y aff e ct s a c o m pl ai n a nt’s d e cisi o n r e g ar di n g
h o w t o w or k wit h t h e s c h o ol t o eli mi n at e t h e h ostil e e n vir o n m e nt a n d pr e v e nt its r e c urr e n c e. F or i n st a n c e, if a
c o m pl ai n a nt k n o ws t h at t h e p er p etr at or will n ot b e at s c h o ol or will b e tr a nsf err e d t o ot h er cl ass e s or a n ot h er
r esi d e n c e h all f or t h e r est of t h e y e ar, t h e c o m pl ai n a nt m a y b e l ess li k el y t o w a nt t o tr a nsf er t o a n ot h er s c h o ol or
c h a n g e cl ass es, b ut if t h e p er p etr at or will b e r et ur ni n g t o s c h o ol aft er a f e w d a ys or w e e ks, or r e m ai ni n g i n t h e
c o m pl ai n a nt’s cl ass e s or r e si d e n c e h all, t h e c o m pl ai n a nt m a y w a nt t o tr a nsf er s c h o ols or c h a n g e cl ass es t o a v oi d
c o nt a ct. T h u s, t h e c o m pl ai n a nt c a n n ot m a k e a n i nf or m e d d e cisi o n a b o ut h o w b est t o r es p o n d wit h o ut t his
i nf or m ati o n.
34
    U n d er t h e F E R P A r e g ul ati o n s, cri m e s of vi ol e n c e i n cl u d e ars o n; ass a ult off e ns es ( a g gr a v at e d ass a ult, si m pl e
ass a ult, i nti mi d ati o n); b ur gl ar y; cri mi n al h o mi ci d e ( m a n sl a u g ht er b y n e gli g e n c e); cri mi n al h o mi ci d e ( m ur d er a n d

        Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 14P LofT F89
                                                                             000256
                                                                            P S A 0013
P a g e 1 4 – D e ar C oll e a g u e L ett er: S e x u al Vi ol e n c e


dis ci pli n ar y pr o c e e di n g a g ai nst t h e all e g e d p er p etr at or, r e g ar dl ess of w h et h er t h e i nstit uti o n
c o n cl u d e d t h at a vi ol ati o n w as c o m mitt e d. 3 5 A d diti o n all y, a p osts e c o n d ar y i nstit uti o n m a y
dis cl os e t o a n y o n e — n ot j ust t h e all e g e d vi cti m —t h e fi n al r es ults of a dis ci pli n ar y pr o c e e di n g if
it d et er mi n e s t h at t h e st u d e nt is a n all e g e d p er p etr at or of a cri m e of vi ol e n c e or a n o n-f or ci bl e
s e x off e ns e, a n d, wit h r es p e ct t o t h e all e g ati o n m a d e, t h e st u d e nt h as c o m mitt e d a vi ol ati o n of
t h e i nstit uti o n’s r ul es or p oli ci es. 3 6

P osts e c o n d ar y i nstit uti o ns als o ar e s u bj e ct t o a d diti o n al r ul es u n d er t h e Cl er y A ct. T his l a w,
w hi c h a p pli es t o p osts e c o n d ar y i nstit uti o ns t h at p arti ci p at e i n F e d er al st u d e nt fi n a n ci al ai d
pr o gr a ms, r e q uir e s t h at “ b ot h t h e a c c us er a n d t h e a c c us e d m ust b e i nf or m e d of t h e o ut c o m e 3 7
of a n y i nstit uti o n al dis ci pli n ar y pr o c e e di n g br o u g ht all e gi n g a s e x off e ns e. ” 3 8 C o m pli a n c e wit h
t his r e q uir e m e nt d o es n ot c o nstit ut e a vi ol ati o n of F E R P A. F urt h er m or e, t h e F E R P A li mit ati o n s
o n r e dis cl os ur e of i nf or m ati o n d o n ot a p pl y t o i nf or m ati o n t h at p o sts e c o n d ar y i nstit uti o ns ar e
r e q uir e d t o dis cl os e u n d er t h e Cl er y A ct. 3 9 A c c or di n gl y, p osts e c o n d ar y i nstit uti o ns m a y n ot
r e q uir e a c o m pl ai n a nt t o a bi d e b y a n o n dis cl os ur e a gr e e m e nt, i n writi n g or ot h er wis e, t h at
w o ul d pr e v e nt t h e r e dis cl os ur e of t his i nf or m ati o n.

St e ps t o Pr e v e nt S e x u al H ar ass m e nt a n d S e x u al Vi ol e n c e a n d C orr e ct it s Dis cri mi n at or y
Eff e cts o n t h e C o m pl ai n a nt a n d Ot h ers

E d u c ati o n a n d Pr e v e nti o n

I n a d diti o n t o e n s uri n g f ull c o m pli a n c e wit h Titl e I X, s c h o ols s h o ul d t a k e pr o a cti v e m e as ur es t o
pr e v e nt s e x u al h ar ass m e nt a n d vi ol e n c e. O C R r e c o m m e n ds t h at all s c h o ols i m pl e m e nt
pr e v e nti v e e d u c ati o n pr o gr a m s a n d m a k e vi cti m r es o ur c es, i n cl u di n g c o m pr e h e n si v e vi cti m
s er vi c es, a v ail a bl e. S c h o ols m a y w a nt t o i n cl u d e t h es e e d u c ati o n pr o gr a ms i n t h eir
( 1) ori e nt ati o n pr o gr a ms f or n e w st u d e nts, f a c ult y, st aff, a n d e m pl o y e es; ( 2) tr ai ni n g f or
st u d e nts w h o s er v e as a d vis ors i n r esi d e n c e h alls; ( 3) tr ai ni n g f or st u d e nt at hl et es a n d c o a c h es;
a n d ( 4) s c h o ol ass e m bli es a n d “ b a c k t o s c h o ol ni g ht s. ” T h e s e pr o gr a ms s h o ul d i n cl u d e a


n o n- n e gli g e nt m a nsl a u g ht er); d estr u cti o n, d a m a g e or v a n d alis m of pr o p ert y; ki d n a p pi n g/ a b d u cti o n; r o b b er y; a n d
f or ci bl e s e x off e n s es. F or ci bl e s e x off e n s e s ar e d efi n e d as a n y s e x u al a ct dir e ct e d a g ai n st a n ot h er p ers o n f or ci bl y or
a g ai n st t h at p ers o n’s will, or n ot f or ci bl y or a g ai nst t h e p ers o n’s will w h er e t h e vi cti m is i n c a p a bl e of gi vi n g
c o ns e nt. F or ci bl e s e x off e ns es i n cl u d e r a p e, s o d o m y, s e x u al ass a ult wit h a n o bj e ct, a n d f or ci bl e f o n dli n g. N o n-
f or ci bl e s e x off e n s es ar e i n c e st a n d st at ut or y r a p e. 3 4 C. F. R. P art 9 9, A p p. A.
35
    3 4 C. F. R. § 9 9. 3 1( a)( 1 3). F or p ur p o s es of 3 4 C. F. R. § § 9 9. 3 1( a)( 1 3)-( 1 4), dis cl o s ur e of “fi n al r es ult s ” is li mit e d t o
t h e n a m e of t h e all e g e d p er p etr at or, a n y vi ol ati o n f o u n d t o h a v e b e e n c o m mitt e d, a n d a n y s a n cti o n i m p os e d
a g ai n st t h e p er p etr at or b y t h e s c h o ol. 3 4 C. F. R. § 9 9. 3 9.
36
    3 4 C. F. R. § 9 9. 3 1( a)( 1 4).
37
    F or p ur p o s es of t h e Cl er y A ct, “ o ut c o m e ” m e a n s t h e i nstit uti o n’s fi n al d et er mi n ati o n wit h r es p e ct t o t h e all e g e d
s e x off e n s e a n d a n y s a n cti o n s i m p o s e d a g ai n st t h e a c c us e d. 3 4 C. F. R. § 6 6 8. 4 6( b)( 1 1)( vi)( B).
38
    3 4 C. F. R. § 6 6 8. 4 6( b)( 1 1)( vi)( B). U n d er t h e Cl er y A ct, f or ci bl e s e x off e n s es ar e d efi n e d as a n y s e x u al a ct dir e ct e d
a g ai n st a n ot h er p ers o n f or ci bl y or a g ai n st t h at p ers o n’s will, or n ot f or ci bl y or a g ai nst t h e p ers o n’s will w h er e t h e
p ers o n is i n c a p a bl e of gi vi n g c o ns e nt. F or ci bl e s e x off e ns e s i n cl u d e f or ci bl e r a p e, f or ci bl e s o d o m y, s e x u al ass a ult
wit h a n o bj e ct, a n d f or ci bl e f o n dli n g. N o n-f or ci bl e s e x off e n s es i n cl u d e i n c est a n d st at ut or y r a p e. 3 4 C. F. R. P art
6 6 8, S u b pt. D, A p p. A.
39
    3 4 C. F. R. § 9 9. 3 3( c).

        Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 15P LofT F89
                                                                             000257
                                                                               P S A 0014
P a g e 1 5 – D e ar C oll e a g u e L ett er: S e x u al Vi ol e n c e


dis c u ssi o n of w h at c o nstit ut es s e x u al h ar ass m e nt a n d s e x u al vi ol e n c e, t h e s c h o ol’s p oli ci es a n d
dis ci pli n ar y pr o c e d ur es, a n d t h e c o ns e q u e n c es of vi ol ati n g t h es e p oli ci es.

T h e e d u c ati o n pr o gr a ms als o s h o ul d i n cl u d e i nf or m ati o n ai m e d at e n c o ur a gi n g st u d e nt s t o
r e p ort i n ci d e nt s of s e x u al vi ol e n c e t o t h e a p pr o pri at e s c h o ol a n d l a w e nf or c e m e nt a ut h oriti es.
S c h o ols s h o ul d b e a w ar e t h at vi cti m s or t hir d p arti es m a y b e d et err e d fr o m r e p orti n g i n ci d e nts
if al c o h ol, dr u gs, or ot h er vi ol ati o n s of s c h o ol or c a m p us r ul es w er e i n v ol v e d. 4 0 As a r es ult,
s c h o ols s h o ul d c o nsi d er w h et h er t h eir dis ci pli n ar y p oli ci es h a v e a c hilli n g eff e ct o n vi cti ms’ or
ot h er st u d e nts’ r e p orti n g of s e x u al vi ol e n c e off e ns es. F or e x a m pl e, O C R r e c o m m e n ds t h at
s c h o ols i nf or m st u d e nts t h at t h e s c h o ols’ pri m ar y c o n c er n is st u d e nt s af et y, t h at a n y ot h er
r ul es vi ol ati o ns will b e a d dr ess e d s e p ar at el y fr o m t h e s e x u al vi ol e n c e all e g ati o n, a n d t h at us e of
al c o h ol or dr u gs n e v er m a k es t h e vi cti m at f a ult f or s e x u al vi ol e n c e.

O C R als o r e c o m m e n ds t h at s c h o ols d e v el o p s p e cifi c s e x u al vi ol e n c e m at eri als t h at i n cl u d e t h e
s c h o ols’ p oli ci es, r ul es, a n d r es o ur c es f or st u d e nts, f a c ult y, c o a c h es, a n d a d mi nistr at ors.
S c h o ols als o s h o ul d i n cl u d e s u c h i nf or m ati o n i n t h eir e m pl o y e e h a n d b o o k a n d a n y h a n d b o o ks
t h at st u d e nt at hl et es a n d m e m b ers of st u d e nt a cti vit y gr o u ps r e c ei v e. T h es e m at eri als s h o ul d
i n cl u d e w h er e a n d t o w h o m st u d e nts s h o ul d g o if t h e y ar e vi cti ms of s e x u al vi ol e n c e. T h es e
m at eri als als o s h o ul d t ell st u d e nts a n d s c h o ol e m pl o y e es w h at t o d o if t h e y l e ar n of a n i n ci d e nt
of s e x u al vi ol e n c e. S c h o ols als o s h o ul d ass ess st u d e nt a cti viti es r e g ul arl y t o e ns ur e t h at t h e
pr a cti c es a n d b e h a vi or of st u d e nt s d o n ot vi ol at e t h e s c h o ols’ p oli ci es a g ai n st s e x u al
h ar ass m e nt a n d s e x u al vi ol e n c e.

R e m e di e s a n d E nf or c e m e nt

As dis c uss e d a b o v e, if a s c h o ol d et er mi n es t h at s e x u al h ar ass m e nt t h at cr e at e s a h ostil e
e n vir o n m e nt h as o c c urr e d, it m ust t a k e i m m e di at e a cti o n t o eli mi n at e t h e h o stil e e n vir o n m e nt,
pr e v e nt its r e c urr e n c e, a n d a d dr ess its eff e cts. I n a d diti o n t o c o u ns eli n g or t a ki n g dis ci pli n ar y
a cti o n a g ai nst t h e h ar ass er, eff e cti v e c orr e cti v e a cti o n m a y r e q uir e r e m e di es f or t h e
c o m pl ai n a nt, as w ell as c h a n g es t o t h e s c h o ol’s o v er all s er vi c es or p oli ci es. E x a m pl es of t h es e
a cti o n s ar e dis c uss e d i n gr e at er d et ail b el o w.

Titl e I X r e q uir es a s c h o ol t o t a k e st e ps t o pr ot e ct t h e c o m pl ai n a nt as n e c ess ar y, i n cl u di n g t a ki n g
i nt eri m st e ps b ef or e t h e fi n al o ut c o m e of t h e i n v esti g ati o n. T h e s c h o ol s h o ul d u n d ert a k e t h es e
st e p s pr o m ptl y o n c e it h as n oti c e of a s e x u al h ar ass m e nt or vi ol e n c e all e g ati o n. T h e s c h o ol
s h o ul d n otif y t h e c o m pl ai n a nt of his or h er o pti o ns t o a v oi d c o nt a ct wit h t h e all e g e d
p er p etr at or a n d all o w st u d e nts t o c h a n g e a c a d e mi c or li vi n g sit u ati o ns as a p pr o pri at e. F or
i nst a n c e, t h e s c h o ol m a y pr o hi bit t h e all e g e d p er p etr at or fr o m h a vi n g a n y c o nt a ct wit h t h e
c o m pl ai n a nt p e n di n g t h e r e s ults of t h e s c h o ol’s i n v esti g ati o n. W h e n t a ki n g st e p s t o s e p ar at e
t h e c o m pl ai n a nt a n d all e g e d p er p etr at or, a s c h o ol s h o ul d mi ni miz e t h e b ur d e n o n t h e

40
   T h e D e p art m e nt’s Hi g h er E d u c ati o n C e nt er f or Al c o h ol, Dr u g A b us e, a n d Vi ol e n c e Pr e v e nti o n ( H E C) h el ps
c a m p us e s a n d c o m m u niti es a d dr ess pr o bl e ms of al c o h ol, ot h er dr u gs, a n d vi ol e n c e b y i d e ntif yi n g eff e cti v e
str at e gi es a n d pr o gr a ms b as e d u p o n t h e b est pr e v e nti o n s ci e n c e. I nf or m ati o n o n H E C r es o ur c es a n d t e c h ni c al
assi st a n c e c a n b e f o u n d at w w w. hi g h er e d c e nt er. or g .

        Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 16P LofT F89
                                                                             000258
                                                                             P S A 0015
P a g e 1 6 – D e ar C oll e a g u e L ett er: S e x u al Vi ol e n c e


c o m pl ai n a nt, a n d t h u s s h o ul d n ot, as a m att er of c o urs e, r e m o v e c o m pl ai n a nt s fr o m cl ass es or
h o usi n g w hil e all o wi n g all e g e d p er p etr at ors t o r e m ai n. I n a d diti o n, s c h o ols s h o ul d e ns ur e t h at
c o m pl ai n a nt s ar e a w ar e of t h eir Titl e I X ri g hts a n d a n y a v ail a bl e r es o ur c es, s u c h as c o u ns eli n g,
h e alt h, a n d m e nt al h e alt h s er vi c es, a n d t h eir ri g ht t o fil e a c o m pl ai nt wit h l o c al l a w
e nf or c e m e nt. 4 1

S c h o ols s h o ul d b e a w ar e t h at c o m pl ai nts of s e x u al h ar ass m e nt or vi ol e n c e m a y b e f oll o w e d b y
r et ali ati o n b y t h e all e g e d p er p etr at or or his or h er ass o ci at e s. F or i nst a n c e, fri e n d s of t h e
all e g e d p er p etr at or m a y s u bj e ct t h e c o m pl ai n a nt t o n a m e- c alli n g a n d t a u nti n g. As p art of t h eir
Titl e I X o bli g ati o ns, s c h o ols m ust h a v e p oli ci es a n d pr o c e d ur es i n pl a c e t o pr ot e ct a g ai nst
r et ali at or y h ar ass m e nt. At a mi ni m u m, s c h o ols m ust e n s ur e t h at c o m pl ai n a nt s a n d t h eir
p ar e nts, if a p pr o pri at e, k n o w h o w t o r e p ort a n y s u bs e q u e nt pr o bl e ms, a n d s h o ul d f oll o w- u p
wit h c o m pl ai n a nts t o d et er mi n e w h et h er a n y r et ali ati o n or n e w i n ci d e nts of h ar ass m e nt h a v e
o c c urr e d.

W h e n O C R fi n ds t h at a s c h o ol h as n ot t a k e n pr o m pt a n d eff e cti v e st e ps t o r es p o n d t o s e x u al
h ar ass m e nt or vi ol e n c e, O C R will s e e k a p pr o pri at e r e m e di es f or b ot h t h e c o m pl ai n a nt a n d t h e
br o a d er st u d e nt p o p ul ati o n. W h e n c o n d u cti n g Titl e I X e nf or c e m e nt a cti viti es, O C R s e e ks t o
o bt ai n v ol u nt ar y c o m pli a n c e fr o m r e ci pi e nt s. W h e n a r e ci pi e nt d o es n ot c o m e i nt o c o m pli a n c e
v ol u nt aril y, O C R m a y i niti at e pr o c e e di n gs t o wit h dr a w F e d er al f u n di n g b y t h e D e p art m e nt or
r ef er t h e c as e t o t h e U. S. D e p art m e nt of J usti c e f or liti g ati o n.

S c h o ols s h o ul d pr o a cti v el y c o nsi d er t h e f oll o wi n g r e m e di es w h e n d et er mi ni n g h o w t o r es p o n d
t o s e x u al h ar ass m e nt or vi ol e n c e. T h e s e ar e t h e s a m e t y p es of r e m e di es t h at O C R w o ul d s e e k i n
its c as es.

D e p e n di n g o n t h e s p e cifi c n at ur e of t h e pr o bl e m, r e m e di es f or t h e c o m pl ai n a nt mi g ht i n cl u d e,
b ut ar e n ot li mit e d t o: 4 2
      • pr o vi di n g a n es c ort t o e ns ur e t h at t h e c o m pl ai n a nt c a n m o v e s af el y b et w e e n cl ass es
            a n d a cti viti es;
      • e ns uri n g t h at t h e c o m pl ai n a nt a n d all e g e d p er p etr at or d o n ot att e n d t h e s a m e cl ass es;
      • m o vi n g t h e c o m pl ai n a nt or all e g e d p er p etr at or t o a diff er e nt r esi d e n c e h all or, i n t h e
            c as e of a n el e m e nt ar y or s e c o n d ar y s c h o ol st u d e nt, t o a n ot h er s c h o ol wit hi n t h e
            distri ct;
      • pr o vi di n g c o u ns eli n g s er vi c es;
      • pr o vi di n g m e di c al s er vi c es;
      • pr o vi di n g a c a d e mi c s u p p ort s er vi c es, s u c h as t ut ori n g;

41
    T h e Cl er y A ct r e q uir es p o sts e c o n d ar y i nstit uti o ns t o d e v el o p a n d distri b ut e a st at e m e nt of p oli c y t h at i nf or ms
st u d e nt s of t h eir o pti o ns t o n otif y pr o p er l a w e nf or c e m e nt a ut h oriti es, i n cl u di n g c a m p us a n d l o c al p oli c e, a n d t h e
o pti o n t o b e assist e d b y c a m p us p ers o n n el i n n otif yi n g s u c h a ut h oriti es. T h e p oli c y als o m ust n otif y st u d e nt s of
e xisti n g c o u n s eli n g, m e nt al h e alt h, or ot h er st u d e nt s er vi c e s f or vi cti ms of s e x u al ass a ult, b ot h o n c a m p us a n d i n
t h e c o m m u nit y. 2 0 U. S. C. § § 1 0 9 2(f)( 8)( B)( v)-( vi).
42
    S o m e of t h e s e r e m e di es als o c a n b e u s e d as i nt eri m m e as ur es b ef or e t h e s c h o ol’s i n v esti g ati o n is c o m pl et e.

        Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 17P LofT F89
                                                                             000259
                                                                             P S A 0016
P a g e 1 7 – D e ar C oll e a g u e L ett er: S e x u al Vi ol e n c e


      •      arr a n gi n g f or t h e c o m pl ai n a nt t o r e-t a k e a c o urs e or wit h dr a w fr o m a cl ass wit h o ut
             p e n alt y, i n cl u di n g e ns uri n g t h at a n y c h a n g es d o n ot a d v ers el y aff e ct t h e c o m pl ai n a nt’s
             a c a d e mi c r e c or d; a n d
      •      r e vi e wi n g a n y dis ci pli n ar y a cti o n s t a k e n a g ai nst t h e c o m pl ai n a nt t o s e e if t h er e is a
             c a us al c o n n e cti o n b et w e e n t h e h ar ass m e nt a n d t h e mis c o n d u ct t h at m a y h a v e r es ult e d
             i n t h e c o m pl ai n a nt b ei n g dis ci pli n e d. 4 3

R e m e di es f or t h e br o a d er st u d e nt p o p ul ati o n mi g ht i n cl u d e, b ut ar e n ot li mit e d t o:
C o u ns eli n g a n d Tr ai ni n g
      • off eri n g c o u ns eli n g, h e alt h, m e nt al h e alt h, or ot h er h olisti c a n d c o m pr e h e nsi v e vi cti m
            s er vi c es t o all st u d e nts aff e ct e d b y s e x u al h ar ass m e nt or s e x u al vi ol e n c e, a n d n otif yi n g
            st u d e nts of c a m p us a n d c o m m u nit y c o u ns eli n g, h e alt h, m e nt al h e alt h, a n d ot h er
            st u d e nt s er vi c es;
      • d e si g n ati n g a n i n di vi d u al fr o m t h e s c h o ol’s c o u ns eli n g c e nt er t o b e “ o n c all ” t o assist
            vi cti ms of s e x u al h ar ass m e nt or vi ol e n c e w h e n e v er n e e d e d;
      • tr ai ni n g t h e Titl e I X c o or di n at or a n d a n y ot h er e m pl o y e es w h o ar e i n v ol v e d i n
            pr o c essi n g, i n v esti g ati n g, or r es ol vi n g c o m pl ai nts of s e x u al h ar ass m e nt or s e x u al
            vi ol e n c e, i n cl u di n g pr o vi di n g tr ai ni n g o n:
                  o t h e s c h o ol’s Titl e I X r es p o nsi biliti e s t o a d dr ess all e g ati o ns of s e x u al h ar ass m e nt
                        or vi ol e n c e
                  o h o w t o c o n d u ct Titl e I X i n v esti g ati o ns
                  o i nf or m ati o n o n t h e li n k b et w e e n al c o h ol a n d dr u g a b us e a n d s e x u al h ar ass m e nt
                        or vi ol e n c e a n d b est pr a cti c es t o a d dr e ss t h at li n k;
      • tr ai ni n g all s c h o ol l a w e nf or c e m e nt u nit p ers o n n el o n t h e s c h o ol’s Titl e I X
            r es p o nsi biliti es a n d h a n dli n g of s e x u al h ar ass m e nt or vi ol e n c e c o m pl ai nts;
      • tr ai ni n g all e m pl o y e es w h o i nt er a ct wit h st u d e nts r e g ul arl y o n r e c o g nizi n g a n d
            a p pr o pri at el y a d dr essi n g all e g ati o ns of s e x u al h ar ass m e nt or vi ol e n c e u n d er Titl e I X; a n d
      • i nf or mi n g st u d e nts of t h eir o pti o ns t o n otif y pr o p er l a w e nf or c e m e nt a ut h oriti es,
            i n cl u di n g s c h o ol a n d l o c al p oli c e, a n d t h e o pti o n t o b e assist e d b y s c h o ol e m pl o y e es i n
            n otif yi n g t h os e a ut h oriti es.

D e v el o p m e nt of M at eri als a n d I m pl e m e nt ati o n of P oli ci es a n d Pr o c e d ur es
       • d e v el o pi n g m at eri als o n s e x u al h ar ass m e nt a n d vi ol e n c e, w hi c h s h o ul d b e distri b ut e d t o
            st u d e nts d uri n g ori e nt ati o n a n d u p o n r e c ei pt of c o m pl ai nts, as w ell as wi d el y p o st e d
            t hr o u g h o ut s c h o ol b uil di n gs a n d r esi d e n c e h alls, a n d w hi c h s h o ul d i n cl u d e:
                 o w h at c o nstit ut es s e x u al h ar ass m e nt or vi ol e n c e
                 o w h at t o d o if a st u d e nt h as b e e n t h e vi cti m of s e x u al h ar ass m e nt or vi ol e n c e
                 o c o nt a ct i nf or m ati o n f or c o u ns eli n g a n d vi cti m s er vi c es o n a n d off s c h o ol gr o u n ds
                 o h o w t o fil e a c o m pl ai nt wit h t h e s c h o ol
                 o h o w t o c o nt a ct t h e s c h o ol’s Titl e I X c o or di n at or


43
    F or e x a m pl e, if t h e c o m pl ai n a nt w as dis ci pli n e d f or s ki p pi n g a cl ass i n w hi c h t h e h ar ass er w as e nr oll e d, t h e
s c h o ol s h o ul d r e vi e w t h e i n ci d e nt t o d et er mi n e if t h e c o m pl ai n a nt s ki p p e d t h e cl ass t o a v oi d c o nt a ct wit h t h e
h ar ass er.

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 18P LofT F89
                                                                               000260
                                                                               P S A 0017
P a g e 1 8 – D e ar C oll e a g u e L ett er: S e x u al Vi ol e n c e


                   o     w h at t h e s c h o ol will d o t o r es p o n d t o all e g ati o ns of s e x u al h ar ass m e nt or
                         vi ol e n c e, i n cl u di n g t h e i nt eri m m e as ur es t h at c a n b e t a k e n
      •      r e q uiri n g t h e Titl e I X c o or di n at or t o c o m m u ni c at e r e g ul arl y wit h t h e s c h o ol’s l a w
             e nf or c e m e nt u nit i n v esti g ati n g c as es a n d t o pr o vi d e i nf or m ati o n t o l a w e nf or c e m e nt
             u nit p ers o n n el r e g ar di n g Titl e I X r e q uir e m e nts; 4 4
      •      r e q uiri n g t h e Titl e I X c o or di n at or t o r e vi e w all e vi d e n c e i n a s e x u al h ar ass m e nt or s e x u al
             vi ol e n c e c as e br o u g ht b ef or e t h e s c h o ol’s dis ci pli n ar y c o m mitt e e t o d et er mi n e w h et h er
             t h e c o m pl ai n a nt is e ntitl e d t o a r e m e d y u n d er Titl e I X t h at w as n ot a v ail a bl e t hr o u g h t h e
             dis ci pli n ar y c o m mitt e e; 4 5
      •      r e q uiri n g t h e s c h o ol t o cr e at e a c o m mitt e e of st u d e nts a n d s c h o ol offi ci als t o i d e ntif y
             str at e gi es f or e ns uri n g t h at st u d e nt s:
                   o k n o w t h e s c h o ol’s pr o hi biti o n a g ai nst s e x dis cri mi n ati o n, i n cl u di n g s e x u al
                         h ar ass m e nt a n d vi ol e n c e
                   o r e c o g ni z e s e x dis cri mi n ati o n, s e x u al h ar ass m e nt, a n d s e x u al vi ol e n c e w h e n t h e y
                         o c c ur
                   o u n d erst a n d h o w a n d t o w h o m t o r e p ort a n y i n ci d e nts
                   o k n o w t h e c o n n e cti o n b et w e e n al c o h ol a n d dr u g a b u s e a n d s e x u al h ar ass m e nt or
                         vi ol e n c e
                   o f e el c o mf ort a bl e t h at s c h o ol offi ci als will r e s p o n d pr o m ptl y a n d e q uit a bl y t o
                         r e p orts of s e x u al h ar ass m e nt or vi ol e n c e;
      •      iss ui n g n e w p oli c y st at e m e nts or ot h er st e ps t h at cl e arl y c o m m u ni c at e t h at t h e s c h o ol
             d o es n ot t ol er at e s e x u al h ar ass m e nt a n d vi ol e n c e a n d will r es p o n d t o a n y i n ci d e nts a n d
             t o a n y st u d e nt w h o r e p orts s u c h i n ci d e nts; a n d
      •      r e visi n g gri e v a n c e pr o c e d ur es u s e d t o h a n dl e s e x u al h ar ass m e nt a n d vi ol e n c e
             c o m pl ai nts t o e ns ur e t h at t h e y ar e pr o m pt a n d e q uit a bl e, as r e q uir e d b y Titl e I X.

S c h o ol I n v esti g ati o ns a n d R e p orts t o O C R
      • c o n d u cti n g p eri o di c ass ess m e nts of st u d e nt a cti viti es t o e ns ur e t h at t h e pr a cti c es a n d
            b e h a vi or of st u d e nts d o n ot vi ol at e t h e s c h o ol’s p oli ci es a g ai nst s e x u al h ar ass m e nt a n d
            vi ol e n c e;
      • n v esti g ati n g w h et h er a n y ot h er st u d e nts als o m a y h a v e b e e n s u bj e ct e d t o s e x u al
            i
            h ar ass m e nt or vi ol e n c e;
      • i n v esti g ati n g w h et h er s c h o ol e m pl o y e es wit h k n o wl e d g e of all e g ati o ns of s e x u al
            h ar ass m e nt or vi ol e n c e f ail e d t o c arr y o ut t h eir d uti es i n r es p o n di n g t o t h os e
            all e g ati o ns;
      • c o n d u cti n g, i n c o nj u n cti o n wit h st u d e nt l e a d ers, a s c h o ol or c a m p u s “ cli m at e c h e c k ” t o
            ass ess t h e eff e cti v e n e ss of eff orts t o e n s ur e t h at t h e s c h o ol is fr e e fr o m s e x u al
            h ar ass m e nt a n d vi ol e n c e, a n d usi n g t h e r es ulti n g i nf or m ati o n t o i nf or m f ut ur e pr o a cti v e
            st e p s t h at will b e t a k e n b y t h e s c h o ol; a n d


44
    A n y p ers o n all y i d e ntifi a bl e i nf or m ati o n fr o m a st u d e nt’s e d u c ati o n r e c or d t h at t h e Titl e I X c o or di n at or pr o vi d es
t o t h e s c h o ol’s l a w e nf or c e m e nt u nit is s u bj e ct t o F E R P A’s n o n dis cl os ur e r e q uir e m e nts.
45
    F or e x a m pl e, t h e dis ci pli n ar y c o m mitt e e m a y l a c k t h e p o w er t o i m pl e m e nt c h a n g e s t o t h e c o m pl ai n a nt’s cl ass
s c h e d ul e or li vi n g sit u ati o n s o t h at h e or s h e d o es n ot c o m e i n c o nt a ct wit h t h e all e g e d p er p etr at or.

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 19P LofT F89
                                                                               000261
                                                                               P S A 0018
P a g e 1 9 – D e ar C oll e a g u e L ett er: S e x u al Vi ol e n c e


      •      s u b mitti n g t o O C R c o pi es of all gri e v a n c es fil e d b y st u d e nts all e gi n g s e x u al h ar ass m e nt
             or vi ol e n c e, a n d pr o vi di n g O C R wit h d o c u m e nt ati o n r el at e d t o t h e i n v esti g ati o n of e a c h
             c o m pl ai nt, s u c h as wit n ess i nt er vi e ws, i n v esti g at or n ot e s, e vi d e n c e s u b mitt e d b y t h e
             p arti es, i n v esti g ati v e r e p orts a n d s u m m ari es, a n y fi n al dis p ositi o n l ett ers, dis ci pli n ar y
             r e c or d s, a n d d o c u m e nt ati o n r e g ar di n g a n y a p p e als.

C o n cl usi o n

T h e D e p art m e nt is c o m mitt e d t o e ns uri n g t h at all st u d e nts f e el s af e a n d h a v e t h e o p p ort u nit y
t o b e n efit f ull y fr o m t h eir s c h o ols’ e d u c ati o n pr o gr a ms a n d a cti viti e s. As p art of t his
c o m mit m e nt, O C R pr o vi d es t e c h ni c al assist a n c e t o assist r e ci pi e nts i n a c hi e vi n g v ol u nt ar y
c o m pli a n c e wit h Titl e I X.

If y o u n e e d a d diti o n al i nf or m ati o n a b o ut Titl e I X, h a v e q u e sti o ns r e g ar di n g O C R’s p oli ci es, or s e e k
t e c h ni c al assist a n c e, pl e as e c o nt a ct t h e O C R e nf or c e m e nt offi c e t h at s er v es y o ur st at e or t errit or y.
T h e list of offi c es is a v ail a bl e at htt p:// w d cr o b c ol p 0 1. e d. g o v/ C F A P P S/ O C R/ c o nt a ct u s. cf m .
A d diti o n al i nf or m ati o n a b o ut a d dr essi n g s e x u al vi ol e n c e, i n cl u di n g vi cti m r es o ur c es a n d
i nf or m ati o n f or s c h o ols, is a v ail a bl e fr o m t h e U. S. D e p art m e nt of J usti c e’s Offi c e o n Vi ol e n c e
A g ai nst W o m e n ( O V W) at htt p:// w w w. o v w. us d oj. g o v/ . 4 6

T h a n k y o u f or y o ur pr o m pt att e nti o n t o t his m att er. I l o o k f or w ar d t o c o nti n ui n g o ur w or k
t o g et h er t o e ns ur e t h at all st u d e nt s h a v e a n e q u al o p p ort u nit y t o l e ar n i n a s af e a n d r es p e ctf ul
s c h o ol cli m at e.

                                                                               Si n c er el y,

                                                                                   /s/

                                                                                R ussl y n n Ali
                                                                                Assist a nt S e cr et ar y f or Ci vil Ri g ht s




46
    O V W als o a d mi ni st er s t h e Gr a nts t o R e d u c e D o m esti c Vi ol e n c e, D ati n g Vi ol e n c e, S e x u al Ass a ult, a n d St al ki n g o n
C a m p us Pr o gr a m. T hi s F e d er al f u n di n g is d esi g n e d t o e n c o ur a g e i n stit uti o ns of hi g h er e d u c ati o n t o a d o pt
c o m pr e h e n si v e, c o or di n at e d r es p o n s es t o d o m esti c vi ol e n c e, d ati n g vi ol e n c e, s e x u al ass a ult, a n d st al ki n g. U n d er
t his c o m p etiti v e gr a nt pr o gr a m, c a m p us es, i n p art n ers hi p wit h c o m m u nit y- b as e d n o n pr ofit vi cti m a d v o c a c y
or g a niz ati o n s a n d l o c al cri mi n al j usti c e or ci vil l e g al a g e n ci e s, m ust a d o pt pr ot o c ols a n d p oli ci e s t o tr e at t h es e
cri m es as s eri o u s off e ns es a n d d e v el o p vi cti m s er vi c e pr o gr a ms a n d c a m p us p oli ci es t h at e ns ur e vi cti m s af et y,
off e n d er a c c o u nt a bilit y, a n d t h e pr e v e nti o n of s u c h cri m es. O V W r e c e ntl y r el e as e d t h e fir st s oli cit ati o n f or t h e
S er vi c e s, Tr ai ni n g, E d u c ati o n, a n d P oli ci es t o R e d u c e D o m esti c Vi ol e n c e, D ati n g Vi ol e n c e, S e x u al Ass a ult a n d
St al ki n g i n S e c o n d ar y S c h o ols Gr a nt Pr o gr a m. T his i n n o v ati v e gr a nt pr o gr a m will s u p p ort a br o a d r a n g e of
a cti viti e s, i n cl u di n g tr ai ni n g f or s c h o ol a d mi nistr at or s, f a c ult y, a n d st aff; d e v el o p m e nt of p oli ci e s a n d pr o c e d ur es
f or r es p o n di n g t o t h es e cri m e s; h olisti c a n d a p pr o pri at e vi cti m s er vi c es; d e v el o p m e nt of eff e cti v e pr e v e nti o n
str at e gi es; a n d c oll a b or ati o ns wit h m e nt ori n g or g a niz ati o ns t o s u p p ort mi d dl e a n d hi g h s c h o ol st u d e nt vi cti ms.

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 20P LofT F89
                                                                               000262
                                                                               P S A 0019
                                                                                                                               E X HI BI T
                                                                                                                                         B
                                  D O NATE


S e e ki n g J u sti c e F o r C a m p u s R a p e s


C a m p u s R a p e Vi cti m s: A St r u g gl e F o r J u sti c e
F e br u ar y 2 4, 2 0 1 0 · 1 2: 0 0 A M E T
H e ar d o n M or ni n g            E diti o n


              J O S E P H S H A PI R O




                    7- Mi n ut e Li st e n                                                                            P L A Y LI S T   D o w nl o a d
                                                                                                                                       Tr a n s cri pt




L a ur a D u n n i n 2 0 0 3 , a y e ar b ef or e t h e i n ci d e nt t h at c h a n g e d h er lif e.
C o url e s y L a ur a D u n n




                                 Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 21 of
                                                                                               P L T89
                                                                                                     F 000312

                                                                                                         P S A 0020
                                                                       A c oll e g e c a m p u s i s n't t h e fir st pl a c e t h at
Fi n di n g s of t h e
                                                                        c o m e s t o mi n d i n a di s c u s si o n a b o ut vi ol e nt
C e nt er f or P u bli c
                                                                        c n m e.
I nt e grit y a n d N P R
N e w s I n v e sti g ati o n:                                          B ut r e s e ar c h f u n d e d b y t h e U. S. D e p art m e nt
-   C oll e g e s al m o st n e v e r e x p el m e n                    of J u sti c e e sti m at e s t h at 1 o ut of 5 c oll e g e
w h o a r e f o u n d r e s p o n si bl e f o r s e x u al             w o m e n will b e s e x u all y a s s a ult e d. N P R's
a s s a ult. R e p ort er s at C PI di s c o v er e d a
                                                                        i n v e sti g ati v e u nit t e a m e d u p wit h j o ur n ali st s
d at a b a s e of a b o ut 1 3 0 c oll e g e s a n d
u ni v er siti e s gi v e n f e d er al gr a nt s b e c a u s e
                                                                        at t h e C e nt er f or P u bli c I nt e grit y ( C PI) t o l o o k
t h e y w a nt e d t o d o a b ett er j o b d e ali n g                 at t h e f ail ur e of s c h o ol s - a n d t h e g o v er n m e nt
wit h s e x u al a s s a ult. B ut t h e d at a b a s e                 a g e n c y t h at o v er s e e s t h e m - t o pr e v e nt t h e s e
s h o w s t h at e v e n w h e n m e n at t h o s e
                                                                        a s s a ult s a n d t h e n t o r es ol v e t h e s e c as es.
s c h o ol s w er e f o u n d r e s p o n si bl e f or
s e x u al a s s a ult, o nl y 1 0 t o 2 5 p er c e nt of
t h e m w er e e x p ell e d .
                                                                       A Hi d d e n Att a c k

-   T h e U. S. D e p a rt m e nt of E d u c ati o n                   W h e n a w o m a n i s s e x u all y a s s a ult e d o n a
h a s f ail e d t o a g g r e s si v el y m o nit o r a n d
                                                                        c oll e g e c a m p u s, h er m o st c o m m o n r e a cti o n is
r e g ul at e c a m p u s r e s p o n s e t o s e x u al
a s s a ult. T h e d e p art m e nt h a s t h e                        t o k e e p it q ui et. L a ur a D u n n s a ys s h e st a y e d
a ut h orit y t o fi n e s c h o ol s t h at f ail t o r e p ort        q ui et a b o ut w h at h a p p e n e d i n A pril          2004   at
cri m e o n c a m p u s . I n 2 0 y e ar s, t h e
                                                                       t h e e n d of h er fr e s h m a n y e ar at t h e U ni v er sit y
d e p art m e nt h a s u s e d t h at p o w er j u st si x
                                                                        of Wi s c o n si n.
ti m e s. A n d t h e d e p art m e nt c a n al s o fi n d
t h at a s c h o ol h a s vi ol at e d a l a w t h at
pr e v e nt s di s cri mi n ati o n a g ai n st w o m e n.
                                                                        "I al w a ys t h o u g ht t h at r a p e w a s w h e n
B ut b et w e e n 1 9 9 8 a n d 2 0 0 8, t h e                          s o m e o n e g ot att a c k e d b y a str a n g er a n d y o u
d e p art m e nt r ul e d a g ai n st j u st fi v e                    h a d t o fi g ht b a c k, " s h e s a ys.
u ni v er siti e s o ut of 2 4 r e s ol v e d
c o m pl ai nt s.
                                                                       T h at ni g ht, D u n n w a s dri n ki n g s o m a n y
-   C oll e g e s a r e ill- e q ui p p e d t o h a n dl e              r a s p b err y v o d k a s t h at t h e y c ut h er off at a fr at
c a s e s of s e x u al a s s a ult. M o st of t h e
                                                                        h o u s e p art y. Still, s h e k n e w a n d tr u st e d t h e
ti m e, al c o h ol i s i n v ol v e d. L o c al
pr o s e c ut or s ar e r el u ct a nt t o t a k e t h e s e
                                                                       t w o m e n w h o t o o k h er b a c k t o a h o u s e f or
c a s e s, s o t h e y oft e n f all t o c a m p u s                   w h at s h e t h o u g ht w a s a q ui c k st o p b ef or e t h e
j u di ci al s y st e m s t o s ort t hr o u g h cl a s hi n g          n e xt p art y. I n st e a d, s h e s a ys t h e y r a p e d h er a s
cl ai m s of w h et h er t h e s e x w a s
                                                                        s h e p a s s e d i n a n d o ut of c o n s ci o u s n e s s.
c o n s e n s u al or f or c e d.




                                                                   A rti cl e c o nti n u e s aft e r s p o n s o r m e s s a g e




                       Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 22 of
                                                                                     P L T89
                                                                                           F 000313

                                                                                              P S A 0021
F or a l o n g ti m e, s h e h a d a h ar d ti m e e v e n l etti n g h er s elf c all it a r a p e. It j u st di d n't
m a k e s e n s e wit h t h e w a y s h e s a w h er lif e. F or o n e t hi n g, s h e h a d a b o yfri e n d s h e h a d
b e e n d ati n g f or f o ur y e ar s .

" W e w er e g etti n g cl os e t o m arri a g e. W e' d b e e n w aiti n g t o g et h er, s o I w a s still a vir gi n,
a n d it j u st di d n't fit w h at I' d w a nt e d m y lif e t o b e a n d w h at I' d pl a n n e d o ut m y lif e t o
b e, " s a ys D u n n. " S o I j u st ki n d of p u s h e d it t o t h e si d e, s ai d, y o u k n o w, it' s t hi s b a d
i n ci d e nt t h at h a p p e n e d, a n d it w as j u st a mi st a k e, w e w er e all dr u n k. A n d I j u st c h o s e
t o, li k e, p ut it t h er e. "

I n st e a d, D u n n f o c u s e d o n h er s c h o ol w or k a n d k e pt h er gr a d e s u p. B ut s h e c o ul d n't
sl e e p. S h e l o st w ei g ht. S h e br o k e u p wit h h er b o yfri e n d, wit h o ut e v er t elli n g hi m a b o ut
t h e att a c k.

A n d s h e di d n't r e p ort it.

Fift e e n m o nt h s l at er, s h e w as sitti n g i n cl ass. T h e pr of e s s or w as t al ki n g a b o ut h o w, i n
w arti m e, r a p e is u s e d a s a w e a p o n of t err or. " A n d t hi s pr of e s s or, w h o I'll f or e v er
r e s p e ct, st o p p e d t h e l e ct ur e a n d s ai d, ' Y o u k n o w, I w a nt t o t al k a b o ut r a p e o n t hi s
c a m p u s.' "

T h e pr of e s s or s ai d t h at m or e t h a n 8 0 p er c e nt of vi cti m s st a y sil e nt.

" A n d s h e s ai d, 'I w a nt y o u t o k n o w t hi s h a s h a p p e n e d i n m y cl ass t o m y st u d e nt s, a n d
t h er e is s o m et hi n g y o u c a n d o a b o ut it, a n d t h er e is s o m e o n e y o u c a n t al k a b o ut it
wit h.' A n d s h e t ol d m e a b o ut t h e d e a n of st u d e nt s. " A n d wit h t h at, D u n n m a d e a
d e cisi o n. "I k n o w it w a s r a p e, a n d n o w I k n o w t h at t h er e' s s o m et hi n g I c a n d o a b o ut it.
A n d s o t h e m o m e nt t h at l e ct ur e l et u p, I w al k e d a cr o s s t o t h e d e a n of st u d e nt s' offi c e
a n d I r e p ort e d t h at d a y."

G oi n g P u bli c
               Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 23 of
                                                                             P L T89
                                                                                   F 000314

                                                                               P S A 0022
C oll e g es a n d u ni v er siti e s g ot t h eir c urr e nt- d a y r e s p o n si bilit y t o i n v e sti g at e a n d
pr e v e nt s e x u al a s s a ult s a s a r e s ult of a n A pril 1 9 8 6 cri m e, aft er a h ar d-f o u g ht a d v o c a c y
c a m p ai g n b y t h e f a mil y of J e a n n e Cl er y.




I n t h e m or e t h a n 2 0 y e ar s si n c e J e a n n e Cl er y w a s r a p e d a n d kill e d i n h er d or m r o o m at L e hi g h U ni v er sit y, h er p ar e nt s,
H o w ar d a n d C o n ni e Cl er y, f o u g ht t o m a k e c oll e g e c a m p u s e s s af er.
Cl er y f a mil y/ A P




" W h at h a p p e n e d t o J e a n n e w a s s o a m a zi n gl y u nr e al, " h er m ot h er, C o n ni e Cl er y, s a ys.
" S h e w a s i n t h e ri g ht pl a c e w h er e s h e s h o ul d h a v e b e e n - i n h er o w n b e d i n t h e d or m
at 6 o' cl o c k i n t h e m or ni n g, f a st asl e e p. T h er e w er e t hr e e a ut o m ati c all y l o c ki n g d o or s
t h at s h o ul d h a v e b e e n l o c k e d, w hi c h s h e t h o u g ht w er e l o c k e d, a n d s h e di d n't h a v e a n
e n e m y i n t h e w orl d. A n d L e hi g h w a s s u c h a s af e-l o o ki n g pl a c e, y o u k n o w ? "

J e a n n e Cl er y w a s 1 9 a n d a fr e s h m a n at L e hi g h U ni v ersit y. A str a n g er - h e w a s a
st u d e nt- r a p e d, t ort ur e d a n d str a n gl e d h er.

I n t h eir gri ef, C o n ni e Cl er y a n d h er h u s b a n d d e v ot e d t h e r e st of t h eir li v es t o m a ki n g
c oll e g e c a m p u s e s s af er. " S o ifit h a p p e n e d t o J e a n n e, it c o ul d c ert ai nl y h a p p e n t o
                         Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 24 of
                                                                                       P L T89
                                                                                             F 000315

                                                                                                          P S A 0023
s o m e b o d y els e, " C o n ni e Cl er y s a ys fr o m t h e di ni n g r o o m of h er h o m e o v erl o o ki n g t h e
St. L u ci e Ri v er i n Fl ori d a. " T h at' s w h y I d e ci d e d I h a d t o d o s o m et hi n g t o s a v e ot h er s
fr o m s u c h a h orr or. "

C o n ni e' s h u s b a n d, H o w ar d, s ol d hi s s u c c essf ul b u si n e s s t o u n d er writ e t h eir w or k.
C o n ni e, w h o h a d b e e n t errifi e d of s p e a ki n g i n p u bli c, w e nt o n T V m or ni n g s h o w s a n d
t e stifi e d b ef or e l a w m a k er s.

T h eir i d e a w a s si m pl e: F or c e s c h o ol s t o di s cl o s e all cri m e t h at h a p p e n s o n c a m p u s.
T h e n st u d e nt s - a n d t h eir p ar e nt s - w o ul d b e i nf or m e d. T h at w o ul d m a k e t h e
c a m p u s s af er b e c a u s e f a c e d wit h p u bli c s cr uti n y, c oll e g e pr e si d e nt s w o ul d h a v e n o
c h oi c e b ut t o g et s eri o u s a b o ut pr e v e nti n g cri m e.

T w e nt y y e ar s a g o, C o n gr e s s p a s s e d t h at di s cl o s ur e l a w, n o w k n o w n a s t h e J e a n n e
Cl er y A ct.

T h er e' s b e e n s u c c ess. O v er a r e c e nt 1 0- y e ar p eri o d, t h e U. S. D e p art m e nt of J u sti c e
s a y s c a m p u s e s h a v e r e p ort e d a 9 p er c e nt dr o p i n vi ol e nt cri m e a n d a 3 0 p er c e nt dr o p
i n pr o p ert y cri m e, a c c or di n g t o S. D a ni el C art er, t h e p u bli c p oli c y dir e ct or of S e c urit y
o n C a m p u s I n c., t h e n o n pr ofit gr o u p st art e d b y t h e Cl er ys.

S e e ki n g J u sti c e F o r                                  C art er p oi nt s t o a n ot h er i n di c at or of c h a n g e: a
Ca mpus Rapes                                                   5 p er c e nt i n cr e a s e i n c a m p u s p oli c e p a y,
                                                                a dj u st e d f or i nfl ati o n. H e s a ys t h at s h o w s t h at
O n e of o ut 5 w o m e n will b e s e x u all y
                                                                "t h e Cl er y A ct r e all y h a s l e d t o c oll e g es a n d
a s s a ult e d d uri n g h er c oll e g e y e ar s. A n d
d e s pit e f e d er al l a w s cr e at e d t o pr ot e ct
                                                                u ni v er siti e s t o t a k e c a m p u s s e c urit y a n d
st u d e nt s, c oll e g e s a n d u ni v er siti e s h a v e   pr ot e cti n g t h eir st u d e nt s m or e s eri o u sl y t h a n
f ail e d t o pr ot e ct w o m e n fr o m t hi s                t h e y di d   20   y e ar s a g o."
e pi d e mi c of s e x u al a s s a ult. E v e n aft er
t h e y' v e b e e n f o u n d r e s p o n si bl e f or
                                                                B ut C art er s a ys t h er e h a v e b e e n s h ort c o mi n g s,
s e x u al a s s a ult, st u d e nt s ar e r ar el y
                                                                t o o. A n d C o n ni e Cl er y a gr e es. " T h e
e x p ell e d or s u s p e n d e d. N P R N e w s
I n v e sti g ati o n s a n d t h e C e nt er f or P u bli c    D e p art m e nt of E d u c ati o n h a s b e e n a
I nt e grit y t e a m e d u p t o e x a mi n e t hi s           di s a p p oi nt m e nt t o m e, " s h e s a ys.
o n g oi n g pr o bl e m o n c oll e g e c a m p u s e s.

P art 1: M or ni n g E diti o n, F e b . 2 4                    A Q u e sti o n Of E nf o r c e m e nt

Aft er J e a n n e Cl er y w a s r a p e d a n d
                                                                T h e f e d er al D e p art m e nt of E d u c ati o n
m ur d er e d i n h er d or m r o o m i n 1 9 8 6, h er
p ar e nt s d e v ot e d t h eir li v e s t o c h a n gi n g
                                                                r e g ul at e s s c h o ol s u n d er t h e Cl er y A ct. B ut it
f e d er al l a w t o tr y t o m a k e c oll e g e              h a s fi n e d off e n di n g s c h o ol s j u st si x ti m e s.
c a m p u s e s s af er . It' s b e e n 2 0 y e ar s si n c e   M o st fi n es h a v e b e e n s m all. T h e bi g g e st - f or
a f e d er al l a w w a s p a s s e d i n t h eir
                                                                $ 3 5 0, 0 0 0 - c a m e a g ai n st E a st er n Mi c hi g a n
d a u g ht er' s n a m e . Still, c a m p u s di s ci pli n e
                                             U ni v ersit y. A d mi ni str at or s t h er e c o v er e d u p
s y st e m s r ar el y e x p el m e n w h e n t h e y'r e
                       Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 25 of                      P L T89
                                                                                                                   F 000316

                                                                                    P S A 0024
f o u n d r e s p o n si bl e f or a s e x u al a s s a ult.          t h e 2 0 0 6 r a p e a n d m ur d er of a st u d e nt,       2 2-
A n d w o m e n h a v e b e e n u n a bl e t o c o u nt
                                                                      y e ar- ol d L a ur a Di c ki ns o n, l etti n g h er p ar e nt s
o n h el p fr o m t h e g o v er n m e nt' s o v er si g ht
a g e n c y.
                                                                      t hi n k s h e' d di e d s u d d e nl y of n at ur al c a us es.

P a rt 2: A// T hi n g s C o n si d er e d, F e b. 2 5
                                                                      T h e D e p art m e nt of E d u c ati o n c a n als o h ol d
M ar g a u x w a s a fr e s h m a n at I n di a n a                   s c h o ols a c c o u nt a bl e u n d er Titl e I X of t h e
U ni v er sit y w h e n a n ot h er st u d e nt li vi n g o n
                                                                      E d u c ati o n A m e n d m e nt s of     1 9 7 2.   Titl e I X is
h er fl o or r a p e d h er. S h e r e p ort e d t h e
a s s a ult t o c a m p u s s e c urit y, b ut t h e
                                                                      b e st k n o w n as t h e f e d er al ci vil ri g ht s l a w t h at
j u di ci al h e ari n g di d n ot g o a s s h e h a d                r e q uir e s e q u alit y i n m e n' s a n d w o m e n' s s p ort s
h o p e d. T hi s i s t h e st or y of h er str u g gl e              t e a m s. B ut t h e l a w is br o a d er t h a n t h at. It s a ys
f or j u sti c e -    a n d t o f e el s af e a g ai n. R e a d
                                                                      t h at a n y e d u c ati o n al i n stit uti o n t h at t a k e s
t hi s st or y.
                                                                      f e d er al f u n di n g c a n n ot di s cri mi n at e a g ai n st
P a rt 3: A// T hi n g s C o n si d er e d, F e b. 2 6
                                                                      w o m e n. S e x u al h ar a s s m e nt, s e x u al a s s a ult
E v e n aft er r e p orti n g h er r a p e t o c a m p u s            a n d r a p e ar e als o c o n si d er e d di s cri mi n ati o n
s e c urit y, M ar g a u x f o u n d t h at s c h o ol s
                                                                      o n t h e b a si s of s e x.
oft e n h a v e a li mit e d a bilit y t o i n v e sti g at e
t h e s e c o m pl e x c a s e s. R e a d t hi s st or y.
                                                                      " All t o o oft e n, vi cti ms ar e r e vi cti mi z e d b y
P a rt 4: M or ni n g E diti o n, M ar c h 3
                                                                      b ei n g f or c e d t o e n c o u nt er t h eir a s s ail a nt s o n
O n e r e a s o n c oll e g e s h a v e a h ar d ti m e               c a m p u s d a y i n a n d d a y o ut, " s a ys C art er,
st o p pi n g s e x u al a s s a ult i s a
                                                                      " es p e ci all y if t h e y ar e s uff eri n g fr o m s o m e s ort
mi s c o n c e pti o n a b o ut w h o i s c o m mitti n g
t h e s e cri m e s. T h e a s s u m pti o n i s t h at               of p o st-tr a u m ati c str e s s, w hi c h c a n tri g g er
r a p e s ar e oft e n c o m mitt e d b y y o u n g m e n             p a ni c att a c k s a n d h a v e a si g nifi c a nt a d v er s e
w h o s e j u d g m e nt i s i m p air e d fr o m                     i m p a ct o n t h eir a bilit y t o c o nti n u e t h eir
dri n ki n g. B ut U ni v er sit y of M a s s a c h u s ett s
                                                                      e d u c ati o n al pr o gr a m. "
f or e n si c p s y c h ol o gi st D a vi d Li s a k s a y s
m o st ar e s eri al pr e d at or s. R e a d t hi s
st or y.
                                                                      Titl e I X is a m o n g t h e str o n g e st t o ols f or
                                                                      e nf or c e m e nt at t h e E d u c ati o n D e p art m e nt,
                                                                      s a ys C art er. B ut f e w w o m e n k n o w t o u s e it.
                                                                      A n d w h e n t h e y d o, t h e d e p art m e nt r ar el y a cts.
B et w e e n         1998   and     2 0 0 8,    t h e d e p art m e nt r ul e d a g ai n st j u st fi v e u ni v er siti e s o ut of      24

c o m pl ai nt s. T h at' s a c c or di n g t o r e c or d s o bt ai n e d t hr o u g h t h e Fr e e d o m of I nf or m ati o n
A ct b y t h e C e nt er f or P u bli c I nt e grit y. N o p u ni s h m e nt w as gi v e n i n t h o s e c as es -
si m pl y g ui d a n c e o n h o w t o i m pr o v e c a m p u s pr o c e d ur e s.

Pr e s e nt e d wit h t h o s e fi n di n gs, R ussl y n n Ali, t h e E d u c ati o n D e p art m e nt' s a s si st a nt
s e cr et ar y f or ci vil ri g ht s, s a ys h er offi c e is st e p pi n g u p o utr e a c h t o st u d e nt s a n d
a s si st a n c e t o s c h o ols. " W e w a nt t h e m t o g et tr ai ni n g, w e w a nt t o pr o vi d e s o m e h el p, "
s h e s a ys, "s o t h at t h e a d ult s a n d t h e st u d e nt s ali k e c a n e n s ur e t h at t hi s pl a g u e - it' s
r e all y h a s b e c o m e a pl a g u e i n t hi s c o u ntr y - b e gi n s t o di mi ni s h. "


                        Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 26 of
                                                                                      P L T89
                                                                                            F 000317

                                                                                        P S A 0025
Ali s a ys s h e' s willi n g t o t a k e st e p s n ot u s e d b y h er pr e d e c e s s or s: t o wit h dr a w f e d er al
f u n di n g fr o m off e n di n g s c h o ol s a n d r ef er c a s e s t o t h e D e p art m e nt of J u sti c e f or
p o s si bl e pr o s e c uti o n.

I n L a ur a D u n n' s c as e, b y t h e ti m e s h e r e p ort e d t o c a m p u s offi ci als, o n e of t h e m e n s h e
a c c u s e d h a d gr a d u at e d. T h e ot h er s ai d t h e s e x w as c o n s e n s u al. T h e U ni v er sit y of
Wi s c o n si n t o o k ni n e m o nt h s t o i n v e sti g at e, t h e n d e ci d e d a g ai n st p u ni s h m e nt.

A B a l a st r e s ort, D u n n a s k e d t h e D e p art m e nt of E d u c ati o n t o fi n d t h at t h e u ni v er sit y
h a d f ail e d i n it s r e s p o n si bilit y t o a ct pr o m ptl y a n d t o e n d t h e s e x u al h ar a s s m e nt s h e
f a c e d b ei n g o n c a m p u s wit h h er all e g e d att a c k er.

T w o y e ar s aft er D u n n gr a d u at e d fr o m t h e u ni v er sit y, a n d n e arl y f o ur y e ar s aft er t h e
i n ci d e nt, a t hi c k d o c u m e nt c a m e i n t h e m ail t o h er a p art m e nt. It w as t h e fi n di n g b y t h e
D e p art m e nt of E d u c ati o n, d at e d A u g u st 6,                    2 0 0 8.   S h e fli p p e d t o t h e l a st p a g e. "I w e nt
str ai g ht t o t h e c o n cl usi o n, " s h e e x pl ai n s.

It s ai d t h e U ni v er sit y of Wi s c o n si n                  - d e s pit e t a ki n g ni n e m o nt h s o n h er c a s e- h a d
a ct e d pr o p erl y. D ef e at e d, D u n n di d n't r e a d o n. S h e t hr e w t h e p a p er s o n t h e t o p of a
pil e of ot h er d o c u m e nt s i n t h e c or n er of h er b e dr o o m.

Ri g ht s Of S e x u al                                                    " Y o u k n o w, I c o ul d h a v e f o u g ht it a g ai n, a n d I
A s s a ult Vi cti m s                                                     c o ul d h a v e a p p e al e d. B ut t h at w o ul d h a v e
                                                                           m e a nt I w o ul d h a v e h a d t o r e a d it, a n d at t h at
W h at' s n o w c all e d t h e Cl er y A ct, e n a ct e d
                                                                           p oi nt i n m y lif e, j u st r e a di n g it, I j u st di d n't
i n N o v e m b er 1 9 9 0, r e q uir e s t h at hi g h er
e d u c ati o n i n stit uti o n s p u bli cl y di s cl o s e all
                                                                           e v e n w a nt t o. I di d n ot w a nt t o r e a d t h e u gl y
cri m e t h at h a p p e n s o n c a m p u s. T h e i d e a                t hi n g s t h at p e o pl e s ai d. "
w a s t h at st u d e nt s a n d t h eir p ar e nt s
s h o ul d b e i nf or m e d -      a n d t h at p u bli c                 B ut L a ur a D u n n i s n o l o n g er sil e nt. S h e' s a
s cr uti n y w o ul d f or c e c oll e g e s t o g et
                                                                           l e a d er i n a n ati o n al gr a s s-r o ot s c a m p ai g n,
s eri o u s a b o ut pr e v e nti n g cri m e.
                                                                           c all e d P A V E, t o g et r a p e s ur vi v or s t o s p e a k
A 1 9 9 2 a m e n d m e nt t o t h e Cl er y A ct
                                                                           o ut i n p u bli c.
a d d e d a vi cti m s' bill of ri g ht s, w hi c h
r e q uir e s s c h o ol s t o pr o vi d e c ert ai n b a si c
                                                                           K e vi n H el m k a m p, t h e a s s o ci at e d e a n of
ri g ht s t o s ur vi v or s of s e x u al a s s a ult s o n
c a m p u s, i n cl u di n g:                                              st u d e nt s at t h e U ni v er sit y of Wi s c o n si n, s ai d
                                                                           pri v a c y r ul e s pr o hi bit e d hi m fr o m s p e a ki n g
       ■   Gi vi n g t h e all e g e d vi cti m a n d t h e
           all e g e d a s s ail a nt e q u al                             s p e cifi c all y a b o ut D u n n' s c as e. B ut h e s ai d t h e
           o p p ort u nit y t o h a v e ot h er s                         u ni v er sit y i n v e sti g at e s e a c h all e g ati o n
           pr e s e nt i n di s ci pli n ar y
                                                                           c ar ef ull y, a n d pr o vi d e s s u p p ort a n d r e s o ur c e s
           pr o c e e di n g s .
                                                                           t o st u d e nt s.
       ■   N otif yi n g all e g e d vi cti m s of t h eir
           ri g ht t o p ur s u e j u sti c e t hr o u g h
                       Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 27 of
                                                                                     P L T89
                                                                                           F 000318

                                                                                                P S A 0026
             l o c al p oli c e, a n d of t h e a v ail a bilit y   L a st S e pt e m b er, t h e u ni v er sit y u p d at e d it s
             of c o u n s eli n g s er vi c e s.
                                                                    r ul e s o n st u d e nt c o n d u ct. I n t h e p a st, t h e
         ■   N otif yi n g all e g e d vi cti m s t h at t h e y    s c h o ol r e q uir e d " cl e ar a n d c o n vi n ci n g
             h a v e t h e o pti o n of c h a n gi n g
                                                                    e vi d e n c e " t o fi n d a n a c c u s e d st u d e nt
             cl a s s e s a n d d or mit or y
             a s si g n m e nt s i n or d er t o a v oi d           r e s p o n si bl e of a s e x u al a s s a ult. B ut n o w, i n
             t h eir all e g e d a s s ail a nt s.                  li n e wit h m o st ot h er s c h o ol s a s w ell a s wit h
                                                                    f e d er al g ui d eli n e s, t h e st a n d ar d is t h e l o w er
If a u ni v er sit y f ail s t o a p pr o pri at el y
                                                                    " pr e p o n d er a n c e of e vi d e n c e. "
h a n dl e a r e p ort e d c a s e of s e x u al a s s a ult,
all e g e d vi cti m s c a n r e p ort t hi s t o t h e U. S.
D e p art m e nt of E d u c ati o n. U n d er Titl e I X
                                                                    " M at h e m ati c all y, t h at w o ul d b e 5 1 p er c e nt of
of t h e E d u c ati o n A m e n d m e nt s of 1 9 7 2 -            e vi d e n c e, " H el m k a m p s a ys, alt h o u g h i n f a ct,
a ci vil ri g ht s l a w t h at pr o hi bit s s e x- b a s e d      t h e j u d g m e nt is m or e s u bj e cti v e.
di s cri mi n ati o n -      s e x u al h ar a s s m e nt,
s e x u al a s s a ult a n d r a p e ar e al s o
                                                                    S e x u al a s s a ult c a s e s ar e a m o n g t h e m o st
c o n si d er e d di s cri mi n ati o n o n t h e b a si s of
                                                                    diffi c ult m att er s t o d et er mi n e, h e s a ys. " T h e y
s e x.
                                                                    cl e arl y ar e v er y, v er y diffi c ult c a s e s t o
If a c oll e g e or u ni v er sit y i s a w ar e of b ut
i g n or e s s e x u al h ar a s s m e nt or a s s a ult, it
                                                                    i n v e sti g at e. Us u all y, t h er e is n ot a l ot of
m a y b e h el d li a bl e u n d er t h e l a w.                    c orr o b or ati n g e vi d e n c e f or o n e si d e or t h e

Vi sit t h e W e b sit e of C e nt er f or P u bli c
                                                                    ot h er, " h e s a ys. "It d o e s t e n d t o c o m e d o w n t o
I nt e grit y t o l e ar n m or e a b o ut t h e l a w a n d        o n e p er s o n s a yi n g t hi s h a p p e n e d a n d t h e
r e s o ur c e s f or vi cti m s.                                   ot h er p er s o n s a yi n g, n o it di d n't h a p p e n t h at
-    Fr o m N P R r e s e ar c h a n d r e p orti n g b y           w a y."
t h e C e nt er f or P u bli c I nt e grit y
                                                                    T h e r e s ult, "I c a n a s s ur e y o u, i s t h at s o m e o n e
                                                                    is g oi n g t o b e u n h a p p y " wit h t h e o ut c o m e of a
d e cisi o n.

P r e v e nti o n, N ot P u ni s h m e nt

C a m p u s di s ci pli n ar y pr o gr a m s ar e n ot s et u p li k e a c o urt ofl a w. Offi ci als l a c k
s u b p o e n a p o w er a n d oft e n e n d u p wit h t h e a c c u s e d a n d t h e a c c u s er t elli n g t h eir
st ori e s, wit h a p a n el of a f e w c a m p u s offi ci als tr yi n g t o fi g ur e o ut t h e tr ut h. S c h o ols s e e
t h e r ol e of t h e s e c o urt s t o t e a c h st u d e nt s m or e t h a n t o m et e o ut j u sti c e. T h at' s als o
w h y p u ni s h m e nt s t e n d t o b e li g ht: C o u n s eli n g a n d al c o h ol tr e at m e nt ar e m or e li k el y
t h a n e x p ul si o n. T h e r e s ult is t h at l ar g e n u m b er s of w o m e n w h o s a y t h e y' v e b e e n
a s s a ult e d f e el di s s ati sfi e d wit h t h e r e s ult s, a n d l ar g e n u m b er s of w o m e n e n d u p
l e a vi n g s c h o ol.

S o m eti m e s t h er e ar e f als e a c c u s ati o n s - alt h o u g h st u di e s o n c oll e g e c a m p u s e s i n t h e
U. S. a n d Gr e at Brit ai n s h o w t h o s e ar e r ar e: a b o ut 3 t o 6 p er c e nt of c as es.


                         Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 28 of
                                                                                       P L T89
                                                                                             F 000319

                                                                                      P S A 0027
B e c a us e it' s h ar d t o s ort o ut tr ut h i n s u c h c as es, m or e s c h o ol a d mi ni str at or s ar e
r e ali zi n g t h e i m p ort a n c e of p utti n g m or e e m p h a si s o n pr e v e nti o n.

E arli er t hi s m o nt h, S e c urit y o n C a m p u s, t h e gr o u p st art e d b y C o n ni e a n d H o w ar d
Cl er y, pr e s e nt e d it s a n n u al s e c urit y a w ar d t o N a n c y Gr e e n st ei n. S h e' s wit h t h e c a m p u s
p oli c e d e p art m e nt at U C L A.

T h at u ni v er sit y, i n it s a n n u al Cl er y r e p ort, s h o w s m or e s e x u al a s s a ult s t h a n m a n y
ot h er s c h o ol s t h e s a m e si z e. At first, t h at m a k e s it s e e m li k e U C L A i s u n s af e. B ut
C art er s a ys Gr e e n st ei n w a s h o n or e d f or cr e ati n g a pl a c e w h er e w o m e n f e el
c o mf ort a bl e g oi n g t o p oli c e, a n d s o m or e of t h e m c o m e f or w ar d t o r e p ort a s e x u al
a s s a ult.

Gr e e n st ei n s a ys t h e c a m p u s p oli c e, a d mi ni str ati o n a n d st u d e nt gr o u p s h a v e i n cr e a s e d
eff ort s at pr e v e nti o n. A n d o n e of t h e m o st eff e cti v e pr o gr a m s g et s st u d e nt s t al ki n g t o
ot h er st u d e nt s a b o ut t h e ri s k s of dri n ki n g a n d r a p e, a n d t h e m e a ni n g of c o n s e nt.

" Y o u d o n't w a nt a n y st u d e nt s t o b e h ar m e d, " s h e s a ys of s e x u al a s s a ult. "It c h a n g e s
p e o pl e' s li v es. S o m a n y st u d e nt s w h o h a v e b e e n vi cti mi z e d, i n a s e n s e t h e y'r e n e v er t h e
s a m e. A n d if w e c a n pr e v e nt t h at fr o m h a p p e ni n g ... if I c a n pr e v e nt o n e p er s o n fr o m
b ei n g vi cti mi z e d, t h e n t h at' s s u c c essf ul. "

R el at e d N P R St o ri e s
      R a p e At S c h o ol Bri n g s N e w D e s p air T o Ri c h m o n d           D e c . 1, 2 0 0 9


      Cit y M o bili z e s I n R e s p o n s e T o R a p e At S c h o ol     O ct. 3 0 , 2 0 0 9


      I n W ar Z o n e s, R a p e I s A P o w erf ul W e a p o n       O ct. 2 1, 2 0 0 9


      G ui n e a S h a k e n B y W a v e   Of R a p e s D uri n g Cr a c k d o w n           O ct . 2 0, 2 0 0 9




                        Si g n U p F o r T h e St u d e nt P o d c a st C h all e n g e
                                               N e w sl ett e r
               G et t h e l at e st r e s o ur c e s, s u b mi s si o n ti p s, a n d u p d at e s f or t h e St u d e nt P o d c a st C h all e n g e, s e nt
                                                                                   w e e kl y.


                                                                        W h at' s      y o ur e m ail ?


                                                                               S U B S C RI B E

                  Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 29 of
                                                                                P L T89
                                                                                      F 000320

                                                                                    P S A 0028
                 B y s u b s cri bi n g, y o u a gr e e t o N P R' s t er m s of u s e a n d pri v a c y p oli c y . N P R m a y s h ar e y o ur n a m e a n d e m ail a d dr e s s wit h y o ur N P R
                         st ati o n. S e e D et ail s. T hi s sit e i s pr ot e ct e d b y r e C A P T C H A a n d t h e G o o gl e Pri v a c y P oli c y a n d T er m s of S er vi c e a p pl y.




M or e St ori e s Fr o m N P R
I N V E S TI G A TI O N S
C oll e g e s, U ni v er siti e s T ol d T o D o M or e T o Pr e v e nt S e x u al A s s a ult s

E D U C A TI O N
M yt h s T h at M a k e It H ar d T o St o p C a m p u s R a p e

E D U C A TI O N
C oll e g e J u sti c e F all s S h ort F or R a p e Vi cti m



P o p ul ar o n N P R. or g
H E ALT H
Gr e e n, Y ell o w, Or a n g e Or R e d ? T hi s N e w T o ol S h o w s C O VI D- 1 9 Ri s k I n Y o ur C o u nt y

H E ALT H
N. Y., N. J. A n d C o n n e cti c ut A d d S e v er al St at e s T o Li st T h at M u st Q u ar a nti n e

H E ALT H
Tr a c ki n g T h e P a n d e mi c: Ar e C or o n a vir u s C a s e s Ri si n g Or F alli n g I n Y o ur St at e ?

E D U C A TI O N
U. S. P e di atri ci a n s C all F or I n- P er s o n S c h o ol T hi s F all

H E ALT H
P e n c e Ur g e s A m eri c a n s T o W e ar                          M a s k s T o St o p S pr e a d Of C O VI D- 1 9

P O LI TI C S
' G oi n g T o B e V er y Di st ur bi n g': F a u ci W ar n s                                C or o n a vir u s C a s e s C o ul d R e a c h 1 0 0 K A D a y



N P R E dit or s' Pi c k s
E L E C TI O N S
G O P C a n di d at e s O p e n T o Q A n o n C o n s pir a c y T h e or y A d v a n c e I n C o n gr e s si o n al R a c e s

P O LI TI C S
Tr u m p: P ai nti n g ' Bl a c k Li v e s M att er' O n 5t h A v e n u e W o ul d                                             B e ' S y m b ol Of H at e'

B U SI N E S S
O v er 4 0 0 A d v erti s er s Hit P a u s e O n F a c e b o o k, T hr e at e ni n g $ 7 0 Billi o n J u g g er n a ut

RACE
S e attl e P oli c e Cl e ar C a pit ol Hill Pr ot e st Z o n e Aft er M a y or I s s u e s E m er g e n c y Or d er

A R T S & LI F E
G o v er n m e nt Case
                  Art s B5:19-cv-04082-CJW-KEM
                          o o st ' D o e s N ot C o m e Cl o s Document
                                                               e T o M e eti n60
                                                                               g T Filed
                                                                                   h e D e 04/27/22
                                                                                            m a n d.' S a vPage
                                                                                                           s N E A30H of
                                                                                                                      e a 89
                                                                                                                          d 000321
                                                                                                      P S A 0029
W O RL D
I n I r a q, Ri si n g Vir u s C a s e s A n d O x y g e n S h ort a g e s St o k e O utr a g e, F e ar s Of ' C h a o s'


   S e e ki n g J u sti c e F or C a m p u s R a p e s

   R E A D & LI S T E N                                                      C O N N E CT

   Ho me                                                                     N e w sl ett er s

   Ne ws                                                                     Facebook

   Art s & Lif e                                                             T witt er

   M u si c                                                                  l n st a gr a m

   P o d c a st s                                                            C o nt a ct

   Pr o gr a m s                                                             H el p



  A B O UT NP R                                                              GET I NV OLVE D

   O v e r vi e w                                                            S u p p o rt P u bli c R a di o

   Fi n a n c e s                                                            S p o n s or N P R

   P e o pl e                                                                N P R C ar e er s

   Pr e s s                                                                  NP R Shop

   P u bli c E dit o r                                                       N P R E v e nt s

   C o r r e cti o n s                                                       Vi sit N P R




   t er m s of u s e
   pri v a c y
   y o ur pri v a c y c h oi c e s
   t e xt o nl y
   © 2 0 2 0 n pr




                         Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 31 of
                                                                                       P L T89
                                                                                             F 000322

                                                                     P S A 0030
                                                                                                                                                                               E X HI BI T
                                                                                                                                                                                             X
                                                                                4 T H O F J U L Y S A L E:
                                                                                                                                                                                   C
                                                                            c_ _ _
                                                                              12 I S S U E S F O R ~ $6
] M E
                                                                                       s_ u_e_s _c _RI _B _E _N _o _w _ _   J


                                       S etti n g t h e R e c o r d St r ai g ht o n 1 1 i n 5 1




        G ett y I m a g e s




                                    B Y C H R I S T O P H E R K R E B S A N D C H R I S T I N E L I N D Q U I S T D E C E M B E R 1 5, 2 0 1 4 1 :5 3 P M E S T
                                    C hri st o p h er Kr e bs a n d C hri sti n e Li n d q ui st ar e S e ni or R e s e ar c h S o ci al S ci e nti st s at R TI
                          IDEAS     I nt er n ati o n al, a n i n d e p e n d e nt, n o n pr ofit r e s e ar c h i n stit ut e. T h e y ar e b ot h i n t h e C e nt er f or
                                    J u sti c e, S af et y, a n d R esili e n c e at R TI, a n d t h e y dir e ct e d t h e C a m p u s S e x u al A s s a ult St u d y,
                                    w hi c h w a s f u n d e d b y t h e N ati o n al I n stit ut e of J u sti c e a n d c o m pl et e d i n 2 0 0 7.


                       I T f y o u' v e f oll o w e d t h e di s c u s si o n a b o ut s e x u al a s s a ult o n c oll e g e c a m p u s e s
                       11 i n A m eri c a, it' s li k el y y o u' v e h e ar d s o m e v ari ati o n of t h e cl ai m t h at 1 i n 5
                       w o m e n o n c oll e g e c a m p u s e s i n t h e U nit e d St at e s h a s b e e n s e x u all y a s s a ult e d or


               Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 32 of
                                                                             P L T89
                                                                                   F 000307

                                                                                           P S A 0031
   r a p e d. Or y o u m a y h a v e h e ar d t:tf 1fl: Y P 1 J Ol! V rs A ~ ~ r r e ct a b br e vi at e d v er si o n,         X
                                                                                                                            V
                                              ,. " ui ~· 1 " ~ e.




   fr o m w hi c h t hi s n u m b er w as d eri v e d, w e f e el w e n e e d t o s et t h e r e c or d str ai g ht.
   Alt h o u g h w e u s e d t h e b e st m et h o d ol o g y a v ail a bl e t o us at t h e ti m e, t h er e ar e
   c a v e at s t h at m a k e it i n a p pr o pri at e t o u s e t h e 1-i n- 5 n u m b er i n t h e w a y it' s
   b ei n g u s e d t o d a y, as a b a s eli n e or t h e o nl y st ati sti c w h e n di s c u s si n g o ur
   c o u ntr y' s pr o bl e m wit h r a p e a n d s e x u al a s s a ult o n c a m p u s.


   Fir st a n d f or e m o st, t h e 1-i n- 5 st ati sti c is n ot a n ati o n all y r e pr e s e nt ati v e
   e sti m at e of t h e pr e v al e n c e of s e x u al a s s a ult, a n d w e h a v e n e v er pr e s e nt e d it a s
   b ei n g r e pr e s e nt ati v e of a n yt hi n g ot h er t h a n t h e p o p ul ati o n of s e ni or
   u n d er gr a d u at e w o m e n at t h e t w o u ni v er siti e s w h er e d at a w er e c oll e ct e d-t w o
   l ar g e p u bli c u ni v er siti e s, o n e i n t h e S o ut h a n d o n e i n t h e Mi d w est.


   S e c o n d, t h e 1-i n- 5 st ati sti c i n cl u d e s vi cti m s of b ot h r a p e a n d ot h er f or ms of
   s e x u al a s s a ult, s u c h a s f or c e d ki s si n g or u n w a nt e d gr o pi n g of s e x u al b o d y p art s
   - a ct s t h at c a n l e g all y c o n stit ut e s e x u al b att er y a n d ar e cri m e s. T o li mit t h e
   st ati sti c t o i n cl u d e r a p e o nl y, m e a ni n g u n w a nt e d s e x u al p e n etr ati o n, t h e
   pr e v al e n c e f or s e ni or u n d er gr a d u at e w o m e n dr o p s t o 1 4. 3 %, or 1 i n 7 ( a g ai n,
   li mit e d t o t h e t w o u ni v er siti e s w e st u di e d).


   T hir d, d e s pit e w h at h a s b e e n s ai d i n s o m e m e di a r e p ort s, t h e 1-i n- 5 st ati sti c
   d o e s n ot i n cl u d e vi cti m s w h o e x p eri e n c e d o nl y s e x u al- a s s a ult i n ci d e nt s t h at
   w er e att e m pt e d b ut n ot c o m pl et e d. T h e s ur v e y d o e s att e m pt t o m e a s ur e
   att e m pt e d s e x u al a s s a ult s, b ut o nl y vi cti m s of c o m pl et e d i n ci d e nt s ar e i n cl u d e d
   i n t h e 1-i n- 5 st ati sti c.


   F o urt h, a n ot h er li mit ati o n of o ur st u d y-i n h er e nt t o w e b- b a s e d s ur v e y s-i s
   t h at t h e r e s p o n s e r at e w as r el ati v el y l o w ( 4 2 %). W e c o n d u ct e d a n a n al y si s of
   t hi s n o nr e s p o n s e r at e a n d f o u n d t h at r e s p o n d e nt s w er e n ot si g nifi c a ntl y
   diff er e nt fr o m n o nr e s p o n d e nt s i n t er m s of a g e, r a c e/ et h ni cit y or y e ar of st u d y.
   E v e n s o, it is p o s si bl e t h at n o nr e s p o n s e bi a s h a d a n i m p a ct o n o ur pr e v al e n c e
   e sti m at e s, p o siti v e or n e g ati v e. W e si m pl y h a v e n o w a y of k n o wi n g w h et h er
   s e x u al- a s s a ult vi cti m s w er e m or e or l e s s li k el y t o p arti ci p at e i n o ur st u d y. F a c e-
   t o-f a c e i nt er vi e wi n g t e n d s t o g et hi g h er r e s p o n s e r at e s b ut is c o n si d er a bl y
   m or e e x p e n si v e a n d ti m e- c o n s u mi n g. T h at s ai d, gi v e n t h e s e n siti v e n at ur e of
   t h e q u e sti o n s, t h e a n o n y mit y a n d pri v a c y w e aff or d e d r e s p o n d e nt s m a y h a v e
   m a d e w o m e n c o mf ort a bl e wit h r e s p o n di n g h o n e stl y. O v er all, w e b eli e v e t h at
   t h e tr a d e- off s a s s o ci at e d wit h l o w r e s p o n s e r at e s w er e o v er c o m e b y t h e
   b e n efit s of c o st- effi ci e n c y a n d d at a q u alit y.


Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 33 of
                                                              P L T89
                                                                    F 000308

                                                           P S A 0032
   T o b a c k u p, it m a k e s s e n s e t o    e " 1' Miff e. J Y Pl:ls' Al.! ~ a      w o m a n r e s p o n di n g t o o ur                               X
                                                 . 1.'I -   ~ 1fti\li 8if   1 'I ~, e..
                                                                                                                                                          V

         -                  -                                               - -                     -- -          - -         the
                                                                                                                              Bl a c k A m e ri c a n s

   w er e pr e s e nt e d wit h a pr o m pt e x pl ai ni n g t h at s u b s e q u e nt q u e sti o n s w o ul d a s k
   t h e m a b o ut " n o n c o n s e n s u al or u n w a nt e d s e x u al c o nt a ct " i n cl u di n g:


   * f or c e d t o u c hi n g of a s e x u al n at ur e (f or c e d ki s si n g, t o u c hi n g of pri v at e p art s,
   gr a b bi n g, f o n dli n g, r u b bi n g u p a g ai n st y o u i n a s e x u al w a y, e v e n if it is o v er
   y o ur cl ot h e s)


   * or al s e x ( s o m e o n e' s m o ut h or t o n g u e m a ki n g c o nt a ct wit h y o ur g e nit al s or
   y o ur m o ut h or t o n g u e m a ki n g c o nt a ct wit h s o m e o n e el s e' s g e nit al s)


   * s e x u al i nt er c o ur s e ( s o m e o n e' s p e ni s b ei n g p ut i n y o ur v a gi n a)

   * a n al s e x ( s o m e o n e' s p e ni s b ei n g p ut i n y o ur a n u s)

   * s e x u al p e n etr ati o n wit h a fi n g er or o bj e ct ( s o m e o n e p utti n g t h eir fi n g er or a n
   o bj e ct li k e a b ottl e or a c a n dl e i n y o ur v a gi n a or a n u s).


   A m o n g ot h er it e m s, t h e st u d e nt s, aft er b ei n g t ol d t h e y w er e g oi n g t o b e a s k e d
   a b o ut t h eir e x p eri e n c e s wit h u n w a nt e d s e x u al c o nt a ct, w er e a s k e d t h e s e t w o
   k e y q u e sti o n s:

   Si n c e y o u b e g a n c oll e g e , h a s a n y o n e h a d s e x u al c o nt a ct wit h y o u b y u si n g
   p h y si c al f or c e or t h r e at e ni n g t o p h y si c all y h a r m y o u ?

   and

   Si n c e y o u b e g a n c oll e g e , h a s s o m e o n e h a d s e x u al c o nt a ct wit h y o u w h e n y o u
   w er e u n a bl e t o p r o vi d e c o n s e nt o r st o p w h at w as h a p p e ni n g b e c a us e y o u w er e
   p a s s e d o ut, dr u g g e d, dr u n k, i n c a p a cit at e d, o r a sl e e p ? T his q u e sti o n a s k s a b o ut
   i n ci d e nt s t h at y o u ar e c ert ai n h a p p e n e d.

   T o b e c o u nt e d a s a vi cti m of s e x u al a s s a ult or r a p e a n d i n cl u d e d i n t h e 1-i n- 5
   st ati sti c ( 1 9. 8 %), a w o m a n w o ul d h a v e t o b e a s e ni or a n d a n s w er " Y es" t o o n e
   or b ot h of t h o s e q u e sti o n s.


   I n o ur r e p ort s, s e x u al- a s s a ult vi cti m s w h o s el e ct e d o nl y " F or c e d t o u c hi n g of a
   s e x u al n at ur e " i n a f oll o w- u p q u e sti o n a s ki n g a b o ut t h e t y p e of c o nt a ct t h at
   h a p p e n e d w er e cl a s sifi e d as vi cti m s of s e x u al b att er y o nl y, w h er e a s vi cti m s
   w h o s el e ct e d a n y of t h e ot h er r e s p o n s e o pti o n s ( or al s e x, s e x u al i nt er c o ur s e,
Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 34 of
                                                              P L T89
                                                                    F 000309

                                                               P S A 0033
   a n al s e x, or s e x u al p e n etr ati o n ff U:' w U O S\' S Jt[ P. bj e ct) w er e cl a s sifi e d as                                             X
                                                  111   - ~ 1' & % 1i Sl &f   111   ~ e.
                                                                                                                                                      V



                                                                                                                           l a c k A m e ri c a n s

   h a v e v al u e f or s e v er al r e a s o n s.

   Fir st, all r e s e ar c h of t hi s ki n d f a c es m et h o d ol o gi c al a n d l o gi sti c al c h all e n g e s,
   b ut w e a p pr o a c h e d t h e st u d y o bj e cti v el y a n d i m pl e m e nt e d it wit h a s m u c h
   m et h o d ol o gi c al ri g or a s p o s si bl e gi v e n t h e b u d g et w e w er e gi v e n a n d t h e st at e
   of t h e fi el d at t h at ti m e.


   S e c o n d, o ur r e s ult s ar e n ot i n c o n si st e nt wit h ot h er st u di e s t h at s ur v e y e d
   u n d er gr a d u at e st u d e nt s a b o ut t h eir s e x u al- a s s a ult e x p eri e n c e s, a n d s ur v e yi n g
   st u d e nt s dir e ctl y a b o ut t h eir s e x u al- a s s a ult e x p eri e n c e s u si n g b e h a vi or all y
   s p e cifi c l a n g u a g e r e m ai n s t h e m o st s ci e ntifi c all y v ali d w a y t o m e a s ur e t h e
   pr e v al e n c e of s e x u al a s s a ult. S ur v e y d at a h a v e li mit ati o n s, b ut t h e y ar e
   u ni v er s all y b eli e v e d t o b e m or e a c c ur at e t h a n offi ci al l a w- e nf or c e m e nt or
   c a m p u s cri m e d at a o n s e x u al a s s a ult . A l ar g e m aj orit y of s e x u al- a s s a ult vi cti m s
   d o n ot r e p ort t h eir e x p eri e n c e s t o l a w e nf or c e m e nt or ot h er a ut h oriti e s, s o
   offi ci al cri m e st ati sti c s dr a m ati c all y u n d er e sti m at e t h e pr e v al e n c e of s e x u al
   a s s a ult.

   T hir d, t h e st u d y r e s ult s ar e h el pi n g f u el a c o n v er s ati o n a b o ut s e x u al a s s a ult o n
   c oll e g e c a m p u s e s, a pr o bl e m t h at li k el y e xi st s at m o st c oll e g e s- n ot j u st t h e
   t w o wit h w hi c h w e c oll a b or at e d- a n d it n e g ati v el y i m p a ct s m a n y t h o u s a n d s of
   st u d e nt s e v er y y e ar. W e ar e pl e a s e d t o b e p art of t hi s c o n v er s ati o n a n d t o s e e
   att e nti o n b ei n g p ai d t o t hi s i s s u e, e s p e ci all y si n c e t h er e s e e m s t o b e a m pl e
   r o o m f or i m pr o v e m e nt i n t er m s of h o w u ni v er siti e s, s er vi c e pr o vi d er s, l a w
   e nf or c e m e nt a n d t h e j u sti c e s y st e m g o a b o ut tr yi n g t o pr e v e nt vi cti mi z ati o n,
   e n c o ur a g e r e p orti n g, m e et t h e n e e d s of s ur vi v or s a n d r e s p o n d t o r e p ort e d
   i n ci d e nt s.

   W h at w e ar e p er h a p s m o st e x cit e d a b o ut is t h at a d diti o n al r e s e ar c h is c urr e ntl y
   b ei n g c o n d u ct e d t h at will b uil d a n d i m pr o v e u p o n w h at h a s b e e n d o n e t o d at e.
   F or e x a m pl e, at R TI, w e ar e w or ki n g o n a n e w st u d y wit h t h e B ur e a u of J u sti c e
   St ati sti c s, t h e Offi c e of Vi ol e n c e A g ai n st W o m e n, a n d t h e W hit e H o us e t o
   d e v el o p a s ur v e y i n str u m e nt a n d m et h o d ol o g y f or c oll e cti n g v ali d a n d r eli a bl e
   d at a o n c a m p u s cli m at e a n d s e x u al a s s a ult.


   Alt h o u g h t h er e will n e v er b e a d efi niti v e e sti m at e of t h e pr e v al e n c e of s e x u al
   a s s a ult, t h e s e n e w r e s e ar c h eff ort s ar e l ar g er i n s c al e a n d ar e e m pl o yi n g
   s ci e ntifi c b e st pr a cti c e s, w hi c h will r e s ult i n m et h o d ol o gi c al i m pr o v e m e nt s
   t h at s h o ul d i n cr e a s e t h e v ali dit y a n d utilit y of t h e fi n di n g s. Wit h t h e s e
Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 35 of
                                                              P L T89
                                                                    F 000310

                                                             P S A 0034
   m et h o d s a n d t h e k n o wl e d g e w efft-i r o pl, M W ~!': cl Y, w e c a n b e gi n t o e n vi si o n a                                                                   X
                                                            1 0 1 ~ 1' M:fi R B o.f 1 G         ~, e.   ••
                                                                                                                                                                                  V



                                                                                                                                               et e d Bl a c k A m e ri c a n s



   C h ri st o p h e r Kr e bs a n d C h ri sti n e Li n d q ui st ar e S e ni o r R es e ar c h S o ci al S ci e nti st s
   at R T/ I nt e r n ati o n al, a n i n d e p e n d e nt, n o n p r ofit r es e ar c h i n stit ut e. T h e y ar e
   b ot h i n t h e C e nt e r f or J usti c e, S af et y, a n d R e sili e n c e at R T!, a n d t h e y di r e ct e d
   t h e C a m p us S e x u al A s s a ult St u d y, w hi c h w as f u n d e d b y t h e N ati o n al I n stit ut e
   of J usti c e a n d c o m pl et e d i n 2 0 0 7.



                                                  Si g n u p f o r I n si d e TI M E.
          B e t h e fir st t o s e e t h e n e w c o v er of TI M E a n d g et o ur m o st c o m p elli n g st ori e s
                                            d eli v er e d str ai g ht t o y o ur i n b o x.


    [ E nt er y o ur e m ail a d dr e s s



                                                                    SI G N U P N O W


    Y o u c a n u n s u b s cri b e at a n y ti m e. B y si g ni n g u p y o u ar e a gr e ei n g t o o ur T er m s of U s e a n d Pri v a c y P oli c y




                                               C O N T A C T U S A T E DI T O R S @ TI M E .C O M .


                        TI M E I d e a s h o st s t h e w orl d's l e a di n g v oi c es, pr o vi di n g c o m m e nt ar y o n
                       e v e nt s i n n e ws, s o ci et y, a n d c ult ur e . W e w el c o m e o ut si d e c o ntri b uti o n s .
                       O pi ni o ns e x pr e s s e d d o n ot n e c e s s aril y r efl e ct t h e vi e ws of TI M E e dit or s .




                                                                    TI M E




Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 36 of
                                                              P L T89
                                                                    F 000311

                                                                         P S A 0035
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.       E X HI BI T

                                                                                                                                                                                D
                                     U NI T E D S T A T E S D E P A R T M E N T O F E D U C A TI O N
                                                                O F FI C E F O R CI VI L RI G H T S

                                                                                                                             T H E A S SI S T A N T S E C R E T A R Y


                                      Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e                      1



Titl e I X of t h e E d u c ati o n A m e n d m e nt s of 1 9 7 2 (" Titl e I X") 2 i s a f e d er al ci vil ri g ht s l a w t h at pr o hi bit s
di s cri mi n ati o n o n t h e b a si s of s e x i n f e d er all y f u n d e d e d u c ati o n pr o gr a m s a n d a cti viti e s. All p u bli c
a n d pri v at e el e m e nt ar y a n d s e c o n d ar y s c h o ol s , s c h o ol di stri ct s, c oll e g e s, a n d u ni v er siti e s r e c ei vi n g
a n y f e d er al fi n a n ci al a s si st a n c e ( h er ei n aft er " s c h o ol s", "r e ci pi e nt s" , or "r e ci pi e nt i n stit uti o n s")
m u st c o m pl y wit h Titl e I X. 3

O n A pril 4, 2 0 1 1, t h e Offi c e f or Ci vil Ri g ht s ( O C R) i n t h e U. S. D e p art m e nt of E d u c ati o n i s s u e d a D e ar
C oll e a g u e L ett er o n st u d e nt- o n- st u d e nt s e x u al h ar a s s m e nt a n d s e x u al vi ol e n c e (" D C L"). 4 T h e D C L
e x pl ai n s a s c h o ol' s r e s p o n si bilit y t o r e s p o n d pr o m ptl y a n d eff e cti v el y t o s e x u al vi ol e n c e a g ai n st
st u d e nt s i n a c c or d a n c e wit h t h e r e q uir e m e nt s of Titl e I X.5 S p e cifi c all y, t h e D C L :

      •      Pr o vi d e s g ui d a n c e o n t h e u ni q u e c o n c er n s t h at ari s e i n s e x u al vi ol e n c e c a s e s, s u c h a s a
             s c h o ol 's i n d e p e n d e nt r e s p o n si bilit y u n d er Titl e I X t o i n v e sti g at e ( a p art fr o m a n y s e p ar at e
             cri mi n al i n v e sti g ati o n b y l o c al p oli c e) a n d a d dr e s s s e x u al vi ol e n c e.




1  T h e D e p art m e nt h a s d et er mi n e d t h at t hi s d o c u m e nt i s a " si g nifi c a nt g ui d a n c e d o c u m e nt" u n d er t h e Offi c e of
M a n a g e m e nt a n d B u d g et' s Fi n al B ull eti n f or A g e n c y G o o d G ui d a n c e Pr a cti c e s, 7 2 F e d . R e g . 3 4 3 2 ( J a n . 2 5 , 2 0 0 7) ,
a v ail a bl e at w w w .w hit e h o u s e .g o v/ sit e s/ d ef a ult/fil e s/ o m b/f e dr e g/ 2 0 0 7 / 0 1 2 5 0 7 g o o d g ui d a n c e .p df . T h e Offi c e f or
Ci vil Ri g ht s ( O C R) i s s u e s t hi s a n d ot h er p oli c y g ui d a n c e t o pr o vi d e r e ci pi e nt s wit h i nf or m ati o n t o a s si st t h e m i n m e eti n g
t h eir o bli g ati o n s , a n d t o pr o vi d e m e m b er s of t h e p u bli c wit h i nf or m ati o n a b o ut t h eir ri g ht s, u n d er t h e ci vil ri g ht s l a w s
a n d i m pl e m e nti n g r e g ul ati o n s t h at w e e nf or c e . O C R' s l e g al a ut h orit y i s b a s e d o n t h o s e l a w s a n d r e g ul ati o n s. T hi s
g ui d a n c e d o e s n ot a d d r e q uir e m e nt s t o a p pli c a bl e l a w, b ut pr o vi d e s i nf or m ati o n a n d e x a m pl e s t o i nf or m r e ci pi e nt s
a b o ut h o w O C R e v al u at e s w h et h er c o v er e d e ntiti e s ar e c o m pl yi n g wit h t h eir l e g al o bli g ati o n s . If y o u ar e i nt er e st e d i n
c o m m e nti n g o n t hi s g ui d a n c e , pl e a s e s e n d a n e- m ail wit h y o ur c o m m e nt s t o O C R @ e d .g o v , or writ e t o t h e f oll o wi n g
a d dr e s s : Offi c e f or C ivil Ri g ht s , U .S . D e p art m e nt of E d u c ati o n , 4 0 0 M ar yl a n d A v e n u e , S W , W a s hi n gt o n , D .C. 2 0 2 0 2 .
2 2 0 U .S .C. § 1 6 8 1 et s e q.

3 T hr o u g h o ut t hi s d o c u m e nt t h e t er m " s c h o ol s" r ef er s t o r e ci pi e nt s off e d er al fi n a n ci al a s si st a n c e t h at o p er at e

e d u c ati o n al pr o gr a m s or a cti viti e s . F or Titl e I X p ur p o s e s, at t h e el e m e nt ar y a n d s e c o n d ar y s c h o ol l e v el, t h e r e ci pi e nt
g e n er all y i s t h e s c h o ol di stri ct; a n d at t h e p o st s e c o n d ar y l e v el, t h e r e ci pi e nt i s t h e i n di vi d u al i n stit uti o n of hi g h er
e d u c ati o n . A n e d u c ati o n al i n stit uti o n t h at i s c o ntr oll e d b y a r eli gi o u s or g a ni z ati o n i s e x e m pt fr o m Titl e I X t o t h e e xt e nt
t h at t h e l a w' s r e q uir e m e nt s c o nfli ct wit h t h e or g a ni z ati o n' s r eli gi o u s t e n et s. 2 0 U. S .C. § 1 6 8 1( a)( 3); 3 4 C. F .R . §
1 0 6 .1 2( a) . F or a p pli c ati o n of t hi s pr o vi si o n t o a s p e cifi c i n stit uti o n, pl e a s e c o nt a ct t h e a p pr o pri at e O C R r e gio n al offi c e .
4 A v ail a bl e at htt p:// w w w. e d. g o v/ o cr/l ett er s/ c oll e a g u e- 2 0 1 1 0 4 .ht m l.

5 Alt h o u g h t hi s d o c u m e nt a n d t h e D C L f o c u s o n s e x u al vi ol e n c e , t h e l e g al pri n ci pl e s g e n er all y al s o a p pl y t o ot h er f or m s

of s e x u al h ar a s s m e nt .




            Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 37 of 89
                                                                                   P S A 0036
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.

        •      Pr o vi d e s g ui d a n c e a n d e x a m pl e s a b o ut k e y Titl e I X r e q uir e m e nt s a n d h o w t h e y r el at e t o
              s e x u al vi ol e n c e, s u c h a s t h e r e q uir e m e nt s t o p u bli s h a p oli c y a g ai n st s e x di s cri mi n ati o n,
               d e si g n at e a Titl e I X c o or di n at or, a n d a d o pt a n d p u bli s h gri e v a n c e pr o c e d ur e s.

        •      Di s c u s s e s pr o a cti v e eff ort s s c h o ol s c a n t a k e t o pr e v e nt s e x u al vi ol e n c e.

        •      Di s c u s s e s t h e i nt er pl a y b et w e e n Titl e I X, t h e F a mil y E d u c ati o n al Ri g ht s a n d Pri v a c y A ct
               (" F E R P A"), 6 a n d t h e J e a n n e Cl er y Di s cl o s ur e of C a m p u s S e c urit y a n d C a m p u s Cri m e
              St ati sti c s A ct (" Cl er y A ct")         7   a s it r el at e s t o a c o m pl ai n a nt' s ri g ht t o k n o w t h e o ut c o m e of hi s
               or h er c o m pl ai nt, i n cl u di n g r el e v a nt s a n cti o n s i m p o s e d o n t h e p er p etr at or.

        •      Pr o vi d e s e x a m pl e s of r e m e di e s a n d e nf or c e m e nt str at e gi e s t h at s c h o ol s a n d O C R m a y u s e
              t o r e s p o n d t o s e x u al vi ol e n c e .

T h e D C L s u p pl e m e nt s O C R' s R e vi s e d S e x u al H ar a s s m e nt G ui d a n c e: H ar a s s m e nt of St u d e nt s b y
S c h o ol E m pl o y e e s, Ot h er St u d e nt s, or T hir d P arti e s, i s s u e d i n 2 0 0 1 ( 2 0 0 1 G ui d a n c e).          8   The 2001
G ui d a n c e di s c u s s e s i n d et ail t h e Titl e I X r e q uir e m e nt s r el at e d t o s e x u al h ar a s s m e nt of st u d e nt s b y
s c h o ol e m pl o y e e s, ot h er st u d e nt s, or t hir d p arti e s. T h e D C L a n d t h e 2 0 0 1 G ui d a n c e r e m ai n i n f ull
f or c e a n d w e r e c o m m e n d r e a di n g t h e s e Q u e sti o n s a n d A n s w er s i n c o nj u n cti o n wit h t h e s e
d o c u m e nt s.

I n r e s p o n di n g t o r e q u e st s f or t e c h ni c al a s si st a n c e, O C R h a s d et er mi n e d t h at el e m e nt ar y a n d
s e c o n d ar y s c h o ol s a n d p o st s e c o n d ar y i n stit uti o n s w o ul d b e n efit fr o m a d diti o n al g ui d a n c e
c o n c er ni n g t h eir o bli g ati o n s u n d er Titl e I X t o a d dr e s s s e x u al vi ol e n c e a s a f or m of s e x u al
h ar a s s m e nt. T h e f oll o wi n g q u e sti o n s a n d a n s w er s f urt h er cl arif y t h e l e g al r e q uir e m e nt s a n d
g ui d a n c e arti c ul at e d i n t h e D C L a n d t h e 2 0 0 1 G ui d a n c e a n d i n cl u d e e x a m pl e s of pr o a cti v e eff ort s
s c h o ol s c a n t a k e t o pr e v e nt s e x u al vi ol e n c e a n d r e m e di e s s c h o ol s m a y u s e t o e n d s u c h c o n d u ct,
pr e v e nt it s r e c urr e n c e, a n d a d dr e s s it s eff e ct s. I n or d er t o g ai n a c o m pl et e u n d er st a n di n g of t h e s e
l e g al r e q uir e m e nt s a n d r e c o m m e n d ati o n s, t hi s d o c u m e nt s h o ul d b e r e a d i n f ull.


A ut h ori z e d b y

      / sf

C at h eri n e E. L h a m o n                                                              A pril 2 9, 2 0 1 4
A s si st a nt S e cr et ar y f or Ci vil Ri g ht s




6   2 0 U .S. C. § 1 2 3 2 g; 3 4 C. F .R . P art 9 9.
7   2 0 u .s.c. § 1 0 9 2(f) .
8   A v ail a bl e at htt p:// w w w. e d .g o v/ o cr/ d o c s/ s h g ui d e .ht m l.
                                                                                                                                                                ii



             Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 38 of 89
                                                                                   P S A 0037
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


                                                      N oti c e of L a n g u a g e A s si st a n c e
                                   Q u e sti o n s a n d A ns w e rs o n Titl e I X a n d S e x u al Vi ol e n c e

  N oti c e of L a n g u a g e A s si st a n c e: If y o u h a v e diffi c ult y u n d erst a n di n g E n glis h, y o u m a y, fr e e of c h ar g e,
  r e q u est l a n g u a g e assist a n c e s er vi c es f or t his D e p art m e nt i nf or m ati o n b y c alli n g 1- 8 0 0- U S A- L E A R N
  ( 1- 8 0 0- 8 7 2- 5 3 2 7) ( T T Y: 1- 8 0 0- 8 7 7- 8 3 3 9), or e m ail us at: E d. L a n g u a g e. Assist a n c e @ e d. g o v.

  A vi s o a p e r s o n a s c o n d o mi ni o li mit a d o d el i di o m a i n gl e s: Si ust e d ti e n e al g u n a difi c ult a d e n e nt e n d er
  el i di o m a i n gl es, p u e d e, si n c ost o al g u n o, s oli cit ar asist e n ci a li n gilisti c a c o n r es p e ct o a est a i nf or m a ci 6 n
  ll a m a n d o al 1- 8 0 0- U S A- L E A R N ( 1- 8 0 0- 8 7 2- 5 3 2 7) ( T T Y: l- 8 0 0- 8 7 7- 8 3 3 9), o e n vi e u n m e ns aj e d e
  c orr e o el e ctr 6 ni c o a: E d. L a n g u a g e. Assist a n c e @ e d. g o v.



  - ~ ~ ~- A A ~ ~.
  M ~ m t t ~ • ■ A ± ~ • ~ = • ~ • ~ ~ • ~ -                                          • ~ ~ m• m ~ m *·
                                  - ~ - ~ ~ • • w ~ m o ~ @ ~ ~ - ~ ~ ~ ~ ~ ~ • m • o • ~ - ~ ~ - ~
                                                                                                           • ~ ~ ~ - - ~ ~ ~ ~ m

  □ ~ - - ~ f f l l ~ ~ ~ t : l i l ~ ~ f l . ~ ~ttffl 1- 8 0 0- U S A- L E A R N ( 1- 8 0 0- 8 7 2- 5 3 2 7) ( ~ ~fillf A ± ~ ~ :
  l- 8 0 0- 8 7 7- 8 3 3 9), d ffli B: E d. L a n g u a g e. Assist a n c e @ e d. g o v. o

  T h o n g b a o d a n h c h o n hf r n g n gt r oi c o k h a n a n g A n h n gf r h:,. n c h ~: N ~ u q u y vi g ~ p k h 6 k h a n tr o n g
  vi ~ c hi € u A n h n gfr t hi q u y vi c o t h € y e u cft u c a c di c h V 1, 1 h 6 tr q n g o n n gfr c h o c a c ti n r u e c u a B 9 d a n h c h o
  c o n g c h( m g. C a c dj c h V\l h 6 tr q n g o n n gfr n a y d S u mi S n p hi. N ~ u q u y vi m u 6 n bi ~t t h e m c hi ti ~t vs c a c
  dj c h V\l p hi e n dj c h h a y t h o n g dj c h, xi n v ui l o n g g 9i s 6 1- 8 0 0- U S A- L E A R N ( 1- 8 0 0- 8 7 2- 5 3 2 7) ( T T Y:
  l- 8 0 0- 8 7 7- 8 3 3 9), h o ~ c e m ail: E d. L a n g u a g e. Assist a n c e @ e d. g o v.


                                                               *
  ~ Oi Dl ~ A J S ~ el- ~ ~: ~ ()j ~ 0 1 o H o ~ ~ 8 1 Oi 2.i § 0 1 ~ 0 tJ ~ ~. ii 1 ~.!: ¥ ~ .!:i:I. ~ E 1 Oll ~ ~ e.!
  C H ~ ~ ( )j x 1 ~ J dt: 1 1. A. ~ R ~ o ~ @!            ~ ~ LI O. 0 1 2., ~ ~ ( )j x 1 ~ ;.,t: 1 1. A. ~ ~ E £ ~l ~ ~ LI C ~.
  ~ ~ 0 I L ~ t!:! ~ J.-i t: 1 1 A Oll C H o H X ~ All ~ ~ .!:i:I. J ~ ~ B. o ~ t J ~ ~, ~ 2 ~ t!:! 2. 1- 8 0 0- U S A- L E A R N ( 1- 8 0 0-
  8 7 2- 5 3 2 7) E E ~ ~ 2,'- ~ O H e J ~ ~ $t!:! 2. 1- 8 0 0- 8 7 7- 8 3 3 9 E E ~ OI O H ~ ~.::::::: _
  E d .L a n g u a g e. Assist a n c e @ e d. g o v O £ 2 1 ~ o ~ AI JI t:l ~ ~ LI 0.

  P a u n a w a s a m g a T a o n g Li mit a d o a n g K a al a m a n s a E n gli s h: K u n g n a hi hir a p a n k a y o n g m a k ai nti n di
  n g E n glis h, m a a ari k a y o n g h u mi n gi n g t ul o n g u k ol dit o s a i n p or m as y o n n g K a g a w ar a n m ul a s a
  n a g bi bi g a y n g s er bis y o n a p a gt ul o n g k a u g n a y n g wi k a. A n g s er bis y o n a p a gt ul o n g k a u g n a y n g wi k a a y
  li br e. K u n g k ail a n g a n ni n y o n g d a g d a g n a i m p or m as y o n t u n g k ol s a m g a s er bis y o k a u g n a y n g
  p a g p a p ali w a n a g o p a gs as ali n, m a n g y ari l a m a n g t u m a w a g s a 1- 8 0 0- U S A- L E A R N ( 1- 8 0 0- 8 7 2- 5 3 2 7)
  ( T T Y: 1- 8 0 0- 8 7 7- 8 3 3 9), o m a g- e m ail s a : E d .L a n g u a g e. Assist a n c e @ e d. g o v.

  Y B e,!l, O M Ji e u u e ,!I. JI B J I H Q C o r p a u u 1 1 e H H bl M 3 H a u u e M a u r Ji uii c 1 r n r o H 3 b 1 K a: E cJI H B bl H CI T bl T bI B a e T e
  T P Y,lJ, H 0 C T H B n o H H M a H H H attrJI H H C K Or o H 3 b 1 K a, B bl M 0) K e T e n o n p o C H T b, 'I T 0 6 bl B a M n p e,l 1, 0 C T a B HJI H
  n e p e B 0)], 1 1 m p o p M a U, H H, K 0 T 0 P)'I O M H H H C T e p C T B O O 6 p a 3 0 B a H H H )], 0 B 0,l], H T )], O B C e 0 6III er o C B e)], e H M H. 3 T O T
  n e p e B 0,l], n p e,l 1, 0 C T a BJI H e T C H 6 e crIJi a T H O . E cJI H B bl X 0 T H T e n o n y q H T b 6 o n e e n o,l 1, p 0 6 H yI O H H q > O p M a u, m o 0 6
  y c n yr a x y cr n or o 1 1 Il H C b M e Htt or o n e p e B o,lJ, a, 3 B 0 H H T e n o T e n e q, ott y 1- 8 0 0- U S A- L E A R N ( 1- 8 0 0- 8 7 2-
  5 3 2 7) ( c n y) K 6 a ,lJ,JI H c n a 6 o c n bllrr aIII H X: 1- 8 0 0- 8 7 7- 8 3 3 9), HJI H O T n p a B b T e c o o 6III e H H e n o a)], p e c y :
  E d. L a n g u a g e. Assist a n c e @ e d. g o v.




                                                                                                                                                                             iii

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 39 of 89
                                                                                 P S A 0038
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


                                                            T A BLE OF C O NT E NT S

  N oti c e of L a n g u a g e A s si st a n c e ................................................................................................... iii

  A.   A S c h o ol' s O bli g ati o n t o R e s p o n d t o S e x u al Vi ol e n c e ............................................................ 1

       A- 1.   W h at i s s e x u al vi ol e n c e ? ....................................................................................................... 1

       A- 2.    H o w d o e s Titl e I X a p pl y t o st u d e nt- o n- st u d e nt s e x u al vi ol e n c e ? ........................................ 1

       A- 3.    H o w d o e s O C R d et er mi n e if a h o stil e e n vir o n m e nt h a s b e e n cr e at e d ? .............................. 1

       A- 4.   When       d o e s O C R c o n si d er a s c h o ol t o h a v e n oti c e of st u d e nt- o n- st u d e nt s e x u al
               vi ol e n c e ? ............................................................................................................................... 2

       A- 5.   W h at ar e a s c h o ol' s b a si c r e s p o n si biliti e s t o a d dr e s s st u d e nt- o n- st u d e nt s e x u al
               vi ol e n c e ? ............................................................................................................................... 2

       A- 6.    D o e s Titl e I X c o v er e m pl o y e e- o n- st u d e nt s e x u al vi ol e n c e, s u c h a s s e x u al a b u s e of
               c hil dr e n ? ............................................................................................................................... 3

  B.   St u d e nt s Pr ot e ct e d b y Titl e I X •.•.•.•.•.•.•.•.•.•.•.•.•.•.•.•.•••••••••••••••••••••••••••••••••••••••••••••••••••••••.•••••. 5

       B- 1.    D o e s Titl e I X pr ot e ct all st u d e nt s fr o m s e x u al vi ol e n c e ? ...................................................... 5

       B- 2.    H o w s h o ul d a s c h o ol h a n dl e s e x u al vi ol e n c e c o m pl ai nt s i n w hi c h t h e c o m pl ai n a nt
                a n d t h e all e g e d p er p etr at or ar e m e m b er s of t h e s a m e s e x ? ............................................... 5

       B- 3.   W h at i s s u e s m a y ari s e wit h r e s p e ct t o st u d e nt s wit h di s a biliti e s w h o e x p eri e n c e
               s e x u al vi ol e n c e ? .................................................................................................................... 6

       B- 4.   W h at i s s u e s ari s e wit h r e s p e ct t o i nt er n ati o n al st u d e nt s a n d u n d o c u m e nt e d
               st u d e nt s w h o e x p eri e n c e s e x u al vi ol e n c e ? .......................................................................... 7

       B- 5.    H o w s h o ul d a s c h o ol r e s p o n d t o s e x u al vi ol e n c e w h e n t h e all e g e d p er p etr at or i s
               n ot affili at e d wit h t h e s c h o ol ? .............................................................................................. 9

  C.   Titl e I X P r o c e d u r al R e q ui r e m e nt s ......................................................................................... 9

       C- 1.   W h at pr o c e d ur e s m u st a s c h o ol h a v e i n pl a c e t o pr e v e nt s e x u al vi ol e n c e a n d
               r e s ol v e c o m pl ai nt s ? .............................................................................................................. 9

       C- 2.   W h at i nf or m ati o n m u st b e i n cl u d e d i n a s c h o ol' s n oti c e of n o n di s cri mi n ati o n ? .............. 1 0

       C- 3.   W h at ar e a Titl e I X c o or di n at or' s r e s p o n si biliti e s ? ............................................................. 1 0

       C- 4.   Ar e t h er e a n y e m pl o y e e s w h o s h o ul d n ot s er v e a s t h e Titl e I X c o or di n at or ? ................... 1 1

       C- 5.    U n d er Titl e I X, w h at el e m e nt s s h o ul d b e i n cl u d e d i n a s c h o ol' s pr o c e d ur e s f or
               r e s p o n di n g t o c o m pl ai nt s of s e x u al vi ol e n c e ? .................................................................... 1 2

       C- 6.    I s a s c h o ol r e q uir e d t o u s e s e p ar at e gri e v a n c e pr o c e d ur e s f or s e x u al vi ol e n c e
               c o m pl ai nt s ? ......................................................................................................................... 1 4

                                                                                                                                                          iv

         Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 40 of 89
                                                                        P S A 0039
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


  D.   R e s p o n si bl e E m pl o y e e s a n d R e p orti n g ................................................................................ 1 4

       D- 1.   W hi c h s c h o ol e m pl o y e e s ar e o bli g at e d t o r e p ort i n ci d e nt s of p o s si bl e s e x u al
               vi ol e n c e t o s c h o ol offi ci al s ? ................................................................................................ 1 4

       D- 2.   W h o i s a "r e s p o n si bl e e m pl o y e e" ? ..................................................................................... 1 5

       D- 3.   W h at i nf or m ati o n i s a r e s p o n si bl e e m pl o y e e o bli g at e d t o r e p ort a b o ut a n i n ci d e nt
               of p o s si bl e st u d e nt- o n- st u d e nt s e x u al vi ol e n c e ? ............................................................... 1 6

       D- 4.   W h at s h o ul d a r e s p o n si bl e e m pl o y e e t ell a st u d e nt w h o di s cl o s e s a n i n ci d e nt of
               s e x u al vi ol e n c e ? .................................................................................................................. 1 6

       D- 5.   If a st u d e nt i nf or m s a r e si d e nt a s si st a nt/ a d vi s or ( R A) t h at h e or s h e w a s s u bj e ct e d
               t o s e x u al vi ol e n c e b y a f ell o w st u d e nt, i s t h e R A o bli g at e d u n d er Titl e I X t o r e p ort
               t h e i n ci d e nt t o s c h o ol offi ci al s ? .......................................................................................... 1 7

  E.   C o nfi d e nti alit y a n d a S c h o ol' s O bli g ati o n t o R e s p o n d t o S e x u al Vi ol e n c e ............................. 1 8

       E- 1.   H o w s h o ul d a s c h o ol r e s p o n d t o a st u d e nt' s r e q u e st t h at hi s or h er n a m e n ot b e
               di s cl o s e d t o t h e all e g e d p er p etr at or or t h at n o i n v e sti g ati o n or di s ci pli n ar y a cti o n
               b e p ur s u e d t o a d dr e s s t h e all e g e d s e x u al vi ol e n c e ? .......................................................... 1 8

       E- 2.   W h at f a ct or s s h o ul d a s c h o ol c o n si d er i n w ei g hi n g a st u d e nt' s r e q u e st f or
               c o nfi d e nti alit y ? ................................................................................................................... 2 1

       E- 3.   W h at ar e t h e r e p orti n g r e s p o n si biliti e s of s c h o ol e m pl o y e e s w h o pr o vi d e or
               s u p p ort t h e pr o vi si o n of c o u n s eli n g, a d v o c a c y, h e alt h, m e nt al h e alt h, or s e x u al
               a s s a ult-r el at e d s er vi c e s t o st u d e nt s w h o h a v e e x p eri e n c e d s e x u al vi ol e n c e ? .................. 2 2

       E- 4.   I s a s c h o ol r e q uir e d t o i n v e sti g at e i nf or m ati o n r e g ar di n g s e x u al vi ol e n c e i n ci d e nt s
               s h ar e d b y s ur vi v or s d uri n g p u bli c a w ar e n e s s e v e nt s, s u c h a s " T a k e B a c k t h e
               Ni g ht" ? ................................................................................................................................ 2 4

  F.   I n v e sti g ati o n s a n d H e ari n g s ................................................................................................ 2 4

       F- 1.   W h at el e m e nt s s h o ul d a s c h o ol' s Titl e I X i n v e sti g ati o n i n cl u d e ? ....................................... 2 4

       F- 2.   W h at ar e t h e k e y diff er e n c e s b et w e e n a s c h o ol' s Titl e I X i n v e sti g ati o n i nt o
               all e g ati o n s of s e x u al vi ol e n c e a n d a cri mi n al i n v e sti g ati o n ? .............................................. 2 7

       F- 3.   H o w s h o ul d a s c h o ol pr o c e e d w h e n c a m p u s or l o c al l a w e nf or c e m e nt a g e n ci e s ar e
               c o n d u cti n g a cri mi n al i n v e sti g ati o n w hil e t h e s c h o ol i s c o n d u cti n g a p ar all el Titl e I X
               i n v e sti g ati o n ? ...................................................................................................................... 2 8

       F- 4.   I s a s c h o ol r e q uir e d t o pr o c e s s c o m pl ai nt s of all e g e d s e x u al vi ol e n c e t h at o c c urr e d
               off c a m p u s ? ......................................................................................................................... 2 9

       F- 5.   M u st a s c h o ol all o w or r e q uir e t h e p arti e s t o b e pr e s e nt d uri n g a n e ntir e h e ari n g ? ........ 3 0


                                                                                                                                                           V


        Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 41 of 89
                                                                        P S A 0040
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


       F- 6.   M a y e v er y wit n e s s at t h e h e ari n g, i n cl u di n g t h e p arti e s, b e cr o s s- e x a mi n e d ? ................. 3 1

       F- 7.   M a y t h e c o m pl ai n a nt' s s e x u al hi st or y b e i ntr o d u c e d at h e ari n g s ? ................................... 3 1

       F- 8.   W h at st a g e s of t h e i n v e sti g ati o n ar e i n cl u d e d i n t h e 6 0- d a y ti m efr a m e r ef er e n c e d
               i n t h e D C L a s t h e l e n gt h f or a t y pi c al i n v e sti g ati o n ? .......................................................... 3 1

  G.   I nt eri m M e a s ur e s ............................................................................................................... 3 2

       G- 1.   I s a s c h o ol r e q uir e d t o t a k e a n y i nt eri m m e a s ur e s b ef or e t h e c o m pl eti o n of it s
               i n v e sti g ati o n ? ...................................................................................................................... 3 2

       G- 2.   H o w s h o ul d a s c h o ol d et er mi n e w h at i nt eri m m e a s ur e s t o t a k e ? .................................... 3 3

       G- 3.   If a s c h o ol pr o vi d e s all st u d e nt s wit h a c c e s s t o c o u n s eli n g o n a f e e b a si s, d o e s t h at
               s uffi c e f or pr o vi di n g c o u n s eli n g a s a n i nt eri m m e a s ur e ? ................................................... 3 3

  H.   R e m e di e s a n d N oti c e of O ut c o m e ....................................................................................... 3 4

       H- 1.   W h at r e m e di e s s h o ul d a s c h o ol c o n si d er i n a c a s e of st u d e nt- o n- st u d e nt s e x u al
               vi ol e n c e ? ............................................................................................................................. 3 4

       H- 2.   If, aft er a n i n v e sti g ati o n, a s c h o ol fi n d s t h e all e g e d p er p etr at or r e s p o n si bl e a n d
               d et er mi n e s t h at, a s p art of t h e r e m e di e s f or t h e c o m pl ai n a nt, it m u st s e p ar at e t h e
               c o m pl ai n a nt a n d p er p etr at or, h o w s h o ul d t h e s c h o ol a c c o m pli s h t hi s if b ot h
               st u d e nt s s h ar e t h e s a m e m aj or a n d t h er e ar e li mit e d c o ur s e o pti o n s ? ............................ 3 6

       H- 3.   W h at i nf or m ati o n m u st b e pr o vi d e d t o t h e c o m pl ai n a nt i n t h e n oti c e of t h e
               o ut c o m e ? ............................................................................................................................ 3 6

  I.   A p p e al s .............................................................................................................................. 3 7

       1- 1.   W h at ar e t h e r e q uir e m e nt s f or a n a p p e al s pr o c e s s ? ......................................................... 3 7

       1- 2.   M u st a n a p p e al b e a v ail a bl e t o a c o m pl ai n a nt w h o r e c ei v e s a f a v or a bl e fi n di n g b ut
               d o e s n ot b eli e v e a s a n cti o n t h at dir e ctl y r el at e s t o hi m or h er w a s s uffi ci e nt ? ................ 3 8

  J.   Titl e I X Tr ai ni n g, E d u c ati o n a n d P r e v e nti o n ......................................................................... 3 8

       J- 1.   W h at t y p e of tr ai ni n g o n Titl e I X a n d s e x u al vi ol e n c e s h o ul d a s c h o ol pr o vi d e t o it s
               e m pl o y e e s ? ......................................................................................................................... 3 8

       J- 2.   H o w s h o ul d a s c h o ol tr ai n r e s p o n si bl e e m pl o y e e s t o r e p ort i n ci d e nt s of p o s si bl e
               s e x u al h ar a s s m e nt or s e x u al vi ol e n c e ? .............................................................................. 3 9

       J- 3.   W h at t y p e of tr ai ni n g s h o ul d a s c h o ol pr o vi d e t o e m pl o y e e s w h o ar e i n v ol v e d i n
               i m pl e m e nti n g t h e s c h o ol' s gri e v a n c e pr o c e d ur e s ? ............................................................ 4 0

       J- 4.   W h at t y p e of tr ai ni n g o n s e x u al vi ol e n c e s h o ul d a s c h o ol pr o vi d e t o it s st u d e nt s ? .......... 4 1




                                                                                                                                                           vi

         Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 42 of 89
                                                                        P S A 0041
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


  K.   R et ali ati o n .......................................................................................................................... 4 2

       K- 1.   D o e s Titl e I X pr ot e ct a g ai n st r et ali ati o n ? ........................................................................... 4 2

  L.   Fir st A m e n d m e nt ................................................................................................................ 4 3

       L- 1.   H o w s h o ul d a s c h o ol h a n dl e it s o bli g ati o n t o r e s p o n d t o s e x u al h ar a s s m e nt a n d
               s e x u al vi ol e n c e w hil e still r e s p e cti n g fr e e- s p e e c h ri g ht s g u ar a nt e e d b y t h e
               C o n stit uti o n ? .......................................................................................................................4 3

  M.   T h e Cl er y A ct a n d t h e Vi ol e n c e A g ai n st W o m e n           R e a ut h o ri z ati o n A ct of 2 0 1 3 ....................... 4 4

       M- 1. H o w d o e s t h e Cl er y A ct aff e ct t h e Titl e I X o bli g ati o n s of i n stit uti o n s of hi g h er
               e d u c ati o n t h at p arti ci p at e i n t h e f e d er al st u d e nt fi n a n ci al ai d pr o gr a m s ? ....................... 4 4

       M- 2. W er e a s c h o ol' s o bli g ati o n s u n d er Titl e I X a n d t h e D C L alt er e d i n a n y w a y b y t h e
               Vi ol e n c e A g ai n st W o m e n      R e a ut h ori z ati o n A ct of 2 0 1 3, P u b. L. N o. 1 1 3- 4, i n cl u di n g
               S e cti o n 3 0 4 of t h at A ct, w hi c h a m e n d s t h e Cl er y A ct ? ....................................................... 4 4

  N.   F u rt h e r F e d er al G ui d a n c e .................................................................................................... 4 5

       N- 1.   Who m      s h o ul d I c o nt a ct if I h a v e a d diti o n al q u e sti o n s a b o ut t h e D C L or O C R' s ot h er
               Titl e I X g ui d a n c e ? ................................................................................................................ 4 5

       N- 2.   Ar e t h er e ot h er r e s o ur c e s a v ail a bl e t o a s si st a s c h o ol i n c o m pl yi n g wit h Titl e I X a n d
               pr e v e nti n g a n d r e s p o n di n g t o s e x u al vi ol e n c e ? ................................................................. 4 5




                                                                                                                                                        vii

        Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 43 of 89
                                                                       P S A 0042
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.



  A.      A S c h o ol' s O bli g ati o n t o R e s p o n d t o S e x u al Vi ol e n c e

  A- 1.     W h at     i s s e x u al vi ol e n c e ?
            A n s w er:      S e x u al vi ol e n c e, a s t h at t er m i s u s e d i n t hi s d o c u m e nt a n d pri or O C R g ui d a n c e,
            r ef er s t o p h y si c al s e x u al a ct s p er p etr at e d a g ai n st a p er s o n' s will or w h er e a p er s o n i s
            i n c a p a bl e of gi vi n g c o n s e nt { e. g., d u e t o t h e st u d e nt' s a g e or u s e of dr u g s or al c o h ol, or
            b e c a u s e a n i nt ell e ct u al or ot h er di s a bilit y pr e v e nt s t h e st u d e nt fr o m h a vi n g t h e c a p a cit y
            t o gi v e c o n s e nt). A n u m b er of diff er e nt a ct s f all i nt o t h e c at e g or y of s e x u al vi ol e n c e,
            i n cl u di n g r a p e, s e x u al a s s a ult, s e x u al b att er y, s e x u al a b u s e, a n d s e x u al c o er ci o n. S e x u al
            vi ol e n c e c a n b e c arri e d o ut b y s c h o ol e m pl o y e e s, ot h er st u d e nt s, or t hir d p arti e s. All s u c h
            a ct s of s e x u al vi ol e n c e ar e f or m s of s e x di s cri mi n ati o n pr o hi bit e d b y Titl e I X.

  A- 2.     H o w d o e s Titl e I X a p pl y t o st u d e nt- o n- st u d e nt s e x u al vi ol e n c e ?

            A n s w er:      U n d er Titl e I X, f e d er all y f u n d e d s c h o ol s m u st e n s ur e t h at st u d e nt s of all a g e s ar e
            n ot d e ni e d or li mit e d i n t h eir a bilit y t o p arti ci p at e i n or b e n efit fr o m t h e s c h o ol' s
            e d u c ati o n al pr o gr a m s or a cti viti e s o n t h e b a si s of s e x. A s c h o ol vi ol at e s a st u d e nt' s ri g ht s
            u n d er Titl e I X r e g ar di n g st u d e nt- o n- st u d e nt s e x u al vi ol e n c e w h e n t h e f oll o wi n g c o n diti o n s
            ar e m et: ( 1) t h e all e g e d c o n d u ct i s s uffi ci e ntl y s eri o u s t o li mit or d e n y a st u d e nt' s a bilit y t o
            p arti ci p at e i n or b e n efit fr o m t h e s c h o ol' s e d u c ati o n al pr o gr a m, i. e. cr e at e s a h o stil e
            e n vir o n m e nt; a n d ( 2) t h e s c h o ol, u p o n n oti c e, f ail s t o t a k e pr o m pt a n d eff e cti v e st e p s
            r e a s o n a bl y c al c ul at e d t o e n d t h e s e x u al vi ol e n c e, eli mi n at e t h e h o stil e e n vir o n m e nt,
            pr e v e nt it s r e c urr e n c e, a n d, a s a p pr o pri at e, r e m e d y it s eff e ct s.                   9



  A- 3.     H o w d o e s O C R d et e r mi n e if a h o stil e e n vi r o n m e nt h a s b e e n c r e at e d ?

            A n s w er:      A s di s c u s s e d m or e f ull y i n O C R' s 2 0 0 1 G ui d a n c e, O C R c o n si d er s a v ari et y of
            r el at e d f a ct or s t o d et er mi n e if a h o stil e e n vir o n m e nt h a s b e e n cr e at e d; a n d al s o c o n si d er s
            t h e c o n d u ct i n q u e sti o n fr o m b ot h a s u bj e cti v e a n d a n o bj e cti v e p er s p e cti v e. S p e cifi c all y,
            O C R' s st a n d ar d s r e q uir e t h at t h e c o n d u ct b e e v al u at e d fr o m t h e p er s p e cti v e of a
            r e a s o n a bl e p er s o n i n t h e all e g e d vi cti m' s p o siti o n, c o n si d eri n g all t h e cir c u m st a n c e s. T h e
            m or e s e v er e t h e c o n d u ct, t h e l e s s n e e d t h er e i s t o s h o w a r e p etiti v e s eri e s of i n ci d e nt s t o
            pr o v e a h o stil e e n vir o n m e nt, p arti c ul arl y if t h e c o n d u ct i s p h y si c al. I n d e e d, a si n gl e or
            i s ol at e d i n ci d e nt of s e x u al vi ol e n c e m a y cr e at e a h o stil e e n vir o n m e nt.




  9 T hi s i s t h e st a n d ar d f or a d mi ni str ati v e e nf or c e m e nt of Titl e I X a n d i n c o urt c a s e s w h er e pl ai ntiff s ar e s e e ki n g
  i nj u n cti v e r eli ef. S e e 2 0 0 1 G ui d a n c e at ii- v, 1 2- 1 3 . T h e st a n d ar d i n pri v at e l a w s uit s f or m o n et ar y d a m a g e s i s a ct u al
  k n o wl e d g e a n d d eli b er at e i n diff er e n c e. S e e D a vi s v. M o nr o e C nt y B d. of E d u c., 5 2 6 U. S. 6 2 9, 6 4 3 ( 1 9 9 9).

  P a g e 1 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

           Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 44 of 89
                                                                                  P S A 0043
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


  A- 4.   W h e n d o e s O C R c o n si d er a s c h o ol t o h a v e n oti c e of st u d e nt- o n- st u d e nt s e x u al vi ol e n c e ?

          A n s w er: O C R d e e m s a s c h o ol t o h a v e n oti c e of st u d e nt- o n- st u d e nt s e x u al vi ol e n c e if a
          r e s p o n si bl e e m pl o y e e k n e w, or i n t h e e x er ci s e of r e a s o n a bl e c ar e s h o ul d h a v e k n o w n,
          a b o ut t h e s e x u al vi ol e n c e. S e e q u e sti o n D- 2 r e g ar di n g w h o i s a r e s p o n si bl e e m pl o y e e.

          A s c h o ol c a n r e c ei v e n oti c e of s e x u al vi ol e n c e i n m a n y diff er e nt w a y s. S o m e e x a m pl e s of
          n oti c e i n cl u d e: a st u d e nt m a y h a v e fil e d a gri e v a n c e wit h or ot h er wi s e i nf or m e d t h e
          s c h o ol' s Titl e I X c o or di n at or; a st u d e nt, p ar e nt, fri e n d, or ot h er i n di vi d u al m a y h a v e
          r e p ort e d a n i n ci d e nt t o a t e a c h er, pri n ci p al, c a m p u s l a w e nf or c e m e nt, st aff i n t h e offi c e of
          st u d e nt aff air s, or ot h er r e s p o n si bl e e m pl o y e e; or a t e a c h er or d e a n m a y h a v e wit n e s s e d
          t h e s e x u al vi ol e n c e.

          T h e s c h o ol m a y al s o r e c ei v e n oti c e a b o ut s e x u al vi ol e n c e i n a n i n dir e ct m a n n er, fr o m
          s o ur c e s s u c h a s a m e m b er of t h e l o c al c o m m u nit y, s o ci al n et w or ki n g sit e s, or t h e m e di a.
          I n s o m e sit u ati o n s, if t h e s c h o ol k n o w s of i n ci d e nt s of s e x u al vi ol e n c e, t h e e x er ci s e of
          r e a s o n a bl e c ar e s h o ul d tri g g er a n i n v e sti g ati o n t h at w o ul d l e a d t o t h e di s c o v er y of
          a d diti o n al i n ci d e nt s. F or e x a m pl e, if s c h o ol offi ci al s r e c ei v e a cr e di bl e r e p ort t h at a
          st u d e nt h a s p er p etr at e d s e v er al a ct s of s e x u al vi ol e n c e a g ai n st diff er e nt st u d e nt s, t h at
          p att er n of c o n d u ct s h o ul d tri g g er a n i n q uir y a s t o w h et h er ot h er st u d e nt s h a v e b e e n
          s u bj e ct e d t o s e x u al vi ol e n c e b y t h at st u d e nt. I n ot h er c a s e s, t h e p er v a si v e n e s s of t h e
          s e x u al vi ol e n c e m a y b e wi d e s pr e a d, o p e nl y pr a cti c e d, or w ell- k n o w n a m o n g st u d e nt s or
          e m pl o y e e s. I n t h o s e c a s e s, O C R m a y c o n cl u d e t h at t h e s c h o ol s h o ul d h a v e k n o w n of t h e
          h o stil e e n vir o n m e nt. I n ot h er w or d s, if t h e s c h o ol w o ul d h a v e f o u n d o ut a b o ut t h e s e x u al
          vi ol e n c e h a d it m a d e a pr o p er i n q uir y, k n o wl e d g e of t h e s e x u al vi ol e n c e will b e i m p ut e d
          t o t h e s c h o ol e v e n if t h e s c h o ol f ail e d t o m a k e a n i n q uir y. A s c h o ol' s f ail ur e t o t a k e
          pr o m pt a n d eff e cti v e c orr e cti v e a cti o n i n s u c h c a s e s ( a s d e s cri b e d i n q u e sti o n s G- 1 t o G- 3
          a n d H- 1 t o H- 3) w o ul d vi ol at e Titl e I X e v e n if t h e st u d e nt di d n ot u s e t h e s c h o ol' s
          gri e v a n c e pr o c e d ur e s or ot h er wi s e i nf or m t h e s c h o ol of t h e s e x u al vi ol e n c e.

  A- 5.   W h at ar e a s c h o ol' s b a si c r e s p o n si biliti e s t o a d dr e s s st u d e nt- o n- st u d e nt s e x u al
          vi ol e n c e ?

          A n s w er:       When    a s c h o ol k n o w s or r e a s o n a bl y s h o ul d k n o w of p o s si bl e s e x u al vi ol e n c e, it
          m u st t a k e i m m e di at e a n d a p pr o pri at e st e p s t o i n v e sti g at e or ot h er wi s e d et er mi n e w h at
          o c c urr e d ( s u bj e ct t o t h e c o nfi d e nti alit y pr o vi si o n s di s c u s s e d i n S e cti o n E). If a n
          i n v e sti g ati o n r e v e al s t h at s e x u al vi ol e n c e cr e at e d a h o stil e e n vir o n m e nt, t h e s c h o ol m u st
          t h e n t a k e pr o m pt a n d eff e cti v e st e p s r e a s o n a bl y c al c ul at e d t o e n d t h e s e x u al vi ol e n c e,
          eli mi n at e t h e h o stil e e n vir o n m e nt, pr e v e nt it s r e c urr e n c e, a n d, a s a p pr o pri at e, r e m e d y it s


  P a g e 2 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 45 of 89
                                                                         P S A 0044
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


           eff e ct s. B ut a s c h o ol s h o ul d n ot w ait t o t a k e st e p s t o pr ot e ct it s st u d e nt s u ntil st u d e nt s
           h a v e alr e a d y b e e n d e pri v e d of e d u c ati o n al o p p ort u niti e s.

           Titl e I X r e q uir e s a s c h o ol t o pr ot e ct t h e c o m pl ai n a nt a n d e n s ur e hi s or h er s af et y a s
           n e c e s s ar y, i n cl u di n g t a ki n g i nt eri m st e p s b ef or e t h e fi n al o ut c o m e of a n y i n v e sti g ati o n.1 0
           T h e s c h o ol s h o ul d t a k e t h e s e st e p s pr o m ptl y o n c e it h a s n oti c e of a s e x u al vi ol e n c e
           all e g ati o n a n d s h o ul d pr o vi d e t h e c o m pl ai n a nt wit h p eri o di c u p d at e s o n t h e st at u s of t h e
           i n v e sti g ati o n. If t h e s c h o ol d et er mi n e s t h at t h e s e x u al vi ol e n c e o c c urr e d, t h e s c h o ol m u st
           c o nti n u e t o t a k e t h e s e st e p s t o pr ot e ct t h e c o m pl ai n a nt a n d e n s ur e hi s or h er s af et y, a s
           n e c e s s ar y. T h e s c h o ol s h o ul d al s o e n s ur e t h at t h e c o m pl ai n a nt i s a w ar e of a n y a v ail a bl e
           r e s o ur c e s, s u c h a s vi cti m a d v o c a c y, h o u si n g a s si st a n c e, a c a d e mi c s u p p ort, c o u n s eli n g,
           di s a bilit y s er vi c e s, h e alt h a n d m e nt al h e alt h s er vi c e s, a n d l e g al a s si st a n c e, a n d t h e ri g ht t o
           r e p ort a cri m e t o c a m p u s or l o c al l a w e nf or c e m e nt. F or a d diti o n al i nf or m ati o n o n i nt eri m
           m e a s ur e s, s e e q u e sti o n s G- 1 t o G- 3.

           If a s c h o ol d el a y s r e s p o n di n g t o all e g ati o n s of s e x u al vi ol e n c e or r e s p o n d s i n a p pr o pri at el y,
           t h e s c h o ol' s o w n i n a cti o n m a y s u bj e ct t h e st u d e nt t o a h o stil e e n vir o n m e nt. If it d o e s, t h e
           s c h o ol will al s o b e r e q uir e d t o r e m e d y t h e eff e ct s of t h e s e x u al vi ol e n c e t h at c o ul d
           r e a s o n a bl y h a v e b e e n pr e v e nt e d h a d t h e s c h o ol r e s p o n d e d pr o m ptl y a n d a p pr o pri at el y.
           F or e x a m pl e, if a s c h o ol' s i g n ori n g of a st u d e nt' s c o m pl ai nt s of s e x u al a s s a ult b y a f ell o w
           st u d e nt r e s ult s i n t h e c o m pl ai ni n g st u d e nt h a vi n g t o r e m ai n i n cl a s s e s wit h t h e ot h er
           st u d e nt f or s e v er al w e e k s a n d t h e c o m pl ai ni n g st u d e nt' s gr a d e s s uff er b e c a u s e h e or s h e
           w a s u n a bl e t o c o n c e ntr at e i n t h e s e cl a s s e s, t h e s c h o ol m a y n e e d t o p er mit t h e
           c o m pl ai ni n g st u d e nt t o r et a k e t h e cl a s s e s wit h o ut a n a c a d e mi c or fi n a n ci al p e n alt y (i n
           a d diti o n t o a n y ot h er r e m e di e s) i n or d er t o a d dr e s s t h e eff e ct s of t h e s e x u al vi ol e n c e.

  A- 6.    D o e s Titl e I X c o v e r e m pl o y e e- o n- st u d e nt s e x u al vi ol e n c e, s u c h a s s e x u al a b u s e of
           c hil dr e n ?

           A n s w e r:     Y e s. Alt h o u g h t hi s d o c u m e nt a n d t h e D C L f o c u s o n st u d e nt- o n- st u d e nt s e x u al
           vi ol e n c e, Titl e I X al s o pr ot e ct s st u d e nt s fr o m ot h er f or m s of s e x u al h ar a s s m e nt (i n cl u di n g
           s e x u al vi ol e n c e a n d s e x u al a b u s e), s u c h a s s e x u al h ar a s s m e nt c arri e d o ut b y s c h o ol
           e m pl o y e e s. S e x u al h ar a s s m e nt b y s c h o ol e m pl o y e e s c a n i n cl u d e u n w el c o m e s e x u al
           a d v a n c e s; r e q u e st s f or s e x u al f a v or s; a n d ot h er v er b al, n o n v er b al, or p h y si c al c o n d u ct of a
           s e x u al n at ur e, i n cl u di n g b ut n ot li mit e d t o s e x u al a cti vit y. Titl e I X' s pr o hi biti o n a g ai n st




  10 T hr o u g h o ut t hi s d o c u m e nt, u nl e s s ot h er wi s e n ot e d, t h e t er m " c o m pl ai n a nt" r ef er s t o t h e st u d e nt w h o all e g e dl y
  e x p eri e n c e d t h e s e x u al vi ol e n c e.

  P a g e 3 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 46 of 89
                                                                                P S A 0045
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


          s e x u al h ar a s s m e nt g e n er all y d o e s n ot e xt e n d t o l e giti m at e n o n s e x u al t o u c hi n g or ot h er
          n o n s e x u al c o n d u ct. B ut i n s o m e cir c u m st a n c e s, n o n s e x u al c o n d u ct m a y t a k e o n s e x u al
          c o n n ot ati o n s a n d ri s e t o t h e l e v el of s e x u al h ar a s s m e nt. F or e x a m pl e, a t e a c h er
          r e p e at e dl y h u g gi n g a n d p utti n g hi s or h er ar m s ar o u n d st u d e nt s u n d er i n a p pr o pri at e
          cir c u m st a n c e s c o ul d cr e at e a h o stil e e n vir o n m e nt. E arl y si g n s of i n a p pr o pri at e b e h a vi or
          wit h a c hil d c a n b e t h e k e y t o i d e ntif yi n g a n d pr e v e nti n g s e x u al a b u s e b y s c h o ol
          p er s o n n el.

          A s c h o ol' s Titl e I X o bli g ati o n s r e g ar di n g s e x u al h ar a s s m e nt b y e m pl o y e e s c a n, i n s o m e
          i n st a n c e s, b e gr e at er t h a n t h o s e d e s cri b e d i n t hi s d o c u m e nt a n d t h e D C L. R e ci pi e nt s
          s h o ul d r ef er t o O C R' s 2 0 0 1 G ui d a n c e f or f urt h er i nf or m ati o n a b o ut Titl e I X o bli g ati o n s
          r e g ar di n g h ar a s s m e nt of st u d e nt s b y s c h o ol e m pl o y e e s. I n a d diti o n, m a n y st at e a n d l o c al
          l a w s h a v e m a n d at or y r e p orti n g r e q uir e m e nt s f or s c h o ol s w or ki n g wit h mi n or s. R e ci pi e nt s
          s h o ul d b e c ar ef ul t o s ati sf y t h eir st at e a n d l o c al l e g al o bli g ati o n s i n a d diti o n t o t h eir Titl e
          I X o bli g ati o n s, i n cl u di n g tr ai ni n g t o e n s ur e t h at s c h o ol e m pl o y e e s ar e a w ar e of t h eir
          o bli g ati o n s u n d er s u c h st at e a n d l o c al l a w s a n d t h e c o n s e q u e n c e s f or f aili n g t o s ati sf y
          t h o s e o bli g ati o n s.

          Wit h    r e s p e ct t o s e x u al a cti vit y i n p arti c ul ar, O C R will al w a y s vi e w a s u n w el c o m e a n d
          n o n c o n s e n s u al s e x u al a cti vit y b et w e e n a n a d ult s c h o ol e m pl o y e e a n d a n el e m e nt ar y
          s c h o ol st u d e nt or a n y st u d e nt b el o w t h e l e g al a g e of c o n s e nt i n hi s or h er st at e. I n c a s e s
          i n v ol vi n g a st u d e nt w h o m e et s t h e l e g al a g e of c o n s e nt i n hi s or h er st at e, t h er e will still
          b e a str o n g pr e s u m pti o n t h at s e x u al a cti vit y b et w e e n a n a d ult s c h o ol e m pl o y e e a n d a
          st u d e nt i s u n w el c o m e a n d n o n c o n s e n s u al. W h e n        a s c h o ol i s o n n oti c e t h at a s c h o ol
          e m pl o y e e h a s s e x u all y h ar a s s e d a st u d e nt, it i s r e s p o n si bl e f or t a ki n g pr o m pt a n d
          eff e cti v e st e p s r e a s o n a bl y c al c ul at e d t o e n d t h e s e x u al h ar a s s m e nt, eli mi n at e t h e h o stil e
          e n vir o n m e nt, pr e v e nt it s r e c urr e n c e, a n d r e m e d y it s eff e ct s. I n d e e d, e v e n if a s c h o ol w a s
          n ot o n n oti c e, t h e s c h o ol i s n o n et h el e s s r e s p o n si bl e f or r e m e d yi n g a n y eff e ct s of t h e
          s e x u al h ar a s s m e nt o n t h e st u d e nt, a s w ell a s f or e n di n g t h e s e x u al h ar a s s m e nt a n d
          pr e v e nti n g it s r e c urr e n c e, w h e n t h e e m pl o y e e e n g a g e d i n t h e s e x u al a cti vit y i n t h e
          c o nt e xt of t h e e m pl o y e e' s pr o vi si o n of ai d, b e n efit s, or s er vi c e s t o st u d e nt s ( e. g.,
          t e a c hi n g, c o u n s eli n g, s u p er vi si n g, a d vi si n g, or tr a n s p orti n g st u d e nt s).

          A s c h o ol s h o ul d t a k e st e p s t o pr ot e ct it s st u d e nt s fr o m s e x u al a b u s e b y it s e m pl o y e e s. It i s
          t h er ef or e i m p er ati v e f or a s c h o ol t o d e v el o p p oli ci e s pr o hi biti n g i n a p pr o pri at e c o n d u ct b y
          s c h o ol p er s o n n el a n d pr o c e d ur e s f or i d e ntif yi n g a n d r e s p o n di n g t o s u c h c o n d u ct. F or
          e x a m pl e, t hi s c o ul d i n cl u d e i m pl e m e nti n g c o d e s of c o n d u ct, w hi c h mi g ht a d dr e s s w h at i s
          c o m m o nl y k n o w n a s gr o o mi n g- a d e s e n siti z ati o n str at e g y c o m m o n i n a d ult e d u c at or
          s e x u al mi s c o n d u ct. S u c h p oli ci e s a n d pr o c e d ur e s c a n e n s ur e t h at st u d e nt s, p ar e nt s, a n d

  P a g e 4 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

         Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 47 of 89
                                                                         P S A 0046
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


            s c h o ol p er s o n n el h a v e cl e ar g ui d eli n e s o n w h at ar e a p pr o pri at e a n d i n a p pr o pri at e
            i nt er a cti o n s b et w e e n a d ult s a n d st u d e nt s i n a s c h o ol s etti n g or i n s c h o ol- s p o n s or e d
            a cti viti e s. A d diti o n all y, a s c h o ol s h o ul d pr o vi d e tr ai ni n g f or a d mi ni str at or s, t e a c h er s, st aff,
            p ar e nt s, a n d a g e- a p pr o pri at e cl a s sr o o m i nf or m ati o n f or st u d e nt s t o e n s ur e t h at e v er y o n e
            u n d er st a n d s w h at t y p e s of c o n d u ct ar e pr o hi bit e d a n d k n o w s h o w t o r e s p o n d w h e n
            pr o bl e m s ari s e.     11



  B.      St u d e nt s Pr ot e ct e d b y Titl e I X

  B- 1.     D o e s Titl e I X pr ot e ct all st u d e nt s fr o m s e x u al vi ol e n c e ?

            A n s w er: Y e s. Titl e I X pr ot e ct s all st u d e nt s at r e ci pi e nt i n stit uti o n s fr o m s e x di s cri mi n ati o n,
            i n cl u di n g s e x u al vi ol e n c e. A n y st u d e nt c a n e x p eri e n c e s e x u al vi ol e n c e: fr o m el e m e nt ar y t o
            pr of e s si o n al s c h o ol st u d e nt s; m al e a n d f e m al e st u d e nt s; str ai g ht, g a y, l e s bi a n, bi s e x u al
            a n d tr a n s g e n d er st u d e nt s; p art-ti m e a n d f ull-ti m e st u d e nt s; st u d e nt s wit h a n d wit h o ut
            di s a biliti e s; a n d st u d e nt s of diff er e nt r a c e s a n d n ati o n al ori gi n s.

  B- 2.     H o w s h o ul d a s c h o ol h a n dl e s e x u al vi ol e n c e c o m pl ai nt s i n w hi c h t h e c o m pl ai n a nt a n d
            t h e all e g e d p er p etr at or ar e m e m b er s of t h e s a m e s e x ?

            A n s w er: A s c h o ol' s o bli g ati o n t o r e s p o n d a p pr o pri at el y t o s e x u al vi ol e n c e c o m pl ai nt s i s
            t h e s a m e irr e s p e cti v e of t h e s e x or s e x e s of t h e p arti e s i n v ol v e d. Titl e I X pr ot e ct s all
            st u d e nt s fr o m s e x u al vi ol e n c e, r e g ar dl e s s of t h e s e x of t h e all e g e d p er p etr at or or
            c o m pl ai n a nt, i n cl u di n g w h e n t h e y ar e m e m b er s of t h e s a m e s e x. A s c h o ol m u st
            i n v e sti g at e a n d r e s ol v e all e g ati o n s of s e x u al vi ol e n c e i n v ol vi n g p arti e s of t h e s a m e s e x
            u si n g t h e s a m e pr o c e d ur e s a n d st a n d ar d s t h at it u s e s i n all c o m pl ai nt s i n v ol vi n g s e x u al
            vi ol e n c e.

            Titl e I X' s s e x di s cri mi n ati o n pr o hi biti o n e xt e n d s t o cl ai m s of di s cri mi n ati o n b a s e d o n
            g e n d er i d e ntit y or f ail ur e t o c o nf or m t o st er e ot y pi c al n oti o n s of m a s c uli nit y or f e mi ni nit y
            a n d O C R a c c e pt s s u c h c o m pl ai nt s f or i n v e sti g ati o n. Si mil arl y, t h e a ct u al or p er c ei v e d
            s e x u al ori e nt ati o n or g e n d er i d e ntit y of t h e p arti e s d o e s n ot c h a n g e a s c h o ol' s o bli g ati o n s.
            I n d e e d, l e s bi a n, g a y, bi s e x u al, a n d tr a n s g e n d er ( L G B T) y o ut h r e p ort hi g h r at e s of s e x u al
            h ar a s s m e nt a n d s e x u al vi ol e n c e. A s c h o ol s h o ul d i n v e sti g at e a n d r e s ol v e all e g ati o n s of
            s e x u al vi ol e n c e r e g ar di n g L G B T st u d e nt s u si n g t h e s a m e pr o c e d ur e s a n d st a n d ar d s t h at it




  11 F or a d diti o n al i nf or m ati o n al o n tr ai ni n g pl e a s e s e e t h e D e p art m e nt of E d u c ati o n' s R e s o ur c e a n d E m er g e n c y
  M a n a g e m e nt f or S c h o ol s T e c h ni c al A s si st a n c e C e nt er - A d ult S e x u al Mi s c o n d u ct i n S c h o ol s : Pr e v e nti o n a n d
  M a n a g e m e nt Tr ai ni n g, a v ail a bl e at htt p ://r e m s. e d. g o v/ D o c s/ A S M M ar k eti n g Fl y er. p df .

  P a g e 5 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

           Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 48 of 89
                                                                                P S A 0047
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


            u s e s i n all c o m pl ai nt s i n v ol vi n g s e x u al vi ol e n c e. T h e f a ct t h at i n ci d e nt s of s e x u al vi ol e n c e
            m a y b e a c c o m p a ni e d b y a nti- g a y c o m m e nt s or b e p artl y b a s e d o n a st u d e nt' s a ct u al or
            p er c ei v e d s e x u al ori e nt ati o n d o e s n ot r eli e v e a s c h o ol of it s o bli g ati o n u n d er Titl e I X t o
            i n v e sti g at e a n d r e m e d y t h o s e i n st a n c e s of s e x u al vi ol e n c e.

            If a s c h o ol' s p oli ci e s r el at e d t o s e x u al vi ol e n c e i n cl u d e e x a m pl e s of p arti c ul ar t y p e s of
            c o n d u ct t h at vi ol at e t h e s c h o ol' s pr o hi biti o n o n s e x u al vi ol e n c e, t h e s c h o ol s h o ul d
            c o n si d er i n cl u di n g e x a m pl e s of s a m e- s e x c o n d u ct. I n a d diti o n, a s c h o ol s h o ul d e n s ur e t h at
            st aff ar e c a p a bl e of pr o vi di n g c ult ur all y c o m p et e nt c o u n s eli n g t o all c o m pl ai n a nt s. T h u s, a
            s c h o ol s h o ul d e n s ur e t h at it s c o u n s el or s a n d ot h er st aff w h o ar e r e s p o n si bl e f or r e c ei vi n g
            a n d r e s p o n di n g t o c o m pl ai nt s of s e x u al vi ol e n c e, i n cl u di n g i n v e sti g at or s a n d h e ari n g
            b o ar d m e m b er s , r e c ei v e a p pr o pri at e tr ai ni n g a b o ut w or ki n g wit h L G B T a n d g e n d er-
            n o n c o nf or mi n g st u d e nt s a n d s a m e- s e x s e x u al vi ol e n c e. S e e q u e sti o n s J- 1 t o J- 4 f or
            a d diti o n al i nf or m ati o n r e g ar di n g tr ai ni n g.

            G a y- str ai g ht alli a n c e s a n d si mil ar st u d e nt-i niti at e d gr o u p s c a n al s o pl a y a n i m p ort a nt r ol e
            i n cr e ati n g s af er s c h o ol e n vir o n m e nt s f or L G B T st u d e nt s. O n J u n e 1 4, 2 0 1 1, t h e
            D e p art m e nt i s s u e d g ui d a n c e a b o ut t h e ri g ht s of st u d e nt-i niti at e d gr o u p s i n p u bli c
            s e c o n d ar y s c h o ol s u n d er t h e E q u al A c c e s s A ct. T h at g ui d a n c e i s a v ail a bl e at
            htt p:// w w w 2. e d. g o v/ p oli c y/ el s e c/ g ui d/ s e cl ett er/ 1 1 0 6 0 7. ht ml .

  B- 3.     W h at     i s s u e s m a y ari s e wit h r e s p e ct t o st u d e nt s wit h di s a biliti e s w h o e x p e ri e n c e s e x u al
            vi ol e n c e ?

            A n s w er:       W h e n st u d e nt s wit h di s a biliti e s e x p eri e n c e s e x u al vi ol e n c e, f e d er al ci vil ri g ht s
            l a w s ot h er t h a n Titl e I X m a y al s o b e r el e v a nt t o a s c h o ol' s r e s p o n si bilit y t o i n v e sti g at e a n d
            a d dr e s s s u c h i n ci d e nt s. 1 2 C ert ai n st u d e nt s r e q uir e a d diti o n al a s si st a n c e a n d s u p p ort. F or
            e x a m pl e, st u d e nt s wit h i nt ell e ct u al di s a biliti e s m a y n e e d a d diti o n al h el p i n l e ar ni n g a b o ut
            s e x u al vi ol e n c e, i n cl u di n g a s c h o ol' s s e x u al vi ol e n c e e d u c ati o n a n d pr e v e nti o n pr o gr a m s,
            w h at c o n stit ut e s s e x u al vi ol e n c e a n d h o w st u d e nt s c a n r e p ort i n ci d e nt s of s e x u al



  12  O C R e nf or c e s t w o ci vil ri g ht s l a w s t h at pr o hi bit di s a bilit y di s cri mi n ati o n . S e cti o n 5 0 4 of t h e R e h a bilit ati o n A ct of
  1 9 7 3 { S e cti o n 5 0 4) pr o hi bit s di s a bilit y di s cri mi n ati o n b y p u bli c or pri v at e e ntiti e s t h at r e c ei v e f e d er al fi n a n ci al
  a s si st a n c e, a n d Titl e II of t h e A m eri c a n wit h Di s a biliti e s A ct of 1 9 9 0 ( Titl e II) pr o hi bit s di s a bilit y di s cri mi n ati o n b y all
  st at e a n d l o c al p u bli c e ntiti e s, r e g ar dl e s s of w h et h er t h e y r e c ei v e f e d er al f u n di n g. S e e 2 9 U. S. C. § 7 9 4 a n d 3 4 C. F .R .
  p art 1 0 4; 4 2 U .S .C. § 1 2 1 3 1 et s e q. a n d 2 8 C. F .R . p art 3 5 . O C R a n d t h e U .S . D e p art m e nt of J u sti c e { D O J) s h ar e t h e
  r e s p o n si bilit y of e nf or ci n g Titl e II i n t h e e d u c ati o n al c o nt e xt . T h e D e p art m e nt of E d u c ati o n 's Offi c e of S p e ci al
  E d u c ati o n Pr o gr a m s i n t h e Offi c e of S p e ci al E d u c ati o n a n d R e h a bilit ati v e S er vi c e s a d mi ni st er s P art B of t h e
  I n di vi d u al s wit h Di s a biliti e s E d u c ati o n A ct (I D E A) . 2 0 U .S .C. 1 4 0 0 et s e q . a n d 3 4 C. F .R . p art 3 0 0 . I D E A pr o vi d e s
  fi n a n ci al a s si st a n c e t o st at e s , a n d t hr o u g h t h e m t o l o c al e d u c ati o n al a g e n ci e s , t o a s si st i n pr o vi di n g s p e ci al
  e d u c ati o n a n d r el at e d s er vi c e s t o eli gi bl e c hil dr e n wit h di s a biliti e s a g e s t hr e e t hr o u g h t w e nt y- o n e, i n cl u si v e.

  P a g e 6 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 49 of 89
                                                                                 P S A 0048
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


            vi ol e n c e. I n a d diti o n, st u d e nt s wit h di s a biliti e s w h o e x p eri e n c e s e x u al vi ol e n c e m a y
            r e q uir e a d diti o n al s er vi c e s a n d s u p p ort s, i n cl u di n g p s y c h ol o gi c al s er vi c e s a n d c o u n s eli n g
            s er vi c e s . P o st s e c o n d ar y st u d e nt s w h o n e e d t h e s e a d diti o n al s er vi c e s a n d s u p p ort s c a n
            s e e k a s si st a n c e fr o m t h e i n stit uti o n' s di s a bilit y r e s o ur c e offi c e.

            A st u d e nt w h o h a s n ot b e e n pr e vi o u sl y d et er mi n e d t o h a v e a di s a bilit y m a y, a s a r e s ult of
            e x p eri e n ci n g s e x u al vi ol e n c e, d e v el o p a m e nt al h e alt h-r el at e d di s a bilit y t h at c o ul d c a u s e
            t h e st u d e nt t o n e e d s p e ci al e d u c ati o n a n d r el at e d s er vi c e s. At t h e el e m e nt ar y a n d
            s e c o n d ar y e d u c ati o n l e v el, t hi s m a y tri g g er a s c h o ol' s c hil d fi n d o bli g ati o n s u n d er I D E A
            a n d t h e e v al u ati o n a n d pl a c e m e nt r e q uir e m e nt s u n d er S e cti o n 5 0 4, w hi c h t o g et h er
            r e q uir e a s c h o ol t o e v al u at e a st u d e nt s u s p e ct e d of h a vi n g a di s a bilit y t o d et er mi n e if h e
            or s h e h a s a di s a bilit y t h at r e q uir e s s p e ci al e d u c ati o n or r el at e d ai d s a n d s er vi c e s .1 3

            A s c h o ol m u st al s o e n s ur e t h at a n y s c h o ol r e p orti n g f or m s, i nf or m ati o n, or tr ai ni n g a b o ut
            s e x u al vi ol e n c e b e pr o vi d e d i n a m a n n er t h at i s a c c e s si bl e t o st u d e nt s a n d e m pl o y e e s wit h
            di s a biliti e s, f or e x a m pl e, b y pr o vi di n g el e ctr o ni c all y- a c c e s si bl e v er si o n s of p a p er f or m s t o
            i n di vi d u al s wit h pri nt di s a biliti e s, or b y pr o vi di n g a si g n l a n g u a g e i nt er pr et er t o a d e af
            i n di vi d u al att e n di n g a tr ai ni n g. S e e q u e sti o n J- 4 f or m or e d et ail e d i nf or m ati o n o n st u d e nt
            tr ai ni n g.

  B- 4.     W h at     i s s u e s ari s e wit h r e s p e ct t o i nt e r n ati o n al st u d e nt s a n d u n d o c u m e nt e d st u d e nt s
            w h o e x p e ri e n c e s e x u al vi ol e n c e ?

            A n s w er: Titl e I X pr ot e ct s all st u d e nt s at r e ci pi e nt i n stit uti o n s i n t h e U nit e d St at e s
            r e g ar dl e s s of n ati o n al ori gi n, i m mi gr ati o n st at u s, or citi z e n s hi p st at u s. 1 4 A s c h o ol s h o ul d
            e n s ur e t h at all st u d e nt s r e g ar dl e s s of t h eir i m mi gr ati o n st at u s, i n cl u di n g u n d o c u m e nt e d
            st u d e nt s a n d i nt er n ati o n al st u d e nt s, ar e a w ar e of t h eir ri g ht s u n d er Titl e I X. A s c h o ol m u st
            al s o e n s ur e t h at a n y s c h o ol r e p orti n g f or m s, i nf or m ati o n, or tr ai ni n g a b o ut s e x u al vi ol e n c e
            b e pr o vi d e d i n a m a n n er a c c e s si bl e t o st u d e nt s w h o ar e E n gli s h l a n g u a g e l e ar n er s. O C R
            r e c o m m e n d s t h at a s c h o ol c o or di n at e wit h it s i nt er n ati o n al offi c e a n d it s u n d o c u m e nt e d
            st u d e nt pr o gr a m c o or di n at or, if a p pli c a bl e, t o h el p c o m m u ni c at e i nf or m ati o n a b o ut Titl e
            I X i n l a n g u a g e s t h at ar e a c c e s si bl e t o t h e s e gr o u p s of st u d e nt s. O C R al s o e n c o ur a g e s
            s c h o ol s t o pr o vi d e f or ei g n n ati o n al c o m pl ai n a nt s wit h i nf or m ati o n a b o ut t h e U
            n o n i m mi gr a nt st at u s a n d t h e T n o n i m mi gr a nt st at u s. T h e U n o ni m mi gr a nt st at u s i s s et




  13  S e e 3 4 C. F .R . § § 3 0 0 .8 ; 3 0 0 .1 1 1 ; 3 0 0 .2 0 1 ; 3 0 0 .3 0 0- 3 0 0 .3 1 1 (I D E A) ; 3 4 C. F .R . § § 1 0 4 .3 0) a n d 1 0 4 .3 5 { S e cti o n 5 0 4) .
  S c h o ol s m u st c o m pl y wit h a p pli c a bl e c o n s e nt r e q uir e m e nt s wit h r e s p e ct t o e v al u ati o n s. S e e 3 4 C. F. R . § 3 0 0 .3 0 0 .
  1 4 O C R e nf or c e s Titl e VI of t h e Ci vil Ri g ht s A ct of 1 9 6 4 , w hi c h pr o hi bit s di s cri mi n ati o n b y r e ci pi e nt s of f e d er al

  fi n a n ci al a s si st a n c e o n t h e b a si s of r a c e, c ol or, or n ati o n al ori gi n . 4 2 U .S .C. § 2 0 0 0 d.

  P a g e 7 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

           Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 50 of 89
                                                                                   P S A 0049
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


            a si d e f or vi cti m s of c ert ai n cri m e s w h o h a v e s uff er e d s u b st a nti al m e nt al or p h y si c al a b u s e
            a s a r e s ult of t h e cri m e a n d ar e h el pf ul t o l a w e nf or c e m e nt a g e n c y i n t h e i n v e sti g ati o n or
           pr o s e c uti o n oft h e q u alif yi n g cri mi n al a cti vit y.                15   T h e T n o ni m mi gr a nt st at u s i s a v ail a bl e
           f or vi cti m s of s e v er e f or m s of h u m a n tr affi c ki n g w h o g e n er all y c o m pl y wit h a l a w
            e nf or c e m e nt a g e n c y i n t h e i n v e sti g ati o n or pr o s e c uti o n of t h e h u m a n tr affi c ki n g a n d w h o
           w o ul d s uff er e xtr e m e h ar d s hi p i n v ol vi n g u n u s u al a n d s e v er e h ar m if t h e y w er e r e m o v e d
           fr o m t h e U nit e d St at e s.         16



           A s c h o ol s h o ul d b e mi n df ul t h at u ni q u e i s s u e s m a y ari s e w h e n a f or ei g n st u d e nt o n a
           st u d e nt vi s a e x p eri e n c e s s e x u al vi ol e n c e. F or e x a m pl e, c ert ai n st u d e nt vi s a s r e q uir e t h e
           st u d e nt t o m ai nt ai n a f ull-ti m e c o ur s e l o a d ( g e n er all y at l e a st 1 2 a c a d e mi c cr e dit h o ur s
           p er t er m), b ut a st u d e nt m a y n e e d t o t a k e a r e d u c e d c o ur s e l o a d w hil e r e c o v eri n g fr o m
           t h e i m m e di at e eff e ct s of t h e s e x u al vi ol e n c e. O C R r e c o m m e n d s t h at a s c h o ol t a k e st e p s t o
           e n s ur e t h at i nt er n ati o n al st u d e nt s o n st u d e nt vi s a s u n d er st a n d t h at t h e y m u st t y pi c all y
           s e e k pri or a p pr o v al of t h e d e si g n at e d s c h o ol offi ci al ( D S O) f or st u d e nt vi s a s t o dr o p b el o w
            a f ull-ti m e c o ur s e l o a d. A s c h o ol m a y al s o w a nt t o e n c o ur a g e it s e m pl o y e e s i n v ol v e d i n
           h a n dli n g s e x u al vi ol e n c e c o m pl ai nt s a n d c o u n s eli n g st u d e nt s w h o h a v e e x p eri e n c e d
           s e x u al vi ol e n c e t o a p pr o a c h t h e D S O o n t h e st u d e nt' s b e h alf if t h e st u d e nt wi s h e s t o dr o p
           b el o w a f ull-ti m e c o ur s e l o a d. O C R r e c o m m e n d s t h at a s c h o ol t a k e st e p s t o e n s ur e t h at it s
           e m pl o y e e s w h o w or k wit h i nt er n ati o n al st u d e nt s, i n cl u di n g t h e s c h o ol' s D S O, ar e tr ai n e d
           o n t h e s c h o ol' s s e x u al vi ol e n c e p oli ci e s a n d t h at e m pl o y e e s i n v ol v e d i n h a n dli n g s e x u al
           vi ol e n c e c o m pl ai nt s a n d c o u n s eli n g st u d e nt s w h o h a v e e x p eri e n c e d s e x u al vi ol e n c e ar e
            a w ar e of t h e s p e ci al i s s u e s t h at i nt er n ati o n al st u d e nt s m a y e n c o u nt er. S e e q u e sti o n s J- 1
           t o J- 4 f or a d diti o n al i nf or m ati o n r e g ar di n g tr ai ni n g.

           A s c h o ol s h o ul d al s o b e a w ar e t h at t hr e at e ni n g st u d e nt s wit h d e p ort ati o n or i n v o ki n g a
           st u d e nt' s i m mi gr ati o n st at u s i n a n att e m pt t o i nti mi d at e or d et er a st u d e nt fr o m fili n g a
           Titl e I X c o m pl ai nt w o ul d vi ol at e Titl e I X' s pr ot e cti o n s a g ai n st r et ali ati o n. F or m or e
           i nf or m ati o n o n r et ali ati o n s e e q u e sti o n K- 1.




  15  F or m or e i nf or m ati o n o n t h e U n o ni m mi gr a nt st at u s, s e e htt p:// w w w. u s ci s. g o v/ h u m a nit ari a n/ vi cti m s- h u m a n-
  tr affi c ki n g- ot h er- cri m e s/ vi cti m s- cri mi n al- a cti vit y- u- n o ni m mi gr a nt- st at u s/ g u e sti o n s- a n s w er s- vi cti m s- cri mi n al-
  a cti vit y- u- n o ni m mi gr a nt- st at u s .
  1 6 F or m or e i nf or m ati o n o n t h e T n o ni m mi gr a nt st at u s, s e e htt p:// w w w. u s ci s .g o v/ h u m a nit ari a n/ vi cti m s- h u m a n-

  tr affi c ki n g- ot h er- cri m e s/ vi cti m s- h u m a n-tr affi c ki n g-t- n o ni m mi gr a nt- st at u s .


  P a g e 8 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 51 of 89
                                                                                 P S A 0050
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


  B- 5.      H o w s h o ul d a s c h o ol r e s p o n d t o s e x u al vi ol e n c e w h e n t h e all e g e d p er p etr at or i s n ot
             affili at e d wit h t h e s c h o ol ?

             A n s w er:      T h e a p pr o pri at e r e s p o n s e will diff er d e p e n di n g o n t h e l e v el of c o ntr ol t h e s c h o ol
             h a s o v er t h e all e g e d p er p etr at or. F or e x a m pl e , if a n at hl et e or b a n d m e m b er fr o m a
             vi siti n g s c h o ol s e x u all y a s s a ult s a st u d e nt at t h e h o m e s c h o ol, t h e h o m e s c h o ol m a y n ot
             b e a bl e t o di s ci pli n e or t a k e ot h er dir e ct a cti o n a g ai n st t h e vi siti n g at hl et e or b a n d
             m e m b er. H o w e v er ( a n d s u bj e ct t o t h e c o nfi d e nti alit y pr o vi si o n s di s c u s s e d i n S e cti o n E), it
             s h o ul d c o n d u ct a n i n q uir y i nt o w h at o c c urr e d a n d s h o ul d r e p ort t h e i n ci d e nt t o t h e
             vi siti n g s c h o ol a n d e n c o ur a g e t h e vi siti n g s c h o ol t o t a k e a p pr o pri at e a cti o n t o pr e v e nt
             f urt h er s e x u al vi ol e n c e . T h e h o m e s c h o ol s h o ul d al s o n otif y t h e st u d e nt of a n y ri g ht t o fil e
             a c o m pl ai nt wit h t h e all e g e d p er p etr at or' s s c h o ol or l o c al l a w e nf or c e m e nt . T h e h o m e
             s c h o ol m a y al s o d e ci d e n ot t o i n vit e t h e vi siti n g s c h o ol b a c k t o it s c a m p u s.

             E v e n t h o u g h a s c h o ol' s a bilit y t o t a k e dir e ct a cti o n a g ai n st a p arti c ul ar p er p etr at or m a y b e
             li mit e d, t h e s c h o ol m u st still t a k e st e p s t o pr o vi d e a p pr o pri at e r e m e di e s f or t h e
             c o m pl ai n a nt a n d, w h er e a p pr o pri at e, t h e br o a d er s c h o ol p o p ul ati o n . T hi s m a y i n cl u d e
             pr o vi di n g s u p p ort s er vi c e s f or t h e c o m pl ai n a nt, a n d i s s ui n g n e w p oli c y st at e m e nt s m a ki n g
             it cl e ar t h at t h e s c h o ol d o e s n ot t ol er at e s e x u al vi ol e n c e a n d will r e s p o n d t o a n y r e p ort s
             a b o ut s u c h i n ci d e nt s. F or a d diti o n al i nf or m ati o n o n i nt eri m m e a s ur e s s e e q u e sti o n s G- 1 t o
             G- 3.

  C.      Titl e I X Pr o c e d ur al R e q ui r e m e nt s

  O v er vi e w

  C- 1.      W h at     pr o c e d ur e s m u st a s c h o ol h a v e i n pl a c e t o p r e v e nt s e x u al vi ol e n c e a n d r e s ol v e
             c o m pl ai nt s ?

             A n s w er:      T h e Titl e I X r e g ul ati o n s o utli n e t hr e e k e y pr o c e d ur al r e q uir e m e nt s . E a c h s c h o ol
             m u st :

                 ( 1) di s s e mi n at e a n oti c e of n o n di s cri mi n ati o n ( s e e q u e sti o n C- 2);        17



                 ( 2) d e si g n at e at l e a st o n e e m pl o y e e t o c o or di n at e it s eff ort s t o c o m pl y wit h a n d c arr y
                 o ut it s r e s p o n si biliti e s u n d er Titl e I X ( s e e q u e sti o n s C- 3 t o C- 4);   18   and




  17   3 4 C. F .R . § 1 0 6 .9 .
  18   I d. § 1 0 6 .B( a) .

  P a g e 9 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

            Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 52 of 89
                                                                          P S A 0051
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


               ( 3) a d o pt a n d p u bli s h gri e v a n c e pr o c e d ur e s pr o vi di n g f or t h e pr o m pt a n d e q uit a bl e
               r e s ol uti o n of st u d e nt a n d e m pl o y e e s e x di s cri mi n ati o n c o m pl ai nt s ( s e e q u e sti o n s C- 5 t o
               C- 6). 1 9

            T h e s e r e q uir e m e nt s a p pl y t o all f or m s of s e x di s cri mi n ati o n a n d ar e p arti c ul arl y i m p ort a nt
            f or pr e v e nti n g a n d eff e cti v el y r e s p o n di n g t o s e x u al vi ol e n c e.

            Pr o c e d ur al r e q uir e m e nt s u n d er ot h er f e d er al l a w s m a y al s o a p pl y t o c o m pl ai nt s of s e x u al
            vi ol e n c e, i n cl u di n g t h e r e q uir e m e nt s of t h e Cl er y A ct.                  2   ° F or   a d diti o n al i nf or m ati o n a b o ut
            t h e pr o c e d ur al r e q uir e m e nt s i n t h e Cl er y A ct, pl e a s e s e e
            htt p:// w w w 2. e d. g o v/ a d mi n s/ 1 e a d/ s af et y/ c a m p u s. ht ml .

  N oti c e of N o n di s cri mi n ati o n

  C- 2.     W h at     i nf o r m ati o n m u st b e i n cl u d e d i n a s c h o ol' s n oti c e of n o n di s cri mi n ati o n ?

            A n s w er:      T h e n oti c e of n o n di s cri mi n ati o n m u st st at e t h at t h e s c h o ol d o e s n ot di s cri mi n at e
            o n t h e b a si s of s e x i n it s e d u c ati o n pr o gr a m s a n d a cti viti e s, a n d t h at it i s r e q uir e d b y Titl e
            I X n ot t o di s cri mi n at e i n s u c h a m a n n er. T h e n oti c e m u st st at e t h at q u e sti o n s r e g ar di n g
            Titl e I X m a y b e r ef err e d t o t h e s c h o ol' s Titl e I X c o or di n at or or t o O C R . T h e s c h o ol m u st
            n otif y all of it s st u d e nt s a n d e m pl o y e e s of t h e n a m e or titl e, offi c e a d dr e s s, t el e p h o n e
            n u m b er, a n d e m ail a d dr e s s of t h e s c h o ol' s d e si g n at e d Titl e I X c o or di n at or.                            21



  Titl e I X C o or di n at or

  C- 3.     W h at     a r e a Titl e I X c o or di n at or' s r e s p o n si biliti e s ?

            A n s w er:      A Titl e I X c o or di n at or' s c or e r e s p o n si biliti e s i n cl u d e o v er s e ei n g t h e s c h o ol' s
            r e s p o n s e t o Titl e I X r e p ort s a n d c o m pl ai nt s a n d i d e ntif yi n g a n d a d dr e s si n g a n y p att er n s or
            s y st e mi c pr o bl e m s r e v e al e d b y s u c h r e p ort s a n d c o m pl ai nt s. T hi s m e a n s t h at t h e Titl e I X
            c o or di n at or m u st h a v e k n o wl e d g e of t h e r e q uir e m e nt s of Titl e I X, of t h e s c h o ol' s o w n
            p oli ci e s a n d pr o c e d ur e s o n s e x di s cri mi n ati o n, a n d of all c o m pl ai nt s r ai si n g Titl e I X i s s u e s
            t hr o u g h o ut t h e s c h o ol. T o a c c o m pli s h t hi s, s u bj e ct t o t h e e x e m pti o n f or s c h o ol c o u n s eli n g
            e m pl o y e e s di s c u s s e d i n q u e sti o n E- 3, t h e Titl e I X c o or di n at or m u st b e i nf or m e d of all




  19  I d. § 1 0 6 .S { b) .
  20  All p o st s e c o n d ar y i n stit uti o n s p arti ci p ati n g i n t h e Hi g h er E d u c ati o n A ct' s Titl e I V st u d e nt fi n a n ci al a s si st a n c e
  pr o gr a m s m u st c o m pl y wit h t h e Cl er y A ct.
  2 1 F or m or e i nf or m ati o n o n n oti c e s of n o n di s cri mi n ati o n, pl e a s e s e e O C R' s N oti c e of N o n di s cri mi n ati o n { A u g u st

  2 0 1 0), a v ail a bl e at htt p:// w w w. e d. g o v/ o cr/ d o c s/ n o n di s c. p df .

  P a g e 1 0 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

           Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 53 of 89
                                                                                   P S A 0052
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


          r e p ort s a n d c o m pl ai nt s r ai si n g Titl e I X i s s u e s, e v e n if t h e r e p ort or c o m pl ai nt w a s i niti all y
          fil e d wit h a n ot h er i n di vi d u al or offi c e or if t h e i n v e sti g ati o n will b e c o n d u ct e d b y a n ot h er
          i n di vi d u al or offi c e. T h e s c h o ol s h o ul d e n s ur e t h at t h e Titl e I X c o or di n at or i s gi v e n t h e
          tr ai ni n g, a ut h orit y, a n d vi si bilit y n e c e s s ar y t o f ulfill t h e s e r e s p o n si biliti e s.


          B e c a u s e t h e Titl e I X c o or di n at or m u st h a v e k n o wl e d g e of all Titl e I X r e p ort s a n d
          c o m pl ai nt s at t h e s c h o ol, t hi s i n di vi d u al ( w h e n pr o p erl y tr ai n e d) i s g e n er all y i n t h e b e st
          p o siti o n t o e v al u at e a st u d e nt' s r e q u e st f or c o nfi d e nti alit y i n t h e c o nt e xt oft h e s c h o ol' s
          r e s p o n si bilit y t o pr o vi d e a s af e a n d n o n di s cri mi n at or y e n vir o n m e nt f or all st u d e nt s. A
          s c h o ol m a y d et er mi n e, h o w e v er, t h at a n ot h er i n di vi d u al s h o ul d p erf or m t hi s r ol e. F or
          a d diti o n al i nf or m ati o n o n c o nfi d e nti alit y r e q u e st s, s e e q u e sti o n s E- 1 t o E- 4. If a s c h o ol
          r eli e s i n p art o n it s di s ci pli n ar y pr o c e d ur e s t o m e et it s Titl e I X o bli g ati o n s, t h e Titl e I X
          c o or di n at or s h o ul d r e vi e w t h e di s ci pli n ar y pr o c e d ur e s t o e n s ur e t h at t h e pr o c e d ur e s
          c o m pl y wit h t h e pr o m pt a n d e q uit a bl e r e q uir e m e nt s of Titl e I X a s di s c u s s e d i n q u e sti o n
          C- 5.


          I n a d diti o n t o t h e s e c or e r e s p o n si biliti e s, a s c h o ol m a y d e ci d e t o gi v e it s Titl e I X
          c o or di n at or a d diti o n al r e s p o n si biliti e s, s u c h a s: pr o vi di n g tr ai ni n g t o st u d e nt s, f a c ult y, a n d
          st aff o n Titl e I X i s s u e s; c o n d u cti n g Titl e I X i n v e sti g ati o n s, i n cl u di n g i n v e sti g ati n g f a ct s
          r el e v a nt t o a c o m pl ai nt, a n d d et er mi ni n g a p pr o pri at e s a n cti o n s a g ai n st t h e p er p etr at or
          a n d r e m e di e s f or t h e c o m pl ai n a nt; d et er mi ni n g a p pr o pri at e i nt eri m m e a s ur e s f or a
          c o m pl ai n a nt u p o n l e ar ni n g of a r e p ort or c o m pl ai nt of s e x u al vi ol e n c e; a n d e n s uri n g t h at
          a p pr o pri at e p oli ci e s a n d pr o c e d ur e s ar e i n pl a c e f or w or ki n g wit h l o c al l a w e nf or c e m e nt
          a n d c o or di n ati n g s er vi c e s wit h l o c al vi cti m a d v o c a c y or g a ni z ati o n s a n d s er vi c e pr o vi d er s,
          i n cl u di n g r a p e cri si s c e nt er s. A s c h o ol m u st e n s ur e t h at it s Titl e I X c o or di n at or i s
          a p pr o pri at el y tr ai n e d i n all ar e a s o v er w hi c h h e or s h e h a s r e s p o n si bilit y. T h e Titl e I X
          c o or di n at or or d e si g n e e s h o ul d al s o b e a v ail a bl e t o m e et wit h st u d e nt s a s n e e d e d.


          If a s c h o ol d e si g n at e s m or e t h a n o n e Titl e I X c o or di n at or, t h e s c h o ol' s n oti c e of
          n o n di s cri mi n ati o n a n d Titl e I X gri e v a n c e pr o c e d ur e s s h o ul d d e s cri b e e a c h c o or di n at or' s
          r e s p o n si biliti e s, a n d o n e c o or di n at or s h o ul d b e d e si g n at e d a s h a vi n g ulti m at e o v er si g ht
          r e s p o n si bilit y.

  C- 4.   A r e t h e r e a n y e m pl o y e e s w h o s h o ul d n ot s er v e a s t h e Titl e I X c o or di n at or ?

          A n s w er:     Titl e I X d o e s n ot c at e g ori c all y pr e cl u d e p arti c ul ar e m pl o y e e s fr o m s er vi n g a s
          Titl e I X c o or di n at or s. H o w e v er, Titl e I X c o or di n at or s s h o ul d n ot h a v e ot h er j o b
          r e s p o n si biliti e s t h at m a y cr e at e a c o nfli ct of i nt er e st. B e c a u s e s o m e c o m pl ai nt s m a y r ai s e
          i s s u e s a s t o w h et h er or h o w w ell t h e s c h o ol h a s m et it s Titl e I X o bli g ati o n s, d e si g n ati n g

  P a g e 1 1 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 54 of 89
                                                                         P S A 0053
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


          t h e s a m e e m pl o y e e t o s er v e b ot h a s t h e Titl e I X c o or di n at or a n d t h e g e n er al c o u n s el
          ( w hi c h c o ul d i n cl u d e r e pr e s e nti n g t h e s c h o ol i n l e g al cl ai m s all e gi n g Titl e I X vi ol ati o n s)
          p o s e s a s eri o u s ri s k of a c o nfli ct of i nt er e st. Ot h er e m pl o y e e s w h o s e j o b r e s p o n si biliti e s
          m a y c o nfli ct wit h a Titl e I X c o or di n at or' s r e s p o n si biliti e s i n cl u d e Dir e ct or s of At hl eti c s,
          D e a n s of St u d e nt s, a n d a n y e m pl o y e e w h o s er v e s o n t h e j u di ci al/ h e ari n g b o ar d or t o
          w h o m a n a p p e al mi g ht b e m a d e. D e si g n ati n g a f ull-ti m e Titl e I X c o or di n at or will mi ni mi z e
          t h e ri s k of a c o nfli ct of i nt er e st.

  Gri e v a n c e Pr o c e d ur e s

  C- 5.   U n d er Titl e I X, w h at el e m e nt s s h o ul d b e i n cl u d e d i n a s c h o ol' s pr o c e d ur e s f or
          r e s p o n di n g t o c o m pl ai nt s of s e x u al vi ol e n c e ?

          A n s w er: Titl e I X r e q uir e s t h at a s c h o ol a d o pt a n d p u bli s h gri e v a n c e pr o c e d ur e s pr o vi di n g
          f or pr o m pt a n d e q uit a bl e r e s ol uti o n of st u d e nt a n d e m pl o y e e c o m pl ai nt s of s e x
          di s cri mi n ati o n, i n cl u di n g s e x u al vi ol e n c e. I n e v al u ati n g w h et h er a s c h o ol' s gri e v a n c e
          pr o c e d ur e s s ati sf y t hi s r e q uir e m e nt, O C R will r e vi e w all a s p e ct s of a s c h o ol' s p oli ci e s a n d
          pr a cti c e s, i n cl u di n g t h e f oll o wi n g el e m e nt s t h at ar e criti c al t o a c hi e v e c o m pli a n c e wit h
          Titl e I X:

             ( 1)       n oti c e t o st u d e nt s, p ar e nt s of el e m e nt ar y a n d s e c o n d ar y st u d e nt s, a n d e m pl o y e e s
                      of t h e gri e v a n c e pr o c e d ur e s, i n cl u di n g w h er e c o m pl ai nt s m a y b e fil e d;

             ( 2)     a p pli c ati o n of t h e gri e v a n c e pr o c e d ur e s t o c o m pl ai nt s fil e d b y st u d e nt s or o n t h eir
                        b e h alf all e gi n g s e x u al vi ol e n c e c arri e d o ut b y e m pl o y e e s, ot h er st u d e nt s, or t hir d
                        p arti e s;

             ( 3)       pr o vi si o n s f or a d e q u at e, r eli a bl e, a n d i m p arti al i n v e sti g ati o n of c o m pl ai nt s,
                        i n cl u di n g t h e o p p ort u nit y f or b ot h t h e c o m pl ai n a nt a n d all e g e d p er p etr at or t o
                        pr e s e nt wit n e s s e s a n d e vi d e n c e;

             ( 4)     d e si g n at e d a n d r e a s o n a bl y pr o m pt ti m e fr a m e s f or t h e m aj or st a g e s of t h e
                      c o m pl ai nt pr o c e s s ( s e e q u e sti o n F- 8);

             ( 5)     writt e n n oti c e t o t h e c o m pl ai n a nt a n d all e g e d p er p etr at or of t h e o ut c o m e of t h e
                      c o m pl ai nt ( s e e q u e sti o n H- 3); a n d

             ( 6)       a s s ur a n c e t h at t h e s c h o ol will t a k e st e p s t o pr e v e nt r e c urr e n c e of a n y s e x u al
                      vi ol e n c e a n d r e m e d y di s cri mi n at or y eff e ct s o n t h e c o m pl ai n a nt a n d ot h er s, if
                        a p pr o pri at e.


  P a g e 1 2 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 55 of 89
                                                                         P S A 0054
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


          T o e n s ur e t h at st u d e nt s a n d e m pl o y e e s h a v e a cl e ar u n d er st a n di n g of w h at c o n stit ut e s
          s e x u al vi ol e n c e, t h e p ot e nti al c o n s e q u e n c e s f or s u c h c o n d u ct, a n d h o w t h e s c h o ol
          pr o c e s s e s c o m pl ai nt s, a s c h o ol' s Titl e I X gri e v a n c e pr o c e d ur e s s h o ul d al s o e x pli citl y
          i n cl u d e t h e f oll o wi n g i n writi n g, s o m e of w hi c h t h e m s el v e s ar e m a n d at or y o bli g ati o n s
          u n d er Titl e I X:

             ( 1)     a st at e m e nt of t h e s c h o ol' s j uri s di cti o n o v er Titl e I X c o m pl ai nt s;

             ( 2)     a d e q u at e d efi niti o n s of s e x u al h ar a s s m e nt ( w hi c h i n cl u d e s s e x u al vi ol e n c e) a n d a n
                      e x pl a n ati o n a s t o w h e n s u c h c o n d u ct cr e at e s a h o stil e e n vir o n m e nt;

             ( 3)     r e p orti n g p oli ci e s a n d pr ot o c ol s, i n cl u di n g pr o vi si o n s f or c o nfi d e nti al r e p orti n g;

             ( 4)     i d e ntifi c ati o n of t h e e m pl o y e e or e m pl o y e e s r e s p o n si bl e f or e v al u ati n g r e q u e st s
                      f or c o nfi d e nti alit y;

             ( 5)     n oti c e t h at Titl e I X pr o hi bit s r et ali ati o n;

             ( 6)     n oti c e of a st u d e nt' s ri g ht t o fil e a cri mi n al c o m pl ai nt a n d a Titl e I X c o m pl ai nt
                      si m ult a n e o u sl y;

             ( 7)     n oti c e of a v ail a bl e i nt eri m m e a s ur e s t h at m a y b e t a k e n t o pr ot e ct t h e st u d e nt i n
                      t h e e d u c ati o n al s etti n g;

             ( 8)     t h e e vi d e nti ar y st a n d ar d t h at m u st b e u s e d ( pr e p o n d er a n c e of t h e e vi d e n c e) (i. e.,
                      m or e li k el y t h a n n ot t h at s e x u al vi ol e n c e o c c urr e d) i n r e s ol vi n g a c o m pl ai nt;

             ( 9)     n oti c e of p ot e nti al r e m e di e s f or st u d e nt s;

             ( 1 0) n oti c e of p ot e nti al s a n cti o n s a g ai n st p er p etr at or s; a n d

             ( 1 1) s o ur c e s of c o u n s eli n g, a d v o c a c y, a n d s u p p ort.

          F or m or e i nf or m ati o n o n i nt eri m m e a s ur e s, s e e q u e sti o n s G- 1 t o G- 3.

          T h e ri g ht s e st a bli s h e d u n d er Titl e I X m u st b e i nt er pr et e d c o n si st e ntl y wit h a n y f e d er all y
          g u ar a nt e e d d u e pr o c e s s ri g ht s. Pr o c e d ur e s t h at e n s ur e t h e Titl e I X ri g ht s of t h e
          c o m pl ai n a nt, w hil e at t h e s a m e ti m e a c c or di n g a n y f e d er all y g u ar a nt e e d d u e pr o c e s s t o
          b ot h p arti e s i n v ol v e d, will l e a d t o s o u n d a n d s u p p ort a bl e d e ci si o n s. Of c o ur s e, a s c h o ol
          s h o ul d e n s ur e t h at st e p s t o a c c or d a n y d u e pr o c e s s ri g ht s d o n ot r e stri ct or u n n e c e s s aril y
          d el a y t h e pr ot e cti o n s pr o vi d e d b y Titl e I X t o t h e c o m pl ai n a nt.



  P a g e 1 3 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

         Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 56 of 89
                                                                         P S A 0055
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


            A s c h o ol' s pr o c e d ur e s a n d pr a cti c e s will v ar y i n d et ail, s p e cifi cit y, a n d c o m p o n e nt s,
            r efl e cti n g diff er e n c e s i n t h e a g e of it s st u d e nt s, s c h o ol si z e a n d a d mi ni str ati v e str u ct ur e,
            st at e or l o c al l e g al r e q uir e m e nt s ( e .g., m a n d at or y r e p orti n g r e q uir e m e nt s f or s c h o ol s
            w or ki n g wit h mi n or s), a n d w h at it h a s l e ar n e d fr o m p a st e x p eri e n c e s .

  C- 6.     I s a s c h o ol r e q uir e d t o u s e s e p ar at e gri e v a n c e pr o c e d ur e s f or s e x u al vi ol e n c e
            c o m pl ai nt s ?

            A n s w er:      N o. U n d er Titl e I X, a s c h o ol m a y u s e st u d e nt di s ci pli n ar y pr o c e d ur e s, g e n er al
            Titl e I X gri e v a n c e pr o c e d ur e s, s e x u al h ar a s s m e nt pr o c e d ur e s, or s e p ar at e pr o c e d ur e s t o
            r e s ol v e s e x u al vi ol e n c e c o m pl ai nt s. H o w e v er, a n y pr o c e d ur e s u s e d f or s e x u al vi ol e n c e
            c o m pl ai nt s, i n cl u di n g di s ci pli n ar y pr o c e d ur e s, m u st m e et t h e Titl e I X r e q uir e m e nt of
            aff or di n g a c o m pl ai n a nt a pr o m pt a n d e q uit a bl e r e s ol uti o n ( a s di s c u s s e d i n q u e sti o n C- 5),
            i n cl u di n g a p pl yi n g t h e pr e p o n d er a n c e of t h e e vi d e n c e st a n d ar d of r e vi e w . A s di s c u s s e d i n
            q u e sti o n C- 3, t h e Titl e I X c o or di n at or s h o ul d r e vi e w a n y pr o c e s s u s e d t o r e s ol v e
            c o m pl ai nt s of s e x u al vi ol e n c e t o e n s ur e it c o m pli e s wit h r e q uir e m e nt s f or pr o m pt a n d
            e q uit a bl e r e s ol uti o n of t h e s e c o m pl ai nt s . W h e n               u si n g di s ci pli n ar y pr o c e d ur e s, w hi c h ar e
            oft e n f o c u s e d o n t h e all e g e d p er p etr at or a n d c a n t a k e c o n si d er a bl e ti m e, a s c h o ol s h o ul d
            b e mi n df ul of it s o bli g ati o n t o pr o vi d e i nt eri m m e a s ur e s t o pr ot e ct t h e c o m pl ai n a nt i n t h e
            e d u c ati o n al s etti n g. F or m or e i nf or m ati o n o n ti m efr a m e s a n d i nt eri m m e a s ur e s, s e e
            q u e sti o n s F- 8 a n d G- 1 t o G- 3.

  D.      R e s p o n si bl e E m pl o y e e s a n d R e p orti n g            22



  D- 1.     W hi c h s c h o ol e m pl o y e e s ar e o bli g at e d t o r e p ort i n ci d e nt s of p o s si bl e s e x u al vi ol e n c e t o
            s c h o ol offi ci al s ?

            A n s w er:      U n d er Titl e I X, w h et h er a n i n di vi d u al i s o bli g at e d t o r e p ort i n ci d e nt s of all e g e d
            s e x u al vi ol e n c e g e n er all y d e p e n d s o n w h et h er t h e i n di vi d u al i s a r e s p o n si bl e e m pl o y e e of
            t h e s c h o ol. A r e s p o n si bl e e m pl o y e e m u st r e p ort i n ci d e nt s of s e x u al vi ol e n c e t o t h e Titl e I X
            c o or di n at or or ot h er a p pr o pri at e s c h o ol d e si g n e e, s u bj e ct t o t h e e x e m pti o n f or s c h o ol
            c o u n s eli n g e m pl o y e e s di s c u s s e d i n q u e sti o n E- 3. T hi s i s b e c a u s e, a s di s c u s s e d i n q u e sti o n
            A- 4, a s c h o ol i s o bli g at e d t o a d dr e s s s e x u al vi ol e n c e a b o ut w hi c h a r e s p o n si bl e e m pl o y e e
            k n e w or s h o ul d h a v e k n o w n . A s e x pl ai n e d i n q u e sti o n C- 3, t h e Titl e I X c o or di n at or m u st b e
            i nf or m e d of all r e p ort s a n d c o m pl ai nt s r ai si n g Titl e I X i s s u e s, e v e n if t h e r e p ort or




  22  T hi s d o c u m e nt a d dr e s s e s o nl y Titl e I X's r e p orti n g r e q uir e m e nt s . It d o e s n ot a d dr e s s r e q uir e m e nt s u n d er t h e
  Cl er y A ct or ot h er f e d er al, st at e, or l o c al l a w s, or a n i n di vi d u al s c h o ol' s c o d e of c o n d u ct .

  P a g e 1 4 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

           Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 57 of 89
                                                                                    P S A 0056
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


           c o m pl ai nt w a s i niti all y fil e d wit h a n ot h er i n di vi d u al or offi c e, s u bj e ct t o t h e e x e m pti o n f or
           s c h o ol c o u n s eli n g e m pl o y e e s di s c u s s e d i n q u e sti o n E- 3.

  D- 2.    W h o i s a "r e s p o n si bl e e m pl o y e e " ?

           A n s w er:       A c c or di n g t o O C R' s 2 0 0 1 G ui d a n c e, a r e s p o n si bl e e m pl o y e e i n cl u d e s a n y
            e m pl o y e e: w h o h a s t h e a ut h orit y t o t a k e a cti o n t o r e dr e s s s e x u al vi ol e n c e; w h o h a s b e e n
           gi v e n t h e d ut y of r e p orti n g i n ci d e nt s of s e x u al vi ol e n c e or a n y ot h er mi s c o n d u ct b y
           st u d e nt s t o t h e Titl e I X c o or di n at or or ot h er a p pr o pri at e s c h o ol d e si g n e e ; or w h o m a
           st u d e nt c o ul d r e a s o n a bl y b eli e v e h a s t hi s a ut h orit y or d ut y.                  23



           A s c h o ol m u st m a k e cl e ar t o all of it s e m pl o y e e s a n d st u d e nt s w hi c h st aff m e m b er s ar e
            r e s p o n si bl e e m pl o y e e s s o t h at st u d e nt s c a n m a k e i nf or m e d d e ci si o n s a b o ut w h et h er t o
           di s cl o s e i nf or m ati o n t o t h o s e e m pl o y e e s . A s c h o ol m u st al s o i nf or m all e m pl o y e e s of t h eir
           o w n r e p orti n g r e s p o n si biliti e s a n d t h e i m p ort a n c e of i nf or mi n g c o m pl ai n a nt s of : t h e
            r e p orti n g o bli g ati o n s of r e s p o n si bl e e m pl o y e e s; c o m pl ai n a nt s' o pti o n t o r e q u e st
           c o nfi d e nti alit y a n d a v ail a bl e c o nfi d e nti al a d v o c a c y, c o u n s eli n g, or ot h er s u p p ort s er vi c e s;
            a n d c o m pl ai n a nt s' ri g ht t o fil e a Titl e I X c o m pl ai nt wit h t h e s c h o ol a n d t o r e p ort a cri m e t o
           c a m p u s or l o c al l a w e nf or c e m e nt.

           W h et h er a n e m pl o y e e i s a r e s p o n si bl e e m pl o y e e will v ar y d e p e n di n g o n f a ct or s s u c h a s
           t h e a g e a n d e d u c ati o n l e v el of t h e st u d e nt, t h e t y p e of p o siti o n h el d b y t h e e m pl o y e e, a n d
           c o n si d er ati o n of b ot h f or m al a n d i nf or m al s c h o ol pr a cti c e s a n d pr o c e d ur e s. F or e x a m pl e,
           w hil e it m a y b e r e a s o n a bl e f or a n el e m e nt ar y s c h o ol st u d e nt t o b eli e v e t h at a c u st o di al
           st aff m e m b er or c af et eri a w or k er h a s t h e a ut h orit y or r e s p o n si bilit y t o a d dr e s s st u d e nt
           mi s c o n d u ct, it i s l e s s r e a s o n a bl e f or a c oll e g e st u d e nt t o b eli e v e t h at a c u st o di al st aff
            m e m b er or di ni n g h all e m pl o y e e h a s t hi s s a m e a ut h orit y .

           A s n ot e d i n r e s p o n s e t o q u e sti o n A- 4, w h e n a r e s p o n si bl e e m pl o y e e k n o w s or r e a s o n a bl y
           s h o ul d k n o w of p o s si bl e s e x u al vi ol e n c e, O C R d e e m s a s c h o ol t o h a v e n oti c e of t h e s e x u al
           vi ol e n c e. T h e s c h o ol m u st t a k e i m m e di at e a n d a p pr o pri at e st e p s t o i n v e sti g at e or
           ot h er wi s e d et er mi n e w h at o c c urr e d ( s u bj e ct t o t h e c o nfi d e nti alit y pr o vi si o n s di s c u s s e d i n
           S e cti o n E), a n d, if t h e s c h o ol d et er mi n e s t h at s e x u al vi ol e n c e cr e at e d a h o stil e
           e n vir o n m e nt , t h e s c h o ol m u st t h e n t a k e a p pr o pri at e st e p s t o a d dr e s s t h e sit u ati o n . T h e




  23 T h e S u pr e m e C o urt h el d t h at a s c h o ol will o nl y b e li a bl e f or m o n e y d a m a g e s i n a pri v at e l a w s uit w h er e t h er e is
  a ct u al n oti c e t o a s c h o ol offi ci al wit h t h e a ut h orit y t o a d dr e s s t h e all e g e d di s cri mi n ati o n a n d t a k e c orr e cti v e a cti o n .
  G e b s er v . L a g o Vi st a I n d. S c h . Di st. , 5 2 4 U .S . 2 7 4 , 2 9 0 ( 1 9 9 8), a n d D a vi s , 5 2 4 U .S . at 6 4 2 . T h e c o n c e pt of a
  "r e s p o n si bl e e m pl o y e e" u n d er O C R' s g ui d a n c e f or a d mi ni str ati v e e nf or c e m e nt of Titl e I X i s br o a d er .

  P a g e 1 5 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 58 of 89
                                                                                 P S A 0057
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


          s c h o ol h a s t hi s o bli g ati o n r e g ar dl e s s of w h et h er t h e st u d e nt, st u d e nt' s p ar e nt, or a t hir d
          p art y fil e s a f or m al c o m pl ai nt. F or a d diti o n al i nf or m ati o n o n a s c h o ol' s r e s p o n si biliti e s t o
          a d dr e s s st u d e nt- o n- st u d e nt s e x u al vi ol e n c e, s e e q u e sti o n A- 5. F or a d diti o n al i nf or m ati o n
          o n tr ai ni n g f or s c h o ol e m pl o y e e s, s e e q u e sti o n s J- 1 t o J- 3.

  D- 3.   W h at    i nf o r m ati o n i s a r e s p o n si bl e e m pl o y e e o bli g at e d t o r e p o rt a b o ut a n i n ci d e nt of
          p o s si bl e st u d e nt- o n- st u d e nt s e x u al vi ol e n c e ?

          A n s w er: S u bj e ct t o t h e e x e m pti o n f or s c h o ol c o u n s eli n g e m pl o y e e s di s c u s s e d i n q u e sti o n
          E- 3, a r e s p o n si bl e e m pl o y e e m u st r e p ort t o t h e s c h o ol' s Titl e I X c o or di n at or, or ot h er
          a p pr o pri at e s c h o ol d e si g n e e, all r el e v a nt d et ail s a b o ut t h e all e g e d s e x u al vi ol e n c e t h at t h e
          st u d e nt or a n ot h er p er s o n h a s s h ar e d a n d t h at t h e s c h o ol will n e e d t o d et er mi n e w h at
          o c c urr e d a n d t o r e s ol v e t h e sit u ati o n. T hi s i n cl u d e s t h e n a m e s of t h e all e g e d p er p etr at or
          (if k n o w n), t h e st u d e nt w h o e x p eri e n c e d t h e all e g e d s e x u al vi ol e n c e, ot h er st u d e nt s
          i n v ol v e d i n t h e all e g e d s e x u al vi ol e n c e, a s w ell a s r el e v a nt f a ct s, i n cl u di n g t h e d at e, ti m e,
          a n d l o c ati o n. A s c h o ol m u st m a k e cl e ar t o it s r e s p o n si bl e e m pl o y e e s t o w h o m t h e y s h o ul d
          r e p ort a n i n ci d e nt of all e g e d s e x u al vi ol e n c e.

          T o e n s ur e c o m pli a n c e wit h t h e s e r e p orti n g o bli g ati o n s, it i s i m p ort a nt f or a s c h o ol t o tr ai n
          it s r e s p o n si bl e e m pl o y e e s o n Titl e I X a n d t h e s c h o ol' s s e x u al vi ol e n c e p oli ci e s a n d
          pr o c e d ur e s. F or m or e i nf or m ati o n o n a p pr o pri at e tr ai ni n g f or s c h o ol e m pl o y e e s, s e e
          q u e sti o n J- 1 t o J- 3.

  D- 4.   W h at    s h o ul d a r e s p o n si bl e e m pl o y e e t ell a st u d e nt w h o di s cl o s e s a n i n ci d e nt of s e x u al
          vi ol e n c e ?

          A n s w er: B ef or e a st u d e nt r e v e al s i nf or m ati o n t h at h e or s h e m a y wi s h t o k e e p
          c o nfi d e nti al, a r e s p o n si bl e e m pl o y e e s h o ul d m a k e e v er y eff ort t o e n s ur e t h at t h e st u d e nt
          u n d er st a n d s: (i) t h e e m pl o y e e' s o bli g ati o n t o r e p ort t h e n a m e s of t h e all e g e d p er p etr at or
          a n d st u d e nt i n v ol v e d i n t h e all e g e d s e x u al vi ol e n c e, a s w ell a s r el e v a nt f a ct s r e g ar di n g t h e
          all e g e d i n ci d e nt (i n cl u di n g t h e d at e, ti m e, a n d l o c ati o n), t o t h e Titl e I X c o or di n at or or
          ot h er a p pr o pri at e s c h o ol offi ci al s, (ii) t h e st u d e nt' s o pti o n t o r e q u e st t h at t h e s c h o ol
          m ai nt ai n hi s or h er c o nfi d e nti alit y, w hi c h t h e s c h o ol ( e. g., Titl e I X c o or di n at or) will
          c o n si d er, a n d (iii) t h e st u d e nt' s a bilit y t o s h ar e t h e i nf or m ati o n c o nfi d e nti all y wit h
          c o u n s eli n g, a d v o c a c y, h e alt h, m e nt al h e alt h, or s e x u al- a s s a ult-r el at e d s er vi c e s ( e. g.,
          s e x u al a s s a ult r e s o ur c e c e nt er s, c a m p u s h e alt h c e nt er s, p a st or al c o u n s el or s, a n d c a m p u s
          m e nt al h e alt h c e nt er s). A s di s c u s s e d i n q u e sti o n s E- 1 a n d E- 2, if t h e st u d e nt r e q u e st s
          c o nfi d e nti alit y, t h e Titl e I X c o or di n at or or ot h er a p pr o pri at e s c h o ol d e si g n e e r e s p o n si bl e
          f or e v al u ati n g r e q u e st s f or c o nfi d e nti alit y s h o ul d m a k e e v er y eff ort t o r e s p e ct t hi s r e q u e st


  P a g e 1 6 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 59 of 89
                                                                         P S A 0058
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


            a n d s h o ul d e v al u at e t h e r e q u e st i n t h e c o nt e xt of t h e s c h o ol' s r e s p o n si bilit y t o pr o vi d e a
            s af e a n d n o n di s cri mi n at or y e n vir o n m e nt f or all st u d e nt s.

  D- 5.     If a st u d e nt i nf o r m s a r e si d e nt a s si st a nt/ a d vi s o r ( R A) t h at h e o r s h e w a s s u bj e ct e d t o
            s e x u al vi ol e n c e b y a f ell o w st u d e nt, i s t h e R A o bli g at e d u n d e r Titl e I X t o r e p o rt t h e
            i n ci d e nt t o s c h o ol offi ci al s ?

           A n s w er:         A s di s c u s s e d i n q u e sti o n s D- 1 a n d D- 2, f or Titl e I X p ur p o s e s, w h et h er a n
            i n di vi d u al i s o bli g at e d u n d er Titl e I X t o r e p ort all e g e d s e x u al vi ol e n c e t o t h e s c h o ol' s Titl e
            I X c o or di n at or or ot h er a p pr o pri at e s c h o ol d e si g n e e g e n er all y d e p e n d s o n w h et h er t h e
            i n di vi d u al i s a r e s p o n si bl e e m pl o y e e.

           T h e d uti e s a n d r e s p o n si biliti e s of R A s v ar y a m o n g s c h o ol s, a n d, t h er ef or e, a s c h o ol s h o ul d
            c o n si d er it s o w n p oli ci e s a n d pr o c e d ur e s t o d et er mi n e w h et h er it s R A s ar e r e s p o n si bl e
            e m pl o y e e s w h o m u st r e p ort i n ci d e nt s of s e x u al vi ol e n c e t o t h e Titl e I X c o or di n at or or
            ot h er a p pr o pri at e s c h o ol d e si g n e e.          24   When       m a ki n g t hi s d et er mi n ati o n, a s c h o ol s h o ul d
            c o n si d er if it s R A s h a v e t h e g e n er al a ut h orit y t o t a k e a cti o n t o r e dr e s s mi s c o n d u ct or t h e
            d ut y t o r e p ort mi s c o n d u ct t o a p pr o pri at e s c h o ol offi ci al s, a s w ell a s w h et h er st u d e nt s
            c o ul d r e a s o n a bl y b eli e v e t h at R A s h a v e t hi s a ut h orit y or d ut y. A s c h o ol s h o ul d al s o
            c o n si d er w h et h er it h a s d et er mi n e d a n d cl e arl y i nf or m e d st u d e nt s t h at R A s ar e g e n er all y
            a v ail a bl e f or c o nfi d e nti al di s c u s si o n s a n d d o n ot h a v e t h e a ut h orit y or r e s p o n si bilit y t o
           t a k e a cti o n t o r e dr e s s a n y mi s c o n d u ct or t o r e p ort a n y mi s c o n d u ct t o t h e Titl e I X
            c o or di n at or or ot h er a p pr o pri at e s c h o ol offi ci al s. A s c h o ol s h o ul d p a y p arti c ul ar att e nti o n
           t o it s R A s' o bli g ati o n s t o r e p ort ot h er st u d e nt vi ol ati o n s of s c h o ol p oli c y ( e. g., dr u g a n d
            al c o h ol vi ol ati o n s or p h y si c al a s s a ult). If a n R A i s r e q uir e d t o r e p ort ot h er mi s c o n d u ct t h at
           vi ol at e s s c h o ol p oli c y, t h e n t h e R A w o ul d b e c o n si d er e d a r e s p o n si bl e e m pl o y e e o bli g at e d
           t o r e p ort i n ci d e nt s of s e x u al vi ol e n c e t h at vi ol at e s c h o ol p oli c y.

            If a n R A i s a r e s p o n si bl e e m pl o y e e, t h e R A s h o ul d m a k e e v er y eff ort t o e n s ur e t h at b ef o r e
           t h e st u d e nt r e v e al s i nf or m ati o n t h at h e or s h e m a y wi s h t o k e e p c o nfi d e nti al, t h e st u d e nt
            u n d er st a n d s t h e R A' s r e p orti n g o bli g ati o n a n d t h e st u d e nt' s o pti o n t o r e q u e st t h at t h e
            s c h o ol m ai nt ai n c o nfi d e nti alit y. It i s t h er ef or e i m p ort a nt t h at s c h o ol s wi d el y di s s e mi n at e
            p oli ci e s a n d pr o vi d e r e g ul ar tr ai ni n g cl e arl y i d e ntif yi n g t h e pl a c e s w h er e st u d e nt s c a n s e e k
            c o nfi d e nti al s u p p ort s er vi c e s s o t h at st u d e nt s ar e a w ar e of t hi s i nf or m ati o n. T h e R A




  24  P o st s e c o n d ar y i n stit uti o n s s h o ul d b e a w ar e t h at, r e g ar dl e s s of w h et h er a n R A i s a r e s p o n si bl e e m pl o y e e u n d er
  Titl e I X, R A s ar e c o n si d er e d " c a m p u s s e c urit y a ut h oriti e s" u n d er t h e Cl er y A ct. A s c h o ol' s r e s p o n si biliti e s i n r e g ar d
  t o cri m e s r e p ort e d t o c a m p u s s e c urit y a ut h oriti e s ar e di s c u s s e d i n t h e D e p art m e nt' s r e g ul ati o n s o n t h e Cl er y A ct at
  3 4 C. F .R. § 6 6 8. 4 6.

  P a g e 1 7 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 60 of 89
                                                                                 P S A 0059
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


            s h o ul d al s o e x pl ai n t o t h e st u d e nt ( a g ai n, b ef or e t h e st u d e nt r e v e al s i nf or m ati o n t h at h e
            or s h e m a y wi s h t o k e e p c o nfi d e nti al) t h at, alt h o u g h t h e R A m u st r e p ort t h e n a m e s of t h e
            all e g e d p er p etr at or (if k n o w n) , t h e st u d e nt w h o e x p eri e n c e d t h e all e g e d s e x u al vi ol e n c e ,
            ot h er st u d e nt s i n v ol v e d i n t h e all e g e d s e x u al vi ol e n c e, a s w ell a s r el e v a nt f a ct s, i n cl u di n g
            t h e d at e, ti m e, a n d l o c ati o n t o t h e Titl e I X c o or di n at or or ot h er a p pr o pri at e s c h o ol
            d e si g n e e, t h e s c h o ol will pr ot e ct t h e st u d e nt' s c o nfi d e nti alit y t o t h e gr e at e st e xt e nt
            p o s si bl e. Pri or t o pr o vi di n g i nf or m ati o n a b o ut t h e i n ci d e nt t o t h e Titl e I X c o or di n at or or
            ot h er a p pr o pri at e s c h o ol d e si g n e e, t h e R A s h o ul d c o n s ult wit h t h e st u d e nt a b o ut h o w t o
            pr ot e ct hi s or h er s af et y a n d t h e d et ail s of w h at will b e s h ar e d wit h t h e Titl e I X
            c o or di n at or. T h e R A s h o ul d e x pl ai n t o t h e st u d e nt t h at r e p orti n g t hi s i nf or m ati o n t o t h e
            Titl e I X c o or di n at or or ot h er a p pr o pri at e s c h o ol d e si g n e e d o e s n ot n e c e s s aril y m e a n t h at a
            f or m al c o m pl ai nt or i n v e sti g ati o n u n d er t h e s c h o ol' s Titl e I X gri e v a n c e pr o c e d ur e m u st b e
            i niti at e d if t h e st u d e nt r e q u e st s c o nfi d e nti alit y. A s di s c u s s e d i n q u e sti o n s E- 1 a n d E- 2, if
            t h e st u d e nt r e q u e st s c o nfi d e nti alit y, t h e Titl e I X c o or di n at or or ot h er a p pr o pri at e s c h o ol
            d e si g n e e r e s p o n si bl e f or e v al u ati n g r e q u e st s f or c o nfi d e nti alit y s h o ul d m a k e e v er y eff ort
            t o r e s p e ct t hi s r e q u e st a n d s h o ul d e v al u at e t h e r e q u e st i n t h e c o nt e xt oft h e s c h o ol 's
            r e s p o n si bilit y t o pr o vi d e a s af e a n d n o n di s cri mi n at or y e n vir o n m e nt f or all st u d e nt s.

            R e g ar dl e s s of w h et h er a r e p orti n g o bli g ati o n e xi st s , all R A s s h o ul d i nf or m st u d e nt s of t h eir
            ri g ht t o fil e a Titl e I X c o m pl ai nt wit h t h e s c h o ol a n d r e p ort a cri m e t o c a m p u s or l o c al l a w
            e nf or c e m e nt . If a st u d e nt di s cl o s e s s e x u al vi ol e n c e t o a n R A w h o i s a r e s p o n si bl e
            e m pl o y e e, t h e s c h o ol will b e d e e m e d t o h a v e n oti c e of t h e s e x u al vi ol e n c e e v e n if t h e
            st u d e nt d o e s n ot fil e a Titl e I X c o m pl ai nt . A d diti o n all y, all R A s s h o ul d pr o vi d e st u d e nt s
            wit h i nf or m ati o n r e g ar di n g o n- c a m p u s r e s o ur c e s, i n cl u di n g vi cti m a d v o c a c y, h o u si n g
            a s si st a n c e, a c a d e mi c s u p p ort, c o u n s eli n g, di s a bilit y s er vi c e s, h e alt h a n d m e nt al h e alt h
            s er vi c e s, a n d l e g al a s si st a n c e. R A s s h o ul d al s o b e f a mili ar wit h l o c al r a p e cri si s c e nt er s or
            ot h er off- c a m p u s r e s o ur c e s a n d pr o vi d e t hi s i nf or m ati o n t o st u d e nt s .

  E.      C o nfi d e nti alit y a n d a S c h o ol' s O bli g ati o n t o R e s p o n d t o S e x u al Vi ol e n c e

  E- 1.     H o w s h o ul d a s c h o ol r e s p o n d t o a st u d e nt' s r e q u e st t h at hi s o r h e r n a m e n ot b e
            di s cl o s e d t o t h e all e g e d p e r p et r at o r o r t h at n o i n v e sti g ati o n o r di s ci pli n ar y a cti o n b e
            p ur s u e d t o a d dr e s s t h e all e g e d s e x u al vi ol e n c e ?

            A n s w er:   St u d e nt s, or p ar e nt s of mi n or st u d e nt s, r e p orti n g i n ci d e nt s of s e x u al vi ol e n c e
            s o m eti m e s a s k t h at t h e st u d e nt s' n a m e s n ot b e di s cl o s e d t o t h e all e g e d p er p etr at or s or
            t h at n o i n v e sti g ati o n or di s ci pli n ar y a cti o n b e p ur s u e d t o a d dr e s s t h e all e g e d s e x u al
            vi ol e n c e. O C R str o n gl y s u p p ort s a st u d e nt 's i nt er e st i n c o nfi d e nti alit y i n c a s e s i n v ol vi n g
            s e x u al vi ol e n c e. T h er e ar e sit u ati o n s i n w hi c h a s c h o ol m u st o v erri d e a st u d e nt' s r e q u e st


  P a g e 1 8 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

           Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 61 of 89
                                                                         P S A 0060
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


           f or c o nfi d e nti alit y i n or d er t o m e et it s Titl e I X o bli g ati o n s; h o w e v er, t h e s e i n st a n c e s will b e
            li mit e d a n d t h e i nf or m ati o n s h o ul d o nl y b e s h ar e d wit h i n di vi d u al s w h o ar e r e s p o n si bl e
           f or h a n dli n g t h e s c h o ol' s r e s p o n s e t o i n ci d e nt s of s e x u al vi ol e n c e. Gi v e n t h e s e n siti v e
            n at ur e of r e p ort s of s e x u al vi ol e n c e, a s c h o ol s h o ul d e n s ur e t h at t h e i nf or m ati o n i s
            m ai nt ai n e d i n a s e c ur e m a n n er. A s c h o ol s h o ul d b e a w ar e t h at di sr e g ar di n g r e q u e st s f or
           c o nfi d e nti alit y c a n h a v e a c hilli n g eff e ct a n d di s c o ur a g e ot h er st u d e nt s fr o m r e p orti n g
            s e x u al vi ol e n c e. I n t h e c a s e of mi n or s, st at e m a n d at or y r e p orti n g l a w s m a y r e q uir e
            di s cl o s ur e, b ut c a n g e n er all y b e f oll o w e d wit h o ut di s cl o si n g i nf or m ati o n t o s c h o ol
            p er s o n n el w h o ar e n ot r e s p o n si bl e f or h a n dli n g t h e s c h o ol' s r e s p o n s e t o i n ci d e nt s of
            s e x u al vi ol e n c e.   25



            E v e n if a st u d e nt d o e s n ot s p e cifi c all y a s k f or c o nfi d e nti alit y, t o t h e e xt e nt p o s si bl e, a
            s c h o ol s h o ul d o nl y di s cl o s e i nf or m ati o n r e g ar di n g all e g e d i n ci d e nt s of s e x u al vi ol e n c e t o
            i n di vi d u al s w h o ar e r e s p o n si bl e f or h a n dli n g t h e s c h o ol' s r e s p o n s e. T o i m pr o v e tr u st i n
           t h e pr o c e s s f or i n v e sti g ati n g s e x u al vi ol e n c e c o m pl ai nt s, a s c h o ol s h o ul d n otif y st u d e nt s of
           t h e i nf or m ati o n t h at will b e di s cl o s e d, t o w h o m it will b e di s cl o s e d, a n d w h y. R e g ar dl e s s
            of w h et h er a st u d e nt c o m pl ai n a nt r e q u e st s c o nfi d e nti alit y, a s c h o ol m u st t a k e st e p s t o
            pr ot e ct t h e c o m pl ai n a nt a s n e c e s s ar y, i n cl u di n g t a ki n g i nt eri m m e a s ur e s b ef or e t h e fi n al
            o ut c o m e of a n i n v e sti g ati o n. F or a d diti o n al i nf or m ati o n o n i nt eri m m e a s ur e s s e e
            q u e sti o n s G- 1 t o G- 3.

            F or Titl e I X p ur p o s e s, if a st u d e nt r e q u e st s t h at hi s or h er n a m e n ot b e r e v e al e d t o t h e
            all e g e d p er p etr at or or a s k s t h at t h e s c h o ol n ot i n v e sti g at e or s e e k a cti o n a g ai n st t h e
            all e g e d p er p etr at or, t h e s c h o ol s h o ul d i nf or m t h e st u d e nt t h at h o n ori n g t h e r e q u e st m a y
            li mit it s a bilit y t o r e s p o n d f ull y t o t h e i n ci d e nt, i n cl u di n g p ur s ui n g di s ci pli n ar y a cti o n
            a g ai n st t h e all e g e d p er p etr at or. T h e s c h o ol s h o ul d al s o e x pl ai n t h at Titl e I X i n cl u d e s
            pr ot e cti o n s a g ai n st r et ali ati o n, a n d t h at s c h o ol offi ci al s will n ot o nl y t a k e st e p s t o pr e v e nt
            r et ali ati o n b ut al s o t a k e str o n g r e s p o n si v e a cti o n if it o c c ur s. T hi s i n cl u d e s r et ali at or y
            a cti o n s t a k e n b y t h e s c h o ol a n d s c h o ol offi ci al s. W h e n                 a s c h o ol k n o w s or r e a s o n a bl y
            s h o ul d k n o w of p o s si bl e r et ali ati o n b y ot h er st u d e nt s or t hir d p arti e s, i n cl u di n g t hr e at s,
            i nti mi d ati o n, c o er ci o n, or di s cri mi n ati o n (i n cl u di n g h ar a s s m e nt), it m u st t a k e i m m e di at e



  25  T h e s c h o ol s h o ul d b e a w ar e of t h e all e g e d st u d e nt p er p etr at or' s ri g ht u n d er t h e F a mil y E d u c ati o n al Ri g ht s a n d
  Pri v a c y A ct (" F E R P A") t or e q u e st t o i n s p e ct a n d r e vi e w i nf or m ati o n a b o ut t h e all e g ati o n s if t h e i nf or m ati o n dir e ctl y
  r el at e s t o t h e all e g e d st u d e nt p er p etr at or a n d t h e i nf or m ati o n i s m ai nt ai n e d b y t h e s c h o ol a s a n e d u c ati o n r e c or d.
  I n s u c h a c a s e, t h e s c h o ol m u st eit h er r e d a ct t h e c o m pl ai n a nt' s n a m e a n d all i d e ntif yi n g i nf or m ati o n b ef or e
  all o wi n g t h e all e g e d p er p etr at or t o i n s p e ct a n d r e vi e w t h e s e cti o n s of t h e c o m pl ai nt t h at r el at e t o hi m or h er, or
  m u st i nf or m t h e all e g e d p er p etr at or of t h e s p e cifi c i nf or m ati o n i n t h e c o m pl ai nt t h at ar e a b o ut t h e all e g e d
  p er p etr at or. S e e 3 4 C. F. R . § 9 9. 1 2( a) T h e s c h o ol s h o ul d al s o m a k e c o m pl ai n a nt s a w ar e of t hi s ri g ht a n d e x pl ai n
  h o w it mi g ht aff e ct t h e s c h o ol' s a bilit y t o m ai nt ai n c o m pl et e c o nfi d e nti alit y.

  P a g e 1 9 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 62 of 89
                                                                                 P S A 0061
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


          a n d a p pr o pri at e st e p s t o i n v e sti g at e or ot h er wi s e d et er mi n e w h at o c c urr e d. Titl e I X
          r e q uir e s t h e s c h o ol t o pr ot e ct t h e c o m pl ai n a nt a n d e n s ur e hi s or h er s af et y a s n e c e s s ar y.
          S e e q u e sti o n K- 1 r e g ar di n g r et ali ati o n.

          If t h e st u d e nt still r e q u e st s t h at hi s or h er n a m e n ot b e di s cl o s e d t o t h e all e g e d
          p er p etr at or or t h at t h e s c h o ol n ot i n v e sti g at e or s e e k a cti o n a g ai n st t h e all e g e d
          p er p etr at or, t h e s c h o ol will n e e d t o d et er mi n e w h et h er or n ot it c a n h o n or s u c h a r e q u e st
          w hil e still pr o vi di n g a s af e a n d n o n di s cri mi n at or y e n vir o n m e nt f or all st u d e nt s, i n cl u di n g
          t h e st u d e nt w h o r e p ort e d t h e s e x u al vi ol e n c e. A s di s c u s s e d i n q u e sti o n C- 3, t h e Titl e I X
          c o or di n at or i s g e n er all y i n t h e b e st p o siti o n t o e v al u at e c o nfi d e nti alit y r e q u e st s. B e c a u s e
          s c h o ol s v ar y wi d el y i n si z e a n d a d mi ni str ati v e str u ct ur e, O C R r e c o g ni z e s t h at a s c h o ol m a y
          r e a s o n a bl y d et er mi n e t h at a n e m pl o y e e ot h er t h a n t h e Titl e I X c o or di n at or, s u c h a s a
          s e x u al a s s a ult r e s p o n s e c o or di n at or, d e a n, or ot h er s c h o ol offi ci al, i s b ett er s uit e d t o
          e v al u at e s u c h r e q u e st s. A d dr e s si n g t h e n e e d s of a st u d e nt r e p orti n g s e x u al vi ol e n c e w hil e
          d et er mi ni n g a n a p pr o pri at e i n stit uti o n al r e s p o n s e r e q uir e s e x p erti s e a n d att e nti o n, a n d a
          s c h o ol s h o ul d e n s ur e t h at it a s si g n s t h e s e r e s p o n si biliti e s t o e m pl o y e e s wit h t h e c a p a bilit y
          a n d tr ai ni n g t o f ulfill t h e m. F or e x a m pl e, if a s c h o ol h a s a s e x u al a s s a ult r e s p o n s e
          c o or di n at or, t h at p er s o n s h o ul d b e c o n s ult e d i n e v al u ati n g r e q u e st s f or c o nfi d e nti alit y.
          T h e s c h o ol s h o ul d i d e ntif y i n it s Titl e I X p oli ci e s a n d pr o c e d ur e s t h e e m pl o y e e or
          e m pl o y e e s r e s p o n si bl e f or m a ki n g s u c h d et er mi n ati o n s .

          If t h e s c h o ol d et er mi n e s t h at it c a n r e s p e ct t h e st u d e nt' s r e q u e st n ot t o di s cl o s e hi s or h er
          i d e ntit y t o t h e all e g e d p er p etr at or, it s h o ul d t a k e all r e a s o n a bl e st e p s t o r e s p o n d t o t h e
          c o m pl ai nt c o n si st e nt wit h t h e r e q u e st. Alt h o u g h a st u d e nt' s r e q u e st t o h a v e hi s or h er
          n a m e wit h h el d m a y li mit t h e s c h o ol' s a bilit y t o r e s p o n d f ull y t o a n i n di vi d u al all e g ati o n of
          s e x u al vi ol e n c e, ot h er m e a n s m a y b e a v ail a bl e t o a d dr e s s t h e s e x u al vi ol e n c e. T h er e ar e
          st e p s a s c h o ol c a n t a k e t o li mit t h e eff e ct s of t h e all e g e d s e x u al vi ol e n c e a n d pr e v e nt it s
          r e c urr e n c e wit h o ut i niti ati n g f or m al a cti o n a g ai n st t h e all e g e d p er p etr at or or r e v e ali n g
          t h e i d e ntit y of t h e st u d e nt c o m pl ai n a nt. E x a m pl e s i n cl u d e pr o vi di n g i n cr e a s e d m o nit ori n g,
          s u p er vi si o n, or s e c urit y at l o c ati o n s or a cti viti e s w h er e t h e mi s c o n d u ct o c c urr e d;
          pr o vi di n g tr ai ni n g a n d e d u c ati o n m at eri al s f or st u d e nt s a n d e m pl o y e e s; c h a n gi n g a n d
          p u bli ci zi n g t h e s c h o ol' s p oli ci e s o n s e x u al vi ol e n c e; a n d c o n d u cti n g cli m at e s ur v e y s
          r e g ar di n g s e x u al vi ol e n c e. I n i n st a n c e s aff e cti n g m a n y st u d e nt s, a n all e g e d p er p etr at or
          c a n b e p ut o n n oti c e of all e g ati o n s of h ar a s si n g b e h a vi or a n d b e c o u n s el e d a p pr o pri at el y
          wit h o ut r e v e ali n g, e v e n i n dir e ctl y, t h e i d e ntit y of t h e st u d e nt c o m pl ai n a nt. A s c h o ol m u st
          al s o t a k e i m m e di at e a cti o n a s n e c e s s ar y t o pr ot e ct t h e st u d e nt w hil e k e e pi n g t h e i d e ntit y
          of t h e st u d e nt c o nfi d e nti al. T h e s e a cti o n s m a y i n cl u d e pr o vi di n g s u p p ort s er vi c e s t o t h e
          st u d e nt a n d c h a n gi n g li vi n g arr a n g e m e nt s or c o ur s e s c h e d ul e s, a s si g n m e nt s, or t e st s.


  P a g e 2 0 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

         Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 63 of 89
                                                                         P S A 0062
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


  E- 2.   W h at f a ct or s s h o ul d a s c h o ol c o n si d er i n w ei g hi n g a st u d e nt' s r e q u e st f o r
          c o nfi d e nti alit y ?

          A n s w er:    W h e n w ei g hi n g a st u d e nt' s r e q u e st f or c o nfi d e nti alit y t h at c o ul d pr e cl u d e a
          m e a ni n gf ul i n v e sti g ati o n or p ot e nti al di s ci pli n e of t h e all e g e d p er p etr at or, a s c h o ol s h o ul d
          c o n si d er a r a n g e of f a ct or s.

          T h e s e f a ct or s i n cl u d e cir c u m st a n c e s t h at s u g g e st t h er e i s a n i n cr e a s e d ri s k of t h e all e g e d
          p er p etr at or c o m mitti n g a d diti o n al a ct s of s e x u al vi ol e n c e or ot h er vi ol e n c e ( e. g., w h et h er
          t h er e h a v e b e e n ot h er s e x u al vi ol e n c e c o m pl ai nt s a b o ut t h e s a m e all e g e d p er p etr at or,
          w h et h er t h e all e g e d p er p etr at or h a s a hi st or y of arr e st s or r e c or d s fr o m a pri or s c h o ol
          i n di c ati n g a hi st or y of vi ol e n c e, w h et h er t h e all e g e d p er p etr at or t hr e at e n e d f urt h er s e x u al
          vi ol e n c e or ot h er vi ol e n c e a g ai n st t h e st u d e nt or ot h er s, a n d w h et h er t h e s e x u al vi ol e n c e
          w a s c o m mitt e d b y m ulti pl e p er p etr at or s). T h e s e f a ct or s al s o i n cl u d e cir c u m st a n c e s t h at
          s u g g e st t h er e i s a n i n cr e a s e d ri s k of f ut ur e a ct s of s e x u al vi ol e n c e u n d er si mil ar
          cir c u m st a n c e s ( e .g ., w h et h er t h e st u d e nt' s r e p ort r e v e al s a p att er n of p er p etr ati o n ( e. g.,
          vi a illi cit u s e of dr u g s or al c o h ol) at a gi v e n l o c ati o n or b y a p arti c ul ar gr o u p) . Ot h er f a ct or s
          t h at s h o ul d b e c o n si d er e d i n a s s e s si n g a st u d e nt' s r e q u e st f or c o nfi d e nti alit y i n cl u d e
          w h et h er t h e s e x u al vi ol e n c e w a s p er p etr at e d wit h a w e a p o n; t h e a g e of t h e st u d e nt
          s u bj e ct e d t o t h e s e x u al vi ol e n c e; a n d w h et h er t h e s c h o ol p o s s e s s e s ot h er m e a n s t o o bt ai n
          r el e v a nt e vi d e n c e ( e. g., s e c urit y c a m er a s or p er s o n n el, p h y si c al e vi d e n c e).

          A s c h o ol s h o ul d t a k e r e q u e st s f or c o nfi d e nti alit y s eri o u sl y, w hil e at t h e s a m e ti m e
          c o n si d eri n g it s r e s p o n si bilit y t o pr o vi d e a s af e a n d n o n di s cri mi n at or y e n vir o n m e nt f or all
          st u d e nt s, i n cl u di n g t h e st u d e nt w h o r e p ort e d t h e s e x u al vi ol e n c e. F or e x a m pl e, if t h e
          s c h o ol h a s cr e di bl e i nf or m ati o n t h at t h e all e g e d p er p etr at or h a s c o m mitt e d o n e or m or e
          pri or r a p e s, t h e b al a n c e of f a ct or s w o ul d c o m p el t h e s c h o ol t o i n v e sti g at e t h e all e g ati o n
          of s e x u al vi ol e n c e, a n d if a p pr o pri at e, p ur s u e di s ci pli n ar y a cti o n i n a m a n n er t h at m a y
          r e q uir e di s cl o s ur e of t h e st u d e nt' s i d e ntit y t o t h e all e g e d p er p etr at or. If t h e s c h o ol
          d et er mi n e s t h at it m u st di s cl o s e a st u d e nt' s i d e ntit y t o a n all e g e d p er p etr at or, it s h o ul d
          i nf or m t h e st u d e nt pri or t o m a ki n g t hi s di s cl o s ur e . I n t h e s e c a s e s, it i s al s o e s p e ci all y
          i m p ort a nt f or s c h o ol s t o t a k e w h at e v er i nt eri m m e a s ur e s ar e n e c e s s ar y t o pr ot e ct t h e
          st u d e nt a n d e n s ur e t h e s af et y of ot h er st u d e nt s. If a s c h o ol h a s a s e x u al a s s a ult r e s p o n s e
          c o or di n at or, t h at p er s o n s h o ul d b e c o n s ult e d i n i d e ntif yi n g s af et y ri s k s a n d i nt eri m
          m e a s ur e s t h at ar e n e c e s s ar y t o pr ot e ct t h e st u d e nt. I n t h e e v e nt t h e st u d e nt r e q u e st s
          t h at t h e s c h o ol i nf or m t h e p er p etr at or t h at t h e st u d e nt a s k e d t h e s c h o ol n ot t o
          i n v e sti g at e or s e e k di s ci pli n e, t h e s c h o ol s h o ul d h o n or t hi s r e q u e st a n d i nf or m t h e all e g e d
          p er p etr at or t h at t h e s c h o ol m a d e t h e d e ci si o n t o g o f or w ar d. F or a d diti o n al i nf or m ati o n
          o n i nt eri m m e a s ur e s s e e q u e sti o n s G- 1 t o G- 3. A n y s c h o ol offi ci al s r e s p o n si bl e f or

  P a g e 2 1- Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 64 of 89
                                                                        P S A 0063
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


           di s c u s si n g s af et y a n d c o nfi d e nti alit y wit h st u d e nt s s h o ul d b e tr ai n e d o n t h e eff e ct s of
           tr a u m a a n d t h e a p pr o pri at e m et h o d s t o c o m m u ni c at e wit h st u d e nt s s u bj e ct e d t o s e x u al
           vi ol e n c e. S e e q u e sti o n s J- 1 t o J- 3.

           O n t h e ot h er h a n d, if, f or e x a m pl e, t h e s c h o ol h a s n o cr e di bl e i nf or m ati o n a b o ut pri or
           s e x u al vi ol e n c e c o m mitt e d b y t h e all e g e d p er p etr at or a n d t h e all e g e d s e x u al vi ol e n c e w a s
            n ot p er p etr at e d wit h a w e a p o n or a c c o m p a ni e d b y t hr e at s t o r e p e at t h e s e x u al vi ol e n c e
            a g ai n st t h e c o m pl ai n a nt or ot h er s or p art of a l ar g er p att er n at a gi v e n l o c ati o n or b y a
            p arti c ul ar gr o u p, t h e b al a n c e of f a ct or s w o ul d li k el y c o m p el t h e s c h o ol t o r e s p e ct t h e
           st u d e nt' s r e q u e st f or c o nfi d e nti alit y. I n t hi s c a s e t h e s c h o ol s h o ul d still t a k e all r e a s o n a bl e
           st e p s t o r e s p o n d t o t h e c o m pl ai nt c o n si st e nt wit h t h e st u d e nt' s c o nfi d e nti alit y r e q u e st
            a n d d et er mi n e w h et h er i nt eri m m e a s ur e s ar e a p pr o pri at e or n e c e s s ar y. S c h o ol s s h o ul d b e
            mi n df ul t h at tr a u m ati c e v e nt s s u c h a s s e x u al vi ol e n c e c a n r e s ult i n d el a y e d
           d e ci si o n m a ki n g b y a st u d e nt w h o h a s e x p eri e n c e d s e x u al vi ol e n c e. H e n c e, a st u d e nt w h o
            i niti all y r e q u e st s c o nfi d e nti alit y mi g ht l at er r e q u e st t h at a f ull i n v e sti g ati o n b e c o n d u ct e d.

  E- 3.    W h at ar e t h e r e p orti n g r e s p o n si biliti e s of s c h o ol e m pl o y e e s w h o pr o vi d e or s u p p ort t h e
            pr o vi si o n of c o u n s eli n g, a d v o c a c y, h e alt h, m e nt al h e alt h, or s e x u al a s s a ult-r el at e d
            s er vi c e s t o st u d e nt s w h o h a v e e x p eri e n c e d s e x u al vi ol e n c e ?

           A n s w er: O C R d o e s n ot r e q uir e c a m p u s m e nt al- h e alt h c o u n s el or s, p a st or al c o u n s el or s,
           s o ci al w or k er s, p s y c h ol o gi st s, h e alt h c e nt er e m pl o y e e s, or a n y ot h er p er s o n wit h a
            pr of e s si o n al li c e n s e r e q uiri n g c o nfi d e nti alit y, or w h o i s s u p er vi s e d b y s u c h a p er s o n, t o
            r e p ort, wit h o ut t h e st u d e nt' s c o n s e nt, i n ci d e nt s of s e x u al vi ol e n c e t o t h e s c h o ol i n a w a y
           t h at i d e ntifi e s t h e st u d e nt. Alt h o u g h t h e s e e m pl o y e e s m a y h a v e r e s p o n si biliti e s t h at
            w o ul d ot h er wi s e m a k e t h e m r e s p o n si bl e e m pl o y e e s f or Titl e I X p ur p o s e s, O C R r e c o g ni z e s
           t h e i m p ort a n c e of pr ot e cti n g t h e c o u n s el or- cli e nt r el ati o n s hi p, w hi c h oft e n r e q uir e s
           c o nfi d e nti alit y t o e n s ur e t h at st u d e nt s will s e e k t h e h el p t h e y n e e d.

            Pr of e s si o n al c o u n s el or s a n d p a st or al c o u n s el or s w h o s e offi ci al r e s p o n si biliti e s i n cl u d e
            pr o vi di n g m e nt al- h e alt h c o u n s eli n g t o m e m b er s of t h e s c h o ol c o m m u nit y ar e n ot
            r e q uir e d b y Titl e I X t o r e p ort a n y i nf or m ati o n r e g ar di n g a n i n ci d e nt of all e g e d s e x u al
           vi ol e n c e t o t h e Titl e I X c o or di n at or or ot h er a p pr o pri at e s c h o ol d e si g n e e.                        26




  26 T h e e x e m pti o n fr o m r e p orti n g o bli g ati o n s f or p a st or al a n d pr of e s si o n al c o u n s el or s u n d er Titl e I X i s c o n si st e nt
  wit h t h e Cl er y A ct. F or a d diti o n al i nf or m ati o n o n r e p orti n g o bli g ati o n s u n d er t h e Cl er y A ct, s e e Offi c e of
  P o st s e c o n d ar y E d u c ati o n, H a n d b o o k f or C a m p u s S af et y a n d S e c urit y R e p orti n g ( 2 0 1 1), a v ail a bl e at
  htt p :// w w w 2.e d .g o v/ a d mi n s/l e a d/ s af et y/ h a n d b o o k .p df . Si mil ar t o t h e Cl er y A ct, f or Titl e I X p ur p o s e s, a p a st or al
  c o u n s el or i s a p er s o n w h o i s a s s o ci at e d wit h a r eli gi o u s or d er or d e n o mi n ati o n, i s r e c o g ni z e d b y t h at r eli gi o u s

  P a g e 2 2 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 65 of 89
                                                                                 P S A 0064
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


            O C R r e c o g ni z e s t h at s o m e p e o pl e w h o pr o vi d e a s si st a n c e t o st u d e nt s w h o e x p eri e n c e
            s e x u al vi ol e n c e ar e n ot pr of e s si o n al or p a st or al c o u n s el or s. T h e y i n cl u d e all i n di vi d u al s
            w h o w or k or v ol u nt e er i n o n- c a m p u s s e x u al a s s a ult c e nt er s, vi cti m a d v o c a c y offi c e s,
            w o m e n' s c e nt er s, or h e alt h c e nt er s (" n o n- pr of e s si o n al c o u n s el or s or a d v o c at e s"),
            i n cl u di n g fr o nt d e s k st aff a n d st u d e nt s. O C R w a nt s st u d e nt s t o f e el fr e e t o s e e k t h eir
            a s si st a n c e a n d t h er ef or e i nt er pr et s Titl e I X t o gi v e s c h o ol s t h e l atit u d e n ot t o r e q uir e
            t h e s e i n di vi d u al s t o r e p ort i n ci d e nt s of s e x u al vi ol e n c e i n a w a y t h at i d e ntifi e s t h e st u d e nt
            wit h o ut t h e st u d e nt' s c o n s e nt.            27   T h e s e n o n- pr of e s si o n al c o u n s el or s or a d v o c at e s ar e
            v al u a bl e s o ur c e s of s u p p ort f or st u d e nt s, a n d O C R str o n gl y e n c o ur a g e s s c h o ol s t o
            d e si g n at e t h e s e i n di vi d u al s a s c o nfi d e nti al s o ur c e s.

            P a st or al a n d pr of e s si o n al c o u n s el or s a n d n o n- pr of e s si o n al c o u n s el or s or a d v o c at e s s h o ul d
            b e i n str u ct e d t o i nf or m st u d e nt s of t h eir ri g ht t o fil e a Titl e I X c o m pl ai nt wit h t h e s c h o ol
            a n d a s e p ar at e c o m pl ai nt wit h c a m p u s or l o c al l a w e nf or c e m e nt. I n a d diti o n t o i nf or mi n g
            st u d e nt s a b o ut c a m p u s r e s o ur c e s f or c o u n s eli n g, m e di c al, a n d a c a d e mi c s u p p ort, t h e s e
            p er s o n s s h o ul d al s o i n di c at e t h at t h e y ar e a v ail a bl e t o a s si st st u d e nt s i n fili n g s u c h
            c o m pl ai nt s. T h e y s h o ul d al s o e x pl ai n t h at Titl e I X i n cl u d e s pr ot e cti o n s a g ai n st r et ali ati o n,
            a n d t h at s c h o ol offi ci al s will n ot o nl y t a k e st e p s t o pr e v e nt r et ali ati o n b ut al s o t a k e str o n g
            r e s p o n si v e a cti o n if it o c c ur s. T hi s i n cl u d e s r et ali at or y a cti o n s t a k e n b y t h e s c h o ol a n d
            s c h o ol offi ci al s. W h e n          a s c h o ol k n o w s or r e a s o n a bl y s h o ul d k n o w of p o s si bl e r et ali ati o n b y
            ot h er st u d e nt s or t hir d p arti e s, i n cl u di n g t hr e at s, i nti mi d ati o n, c o er ci o n, or di s cri mi n ati o n
            (i n cl u di n g h ar a s s m e nt), it m u st t a k e i m m e di at e a n d a p pr o pri at e st e p s t o i n v e sti g at e or
            ot h er wi s e d et er mi n e w h at o c c urr e d. Titl e I X r e q uir e s t h e s c h o ol t o pr ot e ct t h e
            c o m pl ai n a nt a n d e n s ur e hi s or h er s af et y a s n e c e s s ar y.

            I n or d er t o i d e ntif y p att er n s or s y st e mi c pr o bl e m s r el at e d t o s e x u al vi ol e n c e, a s c h o ol
            s h o ul d c oll e ct a g gr e g at e d at a a b o ut s e x u al vi ol e n c e i n ci d e nt s fr o m n o n- pr of e s si o n al
            c o u n s el or s or a d v o c at e s i n t h eir o n- c a m p u s s e x u al a s s a ult c e nt er s, w o m e n' s c e nt er s, or




  or d er or d e n o mi n ati o n a s s o m e o n e w h o pr o vi d e s c o nfi d e nti al c o u n s eli n g, a n d i s f u n cti o ni n g wit hi n t h e s c o p e of
  t h at r e c o g niti o n a s a p a st or al c o u n s el or . A pr of e s si o n al c o u n s el or i s a p er s o n w h o s e offi ci al r e s p o n si biliti e s i n cl u d e
  pr o vi di n g m e nt al h e alt h c o u n s eli n g t o m e m b er s of t h e i n stit uti o n' s c o m m u nit y a n d w h o i s f u n cti o ni n g wit hi n t h e
  s c o p e of hi s or h er li c e n s e or c ertifi c ati o n. T hi s d efi niti o n a p pli e s e v e n t o pr of e s si o n al c o u n s el or s w h o ar e n ot
  e m pl o y e e s of t h e s c h o ol, b ut ar e u n d er c o ntr a ct t o pr o vi d e c o u n s eli n g at t h e s c h o ol. T hi s i n cl u d e s i n di vi d u al s w h o
  ar e n ot y et li c e n s e d or c ertifi e d a s a c o u n s el or, b ut ar e a cti n g i n t h at r ol e u n d er t h e s u p er vi si o n of a n i n di vi d u al
  w h o i s li c e n s e d or c ertifi e d. A n e x a m pl e i s a P h. D. c o u n s el or-tr ai n e e a cti n g u n d er t h e s u p er vi si o n of a pr of e s si o n al
  c o u n s el or at t h e s c h o ol.
  2 7 P o st s e c o n d ar y i n stit uti o n s s h o ul d b e a w ar e t h at a n i n di vi d u al w h o i s c o u n s eli n g st u d e nt s, b ut w h o d o e s n ot

  m e et t h e Cl er y A ct d efi niti o n of a p a st or al or pr of e s si o n al c o u n s el or, i s n ot e x e m pt fr o m b ei n g a c a m p u s s e c urit y
  a ut h orit y if h e or s h e ot h er wi s e h a s si g nifi c a nt r e s p o n si bilit y f or st u d e nt a n d c a m p u s a cti viti e s . S e e f n. 2 4 .


  P a g e 2 3 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

           Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 66 of 89
                                                                                    P S A 0065
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


             h e alt h c e nt er s. S u c h i n di vi d u al s s h o ul d r e p ort o nl y g e n er al i nf or m ati o n a b o ut i n ci d e nt s of
            s e x u al vi ol e n c e s u c h a s t h e n at ur e, d at e, ti m e, a n d g e n er al l o c ati o n of t h e i n ci d e nt a n d
            s h o ul d t a k e c ar e t o a v oi d r e p orti n g p er s o n all y i d e ntifi a bl e i nf or m ati o n a b o ut a st u d e nt.
             N o n- pr of e s si o n al c o u n s el or s a n d a d v o c at e s s h o ul d c o n s ult wit h st u d e nt s r e g ar di n g w h at
             i nf or m ati o n n e e d s t o b e wit h h el d t o pr ot e ct t h eir i d e ntit y.

  E- 4.      I s a s c h o ol r e q uir e d t o i n v e sti g at e i nf or m ati o n r e g ar di n g s e x u al vi ol e n c e i n ci d e nt s
            s h ar e d b y s ur vi v or s d uri n g p u bli c a w ar e n e s s e v e nt s, s u c h a s " T a k e B a c k t h e Ni g ht " ?

            A n s w er:     N o. O C R w a nt s st u d e nt s t o f e el fr e e t o p arti ci p at e i n pr e v e nti v e e d u c ati o n
             pr o gr a m s a n d a c c e s s r e s o ur c e s f or s ur vi v or s. T h er ef or e, p u bli c a w ar e n e s s e v e nt s s u c h a s
             " T a k e B a c k t h e Ni g ht" or ot h er f or u m s at w hi c h st u d e nt s di s cl o s e e x p eri e n c e s wit h s e x u al
            vi ol e n c e ar e n ot c o n si d er e d n oti c e t o t h e s c h o ol f or t h e p ur p o s e of tri g g eri n g a n
             i n di vi d u al i n v e sti g ati o n u nl e s s t h e s ur vi v or i niti at e s a c o m pl ai nt. T h e s c h o ol s h o ul d
             i n st e a d r e s p o n d t o t h e s e di s cl o s ur e s b y r e vi e wi n g s e x u al a s s a ult p oli ci e s, cr e ati n g
            c a m p u s- wi d e e d u c ati o n al pr o gr a m s, a n d c o n d u cti n g cli m at e s ur v e y s t o l e ar n m or e a b o ut
            t h e pr e v al e n c e of s e x u al vi ol e n c e at t h e s c h o ol. Alt h o u g h Titl e I X d o e s n ot r e q uir e t h e
            s c h o ol t o i n v e sti g at e p arti c ul ar i n ci d e nt s di s c u s s e d at s u c h e v e nt s, t h e s c h o ol s h o ul d
            e n s ur e t h at s ur vi v or s ar e a w ar e of a n y a v ail a bl e r e s o ur c e s, i n cl u di n g c o u n s eli n g, h e alt h,
            a n d m e nt al h e alt h s er vi c e s. T o e n s ur e t h at t h e e ntir e s c h o ol c o m m u nit y u n d er st a n d s t h eir
            Titl e I X ri g ht s r el at e d t o s e x u al vi ol e n c e, t h e s c h o ol s h o ul d al s o pr o vi d e i nf or m ati o n at
            t h e s e e v e nt s o n Titl e I X a n d h o w t o fil e a Titl e I X c o m pl ai nt wit h t h e s c h o ol, a s w ell a s
             o pti o n s f or r e p orti n g a n i n ci d e nt of s e x u al vi ol e n c e t o c a m p u s or l o c al l a w e nf or c e m e nt.

  F.      I n v e sti g ati o n s a n d H e ari n g s

  O v er vi e w

  F- 1.     W h at el e m e nt s s h o ul d a s c h o ol' s Titl e I X i n v e sti g ati o n i n cl u d e ?

            A n s w er: T h e s p e cifi c st e p s i n a s c h o ol' s Titl e I X i n v e sti g ati o n will v ar y d e p e n di n g o n t h e
            n at ur e of t h e all e g ati o n, t h e a g e of t h e st u d e nt or st u d e nt s i n v ol v e d, t h e si z e a n d
            a d mi ni str ati v e str u ct ur e of t h e s c h o ol, st at e or l o c al l e g al r e q uir e m e nt s (i n cl u di n g
            m a n d at or y r e p orti n g r e q uir e m e nt s f or s c h o ol s w or ki n g wit h mi n or s), a n d w h at it h a s
            l e ar n e d fr o m p a st e x p eri e n c e s.

            F or t h e p ur p o s e s of t hi s d o c u m e nt t h e t er m "i n v e sti g ati o n" r ef er s t o t h e pr o c e s s t h e
            s c h o ol u s e s t o r e s ol v e s e x u al vi ol e n c e c o m pl ai nt s. T hi s i n cl u d e s t h e f a ct-fi n di n g
            i n v e sti g ati o n a n d a n y h e ari n g a n d d e ci si o n- m a ki n g pr o c e s s t h e s c h o ol u s e s t o d et er mi n e:
            ( 1) w h et h er or n ot t h e c o n d u ct o c c urr e d; a n d, ( 2) if t h e c o n d u ct o c c urr e d, w h at a cti o n s

  P a g e 2 4 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

           Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 67 of 89
                                                                          P S A 0066
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


            t h e s c h o ol will t a k e t o e n d t h e s e x u al vi ol e n c e, eli mi n at e t h e h o stil e e n vir o n m e nt, a n d
            pr e v e nt it s r e c urr e n c e, w hi c h m a y i n cl u d e i m p o si n g s a n cti o n s o n t h e p er p etr at or a n d
            pr o vi di n g r e m e di e s f or t h e c o m pl ai n a nt a n d br o a d er st u d e nt p o p ul ati o n.

            I n all c a s e s, a s c h o ol' s Titl e I X i n v e sti g ati o n m u st b e a d e q u at e, r eli a bl e, i m p arti al, a n d
            pr o m pt a n d i n cl u d e t h e o p p ort u nit y f or b ot h p arti e s t o pr e s e nt wit n e s s e s a n d ot h er
            e vi d e n c e. T h e i n v e sti g ati o n m a y i n cl u d e a h e ari n g t o d et er mi n e w h et h er t h e c o n d u ct
            o c c urr e d, b ut Titl e I X d o e s n ot n e c e s s aril y r e q uir e a h e ari n g.                      28   F urt h er m or e, n eit h er Titl e
            I X n or t h e D C L s p e cifi e s w h o s h o ul d c o n d u ct t h e i n v e sti g ati o n. It c o ul d b e t h e Titl e I X
            c o or di n at or, pr o vi d e d t h er e ar e n o c o nfli ct s of i nt er e st, b ut it d o e s n ot h a v e t o b e. All
            p er s o n s i n v ol v e d i n c o n d u cti n g a s c h o ol' s Titl e I X i n v e sti g ati o n s m u st h a v e tr ai ni n g or
            e x p eri e n c e i n h a n dli n g c o m pl ai nt s of s e x u al vi ol e n c e a n d i n t h e s c h o ol' s gri e v a n c e
            pr o c e d ur e s. F or a d diti o n al i nf or m ati o n o n tr ai ni n g, s e e q u e sti o n J- 3.

            When        i n v e sti g ati n g a n i n ci d e nt of all e g e d s e x u al vi ol e n c e f or Titl e I X p ur p o s e s, t o t h e
            e xt e nt p o s si bl e, a s c h o ol s h o ul d c o or di n at e wit h a n y ot h er o n g oi n g s c h o ol or cri mi n al
            i n v e sti g ati o n s of t h e i n ci d e nt a n d e st a bli s h a p pr o pri at e f a ct-fi n di n g r ol e s f or e a c h
            i n v e sti g at or. A s c h o ol s h o ul d al s o c o n si d er w h et h er i nf or m ati o n c a n b e s h ar e d a m o n g t h e
            i n v e sti g at or s s o t h at c o m pl ai n a nt s ar e n ot u n n e c e s s aril y r e q uir e d t o gi v e m ulti pl e
            st at e m e nt s a b o ut a tr a u m ati c e v e nt. If t h e i n v e sti g ati o n i n cl u d e s f or e n si c e vi d e n c e, it m a y
            b e h el pf ul f or a s c h o ol t o c o n s ult wit h l o c al or c a m p u s l a w e nf or c e m e nt or a f or e n si c
            e x p ert t o e n s ur e t h at t h e e vi d e n c e i s c orr e ctl y i nt er pr et e d b y s c h o ol offi ci al s. F or
            a d diti o n al i nf or m ati o n o n w or ki n g wit h c a m p u s or l o c al l a w e nf or c e m e nt s e e q u e sti o n
            F- 3.

            If a s c h o ol u s e s it s st u d e nt di s ci pli n ar y pr o c e d ur e s t o m e et it s Titl e I X o bli g ati o n t o r e s ol v e
            c o m pl ai nt s of s e x u al vi ol e n c e pr o m ptl y a n d e q uit a bl y, it s h o ul d r e c o g ni z e t h at i m p o si n g
            s a n cti o n s a g ai n st t h e p er p etr at or, wit h o ut a d diti o n al r e m e di e s, li k el y will n ot b e s uffi ci e nt
            t o eli mi n at e t h e h o stil e e n vir o n m e nt a n d pr e v e nt r e c urr e n c e a s r e q uir e d b y Titl e I X. If a
            s c h o ol t y pi c all y pr o c e s s e s c o m pl ai nt s of s e x u al vi ol e n c e t hr o u g h it s di s ci pli n ar y pr o c e s s
            a n d t h at pr o c e s s, i n cl u di n g a n y i n v e sti g ati o n a n d h e ari n g, m e et s t h e Titl e I X r e q uir e m e nt s
            di s c u s s e d a b o v e a n d e n a bl e s t h e s c h o ol t o e n d t h e s e x u al vi ol e n c e, eli mi n at e t h e h o stil e
            e n vir o n m e nt, a n d pr e v e nt it s r e c urr e n c e, t h e n t h e s c h o ol m a y u s e t h at pr o c e s s t o s ati sf y
            it s Titl e I X o bli g ati o n s a n d d o e s n ot n e e d t o c o n d u ct a s e p ar at e Titl e I X i n v e sti g ati o n. A s
            di s c u s s e d i n q u e sti o n C- 3, t h e Titl e I X c o or di n at or s h o ul d r e vi e w t h e di s ci pli n ar y pr o c e s s




  28 T hi s a n s w er a d dr e s s e s o nl y Titl e I X' s r e q uir e m e nt s f or i n v e sti g ati o n s. It d o e s n ot a d dr e s s l e g al ri g ht s or
  r e q uir e m e nt s u n d er t h e U. S. C o n stit uti o n, t h e Cl er y A ct, or ot h er f e d er al, st at e, or l o c al l a w s.

  P a g e 2 5 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 68 of 89
                                                                                   P S A 0067
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


             t o e n s ur e t h at it: ( 1) c o m pli e s wit h t h e pr o m pt a n d e q uit a bl e r e q uir e m e nt s of Titl e I X;
             ( 2) all o w s f or a p pr o pri at e i nt eri m m e a s ur e s t o b e t a k e n t o pr ot e ct t h e c o m pl ai n a nt d uri n g
             t h e pr o c e s s; a n d ( 3) pr o vi d e s f or r e m e di e s t o t h e c o m pl ai n a nt a n d s c h o ol c o m m u nit y
             w h er e a p pr o pri at e. F or m or e i nf or m ati o n a b o ut i nt eri m m e a s ur e s, s e e q u e sti o n s G- 1 t o
             G- 3, a n d a b o ut r e m e di e s, s e e q u e sti o n s H- 1 a n d H- 2.

             T h e i n v e sti g ati o n m a y i n cl u d e, b ut i s n ot li mit e d t o, c o n d u cti n g i nt er vi e w s of t h e
             c o m pl ai n a nt, t h e all e g e d p er p etr at or, a n d a n y wit n e s s e s; r e vi e wi n g l a w e nf or c e m e nt
             i n v e sti g ati o n d o c u m e nt s, if a p pli c a bl e; r e vi e wi n g st u d e nt a n d p er s o n n el fil e s; a n d
             g at h eri n g a n d e x a mi ni n g ot h er r el e v a nt d o c u m e nt s or e vi d e n c e. W hil e a s c h o ol h a s
             fl e xi bilit y i n h o w it str u ct ur e s t h e i n v e sti g ati v e pr o c e s s, f or Titl e I X p ur p o s e s, a s c h o ol
             m u st gi v e t h e c o m pl ai n a nt a n y ri g ht s t h at it gi v e s t o t h e all e g e d p er p etr at or. A b al a n c e d
             a n d f air pr o c e s s t h at pr o vi d e s t h e s a m e o p p ort u niti e s t o b ot h p arti e s will l e a d t o s o u n d
             a n d s u p p ort a bl e d e ci si o n s.       29   S p e cifi c all y:

                 •     T hr o u g h o ut t h e i n v e sti g ati o n, t h e p arti e s m u st h a v e a n e q u al o p p ort u nit y t o pr e s e nt
                       r el e v a nt wit n e s s e s a n d ot h er e vi d e n c e.

                 •     T h e s c h o ol m u st u s e a pr e p o n d er a n c e- of-t h e- e vi d e n c e (i. e., m or e li k el y t h a n n ot)
                       st a n d ar d i n a n y Titl e I X pr o c e e di n g s, i n cl u di n g a n y f a ct-fi n di n g a n d h e ari n g s .

                 •     If t h e s c h o ol p er mit s o n e p art y t o h a v e l a w y er s or ot h er a d vi s or s at a n y st a g e of t h e
                       pr o c e e di n g s , it m u st d o s o e q u all y f or b ot h p arti e s. A n y s c h o ol-i m p o s e d r e stri cti o n s
                       o n t h e a bilit y of l a w y er s or ot h er a d vi s or s t o s p e a k or ot h er wi s e p arti ci p at e i n t h e
                       pr o c e e di n g s m u st al s o a p pl y e q u all y .

                 •     If t h e s c h o ol p er mit s o n e p art y t o s u b mit t hir d- p art y e x p ert t e sti m o n y, it m u st d o s o
                       e q u all y f or b ot h p arti e s.

                 •     If t h e s c h o ol pr o vi d e s f or a n a p p e al , it m u st d o s o e q u all y f or b ot h p arti e s.

                 •     B ot h p arti e s m u st b e n otifi e d, i n writi n g, of t h e o ut c o m e of b ot h t h e c o m pl ai nt a n d
                       a n y a p p e al ( s e e q u e sti o n H- 3).




  29   A s e x pl ai n e d i n q u e sti o n C- 5, t h e p arti e s m a y h a v e c ert ai n d u e pr o c e s s ri g ht s u n d er t h e U .S . C o n stit uti o n .

  P a g e 2 6 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

            Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 69 of 89
                                                                                   P S A 0068
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


  I nt er s e cti o n wit h Cri mi n al I n v e sti g ati o n s

  F- 2.   W h at    a r e t h e k e y diff er e n c e s b et w e e n a s c h o ol' s Titl e I X i n v e sti g ati o n i nt o all e g ati o n s of
          s e x u al vi ol e n c e a n d a cri mi n al i n v e sti g ati o n ?

          A n s w er:     A cri mi n al i n v e sti g ati o n i s i nt e n d e d t o d et er mi n e w h et h er a n i n di vi d u al vi ol at e d
          cri mi n al l a w; a n d, if at t h e c o n cl u si o n of t h e i n v e sti g ati o n, t h e i n di vi d u al i s tri e d a n d f o u n d
          g uilt y, t h e i n di vi d u al m a y b e i m pri s o n e d or s u bj e ct t o cri mi n al p e n alti e s. T h e U. S.
          C o n stit uti o n aff or d s cri mi n al d ef e n d a nt s w h o f a c e t h e ri s k of i n c ar c er ati o n n u m er o u s
          pr ot e cti o n s, i n cl u di n g, b ut n ot li mit e d t o, t h e ri g ht t o c o u n s el, t h e ri g ht t o a s p e e d y tri al,
          t h e ri g ht t o a j ur y tri al, t h e ri g ht a g ai n st s elf-i n cri mi n ati o n, a n d t h e ri g ht t o c o nfr o nt ati o n.
          I n a d diti o n, g o v er n m e nt offi ci al s r e s p o n si bl e f or cri mi n al i n v e sti g ati o n s (i n cl u di n g p oli c e
          a n d pr o s e c ut or s) n or m all y h a v e di s cr eti o n a s t o w hi c h c o m pl ai nt s fr o m t h e p u bli c t h e y
          will i n v e sti g at e.

          B y c o ntr a st, a Titl e I X i n v e sti g ati o n will n e v er r e s ult i n i n c ar c er ati o n of a n i n di vi d u al a n d,
          t h er ef or e, t h e s a m e pr o c e d ur al pr ot e cti o n s a n d l e g al st a n d ar d s ar e n ot r e q uir e d . F urt h er,
          w hil e a cri mi n al i n v e sti g ati o n i s i niti at e d at t h e di s cr eti o n of l a w e nf or c e m e nt a ut h oriti e s,
          a Titl e I X i n v e sti g ati o n i s n ot di s cr eti o n ar y; a s c h o ol h a s a d ut y u n d er Titl e I X t o r e s ol v e
          c o m pl ai nt s pr o m ptl y a n d e q uit a bl y a n d t o pr o vi d e a s af e a n d n o n di s cri mi n at or y
          e n vir o n m e nt f or all st u d e nt s, fr e e fr o m s e x u al h ar a s s m e nt a n d s e x u al vi ol e n c e. B e c a u s e
          t h e st a n d ar d s f or p ur s ui n g a n d c o m pl eti n g cri mi n al i n v e sti g ati o n s ar e diff er e nt fr o m t h o s e
          u s e d f or Titl e I X i n v e sti g ati o n s, t h e t er mi n ati o n of a cri mi n al i n v e sti g ati o n wit h o ut a n
          arr e st or c o n vi cti o n d o e s n ot aff e ct t h e s c h o ol' s Titl e I X o bli g ati o n s.

          Of c o ur s e, cri mi n al i n v e sti g ati o n s c o n d u ct e d b y l o c al or c a m p u s l a w e nf or c e m e nt m a y b e
          u s ef ul f or f a ct g at h eri n g if t h e cri mi n al i n v e sti g ati o n o c c ur s wit hi n t h e r e c o m m e n d e d
          ti m efr a m e f or Titl e I X i n v e sti g ati o n s; b ut, e v e n if a cri mi n al i n v e sti g ati o n i s o n g oi n g, a
          s c h o ol m u st still c o n d u ct it s o w n Titl e I X i n v e sti g ati o n.

          A s c h o ol s h o ul d n otif y c o m pl ai n a nt s of t h e ri g ht t o fil e a cri mi n al c o m pl ai nt a n d s h o ul d
          n ot di s s u a d e a c o m pl ai n a nt fr o m d oi n g s o eit h er d uri n g or aft er t h e s c h o ol' s i nt er n al Titl e
          I X i n v e sti g ati o n. Titl e I X d o e s n ot r e q uir e a s c h o ol t o r e p ort all e g e d i n ci d e nt s of s e x u al
          vi ol e n c e t o l a w e nf or c e m e nt, b ut a s c h o ol m a y h a v e r e p orti n g o bli g ati o n s u n d er st at e,
          l o c al, or ot h er f e d er al l a w s.




  P a g e 2 7 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 70 of 89
                                                                         P S A 0069
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


  F- 3.   H o w s h o ul d a s c h o ol pr o c e e d w h e n c a m p u s or l o c al l a w e nf or c e m e nt a g e n ci e s ar e
          c o n d u cti n g a cri mi n al i n v e sti g ati o n w hil e t h e s c h o ol i s c o n d u cti n g a p ar all el Titl e I X
          i n v e sti g ati o n ?

          A n s w er: A s c h o ol s h o ul d n ot w ait f or t h e c o n cl u si o n of a cri mi n al i n v e sti g ati o n or cri mi n al
          pr o c e e di n g t o b e gi n it s o w n Titl e I X i n v e sti g ati o n. Alt h o u g h a s c h o ol m a y n e e d t o d el a y
          t e m p or aril y t h e f a ct-fi n di n g p orti o n of a Titl e I X i n v e sti g ati o n w hil e t h e p oli c e ar e
          g at h eri n g e vi d e n c e, it i s i m p ort a nt f or a s c h o ol t o u n d er st a n d t h at d uri n g t hi s bri ef d el a y
          i n t h e Titl e I X i n v e sti g ati o n, it m u st t a k e i nt eri m m e a s ur e s t o pr ot e ct t h e c o m pl ai n a nt i n
          t h e e d u c ati o n al s etti n g. T h e s c h o ol s h o ul d al s o c o nti n u e t o u p d at e t h e p arti e s o n t h e
          st at u s of t h e i n v e sti g ati o n a n d i nf or m t h e p arti e s w h e n t h e s c h o ol r e s u m e s it s Titl e I X
          i n v e sti g ati o n. F or a d diti o n al i nf or m ati o n o n i nt eri m m e a s ur e s s e e q u e sti o n s G- 1 t o G- 3.

          If a s c h o ol d el a y s t h e f a ct-fi n di n g p orti o n of a Titl e I X i n v e sti g ati o n, t h e s c h o ol m u st
          pr o m ptl y r e s u m e a n d c o m pl et e it s f a ct-fi n di n g f or t h e Titl e I X i n v e sti g ati o n o n c e it l e ar n s
          t h at t h e p oli c e d e p art m e nt h a s c o m pl et e d it s e vi d e n c e g at h eri n g st a g e of t h e cri mi n al
          i n v e sti g ati o n. T h e s c h o ol s h o ul d n ot d el a y it s i n v e sti g ati o n u ntil t h e ulti m at e o ut c o m e of
          t h e cri mi n al i n v e sti g ati o n or t h e fili n g of a n y c h ar g e s. O C R r e c o m m e n d s t h at a s c h o ol
          w or k wit h it s c a m p u s p oli c e, l o c al l a w e nf or c e m e nt, a n d l o c al pr o s e c ut or' s offi c e t o l e ar n
          w h e n t h e e vi d e n c e g at h eri n g st a g e of t h e cri mi n al i n v e sti g ati o n i s c o m pl et e. A s c h o ol m a y
          al s o w a nt t o e nt er i nt o a m e m or a n d u m of u n d er st a n di n g ( M O U) or ot h er a gr e e m e nt wit h
          t h e s e a g e n ci e s r e g ar di n g t h e pr ot o c ol s a n d pr o c e d ur e s f or r ef erri n g all e g ati o n s of s e x u al
          vi ol e n c e, s h ari n g i nf or m ati o n, a n d c o n d u cti n g c o nt e m p or a n e o u s i n v e sti g ati o n s. A n y M O U
          or ot h er a gr e e m e nt m u st all o w t h e s c h o ol t o m e et it s Titl e I X o bli g ati o n t o r e s ol v e
          c o m pl ai nt s pr o m ptl y a n d e q uit a bl y, a n d m u st c o m pl y wit h t h e F a mil y E d u c ati o n al Ri g ht s
          a n d Pri v a c y A ct (" F E R P A") a n d ot h er a p pli c a bl e pri v a c y l a w s.

          T h e D C L st at e s t h at i n o n e i n st a n c e a pr o s e c ut or' s offi c e i nf or m e d O C R t h at t h e p oli c e
          d e p art m e nt' s e vi d e n c e g at h eri n g st a g e t y pi c all y t a k e s t hr e e t o t e n c al e n d ar d a y s,
          alt h o u g h t h e d el a y i n t h e s c h o ol' s i n v e sti g ati o n m a y b e l o n g er i n c ert ai n i n st a n c e s. O C R
          u n d er st a n d s t h at t hi s e x a m pl e m a y n ot b e r e pr e s e nt ati v e a n d t h at t h e l a w e nf or c e m e nt
          a g e n c y' s pr o c e s s oft e n t a k e s m or e t h a n t e n d a y s. O C R r e c o g ni z e s t h at t h e l e n gt h of ti m e
          f or e vi d e n c e g at h eri n g b y cri mi n al i n v e sti g at or s will v ar y d e p e n di n g o n t h e s p e cifi c
          cir c u m st a n c e s of e a c h c a s e.




  P a g e 2 8 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 71 of 89
                                                                         P S A 0070
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


  Off- C a m p u s C o n d u ct

  F- 4.   I s a s c h o ol r e q uir e d t o pr o c e s s c o m pl ai nt s of all e g e d s e x u al vi ol e n c e t h at o c c urr e d off
          ca mpus?

          A n s w er: Y e s. U n d er Titl e I X, a s c h o ol m u st pr o c e s s all c o m pl ai nt s of s e x u al vi ol e n c e,
          r e g ar dl e s s of w h er e t h e c o n d u ct o c c urr e d, t o d et er mi n e w h et h er t h e c o n d u ct o c c urr e d i n
          t h e c o nt e xt of a n e d u c ati o n pr o gr a m or a cti vit y or h a d c o nti n ui n g eff e ct s o n c a m p u s or i n
          a n off- c a m p u s e d u c ati o n pr o gr a m or a cti vit y.

          A s c h o ol m u st d et er mi n e w h et h er t h e all e g e d off- c a m p u s s e x u al vi ol e n c e o c c urr e d i n t h e
          c o nt e xt of a n e d u c ati o n pr o gr a m or a cti vit y of t h e s c h o ol; if s o, t h e s c h o ol m u st tr e at t h e
          c o m pl ai nt i n t h e s a m e m a n n er t h at it tr e at s c o m pl ai nt s r e g ar di n g o n- c a m p u s c o n d u ct. I n
          ot h er w or d s , if a s c h o ol d et er mi n e s t h at t h e all e g e d mi s c o n d u ct t o o k pl a c e i n t h e c o nt e xt
          of a n e d u c ati o n pr o gr a m or a cti vit y of t h e s c h o ol, t h e f a ct t h at t h e all e g e d mi s c o n d u ct
          t o o k pl a c e off c a m p u s d o e s n ot r eli e v e t h e s c h o ol of it s o bli g ati o n t o i n v e sti g at e t h e
          c o m pl ai nt a s it w o ul d i n v e sti g at e a c o m pl ai nt of s e x u al vi ol e n c e t h at o c c urr e d o n c a m p u s.

          W h et h er t h e all e g e d mi s c o n d u ct o c c urr e d i n t hi s c o nt e xt m a y n ot al w a y s b e a p p ar e nt
          fr o m t h e c o m pl ai nt, s o a s c h o ol m a y n e e d t o g at h er a d diti o n al i nf or m ati o n i n or d er t o
          m a k e s u c h a d et er mi n ati o n. Off- c a m p u s e d u c ati o n pr o gr a m s a n d a cti viti e s ar e cl e arl y
          c o v er e d a n d i n cl u d e, b ut ar e n ot li mit e d t o: a cti viti e s t h at t a k e pl a c e at h o u s e s of
          fr at er niti e s or s or oriti e s r e c o g ni z e d b y t h e s c h o ol; s c h o ol- s p o n s or e d fi el d tri p s, i n cl u di n g
          at hl eti c t e a m tr a v el; a n d e v e nt s f or s c h o ol cl u b s t h at o c c ur off c a m p u s ( e .g., a d e b at e
          t e a m tri p t o a n ot h er s c h o ol or t o a w e e k e n d c o m p etiti o n).

          E v e n if t h e mi s c o n d u ct di d n ot o c c ur i n t h e c o nt e xt of a n e d u c ati o n pr o gr a m or a cti vit y, a
          s c h o ol m u st c o n si d er t h e eff e ct s of t h e off- c a m p u s mi s c o n d u ct w h e n e v al u ati n g w h et h er
          t h er e i s a h o stil e e n vir o n m e nt o n c a m p u s or i n a n off- c a m p u s e d u c ati o n pr o gr a m or
          a cti vit y b e c a u s e st u d e nt s oft e n e x p eri e n c e t h e c o nti n ui n g eff e ct s of off- c a m p u s s e x u al
          vi ol e n c e w hil e at s c h o ol or i n a n off- c a m p u s e d u c ati o n pr o gr a m or a cti vit y . T h e s c h o ol
          c a n n ot a d dr e s s t h e c o nti n ui n g eff e ct s of t h e off- c a m p u s s e x u al vi ol e n c e at s c h o ol or i n a n
          off- c a m p u s e d u c ati o n pr o gr a m or a cti vit y u nl e s s it pr o c e s s e s t h e c o m pl ai nt a n d g at h er s
          a p pr o pri at e a d diti o n al i nf or m ati o n i n a c c or d a n c e wit h it s e st a bli s h e d pr o c e d ur e s.

          O n c e a s c h o ol i s o n n oti c e of off- c a m p u s s e x u al vi ol e n c e a g ai n st a st u d e nt, it m u st a s s e s s
          w h et h er t h er e ar e a n y c o nti n ui n g eff e ct s o n c a m p u s or i n a n off- c a m p u s e d u c ati o n
          pr o gr a m or a cti vit y t h at ar e cr e ati n g or c o ntri b uti n g t o a h o stil e e n vir o n m e nt a n d, if s o,
          a d dr e s s t h at h o stil e e n vir o n m e nt i n t h e s a m e m a n n er i n w hi c h it w o ul d a d dr e s s a h o stil e
          e n vir o n m e nt cr e at e d b y o n- c a m p u s mi s c o n d u ct. T h e m er e pr e s e n c e o n c a m p u s or i n a n

  P a g e 2 9 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 72 of 89
                                                                         P S A 0071
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


            off- c a m p u s e d u c ati o n pr o gr a m or a cti vit y of t h e all e g e d p er p etr at or of off- c a m p u s s e x u al
            vi ol e n c e c a n h a v e c o nti n ui n g eff e ct s t h at cr e at e a h o stil e e n vir o n m e nt. A s c h o ol s h o ul d
            al s o t a k e st e p s t o pr ot e ct a st u d e nt w h o all e g e s off- c a m p u s s e x u al vi ol e n c e fr o m f urt h er
            h ar a s s m e nt b y t h e all e g e d p er p etr at or or hi s or h er fri e n d s, a n d a s c h o ol m a y h a v e t o t a k e
            st e p s t o pr ot e ct ot h er st u d e nt s fr o m p o s si bl e a s s a ult b y t h e all e g e d p er p etr at or. I n ot h er
            w or d s, t h e s c h o ol s h o ul d pr ot e ct t h e s c h o ol c o m m u nit y i n t h e s a m e w a y it w o ul d h a d t h e
            s e x u al vi ol e n c e o c c urr e d o n c a m p u s. E v e n if t h er e ar e n o c o nti n ui n g eff e ct s of t h e off-
            c a m p u s s e x u al vi ol e n c e e x p eri e n c e d b y t h e st u d e nt o n c a m p u s or i n a n off- c a m p u s
            e d u c ati o n pr o gr a m or a cti vit y, t h e s c h o ol still s h o ul d h a n dl e t h e s e i n ci d e nt s a s it w o ul d
            h a n dl e ot h er off- c a m p u s i n ci d e nt s of mi s c o n d u ct or vi ol e n c e a n d c o n si st e nt wit h a n y
            ot h er a p pli c a bl e l a w s. F or e x a m pl e, if a s c h o ol, u n d er it s c o d e of c o n d u ct, e x er ci s e s
           j uri s di cti o n o v er p h y si c al alt er c ati o n s b et w e e n st u d e nt s t h at o c c ur off c a m p u s o ut si d e of
            a n e d u c ati o n pr o gr a m or a cti vit y, it s h o ul d al s o e x er ci s e j uri s di cti o n o v er i n ci d e nt s of
            st u d e nt- o n- st u d e nt s e x u al vi ol e n c e t h at o c c ur off c a m p u s o ut si d e of a n e d u c ati o n
            pr o gr a m or a cti vit y.

  H e ari n q s   30



  F- 5.     M u st a s c h o ol all o w o r r e q ui r e t h e p arti e s t o b e p r e s e nt d uri n g a n e nti r e h e ari n g ?

            A n s w er:      If a s c h o ol u s e s a h e ari n g pr o c e s s t o d et er mi n e r e s p o n si bilit y f or a ct s of s e x u al
            vi ol e n c e, O C R d o e s n ot r e q uir e t h at t h e s c h o ol all o w a c o m pl ai n a nt t o b e pr e s e nt f or t h e
            e ntir e h e ari n g; it i s u p t o e a c h s c h o ol t o m a k e t hi s d et er mi n ati o n. B ut if t h e s c h o ol all o w s
            o n e p art y t o b e pr e s e nt f or t h e e ntir et y of a h e ari n g, it m u st d o s o e q u all y f or b ot h
            p arti e s. At t h e s a m e ti m e, w h e n r e q u e st e d, a s c h o ol s h o ul d m a k e arr a n g e m e nt s s o t h at
            t h e c o m pl ai n a nt a n d t h e all e g e d p er p etr at or d o n ot h a v e t o b e pr e s e nt i n t h e s a m e r o o m
            at t h e s a m e ti m e. T h e s e t w o o bj e cti v e s m a y b e a c hi e v e d b y u si n g cl o s e d cir c uit t el e vi si o n
            or ot h er m e a n s. B e c a u s e a s c h o ol h a s a Titl e I X o bli g ati o n t o i n v e sti g at e p o s si bl e s e x u al
            vi ol e n c e, if a h e ari n g i s p art of t h e s c h o ol' s Titl e I X i n v e sti g ati o n pr o c e s s, t h e s c h o ol m u st
            n ot r e q uir e a c o m pl ai n a nt t o b e pr e s e nt at t h e h e ari n g a s a pr er e q ui sit e t o pr o c e e d wit h
            t h e h e ari n g.




  30  A s n ot e d i n q u e sti o n F- 1, t h e i n v e sti g ati o n m a y i n cl u d e a h e ari n g t o d et er mi n e w h et h er t h e c o n d u ct o c c urr e d,
  b ut Titl e I X d o e s n ot n e c e s s aril y r e q uir e a h e ari n g . Alt h o u g h Titl e I X d o e s n ot di ct at e t h e m e m b er s hi p of a h e ari n g
  b o ar d, O C R di s c o ur a g e s s c h o ol s fr o m all o wi n g st u d e nt s t o s er v e o n h e ari n g b o ar d s i n c a s e s i n v ol vi n g all e g ati o n s of
  s e x u al vi ol e n c e.

  P a g e 3 0 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 73 of 89
                                                                                  P S A 0072
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


  F- 6.   M a y e v e r y wit n e s s at t h e h e ari n g, i n cl u di n g t h e p arti e s, b e cr o s s- e x a mi n e d ?

          A n s w er:     O C R d o e s n ot r e q uir e t h at a s c h o ol all o w cr o s s- e x a mi n ati o n of wit n e s s e s,
          i n cl u di n g t h e p arti e s, if t h e y t e stif y at t h e h e ari n g. B ut if t h e s c h o ol all o w s o n e p art y t o
          cr o s s- e x a mi n e wit n e s s e s, it m u st d o s o e q u all y f or b ot h p arti e s.

          O C R str o n gl y di s c o ur a g e s a s c h o ol fr o m all o wi n g t h e p arti e s t o p er s o n all y q u e sti o n or
          cr o s s- e x a mi n e e a c h ot h er d uri n g a h e ari n g o n all e g e d s e x u al vi ol e n c e. All o wi n g a n all e g e d
          p er p etr at or t o q u e sti o n a c o m pl ai n a nt dir e ctl y m a y b e tr a u m ati c or i nti mi d ati n g, a n d m a y
          p er p et u at e a h o stil e e n vir o n m e nt. A s c h o ol m a y c h o o s e, i n st e a d, t o all o w t h e p arti e s t o
          s u b mit q u e sti o n s t o a tr ai n e d t hir d p art y ( e. g., t h e h e ari n g p a n el) t o a s k t h e q u e sti o n s o n
          t h eir b e h alf . O C R r e c o m m e n d s t h at t h e t hir d p art y s cr e e n t h e q u e sti o n s s u b mitt e d b y t h e
          p arti e s a n d o nl y a s k t h o s e it d e e m s a p pr o pri at e a n d r el e v a nt t o t h e c a s e.

  F- 7.   M a y t h e c o m pl ai n a nt' s s e x u al hi st or y b e i nt r o d u c e d at h e ari n g s ?

          A n s w er:     Q u e sti o ni n g a b o ut t h e c o m pl ai n a nt' s s e x u al hi st or y wit h a n y o n e ot h er t h a n t h e
          all e g e d p er p etr at or s h o ul d n ot b e p er mitt e d. F urt h er, a s c h o ol s h o ul d r e c o g ni z e t h at t h e
          m er e f a ct of a c urr e nt or pr e vi o u s c o n s e n s u al d ati n g or s e x u al r el ati o n s hi p b et w e e n t h e
          t w o p arti e s d o e s n ot it s elf i m pl y c o n s e nt or pr e cl u d e a fi n di n g of s e x u al vi ol e n c e. T h e
          s c h o ol s h o ul d al s o e n s ur e t h at h e ari n g s ar e c o n d u ct e d i n a m a n n er t h at d o e s n ot i nfli ct
          a d diti o n al tr a u m a o n t h e c o m pl ai n a nt.

  Ti m efr a m e s

  F- 8.   W h at     st a g e s of t h e i n v e sti g ati o n a r e i n cl u d e d i n t h e 6 0- d a y ti m ef r a m e r ef er e n c e d i n t h e
          D C L a s t h e l e n gt h f o r a t y pi c al i n v e sti g ati o n ?

          A n s w er:     A s n ot e d i n t h e D C L, t h e G O- c al e n d ar d a y ti m efr a m e f or i n v e sti g ati o n s i s b a s e d
          o n O C R' s e x p eri e n c e i n t y pi c al c a s e s. T h e G O- c al e n d ar d a y ti m efr a m e r ef er s t o t h e e ntir e
          i n v e sti g ati o n pr o c e s s, w hi c h i n cl u d e s c o n d u cti n g t h e f a ct-fi n di n g i n v e sti g ati o n, h ol di n g a
          h e ari n g or e n g a gi n g i n a n ot h er d e ci si o n- m a ki n g pr o c e s s t o d et er mi n e w h et h er t h e all e g e d
          s e x u al vi ol e n c e o c c urr e d a n d cr e at e d a h o stil e e n vir o n m e nt, a n d d et er mi ni n g w h at
          a cti o n s t h e s c h o ol will t a k e t o eli mi n at e t h e h o stil e e n vir o n m e nt a n d pr e v e nt it s
          r e c urr e n c e, i n cl u di n g i m p o si n g s a n cti o n s a g ai n st t h e p er p etr at or a n d pr o vi di n g r e m e di e s
          f or t h e c o m pl ai n a nt a n d s c h o ol c o m m u nit y, a s a p pr o pri at e. Alt h o u g h t hi s ti m efr a m e d o e s
          n ot i n cl u d e a p p e al s, a s c h o ol s h o ul d b e a w ar e t h at a n u n d ul y l o n g a p p e al s pr o c e s s m a y
          i m p a ct w h et h er t h e s c h o ol' s r e s p o n s e w a s pr o m pt a n d e q uit a bl e a s r e q uir e d b y Titl e I X.




  P a g e 3 1 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 74 of 89
                                                                         P S A 0073
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


            O C R d o e s n ot r e q uir e a s c h o ol t o c o m pl et e i n v e sti g ati o n s wit hi n 6 0 d a y s; r at h er O C R
            e v al u at e s o n a c a s e- b y- c a s e b a si s w h et h er t h e r e s ol uti o n of s e x u al vi ol e n c e c o m pl ai nt s i s
            pr o m pt a n d e q uit a bl e. W h et h er O C R c o n si d er s a n i n v e sti g ati o n t o b e pr o m pt a s r e q uir e d
            b y Titl e I X will v ar y d e p e n di n g o n t h e c o m pl e xit y of t h e i n v e sti g ati o n a n d t h e s e v erit y a n d
            e xt e nt of t h e all e g e d c o n d u ct. O C R r e c o g ni z e s t h at t h e i n v e sti g ati o n pr o c e s s m a y t a k e
            l o n g er if t h er e i s a p ar all el cri mi n al i n v e sti g ati o n or if it o c c ur s p arti all y d uri n g s c h o ol
            br e a k s. A s c h o ol m a y n e e d t o st o p a n i n v e sti g ati o n d uri n g s c h o ol br e a k s or b et w e e n
            s c h o ol y e ar s, alt h o u g h a s c h o ol s h o ul d m a k e e v er y eff ort t o tr y t o c o n d u ct a n
            i n v e sti g ati o n d uri n g t h e s e br e a k s u nl e s s s o d oi n g w o ul d s a crifi c e wit n e s s a v ail a bilit y or
            ot h er wi s e c o m pr o mi s e t h e pr o c e s s.

            B e c a u s e ti m efr a m e s f or i n v e sti g ati o n s v ar y a n d a s c h o ol m a y n e e d t o d e p art fr o m t h e
            ti m efr a m e s d e si g n at e d i n it s gri e v a n c e pr o c e d ur e s, b ot h p arti e s s h o ul d b e gi v e n p eri o di c
            st at u s u p d at e s t hr o u g h o ut t h e pr o c e s s.

  G.      I nt e ri m M e a s ur e s

  G- 1.     I s a s c h o ol r e q uir e d t o t a k e a n y i nt e ri m m e a s ur e s b ef o r e t h e c o m pl eti o n of it s
            i n v e sti g ati o n ?

            A n s w er:      Titl e I X r e q uir e s a s c h o ol t o t a k e st e p s t o e n s ur e e q u al a c c e s s t o it s e d u c ati o n
            pr o gr a m s a n d a cti viti e s a n d pr ot e ct t h e c o m pl ai n a nt a s n e c e s s ar y, i n cl u di n g t a ki n g i nt eri m
            m e a s ur e s b ef or e t h e fi n al o ut c o m e of a n i n v e sti g ati o n. T h e s c h o ol s h o ul d t a k e t h e s e st e p s
            pr o m ptl y o n c e it h a s n oti c e of a s e x u al vi ol e n c e all e g ati o n a n d s h o ul d pr o vi d e t h e
            c o m pl ai n a nt wit h p eri o di c u p d at e s o n t h e st at u s of t h e i n v e sti g ati o n. T h e s c h o ol s h o ul d
            n otif y t h e c o m pl ai n a nt of hi s or h er o pti o n s t o a v oi d c o nt a ct wit h t h e all e g e d p er p etr at or
            a n d all o w t h e c o m pl ai n a nt t o c h a n g e a c a d e mi c a n d e xtr a c urri c ul ar a cti viti e s or hi s or h er
            li vi n g, tr a n s p ort ati o n, di ni n g, a n d w or ki n g sit u ati o n a s a p pr o pri at e. T h e s c h o ol s h o ul d al s o
            e n s ur e t h at t h e c o m pl ai n a nt i s a w ar e of hi s or h er Titl e I X ri g ht s a n d a n y a v ail a bl e
            r e s o ur c e s, s u c h a s vi cti m a d v o c a c y, h o u si n g a s si st a n c e, a c a d e mi c s u p p ort, c o u n s eli n g,
            di s a bilit y s er vi c e s, h e alt h a n d m e nt al h e alt h s er vi c e s, a n d l e g al a s si st a n c e, a n d t h e ri g ht t o
            r e p ort a cri m e t o c a m p u s or l o c al l a w e nf or c e m e nt. If a s c h o ol d o e s n ot off er t h e s e
            s er vi c e s o n c a m p u s, it s h o ul d e nt er i nt o a n M O U wit h a l o c al vi cti m s er vi c e s pr o vi d er if
            p o s si bl e.

            E v e n w h e n a s c h o ol h a s d et er mi n e d t h at it c a n r e s p e ct a c o m pl ai n a nt' s r e q u e st f or
            c o nfi d e nti alit y a n d t h er ef or e m a y n ot b e a bl e t o r e s p o n d f ull y t o a n all e g ati o n of s e x u al
            vi ol e n c e a n d i niti at e f or m al a cti o n a g ai n st a n all e g e d p er p etr at or, t h e s c h o ol m u st t a k e
            i m m e di at e a cti o n t o pr ot e ct t h e c o m pl ai n a nt w hil e k e e pi n g t h e i d e ntit y of t h e
            c o m pl ai n a nt c o nfi d e nti al. T h e s e a cti o n s m a y i n cl u d e: pr o vi di n g s u p p ort s er vi c e s t o t h e
  P a g e 3 2 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

           Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 75 of 89
                                                                           P S A 0074
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


          c o m pl ai n a nt; c h a n gi n g li vi n g arr a n g e m e nt s or c o ur s e s c h e d ul e s, a s si g n m e nt s, or t e st s;
          a n d pr o vi di n g i n cr e a s e d m o nit ori n g, s u p er vi si o n, or s e c urit y at l o c ati o n s or a cti viti e s
          w h er e t h e mi s c o n d u ct o c c urr e d.

  G- 2.   H o w s h o ul d a s c h o ol d et e r mi n e w h at i nt e ri m m e a s ur e s t o t a k e ?

          A n s w er:     T h e s p e cifi c i nt eri m m e a s ur e s i m pl e m e nt e d a n d t h e pr o c e s s f or i m pl e m e nti n g
          t h o s e m e a s ur e s will v ar y d e p e n di n g o n t h e f a ct s of e a c h c a s e. A s c h o ol s h o ul d c o n si d er a
          n u m b er of f a ct or s i n d et er mi ni n g w h at i nt eri m m e a s ur e s t o t a k e, i n cl u di n g, f or e x a m pl e,
          t h e s p e cifi c n e e d e x pr e s s e d b y t h e c o m pl ai n a nt; t h e a g e of t h e st u d e nt s i n v ol v e d; t h e
          s e v erit y or p er v a si v e n e s s of t h e all e g ati o n s; a n y c o nti n ui n g eff e ct s o n t h e c o m pl ai n a nt;
          w h et h er t h e c o m pl ai n a nt a n d all e g e d p er p etr at or s h ar e t h e s a m e r e si d e n c e h all, di ni n g
          h all, cl a s s, tr a n s p ort ati o n, or j o b l o c ati o n; a n d w h et h er ot h er j u di ci al m e a s ur e s h a v e b e e n
          t a k e n t o pr ot e ct t h e c o m pl ai n a nt ( e. g., ci vil pr ot e cti o n or d er s).

          I n g e n er al, w h e n t a ki n g i nt eri m m e a s ur e s, s c h o ol s s h o ul d mi ni mi z e t h e b ur d e n o n t h e
          c o m pl ai n a nt . F or e x a m pl e, if t h e c o m pl ai n a nt a n d all e g e d p er p etr at or s h ar e t h e s a m e
          cl a s s or r e si d e n c e h all, t h e s c h o ol s h o ul d n ot, a s a m att er of c o ur s e, r e m o v e t h e
          c o m pl ai n a nt fr o m t h e cl a s s or h o u si n g w hil e all o wi n g t h e all e g e d p er p etr at or t o r e m ai n
          wit h o ut c ar ef ull y c o n si d eri n g t h e f a ct s of t h e c a s e.

  G- 3.   If a s c h o ol pr o vi d e s all st u d e nt s wit h a c c e s s t o c o u n s eli n g o n a f e e b a si s, d o e s t h at
          s uffi c e f o r pr o vi di n g c o u n s eli n g a s a n i nt e ri m m e a s ur e ?

          A n s w er:     N o. I nt eri m m e a s ur e s ar e d et er mi n e d b y a s c h o ol o n a c a s e- b y- c a s e b a si s. If a
          s c h o ol d et er mi n e s t h at it n e e d s t o off er c o u n s eli n g t o t h e c o m pl ai n a nt a s p art of it s Titl e
          I X o bli g ati o n t o t a k e st e p s t o pr ot e ct t h e c o m pl ai n a nt w hil e t h e i n v e sti g ati o n i s o n g oi n g, it
          m u st n ot r e q uir e t h e c o m pl ai n a nt t o p a y f or t hi s s er vi c e.




  P a g e 3 3 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 76 of 89
                                                                         P S A 0075
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.



  H.      R e m e di e s a n d N oti c e of O ut c o m e               31



  H- 1.     W h at     r e m e di e s s h o ul d a s c h o ol c o n si d er i n a c a s e of st u d e nt- o n- st u d e nt s e x u al
            vi ol e n c e ?

            A n s w er:       Eff e cti v e r e m e di al a cti o n m a y i n cl u d e di s ci pli n ar y a cti o n a g ai n st t h e p er p etr at or,
            pr o vi di n g c o u n s eli n g f or t h e p er p etr at or, r e m e di e s f or t h e c o m pl ai n a nt a n d ot h er s, a s
            w ell a s c h a n g e s t o t h e s c h o ol' s o v er all s er vi c e s or p oli ci e s. All s er vi c e s n e e d e d t o r e m e d y
            t h e h o stil e e n vir o n m e nt s h o ul d b e off er e d t o t h e c o m pl ai n a nt. T h e s e r e m e di e s ar e
            s e p ar at e fr o m, a n d i n a d diti o n t o, a n y i nt eri m m e a s ur e t h at m a y h a v e b e e n pr o vi d e d pri or
            t o t h e c o n cl u si o n oft h e s c h o ol' s i n v e sti g ati o n. I n a n y i n st a n c e i n w hi c h t h e c o m pl ai n a nt
            di d n ot t a k e a d v a nt a g e of a s p e cifi c s er vi c e ( e .g., c o u n s eli n g) w h e n off er e d a s a n i nt eri m
            m e a s ur e, t h e c o m pl ai n a nt s h o ul d still b e off er e d, a n d i s still e ntitl e d t o, a p pr o pri at e fi n al
            r e m e di e s t h at m a y i n cl u d e s er vi c e s t h e c o m pl ai n a nt d e cli n e d a s a n i nt eri m m e a s ur e. A
            r ef u s al at t h e i nt eri m st a g e d o e s n ot m e a n t h e r ef u s e d s er vi c e or s et of s er vi c e s s h o ul d
            n ot b e off er e d a s a r e m e d y.

            If a s c h o ol u s e s it s st u d e nt di s ci pli n ar y pr o c e d ur e s t o m e et it s Titl e I X o bli g ati o n t o r e s ol v e
            c o m pl ai nt s of s e x u al vi ol e n c e pr o m ptl y a n d e q uit a bl y, it s h o ul d r e c o g ni z e t h at i m p o si n g
            s a n cti o n s a g ai n st t h e p er p etr at or, wit h o ut m or e, li k el y will n ot b e s uffi ci e nt t o s ati sf y it s
            Titl e I X o bli g ati o n t o eli mi n at e t h e h o stil e e n vir o n m e nt, pr e v e nt it s r e c urr e n c e, a n d, a s
            a p pr o pri at e, r e m e d y it s eff e ct s. A d diti o n al r e m e di e s f or t h e c o m pl ai n a nt a n d t h e s c h o ol
            c o m m u nit y m a y b e n e c e s s ar y. If t h e s c h o ol' s st u d e nt di s ci pli n ar y pr o c e d ur e d o e s n ot
            i n cl u d e a pr o c e s s f or d et er mi ni n g a n d i m pl e m e nti n g t h e s e r e m e di e s f or t h e c o m pl ai n a nt
            a n d s c h o ol c o m m u nit y, t h e s c h o ol will n e e d t o u s e a n ot h er pr o c e s s f or t hi s p ur p o s e.

            D e p e n di n g o n t h e s p e cifi c n at ur e of t h e pr o bl e m, r e m e di e s f or t h e c o m pl ai n a nt m a y
            i n cl u d e, b ut ar e n ot li mit e d t o:

               •      Pr o vi di n g a n eff e cti v e e s c ort t o e n s ur e t h at t h e c o m pl ai n a nt c a n m o v e s af el y
                      b et w e e n cl a s s e s a n d a cti viti e s;




  31  A s e x pl ai n e d i n q u e sti o n A- 5, if a s c h o ol d el a y s r e s p o n di n g t o all e g ati o n s of s e x u al vi ol e n c e or r e s p o n d s
  i n a p pr o pri at el y, t h e s c h o ol' s o w n i n a cti o n m a y s u bj e ct t h e st u d e nt t o b e s u bj e ct e d t o a h o stil e e n vir o n m e nt . I n
  t hi s c a s e, i n a d diti o n t o t h e r e m e di e s di s c u s s e d i n t hi s s e cti o n, t h e s c h o ol will al s o b e r e q uir e d t o r e m e d y t h e
  eff e ct s of t h e s e x u al vi ol e n c e t h at c o ul d r e a s o n a bl y h a v e b e e n pr e v e nt e d h a d t h e s c h o ol r e s p o n d e d pr o m ptl y a n d
  a p pr o pri at el y.

  P a g e 3 4 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

           Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 77 of 89
                                                                                  P S A 0076
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


               •     E n s uri n g t h e c o m pl ai n a nt a n d p er p etr at or d o n ot s h ar e cl a s s e s or e xtr a c urri c ul ar
                     a cti viti e s;

               •     M o vi n g t h e p er p etr at or or c o m pl ai n a nt (if t h e c o m pl ai n a nt r e q u e st s t o b e m o v e d) t o
                     a diff er e nt r e si d e n c e h all or, i n t h e c a s e of a n el e m e nt ar y or s e c o n d ar y s c h o ol
                     st u d e nt, t o a n ot h er s c h o ol wit hi n t h e di stri ct;

               •     Pr o vi di n g c o m pr e h e n si v e, h oli sti c vi cti m s er vi c e s i n cl u di n g m e di c al, c o u n s eli n g a n d
                     a c a d e mi c s u p p ort s er vi c e s, s u c h a s t ut ori n g;

               •     Arr a n gi n g f or t h e c o m pl ai n a nt t o h a v e e xtr a ti m e t o c o m pl et e or r e-t a k e a cl a s s or
                     wit h dr a w fr o m a cl a s s wit h o ut a n a c a d e mi c or fi n a n ci al p e n alt y; a n d

               •     R e vi e wi n g a n y di s ci pli n ar y a cti o n s t a k e n a g ai n st t h e c o m pl ai n a nt t o s e e ift h er e i s a
                     c a u s al c o n n e cti o n b et w e e n t h e s e x u al vi ol e n c e a n d t h e mi s c o n d u ct t h at m a y h a v e
                     r e s ult e d i n t h e c o m pl ai n a nt b ei n g di s ci pli n e d.           32



            R e m e di e s f or t h e br o a d er st u d e nt p o p ul ati o n m a y i n cl u d e, b ut ar e n ot li mit e d t o:

               •     D e si g n ati n g a n i n di vi d u al fr o m t h e s c h o ol' s c o u n s eli n g c e nt er w h o i s s p e cifi c all y
                     tr ai n e d i n pr o vi di n g tr a u m a-i nf or m e d c o m pr e h e n si v e s er vi c e s t o vi cti m s of s e x u al
                     vi ol e n c e t o b e o n c all t o a s si st st u d e nt s w h e n e v er n e e d e d;

               •     Tr ai ni n g or r etr ai ni n g s c h o ol e m pl o y e e s o n t h e s c h o ol' s r e s p o n si biliti e s t o a d dr e s s
                     all e g ati o n s of s e x u al vi ol e n c e a n d h o w t o c o n d u ct Titl e I X i n v e sti g ati o n s;

               •     D e v el o pi n g m at eri al s o n s e x u al vi ol e n c e, w hi c h s h o ul d b e di stri b ut e d t o all st u d e nt s;

               •     C o n d u cti n g b y st a n d er i nt er v e nti o n a n d s e x u al vi ol e n c e pr e v e nti o n pr o gr a m s wit h
                     st u d e nt s;

               •     I s s ui n g p oli c y st at e m e nt s or t a ki n g ot h er st e p s t h at cl e arl y c o m m u ni c at e t h at t h e
                     s c h o ol d o e s n ot t ol er at e s e x u al vi ol e n c e a n d will r e s p o n d t o a n y i n ci d e nt s a n d t o a n y
                     st u d e nt w h o r e p ort s s u c h i n ci d e nt s;




  32  F or e x a m pl e, if t h e c o m pl ai n a nt w a s di s ci pli n e d f or s ki p pi n g a cl a s s i n w hi c h t h e p er p etr at or w a s e nr oll e d, t h e
  s c h o ol s h o ul d r e vi e w t h e i n ci d e nt t o d et er mi n e if t h e c o m pl ai n a nt s ki p p e d cl a s s t o a v oi d c o nt a ct wit h t h e
  p er p etr at or.

  P a g e 3 5 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 78 of 89
                                                                                P S A 0077
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


             •     C o n d u cti n g, i n c o nj u n cti o n wit h st u d e nt l e a d er s, a c a m p u s cli m at e c h e c k t o a s s e s s
                   t h e eff e cti v e n e s s of eff ort s t o e n s ur e t h at t h e s c h o ol i s fr e e fr o m s e x u al vi ol e n c e,
                   a n d u si n g t h at i nf or m ati o n t o i nf or m f ut ur e pr o a cti v e st e p s t h at t h e s c h o ol will t a k e;

             •     T ar g et e d tr ai ni n g f or a gr o u p of st u d e nt s if, f or e x a m pl e, t h e s e x u al vi ol e n c e cr e at e d
                   a h o stil e e n vir o n m e nt i n a r e si d e n c e h all, fr at er nit y or s or orit y, or o n a n at hl eti c
                   t e a m; a n d

             •     D e v el o pi n g a pr ot o c ol f or w or ki n g wit h l o c al l a w e nf or c e m e nt a s di s c u s s e d i n
                   q u e sti o n F- 3.

          When       a s c h o ol i s u n a bl e t o c o n d u ct a f ull i n v e sti g ati o n i nt o a p arti c ul ar i n ci d e nt (i. e.,
          w h e n it r e c ei v e d a g e n er al r e p ort of s e x u al vi ol e n c e wit h o ut a n y p er s o n all y i d e ntif yi n g
          i nf or m ati o n), it s h o ul d c o n si d er r e m e di e s f or t h e br o a d er st u d e nt p o p ul ati o n i n r e s p o n s e .

  H- 2.   If, aft e r a n i n v e sti g ati o n, a s c h o ol fi n d s t h e all e g e d p e r p et r at o r r e s p o n si bl e a n d
          d et e r mi n e s t h at, a s p a rt of t h e r e m e di e s f o r t h e c o m pl ai n a nt, it m u st s e p a r at e t h e
          c o m pl ai n a nt a n d p e r p et r at o r, h o w s h o ul d t h e s c h o ol a c c o m pli s h t hi s if b ot h st u d e nt s
          s h ar e t h e s a m e m aj o r a n d t h e r e a r e li mit e d c o ur s e o pti o n s ?

          A n s w er:     If t h er e ar e li mit e d s e cti o n s of r e q uir e d c o ur s e s off er e d at a s c h o ol a n d b ot h t h e
          c o m pl ai n a nt a n d p er p etr at or ar e r e q uir e d t o t a k e t h o s e cl a s s e s, t h e s c h o ol m a y n e e d t o
          m a k e alt er n at e arr a n g e m e nt s i n a m a n n er t h at mi ni mi z e s t h e b ur d e n o n t h e c o m pl ai n a nt.
          F or e x a m pl e, t h e s c h o ol m a y all o w t h e c o m pl ai n a nt t o t a k e t h e r e g ul ar s e cti o n s of t h e
          c o ur s e s w hil e arr a n gi n g f or t h e p er p etr at or t o t a k e t h e s a m e c o ur s e s o n li n e or t hr o u g h
          i n d e p e n d e nt st u d y.

  H- 3.   W h at    i nf o r m ati o n m u st b e p r o vi d e d t o t h e c o m pl ai n a nt i n t h e n oti c e of t h e o ut c o m e ?

          A n s w er:     Titl e I X r e q uir e s b ot h p arti e s t o b e n otifi e d, i n writi n g, a b o ut t h e o ut c o m e of
          b ot h t h e c o m pl ai nt a n d a n y a p p e al. O C R r e c o m m e n d s t h at a s c h o ol pr o vi d e writt e n n oti c e
          of t h e o ut c o m e t o t h e c o m pl ai n a nt a n d t h e all e g e d p er p etr at or c o n c urr e ntl y .

          F or Titl e I X p ur p o s e s, a s c h o ol m u st i nf or m t h e c o m pl ai n a nt a s t o w h et h er or n ot it f o u n d
          t h at t h e all e g e d c o n d u ct o c c urr e d, a n y i n di vi d u al r e m e di e s off er e d or pr o vi d e d t o t h e
          c o m pl ai n a nt or a n y s a n cti o n s i m p o s e d o n t h e p er p etr at or t h at dir e ctl y r el at e t o t h e
          c o m pl ai n a nt, a n d ot h er st e p s t h e s c h o ol h a s t a k e n t o eli mi n at e t h e h o stil e e n vir o n m e nt, if
          t h e s c h o ol fi n d s o n e t o e xi st, a n d pr e v e nt r e c urr e n c e. T h e p er p etr at or s h o ul d n ot b e
          n otifi e d of t h e i n di vi d u al r e m e di e s off er e d or pr o vi d e d t o t h e c o m pl ai n a nt.



  P a g e 3 6 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 79 of 89
                                                                         P S A 0078
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


             S a n cti o n s t h at dir e ctl y r el at e t o t h e c o m pl ai n a nt ( b ut t h at m a y al s o r el at e t o eli mi n ati n g
             t h e h o stil e e n vir o n m e nt a n d pr e v e nti n g r e c urr e n c e) i n cl u d e, b ut ar e n ot li mit e d t o,
             r e q uiri n g t h at t h e p er p etr at or st a y a w a y fr o m t h e c o m pl ai n a nt u ntil b ot h p arti e s
             gr a d u at e, pr o hi biti n g t h e p er p etr at or fr o m att e n di n g s c h o ol f or a p eri o d of ti m e, or
             tr a n sf erri n g t h e p er p etr at or t o a n ot h er r e si d e n c e h all, ot h er cl a s s e s, or a n ot h er s c h o ol.
             A d diti o n al st e p s t h e s c h o ol h a s t a k e n t o eli mi n at e t h e h o stil e e n vir o n m e nt m a y i n cl u d e
             c o u n s eli n g a n d a c a d e mi c s u p p ort s er vi c e s f or t h e c o m pl ai n a nt a n d ot h er aff e ct e d
             st u d e nt s. A d diti o n al st e p s t h e s c h o ol h a s t a k e n t o pr e v e nt r e c urr e n c e m a y i n cl u d e s e x u al
             vi ol e n c e tr ai ni n g f or f a c ult y a n d st aff, r e vi si o n s t o t h e s c h o ol' s p oli ci e s o n s e x u al vi ol e n c e,
             a n d c a m p u s cli m at e s ur v e y s. F urt h er di s c u s si o n of a p pr o pri at e r e m e di e s i s i n cl u d e d i n
             q u e sti o n H- 1.

             I n a d diti o n t o t h e Titl e I X r e q uir e m e nt s d e s cri b e d a b o v e, t h e Cl er y A ct r e q uir e s, a n d
             F E R P A p er mit s, p o st s e c o n d ar y i n stit uti o n s t o i nf or m t h e c o m pl ai n a nt of t h e i n stit uti o n' s
             fi n al d et er mi n ati o n a n d a n y di s ci pli n ar y s a n cti o n s i m p o s e d o n t h e p er p etr at or i n s e x u al
             vi ol e n c e c a s e s ( a s o p p o s e d t o all h ar a s s m e nt a n d mi s c o n d u ct c o v er e d b y Titl e I X) n ot j u st
             t h o s e s a n cti o n s t h at dir e ctl y r el at e t o t h e c o m pl ai n a nt.   33



  I.      A p p e al s

  1- 1.      W h at      a r e t h e r e q ui r e m e nt s f o r a n a p p e al s pr o c e s s ?

             A n s w er:      W hil e Titl e I X d o e s n ot r e q uir e t h at a s c h o ol pr o vi d e a n a p p e al s pr o c e s s, O C R
             d o e s r e c o m m e n d t h at t h e s c h o ol d o s o w h er e pr o c e d ur al err or or pr e vi o u sl y u n a v ail a bl e
             r el e v a nt e vi d e n c e c o ul d si g nifi c a ntl y i m p a ct t h e o ut c o m e of a c a s e or w h er e a s a n cti o n i s
             s u b st a nti all y di s pr o p orti o n at e t o t h e fi n di n g s. If a s c h o ol c h o o s e s t o pr o vi d e f or a n a p p e al
             of t h e fi n di n g s or r e m e d y or b ot h, it m u st d o s o e q u all y f or b ot h p arti e s. T h e s p e cifi c
             d e si g n of t h e a p p e al s pr o c e s s i s u p t o t h e s c h o ol, a s l o n g a s t h e e ntir e gri e v a n c e pr o c e s s,
             i n cl u di n g a n y a p p e al s, pr o vi d e s pr o m pt a n d e q uit a bl e r e s ol uti o n s of s e x u al vi ol e n c e
             c o m pl ai nt s, a n d t h e s c h o ol t a k e s st e p s t o pr ot e ct t h e c o m pl ai n a nt i n t h e e d u c ati o n al
             s etti n g d uri n g t h e pr o c e s s. A n y i n di vi d u al or b o d y h a n dli n g a p p e al s s h o ul d b e tr ai n e d i n
             t h e d y n a mi c s of a n d tr a u m a a s s o ci at e d wit h s e x u al vi ol e n c e.

             If a s c h o ol c h o o s e s t o off er a n a p p e al s pr o c e s s it h a s fl e xi bilit y t o d et er mi n e t h e t y p e of
             r e vi e w it will a p pl y t o a p p e al s, b ut t h e t y p e of r e vi e w t h e s c h o ol a p pli e s m u st b e t h e s a m e
             r e g ar dl e s s of w hi c h p art y fil e s t h e a p p e al.




  33   2 0 U. S. C. § 1 0 9 2(f) a n d 2 0 U .S .C. § 1 2 3 2 g( b){ 6){ A) .

  P a g e 3 7 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

            Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 80 of 89
                                                                                P S A 0079
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


  1- 2.     M u st a n a p p e al b e a v ail a bl e t o a c o m pl ai n a nt w h o r e c ei v e s a f a v or a bl e fi n di n g b ut d o e s
            n ot b eli e v e a s a n cti o n t h at dir e ctl y r el at e s t o hi m or h er w a s s uffi ci e nt ?

            A n s w er: T h e a p p e al s pr o c e s s m u st b e e q u al f or b ot h p arti e s . F or e x a m pl e, if a s c h o ol
            all o w s a p er p etr at or t o a p p e al a s u s p e n si o n o n t h e gr o u n d s t h at it i s t o o s e v er e , t h e
            s c h o ol m u st al s o all o w a c o m pl ai n a nt t o a p p e al a s u s p e n si o n o n t h e gr o u n d s t h at it w a s
            n ot s e v er e e n o u g h. S e e q u e sti o n H- 3 f or m or e i nf or m ati o n o n w h at m u st b e pr o vi d e d t o
            t h e c o m pl ai n a nt i n t h e n oti c e of t h e o ut c o m e.

  J.      Titl e I X Tr ai ni n g, E d u c ati o n a n d Pr e v e nti o n                34



  J- 1. W h at t y p e of tr ai ni n g o n Titl e I X a n d s e x u al vi ol e n c e s h o ul d a s c h o ol pr o vi d e t o it s
        e m pl o y e e s ?

            A n s w er: A s c h o ol n e e d s t o e n s ur e t h at r e s p o n si bl e e m pl o y e e s wit h t h e a ut h orit y t o
            a d dr e s s s e x u al vi ol e n c e k n o w h o w t o r e s p o n d a p pr o pri at el y t o r e p ort s of s e x u al vi ol e n c e,
            t h at ot h er r e s p o n si bl e e m pl o y e e s k n o w t h at t h e y ar e o bli g at e d t o r e p ort s e x u al vi ol e n c e
            t o a p pr o pri at e s c h o ol offi ci al s, a n d t h at all ot h er e m pl o y e e s u n d er st a n d h o w t o r e s p o n d
            t o r e p ort s of s e x u al vi ol e n c e. A s c h o ol s h o ul d e n s ur e t h at pr of e s si o n al c o u n s el or s,
            p a st or al c o u n s el or s , a n d n o n- pr of e s si o n al c o u n s el or s or a d v o c at e s al s o u n d er st a n d t h e
            e xt e nt t o w hi c h t h e y m a y k e e p a r e p ort c o nfi d e nti al. A s c h o ol s h o ul d pr o vi d e tr ai ni n g t o
            all e m pl o y e e s li k el y t o wit n e s s or r e c ei v e r e p ort s of s e x u al vi ol e n c e, i n cl u di n g t e a c h er s,
            pr of e s s or s , s c h o ol l a w e nf or c e m e nt u nit e m pl o y e e s, s c h o ol a d mi ni str at or s, s c h o ol
            c o u n s el or s , g e n er al c o u n s el s, at hl eti c c o a c h e s, h e alt h p er s o n n el, a n d r e si d e nt a d vi s or s.
            Tr ai ni n g f or e m pl o y e e s s h o ul d i n cl u d e pr a cti c al i nf or m ati o n a b o ut h o w t o pr e v e nt a n d
            i d e ntif y s e x u al vi ol e n c e, i n cl u di n g s a m e- s e x s e x u al vi ol e n c e; t h e b e h a vi or s t h at m a y l e a d
            t o a n d r e s ult i n s e x u al vi ol e n c e; t h e attit u d e s of b y st a n d er s t h at m a y all o w c o n d u ct t o
            c o nti n u e; t h e p ot e nti al f or r e vi cti mi z ati o n b y r e s p o n d er s a n d it s eff e ct o n st u d e nt s ;
            a p pr o pri at e m et h o d s f or r e s p o n di n g t o a st u d e nt w h o m a y h a v e e x p eri e n c e d s e x u al
            vi ol e n c e, i n cl u di n g t h e u s e of n o nj u d g m e nt al l a n g u a g e; t h e i m p a ct of tr a u m a o n vi cti m s;
            a n d, a s a p pli c a bl e, t h e p er s o n( s) t o w h o m s u c h mi s c o n d u ct m u st b e r e p ort e d. T h e tr ai ni n g
            s h o ul d al s o e x pl ai n r e s p o n si bl e e m pl o y e e s' r e p orti n g o bli g ati o n, i n cl u di n g w h at s h o ul d b e
            i n cl u d e d i n a r e p ort a n d a n y c o n s e q u e n c e s f or t h e f ail ur e t o r e p ort a n d t h e pr o c e d ur e f or
            r e s p o n di n g t o st u d e nt s' r e q u e st s f or c o nfi d e nti alit y, a s w ell a s pr o vi d e t h e c o nt a ct




  34  A s e x pl ai n e d e arli er , alt h o u g h t hi s d o c u m e nt f o c u s e s o n s e x u al vi ol e n c e , t h e l e g al pri n ci pl e s a p pl y t o ot h er f or m s
  of s e x u al h ar a s s m e nt . S c h o ol s s h o ul d e n s ur e t h at a n y tr ai ni n g t h e y pr o vi d e o n Titl e I X a n d s e x u al vi ol e n c e al s o
  c o v er s ot h er f or m s of s e x u al h ar a s s m e nt . P o st s e c o n d ar y i n stit uti o n s s h o ul d al s o b e a w ar e of tr ai ni n g r e q uir e m e nt s
  i m p o s e d u n d er t h e Cl er y A ct .

  P a g e 3 8 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e


           Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 81 of 89
                                                                                    P S A 0080
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


          i nf or m ati o n f or t h e s c h o ol' s Titl e I X c o or di n at or. A s c h o ol al s o s h o ul d tr ai n r e s p o n si bl e
          e m pl o y e e s t o i nf or m st u d e nt s of: t h e r e p orti n g o bli g ati o n s of r e s p o n si bl e e m pl o y e e s;
          st u d e nt s' o pti o n t o r e q u e st c o nfi d e nti alit y a n d a v ail a bl e c o nfi d e nti al a d v o c a c y ,
          c o u n s eli n g, or ot h er s u p p ort s er vi c e s; a n d t h eir ri g ht t o fil e a Titl e I X c o m pl ai nt wit h t h e
          s c h o ol a n d t o r e p ort a cri m e t o c a m p u s or l o c al l a w e nf or c e m e nt. F or a d diti o n al
          i nf or m ati o n o n t h e r e p orti n g o bli g ati o n s of r e s p o n si bl e e m pl o y e e s a n d ot h er s s e e
          q u e sti o n s D- 1 t o D- 5.

          T h er e i s n o mi ni m u m n u m b er of h o ur s r e q uir e d f or Titl e I X a n d s e x u al vi ol e n c e tr ai ni n g at
          e v er y s c h o ol, b ut t hi s tr ai ni n g s h o ul d b e pr o vi d e d o n a r e g ul ar b a si s. E a c h s c h o ol s h o ul d
          d et er mi n e b a s e d o n it s p arti c ul ar cir c u m st a n c e s h o w s u c h tr ai ni n g s h o ul d b e c o n d u ct e d,
          w h o h a s t h e r el e v a nt e x p erti s e r e q uir e d t o c o n d u ct t h e tr ai ni n g, a n d w h o s h o ul d r e c ei v e
          t h e tr ai ni n g t o e n s ur e t h at t h e tr ai ni n g a d e q u at el y pr e p ar e s e m pl o y e e s, p arti c ul arl y
          r e s p o n si bl e e m pl o y e e s, t o f ulfill t h eir d uti e s u n d er Titl e I X. A s c h o ol s h o ul d al s o h a v e
          m et h o d s f or v erif yi n g t h at t h e tr ai ni n g w a s eff e cti v e.

  J- 2.   H o w s h o ul d a s c h o ol tr ai n r e s p o n si bl e e m pl o y e e s t o r e p ort i n ci d e nt s of p o s si bl e s e x u al
          h ar a s s m e nt or s e x u al vi ol e n c e ?

          A n s w er: Titl e I X r e q uir e s a s c h o ol t o t a k e pr o m pt a n d eff e cti v e st e p s r e a s o n a bl y
          c al c ul at e d t o e n d s e x u al h ar a s s m e nt a n d s e x u al vi ol e n c e t h at cr e at e s a h o stil e
          e n vir o n m e nt (i.e., c o n d u ct t h at i s s uffi ci e ntl y s eri o u s a s t o li mit or d e n y a st u d e nt' s a bilit y
          t o p arti ci p at e i n or b e n efit fr o m t h e s c h o ol' s e d u c ati o n al pr o gr a m a n d a cti vit y). B ut a
          s c h o ol s h o ul d n ot w ait t o t a k e st e p s t o pr ot e ct it s st u d e nt s u ntil st u d e nt s h a v e alr e a d y
          b e e n d e pri v e d of e d u c ati o n al o p p ort u niti e s.


          O C R t h er ef or e r e c o m m e n d s t h at a s c h o ol tr ai n r e s p o n si bl e e m pl o y e e s t o r e p ort t o t h e
          Titl e I X c o or di n at or or ot h er a p pr o pri at e s c h o ol offi ci al a n y i n ci d e nt s of s e x u al h ar a s s m e nt
          or s e x u al vi ol e n c e t h at m a y vi ol at e t h e s c h o ol' s c o d e of c o n d u ct or m a y cr e at e or
          c o ntri b ut e t o t h e cr e ati o n of a h o stil e e n vir o n m e nt . T h e s c h o ol c a n t h e n t a k e st e p s t o
          i n v e sti g at e a n d pr e v e nt a n y h ar a s s m e nt or vi ol e n c e fr o m r e c urri n g or e s c al ati n g, a s
          a p pr o pri at e. F or e x a m pl e , t h e s c h o ol m a y s e p ar at e t h e c o m pl ai n a nt a n d all e g e d
          p er p etr at or or c o n d u ct s e x u al h ar a s s m e nt a n d s e x u al vi ol e n c e tr ai ni n g f or t h e s c h o ol' s
          st u d e nt s a n d e m pl o y e e s. R e s p o n si bl e e m pl o y e e s s h o ul d u n d er st a n d t h at t h e y d o n ot
          n e e d t o d et er mi n e w h et h er t h e all e g e d s e x u al h ar a s s m e nt or s e x u al vi ol e n c e a ct u all y
          o c c urr e d or t h at a h o stil e e n vir o n m e nt h a s b e e n cr e at e d b ef or e r e p orti n g a n i n ci d e nt t o
          t h e s c h o ol' s Titl e I X c o or di n at or. B e c a u s e t h e Titl e I X c o or di n at or s h o ul d h a v e i n- d e pt h
          k n o wl e d g e of Titl e I X a n d Titl e I X c o m pl ai nt s at t h e s c h o ol, h e or s h e i s li k el y t o b e i n a
          b ett er p o siti o n t h a n ar e ot h er e m pl o y e e s t o e v al u at e w h et h er a n i n ci d e nt of s e x u al

  P a g e 3 9 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 82 of 89
                                                                         P S A 0081
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


          h ar a s s m e nt or s e x u al vi ol e n c e cr e at e s a h o stil e e n vir o n m e nt a n d h o w t h e s c h o ol s h o ul d
          r e s p o n d. T h er e m a y al s o b e sit u ati o n s i n w hi c h i n di vi d u al i n ci d e nt s of s e x u al h ar a s s m e nt
          d o n ot, b y t h e m s el v e s, cr e at e a h o stil e e n vir o n m e nt; h o w e v er w h e n c o n si d er e d t o g et h er,
          t h o s e i n ci d e nt s m a y cr e at e a h o stil e e n vir o n m e nt.

  J- 3.   W h at t y p e of tr ai ni n g s h o ul d a s c h o ol pr o vi d e t o e m pl o y e e s w h o ar e i n v ol v e d i n
          i m pl e m e nti n g t h e s c h o ol' s gri e v a n c e pr o c e d ur e s ?

          A n s w er: All p er s o n s i n v ol v e d i n i m pl e m e nti n g a s c h o ol' s gri e v a n c e pr o c e d ur e s ( e.g ., Titl e
          I X c o or di n at or s, ot h er s w h o r e c ei v e c o m pl ai nt s, i n v e sti g at or s, a n d a dj u di c at or s) m u st
          h a v e tr ai ni n g or e x p eri e n c e i n h a n dli n g s e x u al vi ol e n c e c o m pl ai nt s, a n d i n t h e o p er ati o n
          of t h e s c h o ol' s gri e v a n c e pr o c e d ur e s. T h e tr ai ni n g s h o ul d i n cl u d e i nf or m ati o n o n w or ki n g
          wit h a n d i nt er vi e wi n g p er s o n s s u bj e ct e d t o s e x u al vi ol e n c e; i nf or m ati o n o n p arti c ul ar
          t y p e s of c o n d u ct t h at w o ul d c o n stit ut e s e x u al vi ol e n c e, i n cl u di n g s a m e- s e x s e x u al
          vi ol e n c e; t h e pr o p er st a n d ar d of r e vi e w f or s e x u al vi ol e n c e c o m pl ai nt s ( pr e p o n d er a n c e of
          t h e e vi d e n c e); i nf or m ati o n o n c o n s e nt a n d t h e r ol e dr u g s or al c o h ol c a n pl a y i n t h e a bilit y
          t o c o n s e nt; t h e i m p ort a n c e of a c c o u nt a bilit y f or i n di vi d u al s f o u n d t o h a v e c o m mitt e d
          s e x u al vi ol e n c e; t h e n e e d f or r e m e di al a cti o n s f or t h e p er p etr at or, c o m pl ai n a nt, a n d
          s c h o ol c o m m u nit y; h o w t o d et er mi n e cr e di bilit y; h o w t o e v al u at e e vi d e n c e a n d w ei g h it i n
          a n i m p arti al m a n n er; h o w t o c o n d u ct i n v e sti g ati o n s; c o nfi d e nti alit y; t h e eff e ct s of tr a u m a,
          i n cl u di n g n e ur o bi ol o gi c al c h a n g e; a n d c ult ur al a w ar e n e s s tr ai ni n g r e g ar di n g h o w s e x u al
          vi ol e n c e m a y i m p a ct st u d e nt s diff er e ntl y d e p e n di n g o n t h eir c ult ur al b a c k gr o u n d s.

          I n r ar e cir c u m st a n c e s, e m pl o y e e s i n v ol v e d i n i m pl e m e nti n g a s c h o ol' s gri e v a n c e
          pr o c e d ur e s m a y b e a bl e t o d e m o n str at e t h at pri or tr ai ni n g a n d e x p eri e n c e h a s pr o vi d e d
          t h e m wit h c o m p et e n c y i n t h e ar e a s c o v er e d i n t h e s c h o ol' s tr ai ni n g. F or e x a m pl e, t h e
          c o m bi n ati o n of eff e cti v e pri or tr ai ni n g a n d e x p eri e n c e i n v e sti g ati n g c o m pl ai nt s of s e x u al
          vi ol e n c e, t o g et h er wit h tr ai ni n g o n t h e s c h o ol' s c urr e nt gri e v a n c e pr o c e d ur e s m a y b e
          s uffi ci e nt pr e p ar ati o n f or a n e m pl o y e e t o r e s ol v e Titl e I X c o m pl ai nt s c o n si st e nt wit h t h e
          s c h o ol' s gri e v a n c e pr o c e d ur e s. I n- d e pt h k n o wl e d g e r e g ar di n g Titl e I X a n d s e x u al vi ol e n c e
          i s p arti c ul arl y h el pf ul. B e c a u s e l a w s a n d s c h o ol p oli ci e s a n d pr o c e d ur e s m a y c h a n g e, t h e
          o nl y w a y t o e n s ur e t h at all e m pl o y e e s i n v ol v e d i n i m pl e m e nti n g t h e s c h o ol' s gri e v a n c e
          pr o c e d ur e s h a v e t h e r e q ui sit e tr ai ni n g or e x p eri e n c e i s f or t h e s c h o ol t o pr o vi d e r e g ul ar
          tr ai ni n g t o all i n di vi d u al s i n v ol v e d i n i m pl e m e nti n g t h e s c h o ol' s Titl e I X gri e v a n c e
          pr o c e d ur e s e v e n if s u c h i n di vi d u al s al s o h a v e pri or r el e v a nt e x p eri e n c e.




  P a g e 4 0 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 83 of 89
                                                                         P S A 0082
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


  J- 4.   W h at t y p e of t r ai ni n g o n s e x u al vi ol e n c e s h o ul d a s c h o ol p r o vi d e t o it s st u d e nt s ?

          A n s w er:     T o e n s ur e t h at st u d e nt s u n d er st a n d t h eir ri g ht s u n d er Titl e I X, a s c h o ol s h o ul d
           pr o vi d e a g e- a p pr o pri at e tr ai ni n g t o it s st u d e nt s r e g ar di n g Titl e I X a n d s e x u al vi ol e n c e. At
          t h e el e m e nt ar y a n d s e c o n d ar y s c h o ol l e v el, s c h o ol s s h o ul d c o n si d er w h et h er s e x u al
          vi ol e n c e tr ai ni n g s h o ul d al s o b e off er e d t o p ar e nt s, p arti c ul arl y tr ai ni n g o n t h e s c h o ol' s
           pr o c e s s f or h a n dli n g c o m pl ai nt s of s e x u al vi ol e n c e. Tr ai ni n g m a y b e pr o vi d e d s e p ar at el y
          or a s p art of t h e s c h o ol' s br o a d er tr ai ni n g o n s e x di s cri mi n ati o n a n d s e x u al h ar a s s m e nt.
           H o w e v er, s e x u al vi ol e n c e i s a u ni q u e t o pi c t h at s h o ul d n ot b e a s s u m e d t o b e c o v er e d
          a d e q u at el y i n ot h er e d u c ati o n al pr o gr a m mi n g or tr ai ni n g pr o vi d e d t o st u d e nt s. T h e
          s c h o ol m a y w a nt t o i n cl u d e t hi s tr ai ni n g i n it s ori e nt ati o n pr o gr a m s f or n e w st u d e nt s;
          tr ai ni n g f or st u d e nt at hl et e s a n d m e m b er s of st u d e nt or g a ni z ati o n s; a n d b a c k-t o- s c h o ol
           ni g ht s. A s c h o ol s h o ul d c o n si d er e d u c ati o n al m et h o d s t h at ar e m o st li k el y t o h el p
          st u d e nt s r et ai n i nf or m ati o n w h e n d e si g ni n g it s tr ai ni n g, i n cl u di n g r e p e ati n g t h e tr ai ni n g at
           r e g ul ar i nt er v al s. O C R r e c o m m e n d s t h at, at a mi ni m u m, t h e f oll o wi n g t o pi c s ( a s
          a p pr o pri at e) b e c o v er e d i n t hi s tr ai ni n g:

             •     Titl e I X a n d w h at c o n stit ut e s s e x u al vi ol e n c e, i n cl u di n g s a m e- s e x s e x u al vi ol e n c e,
                   u n d er t h e s c h o ol' s p oli ci e s;
             •     t h e s c h o ol' s d efi niti o n of c o n s e nt a p pli c a bl e t o s e x u al c o n d u ct, i n cl u di n g e x a m pl e s;
             •     h o w t h e s c h o ol a n al y z e s w h et h er c o n d u ct w a s u n w el c o m e u n d er Titl e I X;
             •     h o w t h e s c h o ol a n al y z e s w h et h er u n w el c o m e s e x u al c o n d u ct cr e at e s a h o stil e
                   e n vir o n m e nt;
             •     r e p orti n g o pti o n s, i n cl u di n g f or m al r e p orti n g a n d c o nfi d e nti al di s cl o s ur e o pti o n s
                   a n d a n y ti m efr a m e s s et b y t h e s c h o ol f or r e p orti n g;
             •     t h e s c h o ol' s gri e v a n c e pr o c e d ur e s u s e d t o pr o c e s s s e x u al vi ol e n c e c o m pl ai nt s;
             •     di s ci pli n ar y c o d e pr o vi si o n s r el ati n g t o s e x u al vi ol e n c e a n d t h e c o n s e q u e n c e s of
                   vi ol ati n g t h o s e pr o vi si o n s;
             •     eff e ct s of tr a u m a, i n cl u di n g n e ur o bi ol o gi c al c h a n g e s;
             •     t h e r ol e al c o h ol a n d dr u g s oft e n pl a y i n s e x u al vi ol e n c e i n ci d e nt s, i n cl u di n g t h e
                   d eli b er at e u s e of al c o h ol a n d/ or ot h er dr u g s t o p er p etr at e s e x u al vi ol e n c e;
             •     str at e gi e s a n d s kill s f or b y st a n d er s t o i nt er v e n e t o pr e v e nt p o s si bl e s e x u al vi ol e n c e;
             •     h o w t o r e p ort s e x u al vi ol e n c e t o c a m p u s or l o c al l a w e nf or c e m e nt a n d t h e a bilit y t o
                   p ur s u e l a w e nf or c e m e nt pr o c e e di n g s si m ult a n e o u sl y wit h a Titl e I X gri e v a n c e; a n d
             •     Titl e I X' s pr ot e cti o n s a g ai n st r et ali ati o n.

          T h e tr ai ni n g s h o ul d al s o e n c o ur a g e st u d e nt s t o r e p ort i n ci d e nt s of s e x u al vi ol e n c e. T h e
          tr ai ni n g s h o ul d e x pl ai n t h at st u d e nt s ( a n d t h eir p ar e nt s or fri e n d s) d o n ot n e e d t o
          d et er mi n e w h et h er i n ci d e nt s of s e x u al vi ol e n c e or ot h er s e x u al h ar a s s m e nt cr e at e d a
  P a g e 4 1 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

          Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 84 of 89
                                                                         P S A 0083
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


            h o stil e e n vir o n m e nt b ef or e r e p orti n g t h e i n ci d e nt. A s c h o ol al s o s h o ul d b e a w ar e t h at
            p er s o n s m a y b e d et err e d fr o m r e p orti n g i n ci d e nt s if, f or e x a m pl e, vi ol ati o n s of s c h o ol or
            c a m p u s r ul e s r e g ar di n g al c o h ol or dr u g s w er e i n v ol v e d. A s a r e s ult, a s c h o ol s h o ul d r e vi e w
            it s di s ci pli n ar y p oli c y t o e n s ur e it d o e s n ot h a v e a c hilli n g eff e ct o n st u d e nt s' r e p orti n g of
            s e x u al vi ol e n c e off e n s e s or p arti ci p ati n g a s wit n e s s e s. O C R r e c o m m e n d s t h at a s c h o ol
            i nf or m st u d e nt s t h at t h e s c h o ol' s pri m ar y c o n c er n i s st u d e nt s af et y, a n d t h at u s e of
            al c o h ol or dr u g s n e v er m a k e s t h e s ur vi v or at f a ult f or s e x u al vi ol e n c e.

            It i s al s o i m p ort a nt f or a s c h o ol t o e d u c at e st u d e nt s a b o ut t h e p er s o n s o n c a m p u s t o
            w h o m t h e y c a n c o nfi d e nti all y r e p ort i n ci d e nt s of s e x u al vi ol e n c e. A s c h o ol' s s e x u al
            vi ol e n c e e d u c ati o n a n d pr e v e nti o n pr o gr a m s h o ul d cl e arl y i d e ntif y t h e offi c e s or
            i n di vi d u al s wit h w h o m st u d e nt s c a n s p e a k c o nfi d e nti all y a n d t h e offi c e s or i n di vi d u al s
            w h o c a n pr o vi d e r e s o ur c e s s u c h a s vi cti m a d v o c a c y, h o u si n g a s si st a n c e, a c a d e mi c
            s u p p ort, c o u n s eli n g, di s a bilit y s er vi c e s, h e alt h a n d m e nt al h e alt h s er vi c e s, a n d l e g al
            a s si st a n c e. It s h o ul d al s o i d e ntif y t h e s c h o ol' s r e s p o n si bl e e m pl o y e e s a n d e x pl ai n t h at if
            st u d e nt s r e p ort i n ci d e nt s t o r e s p o n si bl e e m pl o y e e s ( e x c e pt a s n ot e d i n q u e sti o n E- 3)
            t h e s e e m pl o y e e s ar e r e q uir e d t o r e p ort t h e i n ci d e nt t o t h e Titl e I X c o or di n at or or ot h er
            a p pr o pri at e offi ci al. T hi s r e p orti n g i n cl u d e s t h e n a m e s of t h e all e g e d p er p etr at or a n d
            st u d e nt i n v ol v e d i n t h e s e x u al vi ol e n c e, a s w ell a s r el e v a nt f a ct s i n cl u di n g t h e d at e, ti m e,
            a n d l o c ati o n, alt h o u g h eff ort s s h o ul d b e m a d e t o c o m pl y wit h r e q u e st s f or c o nfi d e nti alit y
            fr o m t h e c o m pl ai n a nt. F or m or e d et ail e d i nf or m ati o n r e g ar di n g r e p orti n g a n d r e s p o n si bl e
            e m pl o y e e s a n d c o nfi d e nti alit y, s e e q u e sti o n s D- 1 t o D- 5 a n d E- 1 t o E- 4.

  K.      R et ali ati o n

  K- 1.     D o e s Titl e I X p r ot e ct a g ai n st r et ali ati o n ?

            A n s w er:      Y e s. T h e F e d er al ci vil ri g ht s l a w s, i n cl u di n g Titl e I X, m a k e it u nl a wf ul t o r et ali at e
            a g ai n st a n i n di vi d u al f or t h e p ur p o s e of i nt erf eri n g wit h a n y ri g ht or pri vil e g e s e c ur e d b y
            t h e s e l a w s. T hi s m e a n s t h at if a n i n di vi d u al bri n g s c o n c er n s a b o ut p o s si bl e ci vil ri g ht s
            pr o bl e m s t o a s c h o ol' s att e nti o n, i n cl u di n g p u bli cl y o p p o si n g s e x u al vi ol e n c e or fili n g a
            s e x u al vi ol e n c e c o m pl ai nt wit h t h e s c h o ol or a n y St at e or F e d er al a g e n c y, it i s u nl a wf ul f or
            t h e s c h o ol t o r et ali at e a g ai n st t h at i n di vi d u al f or d oi n g s o. It i s al s o u nl a wf ul t o r et ali at e
            a g ai n st a n i n di vi d u al b e c a u s e h e or s h e t e stifi e d, or p arti ci p at e d i n a n y m a n n er, i n a n O C R
            or s c h o ol' s i n v e sti g ati o n or pr o c e e di n g. T h er ef or e, if a st u d e nt, p ar e nt, t e a c h er, c o a c h, or
            ot h er i n di vi d u al c o m pl ai n s f or m all y or i nf or m all y a b o ut s e x u al vi ol e n c e or p arti ci p at e s i n
            a n O C R or s c h o ol' s i n v e sti g ati o n or pr o c e e di n g s r el at e d t o s e x u al vi ol e n c e, t h e s c h o ol i s
            pr o hi bit e d fr o m r et ali ati n g (i n cl u di n g i nti mi d ati n g, t hr e at e ni n g, c o er ci n g, or i n a n y w a y



  P a g e 4 2 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

           Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 85 of 89
                                                                         P S A 0084
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


             di s cri mi n ati n g a g ai n st t h e i n di vi d u al) b e c a u s e of t h e i n di vi d u al' s c o m pl ai nt or
             p arti ci p ati o n.

             A s c h o ol s h o ul d t a k e st e p s t o pr e v e nt r et ali ati o n a g ai n st a st u d e nt w h o fil e d a c o m pl ai nt
             eit h er o n hi s or h er o w n b e h alf or o n b e h alf of a n ot h er st u d e nt, or a g ai n st t h o s e w h o
             pr o vi d e d i nf or m ati o n a s wit n e s s e s.

             S c h o ol s s h o ul d b e a w ar e t h at c o m pl ai nt s of s e x u al vi ol e n c e m a y b e f oll o w e d b y r et ali ati o n
             a g ai n st t h e c o m pl ai n a nt or wit n e s s e s b y t h e all e g e d p er p etr at or or hi s or h er a s s o ci at e s.
             When        a s c h o ol k n o w s or r e a s o n a bl y s h o ul d k n o w of p o s si bl e r et ali ati o n b y ot h er st u d e nt s
             or t hir d p arti e s, it m u st t a k e i m m e di at e a n d a p pr o pri at e st e p s t o i n v e sti g at e or ot h er wi s e
             d et er mi n e w h at o c c urr e d. Titl e I X r e q uir e s t h e s c h o ol t o pr ot e ct t h e c o m pl ai n a nt a n d
             wit n e s s e s a n d e n s ur e t h eir s af et y a s n e c e s s ar y. At a mi ni m u m, t hi s i n cl u d e s m a ki n g s ur e
             t h at t h e c o m pl ai n a nt a n d hi s or h er p ar e nt s, if t h e c o m pl ai n a nt i s i n el e m e nt ar y or
             s e c o n d ar y s c h o ol, a n d wit n e s s e s k n o w h o w t o r e p ort r et ali ati o n b y s c h o ol offi ci al s, ot h er
             st u d e nt s, or t hir d p arti e s b y m a ki n g f oll o w- u p i n q uiri e s t o s e e if t h er e h a v e b e e n a n y n e w
             i n ci d e nt s or a ct s of r et ali ati o n, a n d b y r e s p o n di n g pr o m ptl y a n d a p pr o pri at el y t o a d dr e s s
             c o nti n ui n g or n e w pr o bl e m s. A s c h o ol s h o ul d al s o t ell c o m pl ai n a nt s a n d wit n e s s e s t h at
             Titl e I X pr o hi bit s r et ali ati o n, a n d t h at s c h o ol offi ci al s will n ot o nl y t a k e st e p s t o pr e v e nt
             r et ali ati o n, b ut will al s o t a k e str o n g r e s p o n si v e a cti o n if it o c c ur s.

  L.      Fir st A m e n d m e nt

  L- 1.      H o w s h o ul d a s c h o ol h a n dl e it s o bli g ati o n t o r e s p o n d t o s e x u al h a r a s s m e nt a n d s e x u al
             vi ol e n c e w hil e still r e s p e cti n g f r e e- s p e e c h ri g ht s g u a r a nt e e d b y t h e C o n stit uti o n ?

             A n s w er:      T h e D C L o n s e x u al vi ol e n c e di d n ot e x pr e s sl y a d dr e s s Fir st A m e n d m e nt i s s u e s
             b e c a u s e it f o c u s e s o n u nl a wf ul p h y si c al s e x u al vi ol e n c e, w hi c h i s n ot s p e e c h or e x pr e s si o n
             pr ot e ct e d b y t h e Fir st A m e n d m e nt.

             H o w e v er, O C R' s pr e vi o u s g ui d a n c e o n t h e Fir st A m e n d m e nt, i n cl u di n g t h e 2 0 0 1 G ui d a n c e,
             O C R' s J ul y 2 8, 2 0 0 3, D e ar C oll e a g u e L ett er o n t h e Fir st A m e n d m e nt,             35   a n d O C R' s O ct o b er
             2 6, 2 0 1 0, D e ar C oll e a g u e L ett er o n h ar a s s m e nt a n d b ull yi n g,          36   r e m ai n f ull y i n eff e ct. O C R
             h a s m a d e it cl e ar t h at t h e l a w s a n d r e g ul ati o n s it e nf or c e s pr ot e ct st u d e nt s fr o m
             pr o hi bit e d di s cri mi n ati o n a n d d o n ot r e stri ct t h e e x er ci s e of a n y e x pr e s si v e a cti viti e s or
             s p e e c h pr ot e ct e d u n d er t h e U. S. C o n stit uti o n. T h er ef or e, w h e n a s c h o ol w or k s t o pr e v e nt




  35   A v ail a bl e at htt p :// w w w.e d .g o v/ o cr/fir st a m e n d .ht m l.
  36   A v ail a bl e at htt p :// w w w.e d .g o v/ o cr/l ett er s/ c oll e a g u e- 2 0 1 0 1 0. ht m l.

  P a g e 4 3 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

            Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 86 of 89
                                                                                  P S A 0085
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


             a n d r e dr e s s di s cri mi n ati o n, it m u st r e s p e ct t h e fr e e- s p e e c h ri g ht s of st u d e nt s, f a c ult y, a n d
             ot h er s p e a k er s.

             Titl e I X pr ot e ct s st u d e nt s fr o m s e x di s cri mi n ati o n; it d o e s n ot r e g ul at e t h e c o nt e nt of
             s p e e c h. O C R r e c o g ni z e s t h at t h e off e n si v e n e s s of a p arti c ul ar e x pr e s si o n a s p er c ei v e d b y
             s o m e st u d e nt s, st a n di n g al o n e, i s n ot a l e g all y s uffi ci e nt b a si s t o e st a bli s h a h o stil e
             e n vir o n m e nt u n d er Titl e I X. Titl e I X al s o d o e s n ot r e q uir e, pr o hi bit, or a bri d g e t h e u s e of
             p arti c ul ar t e xt b o o k s or c urri c ul ar m at eri al s.    37



  M.      T h e Cl er y A ct a n d t h e Vi ol e n c e A g ai n st W o m e n           R e a ut h o ri z ati o n A ct of 2 0 1 3

  M- 1.      H o w d o e s t h e Cl er y A ct aff e ct t h e Titl e I X o bli g ati o n s of i n stit uti o n s of hi g h e r e d u c ati o n
             t h at p a rti ci p at e i n t h e f e d e r al st u d e nt fi n a n ci al ai d pr o gr a m s ?

             A n s w er:      I n stit uti o n s of hi g h er e d u c ati o n t h at p arti ci p at e i n t h e f e d er al st u d e nt fi n a n ci al
             ai d pr o gr a m s ar e s u bj e ct t o t h e r e q uir e m e nt s of t h e Cl er y A ct a s w ell a s Titl e I X. T h e Cl er y
             A ct r e q uir e s i n stit uti o n s of hi g h er e d u c ati o n t o pr o vi d e c urr e nt a n d pr o s p e cti v e st u d e nt s
             a n d e m pl o y e e s, t h e p u bli c, a n d t h e D e p art m e nt wit h cri m e st ati sti c s a n d i nf or m ati o n
             a b o ut c a m p u s cri m e pr e v e nti o n pr o gr a m s a n d p oli ci e s. T h e Cl er y A ct r e q uir e m e nt s a p pl y
             t o m a n y cri m e s ot h er t h a n t h o s e a d dr e s s e d b y Titl e I X. F or t h o s e ar e a s i n w hi c h t h e Cl er y
             A ct a n d Titl e I X b ot h a p pl y, t h e i n stit uti o n m u st c o m pl y wit h b ot h l a w s. F or a d diti o n al
             i nf or m ati o n a b o ut t h e Cl er y A ct a n d it s r e g ul ati o n s, pl e a s e s e e
             htt p:// w w w 2. e d. g o v/ a d mi n s/l e a d/ s af et y/ c a m p u s. ht ml .

  M- 2. W e r e a s c h o ol' s o bli g ati o n s u n d e r Titl e I X a n d t h e D C L alt e r e d i n a n y w a y b y t h e
             Vi ol e n c e A g ai n st W o m e n       R e a ut h o ri z ati o n A ct of 2 0 1 3, P u b. L. N o. 1 1 3- 4, i n cl u di n g
             S e cti o n 3 0 4 of t h at A ct, w hi c h a m e n d s t h e Cl er y A ct ?

             A n s w er:      N o. T h e Vi ol e n c e A g ai n st W o m e n     R e a ut h ori z ati o n A ct h a s n o eff e ct o n a s c h o ol' s
             o bli g ati o n s u n d er Titl e I X or t h e D C L. T h e Vi ol e n c e A g ai n st W o m e n         R e a ut h ori z ati o n A ct
             a m e n d e d t h e Vi ol e n c e A g ai n st W o m e n A ct a n d t h e Cl er y A ct, w hi c h ar e s e p ar at e st at ut e s.
             N ot hi n g i n S e cti o n 3 0 4 or a n y ot h er p art of t h e Vi ol e n c e A g ai n st W o m e n            R e a ut h ori z ati o n
             A ct r eli e v e s a s c h o ol of it s o bli g ati o n t o c o m pl y wit h t h e r e q uir e m e nt s of Titl e I X, i n cl u di n g
             t h o s e s et f ort h i n t h e s e Q u e sti o n s a n d A n s w er s, t h e 2 0 1 1 D C L, a n d t h e 2 0 0 1 G ui d a n c e.
             F or a d diti o n al i nf or m ati o n a b o ut t h e D e p art m e nt' s n e g oti at e d r ul e m a ki n g r el at e d t o t h e
             Vi ol e n c e A g ai n st W o m e n      R e a ut h ori z ati o n A ct pl e a s e s e e
             htt p:// w w w 2. e d. g o v/ p oli c y/ hi g h er e d/r e g/ h e ar ul e m a ki n g/ 2 0 1 2/ v a w a. ht ml .




  37   3 4 C. F. R. § 1 0 6. 4 2.

  P a g e 4 4 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

            Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 87 of 89
                                                                          P S A 0086
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


  N.      F urt h er F e d er al G ui d a n c e

  N- 1.     W h o m s h o ul d I c o nt a ct if I h a v e a d diti o n al q u e sti o n s a b o ut t h e D C L or O C R' s ot h er Titl e
            I X g ui d a n c e ?

            A n s w er: A n y o n e w h o h a s q u e sti o n s r e g ar di n g t hi s g ui d a n c e, or Titl e I X s h o ul d c o nt a ct t h e
            O C R r e gi o n al offi c e t h at s er v e s hi s or h er st at e. C o nt a ct i nf or m ati o n f or O C R r e gi o n al
            offi c e s c a n b e f o u n d o n O C R' s w e b p a g e at
            htt p s:// w d cr o b c ol p 0l. e d. g o v/ C F A P P S/ O C R/ c o nt a ct u s. cf m . If y o u wi s h t o fil e a c o m pl ai nt
            of di s cri mi n ati o n wit h O C R, y o u m a y u s e t h e o n li n e c o m pl ai nt f or m a v ail a bl e at
            htt p:// w w w. e d. g o v/ o cr/ c o m pl ai nti ntr o. ht ml or s e n d a l ett er t o t h e O C R e nf or c e m e nt
            offi c e r e s p o n si bl e f or t h e st at e i n w hi c h t h e s c h o ol i s l o c at e d. Y o u m a y al s o e m ail g e n er al
            q u e sti o n s t o O C R at o cr @ e d. g o v .

  N- 2.     Ar e t h er e ot h er r e s o ur c e s a v ail a bl e t o a s si st a s c h o ol i n c o m pl yi n g wit h Titl e I X a n d
            pr e v e nti n g a n d r e s p o n di n g t o s e x u al vi ol e n c e ?

            A n s w er: Y e s. O C R' s p oli c y g ui d a n c e o n Titl e I X i s a v ail a bl e o n O C R' s w e b p a g e at
            htt p:// w w w. e d. g o v/ o cr/ p u bli c ati o n s .ht ml # Titl e 1 X . I n a d diti o n t o t h e A pril 4, 2 0 1 1, D e ar
            C oll e a g u e L ett er , O C R h a s i s s u e d t h e f oll o wi n g r e s o ur c e s t h at f urt h er di s c u s s a s c h o ol 's
            o bli g ati o n t o r e s p o n d t o all e g ati o n s of s e x u al h ar a s s m e nt a n d s e x u al vi ol e n c e :

               •     D e ar C oll e a g u e L ett er: H ar a s s m e nt a n d B ull yi n g ( O ct o b er 2 6, 2 0 1 0),
                     htt p:// w w w 2. e d. g o v/ a b o ut/ off ic e s/li st/ o cr/l ett er s/ c o 1 1 e a g u e -2 0 1 0 1 0. p df

               •    S e x u al H ar a s s m e nt : It' s N ot A c a d e mi c ( R e vi s e d S e pt e m b er 2 0 0 8),
                     htt p:// w w w 2. e d. g o v/ a b o ut/ off ic e s/li st/ o cr/ d o c s/ o cr s h p a m. p df

               •     R e vi s e d S e x u al H ar a s s m e nt G ui d a n c e : H ar a s s m e nt of St u d e nt s b y E m pl o y e e s, Ot h er
                    St u d e nt s , or T hir d P arti e s ( J a n u ar y 1 9, 2 0 0 1),
                     htt p:// w w w 2. e d. g o v/ a b o ut/ offi c e s/li st/ o cr/ d o c s/ s h g ui d e .p df




  P a g e 4 5 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

           Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 88 of 89
                                                                         P S A 0087
R e s ci n d e d : T hi s d o c u m e nt h a s b e e n f or m all y r e s ci n d e d b y t h e D e p art m e nt a n d
                 r e m ai n s a v ail a bl e o n t h e w e b f or hi st ori c al p ur p o s e s o nl y.


          I n a d diti o n t o g ui d a n c e fr o m O C R, a s c h o ol m a y al s o fi n d r e s o ur c e s fr o m t h e D e p art m e nt s
          of E d u c ati o n a n d J u sti c e h el pf ul i n pr e v e nti n g a n d r e s p o n di n g t o s e x u al vi ol e n c e:

             •     D e p art m e nt of E d u c ati o n' s L ett er t o C hi ef St at e S c h o ol Offi c er s o n T e e n D ati n g
                   Vi ol e n c e A w ar e n e s s a n d Pr e v e nti o n ( F e br u ar y 2 8, 2 0 1 3)
                   htt p s:lj w w w 2. e d. g o v/ p oli c y/ g e n/ g ui d/ s e cl ett er/ 1 3 0 2 2 8. ht ml

             •     D e p art m e nt of E d u c ati o n' s N ati o n al C e nt er o n S af e S u p p orti v e L e ar ni n g
                   E n vir o n m e nt s
                   htt p:// s af e s u p p orti v el e ar ni n g. e d. g o v/

             •     D e p art m e nt of J u sti c e, Offi c e o n Vi ol e n c e A g ai n st W o m e n
                   htt p :// w w w.o v w .u s d oj. g o v/




  P a g e 4 6 - Q u e sti o n s a n d A n s w er s o n Titl e I X a n d S e x u al Vi ol e n c e

         Case 5:19-cv-04082-CJW-KEM Document 60 Filed 04/27/22 Page 89 of 89
                                                                         P S A 0088
